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 7

 8                                UNITED STATES BANKRUPTCY COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
10

11    In re                                            Case No. 2:21-bk-11188-BB
12                                                     Chapter 11
      GLENROY COACHELLA, LLC,
13                                                      CHAPTER 11 TRUSTEE’S MOTION FOR
                                                        ORDER AUTHORIZING:
14                     Debtor.                           1) SALE OF REAL PROPERTY
                                                            LOCATED AT 84151 AVENUE 48,
15                                                          COACHELLA, CA AND RELATED
                                                            ASSETS: (A) OUTSIDE THE
16                                                          ORDINARY COURSE OF BUSINESS;
                                                            (B) FREE AND CLEAR OF LIENS,
17                                                          CLAIMS, AND ENCUMBRANCES;
                                                            (C) SUBJECT TO OVERBID; (D) FOR
18                                                          DETERMINATION OF GOOD FAITH
                                                            PURCHASER UNDER 11 U.S.C.
19                                                          §363(m); AND
                                                         2) ASSUMPTION OF EXECUTORY
20                                                          CONTRACTS AND UNEXPIRED
                                                            LEASES UNDER 11 U.S.C. §365
21                                                      MEMORANDUM OF POINTS OF
                                                        AUTHORITIES; DECLARATION OF
22                                                      RICHARD A. MARSHACK IN SUPPORT
23                                                       Hearing to be set per Application for Order
                                                         Shortening Time:1
24

25 1 Due to the COVID-19 outbreak, Judge Bluebond will be holding all hearings remotely until further

26 notice. Some hearings will be held via telephone using CourtCall and some hearings will be held via
   ZoomGov. The cover page for the publicly posted hearing calendar will state whether the hearings
27 that day will be held via telephone by CourtCall or via ZoomGov. The calendar is posted to the
   public at least 2 weeks prior to the hearing and can be accessed at the following web address:
28 http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=BB (Click on the “Select Judge” tab on the upper
   left side of the screen and select Judge Bluebond)
                                                    1
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 1 TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY COURT

 2 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED

 3 PARTIES:

 4            Richard A. Marshack, in his capacity as Chapter 11 Trustee (“Trustee”) of the Bankruptcy
 5 Estate (“Estate”) of Glenroy Coachella, LLC (“Debtor”), respectfully submits his motion for order

 6 authorizing: (1) the sale of the real property located at and commonly known as 84151 Avenue 48,

 7 Coachella, California, a luxury hotel project, and related assets (collectively, the “Property”) under

 8 11 U.S.C. § 363, pursuant to the terms and conditions set forth in the Agreement of Purchase and

 9 Sale and Joint Escrow Instructions (“PSA”) attached as Exhibit “1;”2 or (2) pursuant to credit bit of

10 U.S. Real Estate Credit Holdings, III-A, LLP (“USRECH” or “Lender”) and (3) the assignment of

11 any desired executory contracts and unexpired leases under 11 U.S.C. § 365. As used herein, the

12 term “Buyer” shall mean either a cash purchaser subject to the PSA or Lender, pursuant to its credit

13 bid.

14 1.         Summary of Motion
15            A bankruptcy court may approve a trustee’s sale of assets if there is a sound business
16 purpose. In this case, the Estate owns real property located at 84150 Avenue 48, Coachella,

17 California 92201 (“Land”), which includes a luxury hotel project (“Project”). The Estate’s primary

18 tangible assets are the Land and the Project (collectively, “Real Property”). The Land consists of

19 multiple parcels (approximately 33.71 acres) in various stages of development. Debtor entered into a

20 Development Agreement with the City of Coachella to develop the Land into a Hotel Indigo, a

21 luxury, full-service, casita-style resort and hotel. Debtor alleges the Project is 65% complete.

22            Trustee seeks to sell the Real Property and certain rights and privileges associated with the
23 Real Property including any desired personal property for $30,000,000 in cash in addition to the

24

25 2 To date, an interested buyer executed a copy of the PSA is attached as Exhibit “1” to the

26 Declaration of Richard A. Marshack (“Marshack Declaration”). This potential buyer, however, has
   not yet funded the required deposit. For the avoidance of doubt, Trustee is also requesting, in this
27 Motion, authority to sell the Property by credit bid to Lender, should there not be a cash buyer able
   to effectuate the sale on the terms set forth in the PSA, and the compromise between Trustee and
28 U.S. Real Estate Credit Holdings III-A that has been approved by the Court.

                                                   2
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 1 assumption of certain Mello Roos and PACE liabilities in excess of $13 million. Although the

 2 Real Property is subject to liens in excess of the proposed minimum sales price, the sale will

 3 satisfy the vast majority of the liens. If Trustee did not administer the Real Property, Lender has

 4 stated its intention to foreclose. Because this is a single asset real estate case, in which the “SARE

 5 deadline” has expired, and Trustee is without funds to make interest payments, relief from stay

 6 would undoubtedly be granted by the Court. If Lender foreclosed (it has judicial and nonjudicial

 7 foreclosure proceedings pending), there would be substantial liens wiped out which claims would

 8 become unsecured claims diluting the estate’s other unsecured creditors. On the other hand, if a

 9 cash buyer closes the proposed sale, all liens senior to Lender will be paid, Lender will consent to

10 the sale, Lender will provide a $200,000 carveout to the Estate, and Lender will subordinate its

11 deficiency claim in favor of the majority of other allowed unsecured claims (in accordance with

12 the settlement between the Trustee and Lender, as approved by this Court, hereinafter referred to

13 as the “Compromise Order”). If on the other hand, a cash buyer does not emerge, the Property

14 will be sold through credit bid in accordance with the Compromise Order.

15            The following assets are available for purchase:
16            A.      The Estate’s interest in the Real Property, together with all rights, privileges, and
17 easements appurtenant to the Land or Project, or any portion thereof (collectively, the

18 “Appurtenances”), including all minerals, oil, gas, and other hydrocarbon substances on or under

19 the Land (if owned by Debtor), as well as all development rights, air rights, water, water rights,

20 and water stock, if any, relating exclusively to the Real Property and any other easements, rights-

21 of-way, or appurtenances used in connection with the beneficial use and enjoyment of the Land

22 including all rights, if any, relating to the development of the Project under the Glenroy Resort

23 Development Agreement entered into by and between the City of Coachella (“City”) and Debtor

24 and dated as of February 15, 2018, as may have been amended or modified by the Memorandum

25 of Understanding between the City, Debtor and The Coachella Lighthouse, LLC dated as of May

26

27

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                                                   3
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 1 13, 2020 and the First Amendment to Memorandum of Understanding between the City, Debtor

 2 and The Coachella Lighthouse, LLC dated as of October 8, 2020 (“Development Agreement”);3

 3            B.      The Estate’s interest in and to any and all intangible personal property now or
 4 through the Closing Date owned by Debtor and used in connection with the ownership, use,

 5 development, or operation of the Land, the Project and/or the Appurtenances, including, (i) any

 6 and all warranties and guaranties and other intangible rights relating to the ownership, use or

 7 operation of all or any part of the Property, (ii) all names by which the Property or any part

 8 thereof may be known or which may be used in connection with the Property, (iii) any websites

 9 respecting the Property, along with any domain names, together with any customer lists, (iv) any

10 and all consents, licenses, approvals, certificates, permits, floor plans, and plans and

11 specifications relating to the Improvements, the Appurtenances, the Land and/or the Personal

12 Property (defined below), (v) all architectural and engineering plans and drawings related to the

13 Project including conceptual designs, design drawings, and structural plans, and (vi) all

14 construction permits for the Project issued by the City and other applicable government agencies

15 (collectively, “Intangible Property”);

16            C.      The Estate’s interest in all tangible personal property owned by Debtor and located
17 on the Real Property, or purchased in connection with the development or operation of the Project

18 and deemed delivered to Debtor but stored at a location off the Real Property, including, without

19 limitation, all purchased and delivered but not yet used or installed construction materials,

20 equipment, and furnishings (collectively, “Personal Property”). To the extent any interested buyer

21 desires to purchase any such personal property, there may be valid and perfected liens which will

22 need to be satisfied by payment of amounts in excess of the proposed $30 million minimum

23 purchase price.

24            The Real Property, Appurtenances, Development Agreement, Intangible Property, and
25 Personal Property are defined collectively as the “Property.”

26 / / /

27

28 3 Trustee is not the title owner and is not selling the adjacent parcel upon which an operating
   dispensary is located and which is commonly known as Parcel 5.
                                                   4
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 1            Through the Motion, Trustee seeks: (1) authority to sell the Property to Buyer free and clear
 2 of all liens, claims, and interests;4 (2) an order determining that any cash buyer or USRECH, as the

 3 case may be, is a good faith purchaser entitled to the protections of 11 U.S.C. § 363(m);5 (3)

 4 approval of the sale subject to overbids; and (4) to eliminate the 14-day stay on the effectiveness of

 5 any order approving the sale. Trustee requests that the Court grant the Motion, subject to overbid.6

 6            If there is no third-party cash purchaser approved by the Court, Trustee seeks to sell the
 7 Real Property to Lender pursuant to a minimum credit bid of $22 million. Under the terms of the

 8 court-approved compromise between Trustee and Lender, it is required to purchase the property

 9 pursuant to a credit bid, fund a $4 million escrow to pay mechanics lienholders whose liens are

10 determined to be senior to Lender’s deed of trust, and indemnify the estate against the claim held

11 by Doug Wall Construction (“DWC”) which is also subject to a recorded mechanics’ lien.

12 Because DWC and Jacobsson Engineering executed a subordination agreement in favor of

13 Lender, Trustee believes these liens are junior to Lender and not likely to able to participate in

14 distributions from the escrow fund.

15            If either proposed sale structure is not approved by the Court, Trustee intends to abandon the
16 property and is in the process of filing such a motion to be heard in early October 2021. If the sale is

17 granted, Trustee will voluntarily dismiss the motion to abandon.

18 2.         Bankruptcy Filing
19            On February 15, 2021, Debtor filed a voluntary petition under Chapter 11 of the Bankruptcy
20 Code. A true and correct copy of this Court’s webPACER Docket for Case No. 2:21-bk-11188-BB

21

22

23 4 With the exception of: (1) easements, assessments, covenants, conditions, restrictions, dedications,
   access, maintenance, and other recorded burdens that run with the land; and (2) encumbrances, and
24 interests listed on Exhibit C to the PSA.

25 5
    Unless otherwise indicated, all Chapter and Section references are to the Bankruptcy Code, 11
26 U.S.C. §§ 101–1532. All references to “Rule” refer to the Federal Rules of Bankruptcy Procedure.
     6
27   If a cash buyer does not ultimately consummate the sale, and if no qualified cash overbids are
   received prior to the hearing on the Motion, Lender will make a credit bid of at least $22 million to
28 secure the purchase of the Property, at which point, Trustee will have no objection to Lender’s credit
   bid at the reduced sale price.
                                                   5
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 1 as of September 15, 2021, is attached to the Declaration of Richard A. Marshack (“Marshack

 2 Declaration”) as Exhibit “2.”

 3            On March 19, 2021, as Dk. No. 126, the Court entered an order approving the United States
 4 Trustee’s application for the appointment of a Chapter 11 Trustee. Id., pg. 144. Since his

 5 appointment, Trustee and his professionals investigated and spent hundreds of hours conducting due

 6 diligence analyzing whether there was any value to be realized from the Property through a sale or

 7 equity recapitalization. Marshack Declaration, ¶ 5.

 8 3.         The Real Property
 9            a.      Ownership and Encumbrances
10            Debtor’s primary asset was an approximately 70.5% ownership interest of the Land as a
11 tenant-in-common with three other non-debtor entities (“TICs”). To facilitate a sale of the

12 Property, the other approximate 29.5% of the Real Property has been deeded to Trustee, which

13 deeds have been recorded and the Court has entered an order approving Trustee’s agreement with

14 the TICs.

15            On the petition date, the Land was encumbered by a deed of trust in favor of USRECH in
16 the approximate principal amount of $24,400,000 (“USRECH Lien”). The amount currently

17 owing on the debt associated with the USRECH Lien is currently approximately $31 million due

18 to unpaid interest and fees on the underlying note as set forth in Lender’s filed proof of claim.

19 Additionally, Certificates of Indebtedness were recorded against the Land by the Receiver and in

20 favor of USRECH totaling $2,406,718.57 (“Certificates”). A true and correct copy of the recent

21 Preliminary Title Reports7 (“PTR”) are attached to the Marshack Declaration as Exhibit “3-7.”

22            There are California Statewide Communities Development Authority liens against the Land
23 in the approximate amount of $13.75 million pursuant to its filed proof of claim (“PACE Liens”).

24 There are also Mello Roos assessments by the Community Facilities District No. 2005-1 in an

25 amount believed to be in excess of $6 million (“Mello Roos Assessments”). The exact amount of the

26 Mello Roos Assessments is not currently known because no proof of claim has been filed. There is

27

28 7 Separate PTRs have been prepared for each of the Parcels 1, 2, 4, 5 and 6, respectively, and they
   are attached to the Marshack Declaration as Exhibits “3-7”.
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 1 also a judgment lien in the amount of $94,275.04 recorded against the Land on August 29, 2019,

 2 related to a U.S. District Court lawsuit entitled Silhouette Outdoor Furniture, Inc. v. Glenroy

 3 Coachella, LLC, Case No. EDCV 19-00373-CJC(KKx) (“Silhouette Lien”). See Marshack

 4 Declaration, Ex. 3, pg. 197. Additionally, 33 mechanic’s liens totaling approximately $9 million

 5 have been recorded against the Land (“Mechanic’s Liens”), and 13 lis pendens related to pending

 6 lawsuits are recorded against the Land (“Lis Pendens”). Id, pgs. 194-203. The relative priorities

 7 between the mechanic’s liens and the USRECH Lien is disputed by the respective parties. Marshack

 8 Declaration, ¶ 11. USRECH has filed motions under FRBP 3012 seeking to value the secured

 9 portion of multiple stale mechanics’ liens at $0.00 given their failure to timely perfect by filing

10 lawsuits which hearings are currently scheduled for September 15, 2021 and September 29, 2021.

11            b.      Legal Description
12            According to the PTR, the Property includes five separate parcels assigned Assessor Parcel
13 Numbers: 603-220-061-2, 603-220-067-8, 603-220-068-9, 603-220-065-6, and 603-220-069-0. The

14 Property is legally described as:

15            THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF
              COACHELLA, IN THE COUNTY OF RIVERSIDE, STATE OF CALIFORNIA,
16            AND IS DESCRIBED AS FOLLOWS:
17            PARCELS 1, 2, 4, 5 AND 6 OF PARCEL MAP NO. 37310, IN THE CITY OF
              COACHELLA, COUNTY OF RIVERSIDE, STATE OF CALIFORNIA,
18            ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF
              PARCEL MAPS, RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.
19
              EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED
20            TO THE CITY OF COACHELLA, A MUNICIPAL CORPORATION, AS
              DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
21            (GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS
              INSTRUMENT NO. 2018-359087 OF OFFICIAL RECORDS.
22
              APN: 603-220-061-2 (PARCEL 1); 603-220-067-8 (PARCEL 2); 603-220-068-9
23            (PARCEL 4); 603-220-065-6; (PARCEL 5) AND (603-220-069-0 (PARCEL 6)
24 See Marshack Declaration, Ex. 3-7, pg. X.

25            c.      Marketing Efforts
26            According to the Schedules, Debtor’s 70.5% of the Real Property was worth $52.2 million as
27 of the Petition Date, with secured claims in excess of $30 million. Marshack Declaration, ¶ 13.

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 1            Shortly after Trustee was appointed, he immediately mobilized with his professionals to
 2 investigate and ascertain the Debtor’s assets and liabilities, with a primary focus on the Property and

 3 the potential sale of the Property. Marshack Declaration, ¶ 14. Trustee has had over 75 conference

 4 calls with various parties, agents, brokers, attorneys and potential purchasers of the Property,

 5 including, but not limited to: (1) USRECH and its counsel, Marsha Houston and Christopher Rivas

 6 of Reed Smith LLP; (2) Leonard Shulman of Shulman Bastian Friedman & Bui LLP (“Mr.

 7 Shulman”), counsel for an interested prospective purchaser; (3) David Neale of Levene Neale

 8 Bender Yoo & Brill, LLP and Saul Breskal of Glaser Weil, LLP, counsel for Buyer; (4) multiple

 9 third party brokers and appraisers, including, but not limited, to Steve Lyle of Coldwell Banker

10 Commercial (“Mr. Lyle”) and Mr. Alan Reay of Atlas Hospitality (“Mr. Reay”); (5) Leib Lerner of

11 Alston & Bird LLP, counsel for the previously retained franchisor; and (6) multiple third-party

12 lenders who had previously expressed interest in providing financing for the Property, including, but

13 not limited to EFO Financial Group, LLC (“EFO”). Id., ¶ 15. Further, Trustee obtained a market

14 report for Coachella Valley hotel comparables from Coldwell Banker. Id. These communications

15 and Trustee’s analysis of information provided proved to be vital in the Trustee’s efforts to

16 consummate a sale of the Property. Id.

17            Trustee continues to have communications with several potential overbidders who continue
18 to remain interested in the property. Id.

19            d.      Valuation of the Property and Anticipated Completion Costs
20            Trustee spent considerable time investigating and analyzing the anticipated costs to complete
21 the Project. Marshack Declaration, ¶ 18. To that end, Trustee and his professionals interviewed Mr.

22 Lyle of Coldwell Banker and Mr. Reay of Atlas Hospitality who specialize in the marketing of

23 similar hotel projects in the Coachella Valley. Id. Trustee assessed the market report for Coachella

24 Valley hotel comparables obtained from Coldwell Banker. Id. Based on the information provided by

25 Mr. Lyle and Mr. Reay, Trustee concluded that the Estate is not in a position to finance the

26 completion of construction. Id.

27            e.      Compromise with USRECH
28            Debtor borrowed money from USRECH and, together with the TICs, secured the debt with a

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 1 deed of trust against the Land. Marshack Declaration, ¶ 19. Prior to bankruptcy, Debtor defaulted on

 2 the loan and USRECH commenced judicial and non-judicial foreclosure proceedings. Id. A receiver

 3 was also appointed by the Riverside County Superior Court more than a year before this bankruptcy

 4 was filed. Id.

 5            Notwithstanding Trustee’s best efforts, he has been unable to locate an interested buyer who
 6 would pay enough for the Property to satisfy all liens, including mechanic’s liens. Marshack

 7 Declaration, ¶ 20. If USRECH were to foreclose, the sales price undoubtedly would be for less than

 8 a negotiated third-party sale. Id. Plus, there would be a substantial deficiency claim that would dilute

 9 the Estate’s unsecured creditor body. Id. Lastly, any liens that were wiped out in a foreclosure sale

10 would undoubtedly lead to increased unsecured claims.

11            As such, and in order to realize some certain benefit to the Estate, Trustee negotiated an
12 agreement pursuant to which USRECH will consent to a sale free and clear of its lien for an amount

13 that is a substantially discounted, provide carve-outs for the benefit of the Estate’s administrative

14 claims, and subordinate the balance of its claim otherwise secured by its lien to all other allowed

15 general unsecured creditors. In exchange, the Court entered the Compromise Order, pursuant to

16 which USRECH is permitted to credit bid in the absence of third-party purchasers who meet the

17 terms of the compromise between the Trustee and USRECH and on the condition that it fund an

18 escrow to pay holders of mechanic’s liens that are determined to be allowed, valid, and senior in

19 priority and to release any claims held by the Estate. If USRECH is the successful purchaser

20 through credit bid, it will be afforded the same protections a third party cash purchaser. In sum, the

21 proposed agreement created a path for Trustee to avoid the risk of losing the Property in foreclosure

22 and to realize substantial benefits from its administration including payment of substantially all

23 secured claims.

24            On July 28, 2021, as Dk. No. 322, Trustee filed a motion to approve the USRECH
25 compromise (“Compromise Motion”). On September 13, 2021, the Court entered an order granting

26 the Compromise Motion.

27 / / /

28 / / /

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 1 4.         Proposed Sale
 2                A.   Summary of Terms
 3            THE FOLLOWING DESCRIPTION CONSTITUTES A SUMMARY ONLY OF THE
 4 TERMS OF SALE UNDER THE PROPOSED PSA AND IS PROVIDED FOR CONVENIENCE

 5 AND EASE OF REFERENCE ONLY. THE SUMMARY IS NOT THE PSA. FOR THE

 6 COMPLETE TERMS OF THE PSA, REFER TO EXHIBIT 1 TO THE MARSHACK

 7 DECLARATION.

 8                B.   USRECH Lien, Purchase Price, Deposit, and Benefit to the Estate
 9           i.        USRECH Lien and Carve-Out. USRECH agrees to accept $27.2 million in full
10 satisfaction of the USRECH Lien (plus the amount necessary to reimburse USRECH for taxes paid

11 by USRECH on the Property post-petition) and to consent to the sale and agrees to carve-out

12 $200,000 from such amount to pay Trustee’s and Trustee’s professionals’ fees relating to the sale.

13          ii.        Purchase Price and Form of Consideration. The consideration for the sale of the
14 Property will be: (a) $30,000,000 (if a cash purchaser); (b) Buyer’s payment of all past due taxes and

15 penalties and assumption of the PACE Liens and Mello Roos Assessments believed to be in excess

16 of $13 million including taking title subject to such liens and encumbrances; (c) Buyer’s payment of

17 all costs of sale; and (d) any other payments necessary to satisfy liens against any desired personal

18 property.

19         iii.        Section 363 Transaction. The sale of the Property will be free and clear of all
20 monetary liens, judgments, and claims (“Liens”), except for those which generally run with the Real

21 Property (for example a utility easement), pursuant to 11 U.S.C. § 363(f), provided that should

22 Lender be the successful credit bidder, any mechanics’ lien claims that are not otherwise found by

23 the Court to be invalid or subordinate to Lender’s claim shall remain on the Property provisionally

24 unless and until they are adjudicated otherwise.

25         iv.         Assumption and Assignment of Contracts. If requested by any cash buyer or
26 USRECH, Trustee will assume the Development Contract and assign it to such buyer pursuant to 11

27 U.S.C. § 365. Trustee is currently working with the City to reach an agreement regarding assumption

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 1 and assignment and determine any cure amounts owed. Under the PSA, any Buyer is required to

 2 satisfy all cure amounts.

 3          v.           Auction. Until the hearing on Trustee’s motion to sell the Property, Trustee will have
 4 the right to seek higher and better bids for the Property even after any potentially interest party

 5 makes a bid. On the date of the hearing, an auction will be conducted in Court to determine if there

 6 are higher and better offers.

 7               C.      Buyer’s Due Diligence
 8            Trustee has delivered or will deliver to any interested Buyer copies of all the documents
 9 required for due diligence which are in Trustee’s possession (collectively, the “Due Diligence

10 Materials”). Trustee makes no representation or warranty regarding the truth, accuracy, or

11 completeness of any Due Diligence Materials. Any Buyer acknowledges and agrees that it is

12 purchasing the Property in an “as-is, where is, with all faults” condition as of the close of escrow.

13               D.      “As Is” Sale
14            Buyer acknowledges that: (1) it has had or will have the opportunity to inspect the Property
15 and perform due diligence; and (2) the purchase is “as is” “where is.”

16               E.      No Representations Regarding Amounts owed to Lienholders
17            Any Buyer acknowledges that Trustee makes no representations regarding the amounts owed
18 to the holders of liens against real and personal property, and any such bBuyer shall be fully

19 responsible for conducting whatever investigation and due diligence it deems appropriate prior to the

20 release or expiration of contingencies.

21               F.      Distribution
22            Trustee proposes to distribute the sale proceeds in the following order:
23                    A. Property taxes;
24                    B. Reserve for liens senior to Lender including mechanics’ liens which such
25                       distributions not occurring until priority over Lender is adjudicated;
26                    C. In the event of a cash purchaser who is capable of closing on the terms of the PSA, to
27                       Lender in the amount of $27,200,000, plus funds sufficient to repay Lender for real
28                       property taxes paid after the Petition Date. Trustee will only make distributions to

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 1                       Lender after reserving funds sufficient to pay claims potentially senior to Lender’s
 2                       deed of trust. Lender has agreed to allow Trustee to retain $200,000 as a carveout in
 3                       favor of the estate; and
 4                    D. Although Trustee does not anticipate receiving funds in excess of Lender’s lien, any
 5                       such funds will be distributed pursuant to the lienholders’ priority until such funds are
 6                       exhausted, and then to unsecured creditors.
 7             G.        Overbid Procedure and Separate Motion
 8            Trustee has maintained contact with multiple prospective buyers and is actively soliciting
 9 bids for the Property. Any offer accepted prior to the hearing will be subject to overbid, filed with

10 the Court, and will constitute the initial bid for the Property. Any interested bidder is encouraged to

11 obtain a copy of the Motion and contact the Trustee’s counsel prior to the hearing. The Property will

12 be sold subject to overbid at an open auction (“Auction”) to be conducted by Trustee in Court, at the

13 time that this Motion is heard. Trustee intends to file a separate motion for order establishing

14 procedures for sale of the Property (“Procedure Motion”). Among other things, the Procedure

15 Motion will request:

16            1.         In the event of a cash purchaser who enters into the PSA, approval of a break-up fee
17 in the amount of $100,000 to be paid by Lender in the event such cash buyer is overbid and does not

18 become the successful bidder (“Break-Up Fee”);

19            2.         Setting the date by which bids must be submitted by overbidders and the date of the
20 auction; and

21            3.         Approval of procedures for the auction process, including (i) requiring cash bidders to
22 provide good faith purchase price deposits in an amount no less than $1,000,000 (“Deposit”) and

23 evidence of ability to perform that is reasonably satisfactory to Trustee, (ii) requiring the first

24 overbid to exceed the sum of the purchase price, plus the Breakup Fee by at least $500,000 and all

25 subsequent overbids to be in increments of at least $250,000, (iii) allowing any cash buyer that signs

26 the PSA to increase its bid at any time and to credit bid the amount of the Breakup Fee, and

27 (iv) requiring each bidder to qualify as a bidder prior to the sale by (a) complying with the financial

28 conditions relating to overbids set forth above, (b) submitting qualifications to Trustee no later than

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 1 five business days prior to the hearing for consideration of the motion to approve the sale together

 2 with a cash deposit equal to the amount of the Deposit and evidence reasonably satisfactory to the

 3 Trustee and any buyer that signs the PSA that establishes the party’s financial ability to close on the

 4 purchase of the Property, and agreeing to purchase the Property on the same or better terms and

 5 conditions as are set forth in the PSA.

 6            Trustee believes the foregoing overbid terms are reasonable under the circumstances of this
 7 case and will ensure that the price ultimately received for the Property will be the highest and best

 8 price. As such, Trustee requests approval of the procedures to be included in a separately-filed

 9 Procedure Motion.

10 5.         Legal Discussion
11            A trustee “may use, sell, or lease, other than in the ordinary course of business, property of
12 the estate.” 11 U.S.C. § 363(b). “The court’s obligation in § 363(b) sales are to assure that optimal

13 value is realized by the estate under the circumstances.” Simantob v. Claims Prosecutor, L.L.C. (In

14 re Lahijani), 325 B.R. 282, 288 (B.A.P. 9th Cir. 2005). For a trustee to sell property of the estate,

15 “there must be some articulated business justification for using, selling, or leasing the property

16 outside the ordinary course of business… whether the proffered business justification is sufficient

17 depends on the case.” Walter v. Sunwest Bank (In re Walter), 83 B.R. 14, 19-20 (B.A.P. 9th Cir.

18 1988) (adopting the language of In re Continental Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir.

19 1986)). Section 363 even allows the trustee to sell “substantially all of the assets of the estate.” Otto

20 Preminger Films, Ltd. v. Qintex Entertainment, Inc. (In re Qintex Entertainment, Inc.), 950 F.2d

21 1492, 1495 (9th Cir. 1991); see, e.g., In re Kellogg-Taxe, 2014 Bankr. LEXIS 1033 at *17 (Bankr.

22 C.D. Cal. 2014) (Neiter, J.); see also, e.g., Pinnacle Restaurant at Big Sky, LLC v. CH SP

23 Acquisitions, LLC (In re of Spanish Peaks Holdings II, LLC), 862 F.3d 1148 (9th Cir. 2017).

24            The court should approve a sale of property under § 363(b)(1) if the trustee has established a
25    sound business purpose for the proposed transaction. Walter, 83 B.R. at 16; In re Wilde Horse
26    Enterprises, Inc., 136 B.R. 830, 841 (Bankr. C.D. Cal. 1991) (“In any sale of estate assets, the
27    ultimate purpose is to obtain the highest price for the property sold.”). The business judgment
28    standard is deferential. Lahijani, 325 B.R. at 289 (“Ordinarily, the position of the trustee is afforded

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 1    deference, particularly where business judgment is entailed in the analysis or where there is no
 2    objection.”).
 3            A.      There is a sound business justification for the Sale.
 4            The Ninth Circuit Bankruptcy Appellate Panel in Walter adopted a flexible case-by-case test
 5 to determine whether the business purpose for a proposed sale is adequate to approve a sale under 11

 6 U.S.C. § 363(b). As stated in Lahijani, supra, the courts will defer to the business judgment of the

 7 Trustee to ensure that “optimal value is realized by the estate under the circumstances.” Lahijani,

 8 325 B.R. at 288; Nevada Business Credit, LLC v. Kavanagh (In re Golden Empire Air Rescue, Inc.),

 9 2007 Bankr. LEXIS 4880 at *21-23 (B.A.P. 9th Cir. 2007); Lind v. Spacone (In re Lind), 2019

10 Bankr. LEXIS 2052 at *7 (B.A.P. 9th Cir. 2019).

11            After completing his investigation, Trustee believes that the benefit to Debtor’s creditors will
12 be maximized by a sale of the Property. Trustee has been communicating with potential buyers and

13 actively attempting to consummate a sale of the Property for several months. Trustee has negotiated

14 the terms set forth in the attached PSA subject to the terms of Trustee’s compromise with Lender

15 and require a relatively quick closing. The $30,000,000 sales price is fair based upon outstanding

16 liens, the carve-outs, the reimbursement, and the arm’s length negotiations between Trustee and any

17 cash buyer. See Marshack Declaration, ¶ 23. Simply put, Trustee’s decision to sell the Property

18 reflects a sound business decision. Id., ¶ 23.

19            B.      Notice is proper.
20            Trustee must give notice of any sale of property of the estate. See 11 U.S.C. § 363(b)(1). Sale
21 notices are governed by FRBP 6004. See, e.g., Citicorp Mortgage v. Brooks (In re Ex-Cel Concrete

22 Co.), 178 B.R. 198, 202 (B.A.P. 9th Cir. 1995). Failure to provide notice in a proposed sale free and

23 clear implicates the concerns of Constitutional due process, and therefore, a sale free and clear

24 without proper service may be void. See id. at 205.

25            In this case, Trustee will give notice to Debtor, the United States Trustee, all known creditors
26 (secured and unsecured), all other interested parties, and any buyers that Trustee believes may be

27 interested in placing bids. Service of the Motion is proper and constitutes adequate and reasonable

28

                                                   14
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 1 notice. Moreover, notice of the sale and bidding procedures will be published on the Website for the

 2 U.S. Bankruptcy Court for the Central District of California.

 3            C.      The Sale is made in good faith.
 4            “A good faith buyer is one who buys in good faith and for value.” Paulman v. Gateway
 5 Venture Partners III, L.P. (In re Filtercorp, Inc.), 163 F.3d 570, 577 (9th Cir. 1998) (internal

 6 quotation marks omitted). “[A]n actual finding of good faith is not an essential element for approval

 7 of a sale under § 363(b).” Thomas v. Namba (In re Thomas), 287 B.R. 782, 785 (B.A.P. 9th Cir.

 8 2002). “Good faith encompasses fair value, and further speaks to the integrity of the transaction.” In

 9 re Wilde Horse Enterprises, Inc., 136 B.R. 830, 842 (Bankr. C.D. Cal. 1991) (internal quotation

10 marks omitted). “Lack of good faith is typically shown by fraud, collusion between the purchaser

11 and other bidders or the trustee, or an attempt to take grossly unfair advantage of other bidders.”

12 Filtercorp, 163 F.3d at 577 (citing Ewell v. Diebert (In re Ewell), 958 F.2d 276, 281 (9th Cir.

13 1992)); see also Thomas, 287 B.R. at 785.

14            The sale of the Property has been negotiated with multiple potentially interested buyers at
15 arms’ length. Marshack Declaration, ¶ 24. There has been no fraud or collusion present during

16 negotiations, and this is not an insider transaction. Id. No potential buyer has received or will receive

17 any special treatment or consideration. Id. Because the proposed sale will be by auction and subject

18 to overbid, Trustee believes that any qualified buyer, including USRECH, will be entitled to a good

19 faith determination. Id. Prior to or at the conclusion of the hearing, Trustee will present evidence

20 sufficient for the Court to make such a determination with respect to the winning bidder(s) or any

21 back-up bidder(s). As a result, the sale is made in good faith.

22 6.         The Sale should be approved free and clear of liens, claims, and
23            encumbrances.
24            With a few exceptions, Trustee seeks authority to complete the sale free and clear of all liens,
25 claims, and interests, including charges, mortgages, pledges, security interests, hypothecation,

26 restrictions, claims, secured debts, unsecured debts, liens, or encumbrances (previously defined as

27 “Liens”). The following assets included in the term “Property” and to be sold under the PSA will not

28 be sold free and clear:

                                                   15
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 1           Easements, assessments, covenants, conditions, restrictions, dedications, access,
 2            maintenance, and other recorded burdens that run with the land;
 3           The items listed in Schedule C attached to the PSA;
 4           Existing and senior-in-priority PACE and Mello Roos encumbrances securing debts in excess
 5            of $13,000,000; and
 6           The alleged subordinated mechanic’s lien of Doug Wall Construction, but only if any cash
 7            buyer chooses to assume the alleged lien prior to closing as set forth in Section 7 below and
 8            Article 2.2.d of the PSA.
 9            Section 363(f) allows a trustee to sell property of the bankruptcy estate “free and clear of any
10 interest in such property of an entity,” if any one of the following five conditions is met:

11            (1)     Applicable non-bankruptcy law permits a sale of such property free and clear
              of such interest;
12            (2)     Such entity consents;
              (3)     Such interest is a lien and the price at which such property is to be sold is
13            greater than the aggregate value of all liens on such property;
              (4)     Such interest is in bona fide dispute; or
14            (5)     Such entity could be compelled, in a legal or equitable proceeding, to accept
              money satisfaction of such interest.
15

16 11 U.S.C. § 363(f); see, e.g., Pinnacle Restaurant at Big Sky, LLC v. CH SP Acquisitions, LLC (In re

17 of Spanish Peaks Holdings II, LLC), 862 F.3d 1148, 1153-54 (9th Cir. 2017).

18            The Ninth Circuit Court of Appeals has held that where state foreclosure law would eliminate
19 a junior interest, the Trustee may sell property free and clear of such interest:

20            Second, we emphasize that section 363(f) authorizes free-and-clear sales only in
21            certain circumstances. The bankruptcy court did not specify which circumstance
22            justified the sale in this case, stating only that Pinnacle and Opticom “d[id] not
23            dispute that at least one provision of § 363(f) was satisfied.” We, on the other hand,
24            focus on 11 U.S.C. § 363(f)(1), which authorizes a sale if “applicable nonbankruptcy
25            law permits sale of such property free and clear of such interest.” 11 U.S.C.
26            § 363(f)(1).
27                                                       …
28

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 1            Under Montana law, a foreclosure sale to satisfy a mortgage terminates a subsequent
 2            lease on the mortgaged property. See Ruby Valley Nat'l Bank v. Wells Fargo
 3            Delaware Trust Co., 2014 MT 16, 373 Mont. 374, 317 P.3d 174, 178 (Mont. 2014);
 4            Williard v. Campbell, 91 Mont. 493, 11 P.2d 782, 787 (Mont. 1932). SPH's
 5            bankruptcy proceeded, practically speaking, like a foreclosure sale—hardly surprising
 6            since its largest creditor was the holder of the note and mortgage on the property.
 7            Indeed, had SPH not declared bankruptcy, we can confidently say that there would
 8            have been an actual foreclosure sale. Such a sale would have terminated the Pinnacle
 9            and Opticom leases. Section 363(f)(1) does not require an actual or anticipated
10            foreclosure sale. It is satisfied if such a sale would be legally permissible.”
11 See, e.g., Spanish Peaks, 872 F.3d at 900 (9th Cir. 2017). See also, In re Jolan, 403 B.R. 866, 869-70

12 (Bankr. W.D. Wash. 2009) (“judicial and nonjudicial foreclosures in Washington operate to clear

13 junior lienholders’ interests, and their liens attach to proceeds in excess of the costs of sale and the

14 obligation or judgment foreclosed.”).

15            California law is in accord.
16            “A trustee’s deed conveys the absolute legal title to the purchaser, as against all
17            claims subordinate to the deed of trust, but subject to all prior rights, interests, and
18            titles.” (Brown v. Copp (1951) 105 Cal.App.2d 1, 6 [232 P.2d 868].) “Where a trust
19            deed to secure a loan is taken without notice of a lease of the premises, . . . the
20            lessee's interest under such lease is foreclosed by the foreclosure of the deed of trust.”
21            (First Nat. Bank v. Coast Consol. Oil Co. (1948) 84 Cal.App.2d 250, 256 [190 P.2d
22            214] (hereafter First Nat. Bank); see also Tropical Investment Co. v. Brown (1919) 45
23            Cal.App. 205, 211 [187 P. 133].)
24 R-Ranch Mkts. #2, Inc. v. Old Stone Bank, 16 Cal. App. 4th 1323, 1327, 21 Cal. Rptr. 2d 21, 23

25 (1993).

26            Moreover, in the absence of any objection, any lien holder or claimant is deemed to have
27 consented to the proposed sale. In other words, failure to object to a proposed sale free and clear may

28 be deemed consent. In re Yacoobian Enterprises LP, 2012 Bankr. LEXIS 4062 at *6 (Bankr. C.D.

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 1 Cal. 2012) (Mund, J.) (“A foreclosure sale is a sale of the property. Section 363(f)(2) can be

 2 interpreted to mean that Dumaine’s silence was consent to the sale.”); FutureSource, LLC v. Reuters

 3 Ltd., 312 F.3d 281, 285-86 (7th Cir. 2002); Pelican Homestead v. Wooten (In re Gabel), 61 B.R.

 4 661, 667 (Bankr. W.D. La. 1985) (failure to object constitutes implied consent).

 5            Where a free and clear sale is proposed under 11 U.S.C. § 363(f)(4), “[t]he parties must
 6 provide some factual grounds to show some objective basis for the dispute.” In re Kellogg-Taxe,

 7 2014 Bankr. LEXIS 1033 at *22 (Bankr. C.D. Cal. 2014); accord, SEC v. Capital Cove Bancorp

 8 LLC, 2015 U.S. Dist. LEXIS 174856 at *15-16 (C.D. Cal. 2015); cf. Marciano v. Fahs (In re

 9 Marciano), 459 B.R. 27, 54 (B.A.P. 9th Cir. 2011) (defining a bona fide dispute in the context of 11

10 U.S.C. § 303 as requiring “an objective basis for either a factual or a legal dispute as to the validity”

11 of the interest). If a claim is disputed in part, then the entire claim may be treated as a disputed

12 claim. See In re QDOS, Inc., 591 B.R. 843, 848-50 (Bankr. C.D. Cal. 2018) (Wallace, J.) (“the

13 proposition ‘a partially disputed claim is a disputed claim’ is not only true, it is necessarily true.”)

14 reversed and remanded on other grounds in Hayden v. QDOS, Inc. (In re QDOS, Inc.), 2019 Bankr.

15 LEXIS 3480 (B.A.P. 9th Cir., 2019).

16            By this Motion, and subject to the exceptions described above, Trustee is requesting a finding
17 by this Court that the Property is sold free and clear of the Liens as to a cash purchaser, and should

18 Lender be the successful credit bidder, any mechanics lien claims asserted by claimants alleging a

19 senior lien shall remain on the Property until such claims are settled or adjudicated invalid or junior

20 to Lender’s liens.

21            A.      USRECH
22            There is a deed of trust recorded in favor of USRECH, which has filed a secured proof of
23 claim in the amount of $30,878,944.46

24            As noted above, Trustee and USRECH entered into an agreement pursuant to which
25 USRECH consents to the proposed sale free and clear of its lien. On September 13, 2021, the Court

26 entered an order approving the compromise.

27            Under the terms of the Court-approved agreement, in the event a cash purchaser who can
28 perform the terms of the PSA is the successful purchaser of the Property, USRECH will accept not

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 1 less than $27.2 million (plus any taxes paid by USRECH after the petition date) in full satisfaction of

 2 its lien in accordance with the compromise, which requires that USRECH also be paid for any taxes

 3 actually paid by USRECH post-petition, and consents to a carve-out from such amount to pay

 4 Trustee’s and Trustee’s professional fees relating to the sale. Thus, the sale should be approved

 5 under § 363(f)(2).

 6            USRECH will be served with this Motion. Trustee contends that as to a successful cash
 7 purchaser (and subject to the PSA and the Compromise Order), the USRECH Lien is subject to a

 8 sale free and clear under § 363(f)(1) since the lien could be eliminated by a foreclosure of a senior

 9 lien and under § 363(f)(3) since the proposed sale is for a price in excess of the amount USRECH

10 has agreed to accept in full satisfaction of the USRECH Lien.

11            As such, Trustee requests that sale be approved free and clear of the USRECH Lien under 11
12 U.S.C. §§363(f)(1), (f)(2) and (f)(3).

13            B.      Silhouette Outdoor Furniture, Inc.
14            A judgment in the amount of $94,275.04 was recorded against the Real Property on August
15 29, 2019, related to a U.S. District Court lawsuit entitled Silhouette Outdoor Furniture, Inc. v.

16 Glenroy Coachella, LLC, Case No. EDCV 19-00373-CJC(KKx) (“Silhouette Lien”).

17            Silhouette will be served with this Motion. Trustee contends that the Silhouette Lien is
18 subject to a sale free and clear under § 363(f)(1) since the lien could be eliminated by a foreclosure

19 of a senior lien and under § 363(f)(2) to the extent there is no objection.

20            As such, Trustee requests that sale be approved free and clear of the Silhouette Lien under 11
21 U.S.C. §§363(f)(1) and (f)(2).

22            C.      Mechanic’s Liens and Lis Pendens
23            Pursuant to the PTRs, the following mechanic’s liens were recorded against the Property:
24                                                                  Date
         Creditor                                          Amount Recorded           Instrument No.
25
         Hi-Grade Materials Co.                          $32,847.96 7/5/2018         2018-0273102
26       Glendale Plumbing & Fire Supply                 $23,792.54 10/26/2018       2018-0423202

27       Ferguson Enterprises, LLC                      $119,569.73 5/22/2019        2019-0179443
28       Superior Ready Mix Concrete L.P.                $20,571.27 5/29/2019        2019-0190540
         Sherwin-Williams Company                        $26,794.79 7/10/2019        2019-0252361
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 1       GF Investment Group, Inc.                     $259,695.63 6/6/2019         2019-0204095
         Blair Air, Inc. dba Blair Heating &
 2
         Air                                           $297,443.80 6/7/2019         2019-0206598
 3       Hajoca Corporation                             $39,636.17 6/11/2019        2019-0210159
         American Builders & Contractors
 4       Supply Co., Inc. (ABC)                         $24,813.58 6/13/2019        2019-0213172
         Desert Electric Supply                         $61,574.60 6/18/2019        2019-0218809
 5
         Apple J. Plumbing, Inc.                       $175,845.06 6/18/2019        2019-0219453
 6       Jacobsson Engineering
         Construction, Inc.                          $1,042,299.00   6/21/2019      2019-0225760
 7       West Coast Sand & Gravel, Inc.                 $21,666.29   7/10/2019      2019-0253543
 8       Superior Pool Products, LLC                    $14,386.05   7/11/2019      2019-0254740
         Resource Building Materials                     $1,905.04   7/15/2019      2019-0258520
 9       L&W Supply Corp.                               $10,861.98   8/5/2019       2019-0293318
10       L&W Supply Corp.                                $8,643.42   8/5/2019       2019-0293319
         Desert Palms Electric, Inc.                  $389,839.09    8/6/2019       2019-0295567
11       Guaston Corp.                                  $21,153.36   8/21/2019      2019-0321135
         Ferguson Enterprises, LLC                    $119,569.73    8/26/2019      2019-0328148
12
         TemalPakh, Inc. dba the Works                  $33,628.46   8/26/2019      2019-0328428
13       Floor & Wall

14
         BMC West, LLC                                  $50,290.00 9/11/2019        2019-0354394
15       Doug Wall Construction, Inc.                $4,359,813.13 10/7/2019        2019-0401936
         Al Miller & Sons & Roofing Co.,
16       Inc.                                          $153,901.00 10/7/2019        2019-0402031
         Southwest Plumbing Inc.                       $111,141.13 9/24/2019        2019-0377201
17
         All Phase Drywall &
18       Development, Inc.                              $40,000.00 9/25/2019        2019-0379585
         All Phase Drywall &
19       Development, Inc.                             $396,871.43 9/25/2019        2019-0379586
         Tandem West Glass, Inc.                       $449,849.39 10/11/2019       2019-0402041
20
         GF Investment Group, Inc.                     $250,695.63 9/27/2019        2019-385786
21       La Hacienda Nursery &
         Landscape, Inc.                               $146,717.74 10/16/2019       2019-0415743
22       Gauston Corp.                                  $28,829.75 6/25/2018        2018-0255143
23

24 Collectively referred to as “Mechanic’s Liens.”

25            Pursuant to the PTR, the following lis pendens were recorded against the Property:

26            a.      September 24, 2019, related to a Riverside Superior Court lawsuit entitled Mascorro

27                    Concrete Construction, Inc. v. Doug Wall Construction, Inc.; Glenroy Coachella,

28                    LLC, et. al, Case No. PSC 1906560;

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 1            b.      September 24, 2019, related to a Riverside Superior Court lawsuit entitled Apple J.
 2                    Plumbing v. Doug Wall Construction, Inc.; Glenroy Coachella, LLC, et. al, Case No.
 3                    PSC 1906579;
 4            c.      September 24, 2019, related to a Riverside Superior Court lawsuit entitled Desert
 5                    Palm Electric, Inc. v. Doug Wall Construction, Inc.; Glenroy Coachella, LLC, et. al,
 6                    Case No. PSC 1906554;
 7            d.      September 24, 2019, related to a Riverside Superior Court lawsuit entitled Ferguson
 8                    Enterprises, Inc. v. Doug Wall Construction, Inc.; Glenroy Coachella, LLC, et. al,
 9                    Case No. PSC 1906136;
10            e.      October 16, 2019, related to a Riverside Superior Court lawsuit entitled Doug Wall
11                    Construction, Inc. v. Glenroy Coachella, LLC, et. al, Case No. PSC 1907309;
12            f.      October 23, 2019, related to a Riverside Superior Court lawsuit entitled Tmalpakh,
13                    Inc., dba The Works Floor & Wall. v. Glenroy Coachella, LLC, et. al, Case No. PSC
14                    1907262;
15            g.      October 25, 2019, related to a Riverside Superior Court lawsuit entitled Orco Block &
16                    Hardscape. v. Glenroy Coachella, LLC, et. al, Case No. PSC 1907155;
17            h.      November 22, 2019, related to a Riverside Superior Court lawsuit entitled BMC West
18                    LL. v. Glenroy Coachella, LLC, et. al, Case No. PSC 1908245;
19            i.      January 2, 2020, related to a Riverside Superior Court lawsuit entitled La Hacienda
20                    Nursery & Landscape. v. Glenroy Coachella, LLC, et. al, Case No. PSC 1909423;
21            j.      January 9, 2020, related to a Riverside Superior Court lawsuit entitled All Phase
22                    Drywall & Devleopment v. Glenroy Coachella, LLC, et. al, Case No. PSC 1909367;
23            k.      January 10, 2020, related to a Riverside Superior Court lawsuit entitled Tandem West
24                    Glass v. Glenroy Coachella, LLC, et. al, Case No. PSC 2000015;
25            l.      January 10, 2020, related to a Riverside Superior Court lawsuit entitled Al Miller &
26                    Sons Roofing, Inc. v. Glenroy Coachella, LLC, et. al, Case No. PSC 1909423; and
27            m.      February 13, 202, related to a Riverside Superior Court lawsuit entitled U.S. Real
28                    Estate Credit Holdings III-A. v. Glenroy Coachella, LLC, et. al, Case No. RIC

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 1                    1905743.
 2 Collectively referred to as the “Lis Pendens.”

 3            Absent a formal response to the Motion, the Mechanic’s Lienholders and parties who
 4 recorded Lis Pendens (who all appear to be Mechanic’s Lienholders) should be deemed to have

 5 consented to the sale.

 6            In the event a cash purchaser executes the PSA, the sale should also be free and clear
 7 because, as described below, the relative priorities between the Mechanic’s Liens and the USRECH

 8 Lien are disputed by the respective parties. Marshack Declaration, ¶ 26. Conversely, in the event

 9 that USRECH is the successful credit bidder, such Mechanics Liens should remain on the Property

10 until settled or adjudicated otherwise.

11                    i.       The Stale Liens
12            Pursuant to California Law, the holder of a mechanic’s lien must file a lawsuit to foreclose
13 within 90 days after recording. See Cal. Civil Code §8460. Several Mechanic’s Lienholders recorded

14 liens on the Real Property, but failed to timely file foreclosure actions in the Superior Court to

15 prosecute their liens or to file a notice to perfect its lien pursuant to 11 U.S.C. § 546(b). Such alleged

16 lienholders include:

17           American Builders & Contractors Supply Co.,
18           Clear Coast Restoration (not reflected in PTR),
19           Constructure, Inc.
20           DAL Tile Distribution, Inc. (not reflected in PTR),
21           Gauston Corp.,
22           Glendale Plumbing & Fire Supply,
23           Hi-Grade Materials Co.,
24           Resource Building Materials,
25           Robertson’s Ready Mix (not reflected in PTR),
26           SiteOne Landscape Supply,
27           Southwest Plumbing, Inc.,
28           Superior Pool Products, LLC, and

                                                       22
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 1           West Coast Sand and Gravel, Inc. (collectively, the “Stale Lienholders”).
 2            On August 25, 2021, as Dk. No. 399, and on September 8, 2021, as Dk. No. 430, as to the
 3 alleged Mechanic’s Liens of the Stale Lienholders, USRECH filed motions for determination of the

 4 value of the alleged secured claims of mechanic’s lien claimants and for the expungement of

 5 mechanic’s liens (“Expungement Motions”). The Stale Lienholders will be served with this Motion.

 6 Trustee contends that the alleged Mechanic’s Liens and Lis Pendens of the Stale Lienholders are

 7 subject to a sale free and clear under § 363(f)(1) since the liens could be eliminated by a foreclosure

 8 of a senior lien, under § 363(f)(2) to the extent there is no objection and/or the lienholders consent to

 9 the sale, and under § 363(f)(4) because the liens are subject to bona fide dispute pursuant to the

10 Expungement Motion.

11                    ii.    The Subordinated Liens
12            The two largest Mechanic’s Lienholders have contractually subordinated their claims to
13 USRECH’s liens: Jacobsson Engineering Construction, Inc. (asserting a $1.2 million secured claim)

14 and Doug Wall Construction, Inc. (asserting a $3.8 million secured claim) (collectively, the

15 “Subordinated Lienholders”). Although the Subordinated Lienholders argue that the subordination

16 agreements are invalid, the Subordinated Liens are clearly subject to bona fide dispute.

17            The Subordinated Lienholders will be served with this Motion. Trustee contends that the
18 alleged Mechanic’s Liens and Lis Pendens of the Subordinated Lienholders are subject to a sale free

19 and clear under § 363(f)(1) since the liens could be eliminated by a foreclosure of a senior lien,

20 under § 363(f)(2) to the extent there is no objection and/or the lienholders consent to the sale, and

21 under § 363(f)(4) because the liens are subject to bona fide dispute pursuant to the subordination

22 agreements.

23                    iii.   The Otherwise Disputed Liens
24            The remaining Mechanic’s Lienholders timely filed prepetition foreclosure actions in the
25 Superior Court, but their alleged liens are nevertheless subject to dispute for a variety of reasons,

26 including: (1) the existence of potential defenses to the foreclosure action; (2) failure to meet the

27 minimum prima facie standards to assert a lien claim; (3) the alleged lien may have been perfected

28 as to personal property rather than the Real Property; and (4) the claim may not be secured other

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 1 than potential recoupment or setoff rights. To the extent these lienholders (collectively, the

 2 “Disputed Lienholders”) are indeed senior in priority to USRECH, they will be paid in full once the

 3 issue of priority is resolved. As such, the Trustee requests authority to sell free and clear.

 4            The Disputed Lienholders will be served with this Motion. Trustee contends that the alleged
 5 Mechanic’s Liens and Lis Pendens of the Disputed Lienholders are subject to a sale free and clear

 6 under § 363(f)(1) since the liens could be eliminated by a foreclosure of a senior lien, under

 7 § 363(f)(2) to the extent there is no objection and/or the lienholders consent to the sale, under

 8 § 363(f)(3) because the Disputed Lienholders will be paid in full to the extent their liens are indeed

 9 senior in priority to the USRECH Lien, and under § 363(f)(4) because the liens are subject to bona

10 fide dispute pursuant to the subordination agreements.

11            D.      Certificate of Indebtedness
12            Pursuant to the PTRs, the following Certificates of Indebtedness were recorded against the
13 Property by the Receiver in favor of USRECH:

14                                                                  Date
      Description                                            Amount Recorded        Instrument No.
15    Certificate No. 1 - to U.S. Real Estate
16    Credit Holdings III-A                              $50,000.00 6/12/2020 2020-0252044
      Certificate No. 2 - to U.S. Real Estate
17    Credit Holdings III-A                             $621,978.24 6/12/2020 2020-0252045
      Certificate No. 3 - to U.S. Real Estate
18    Credit Holdings III-A                              $24,790.00 6/12/2020 2020-0252046
19    Certificate No. 4 - to U.S. Real Estate
      Credit Holdings III-A                             $185,415.00 6/12/2020 2020-0252047
20    Certificate No. 5 - to U.S. Real Estate
      Credit Holdings III-A                             $267,000.00 6/12/2020 2020-0252048
21    Certificate No. 6 - to U.S. Real Estate
      Credit Holdings III-A                             $175,000.00 6/12/2020 2020-0252049
22
      Certificate No. 7 - to U.S. Real Estate
23    Credit Holdings III-A                             $126,846.89 6/12/2020 2020-0252050
      Certificate No. 8 - to U.S. Real Estate
24    Credit Holdings III-A                             $955,688.44 6/12/2020 2020-0252051
25
     Collectively referred to as “Certificates.”
26
              Pursuant to the court-approved compromise with Lender, it is consenting to the sale free and
27
     clear of its liens including the Certificates with the deficiency claim to be subordinated to all other
28

                                                   24
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 1 unsecured claims.

 2            The Receiver and USRECH will be served with this Motion. Trustee contends that the
 3 Certificates (as with the USRECH Lien) are subject to a sale free and clear under § 363(f)(1) since

 4 the liens could be eliminated by a foreclosure of a senior lien, under § 363(f)(2) to the extent there is

 5 no objection and/or USRECH has consented to the sale pursuant to the compromise, and under

 6 § 363(f)(3) since the sale is for a price in excess of the amount USRECH has agreed to accept in full

 7 satisfaction of the USRECH Lien.

 8            As such, Trustee requests that sale be approved free and clear of the Certificates under 11
 9 U.S.C. §§363(f)(1), (f)(2) and (f)(3).

10 7.         Further Treatment of Mechanic’s Lien of Doug Wall Construction
11            Doug Wall Construction (“DWC”) filed Proof of Claim No. 19-1 alleging that Debtor owes
12 DWC approximately $3,823,871 for unpaid construction costs incurred in connection with the

13 Project (“DWC Claim”), which claim is secured by a mechanic’s lien recorded on the Real Property

14 on September 12, 2019, as document number 2019-0356369 and amended by that certain Amended

15 Mechanics Lien recorded on the Real Property on October 7, 2019, as document number 2019-

16 0401936 (collectively, the “DWC Lien”).

17            At the closing, any Buyer shall have the right to assume the DWC Claim. If any such Buyer
18 fails to notify Trustee in writing prior to the closing of Buyer’s intention to assume the DWC Claim,

19 then (i) the DWC Claim shall be excluded from any Buyer’s assumed liabilities, and (ii) any Buyer

20 shall indemnify the Estate from and against any amounts that the Court determines is payable by the

21 Estate to DWC if the Court rules that the DWC Lien has priority over the lien of USRECH’s deed of

22 trust on the Real Property; provided, however, said indemnity obligation shall be subject to and

23 conditioned upon (a) Trustee using his best faith efforts, consistent with the exercise of his

24 reasonable business judgment, to pursue a determination from the Court that the DWC Lien is either

25 unenforceable or subordinate to USRECH’s deed of trust so that any amounts payable to DWC

26 would be paid exclusively from the proceeds of the sale in excess of the amount needed to obtain a

27 release of USRECH’s deed of trust on the Real Property without increasing the amount payable by

28 Buyer, and (b) Trustee not entering into any settlement with DWC that would trigger Buyer’s

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 1 indemnity obligations without obtaining Buyer’s prior written approval of such settlement. To

 2 clarify, no portion of the $30 million cash portion of the purchase price will be allocated to the DWC

 3 Claim. Instead, if it is determined to have priority over USRECH’s deed of trust, pursuant to the

 4 PSA, any cash buyer will indemnify the Estate and be responsible for payment of the DWC Claim.

 5 8.         The Court should approve a sale to USRECH pursuant to a credit bid
 6            absent a fully-consummated sale to Buyer.
 7            Under Section 363(k), a creditor holding a secured claim against particular property may
 8 “offset such claim against the purchase price of such property” in a sale under Section 363(b). 11

 9 U.S.C. § 363(k). This is commonly called a “credit bid.”9 See, e.g., United States Trustee v. Tamm

10 (In re Hokulani Square, Inc.), 460 B.R. 763, 772 (B.A.P. 9th Cir. 2011). The Bankruptcy Code also

11 “does not affect any right of a creditor to offset a mutual debt owing by such creditor that arose

12 before the commencement of a case under this title against a claim of such creditor against the

13 debtor that arose before the commencement of the case.” 11 U.S.C. § 553(a). The right of an

14 equitable setoff has long been recognized, to prevent “the absurdity of making A pay B when B

15 owes A.” Studley v. Boylston Nat’l Bank, 229 U.S. 523, 528 (1913).

16            The Court-approved agreement between Trustee and USRECH provides that if Trustee is
17 unable to sell the Property to a third party cash buyer for the minimum agreed-upon price acceptable

18 to USRECH, then USRECH will be required to purchase the Property for a credit bid of at least $22

19 million. The Trustee seeks an order authorizing such credit bid, which order shall afford USRECH

20 the same protections as a cash bidder and be subject to its approval, should the Court deny the sale to

21 a third party cash buyer or should the sale to such buyer otherwise fail to be consummated.

22 9.         The Court should authorize Trustee to assume and assign executory
23            contracts and unexpired leases the successful bidder wishes to assume.
24            Through this Motion, Trustee requests authority pursuant to 11 U.S.C. § 365 to assume and
25 assign its interest in the Development Agreement to Buyer concurrently with the closing of the sale.

26

27

28 9 Credit bids are approved by the bankruptcy court using a combination of Sections 105(a) and 363. See, e.g., In re
     Gardens Regional Hospital & Medical Center, Inc., 2016 Bankr. LEXIS 4714 at *7 (Bankr. C.D. Cal. 2016).
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 1            A.      Assumption and assignment of unexpired leases and executory
 2                    contracts is within the Trustee’s business judgment.
 3            Section 365(f)(2) of the Bankruptcy Code provides in relevant part that:
 4            The debtor-in-possession may assign an executory contract or unexpired lease of the debtor
              only if – (A) The trustee assumes such contract or lease in accordance with the provisions of
 5            this section; and (B) Adequate assurance of future performance by the assignee of such
              contract or lease is provided, whether or not there has been a default in such contract or lease.
 6
     11 U.S.C. § 365(f)(2).
 7
              Section 365(b)(1), in turn, codifies the requirements of assuming an unexpired lease of a
 8
     debtor, providing in pertinent part that:
 9
              (b)(1) If there has been a default in an executory contract or unexpired lease of the debtor, the
10            trustee may not assume such contract or lease unless, at the time of assumption of such
              contract or lease, the trustee-
11            (A) cures, or provides adequate assurance that the trustee will promptly cure, such default. . .;
              (B) compensates, or provides adequate assurance that the trustee will promptly compensate, a
12            party other than the debtor to such contract or lease, for any actual pecuniary loss to such
              party resulting from such default; and
13            (C) provides adequate assurance of future performance under such contract or lease.
14 See 11 U.S.C. § 365(b)(1).

15            In determining whether to approve a trustee’s decision to assume an unexpired lease or
16 executory contract, courts have consistently applied a business judgment test. See In re Chi-Feng

17 Huang, 23 B.R. 798 (B.A.P. 9th Cir. 1982); see, e.g., Group of Institutional Investors v. Chicago,

18 Milwaukee, St. Paul & Pacific R.R. Co., 318 U.S. 523, 550 (1953). A trustee satisfies the business

19 judgment test when it determines, in good faith, that assumption of the lease or executory contract

20 will benefit the estate. In re FCX, Inc., 60 B.R. 405, 411 (Bankr. E.D.N.Y. 1986); see Official

21 Comm. for Unsecured Creditors v. Aust (In re Network Access Solutions, Corp.), 330 B.R. 67, 75

22 (Bankr. D. Del. 2005) (“The standard for approving the assumption of an executory contract is the

23 business judgment rule”); In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006) (“The

24 propriety of a decision to reject an executory contract is governed by the business judgment

25 standard”).

26            Under this standard, a court should approve a trustee’s decision unless that decision is the
27 product of bad faith or a gross abuse of discretion. See Computer Sales Int’l, Inc. v. Federal Mogul

28 (In re Federal Mogul Global, Inc.), 293 B.R. 124, 126 (D. Del. 2003); Lubrizol Enters. v. Richmond

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 1 Metal Finishers, 756 F.2d 1043, 1047 (4th Cir. 1985).

 2            Here, the PSA provides for the Trustee’s assumption and assignment to any interested cash
 3 buyer of the Development Agreement if the such buyer so requests and if the sale is approved and

 4 consummated. See PSA at Articles 1.1.a, 5.2.g, and 5.4.d. The requested assumption meets the

 5 business judgment standard and satisfies the requirements of Section 365 in that the Development

 6 Agreement is likely necessary for any Successful Bidder to complete the Hotel and finish the Project

 7 going forward. Additionally, Trustee does not believe than any purchaser would purchase the

 8 Property without the benefits conferred under the Development Agreement. As such, the assumption

 9 and assignment of the Development Agreement is essential to inducing the highest and best offer for

10 the Property.

11            All other unexpired contracts and leases not assumed and assigned to the Successful
12 Bidder(s) shall be deemed rejected as of the Petition Date.

13            B.      Adequate Assurance of future performance
14            The Bankruptcy Code provides that a trustee may assign an executory contract or unexpired
15 lease of the debtor if it assumes the agreement in accordance with 11 U.S.C. § 365(a), and provides

16 adequate assurance of future performance by the assignee, whether or not there has been a default

17 under the agreement. 11 U.S.C. § 365(f)(2). The meaning of “adequate assurance of future

18 performance” depends on the facts and circumstances of each case, but should be given a “practical,

19 pragmatic construction.” EBG Midtown S. Corp. v. McLaren/Hart Env. Eng’g Corp. (In re Sanshoe

20 Worldwide Corp.), 139 B.R. 585, 592 (S.D.N.Y. 1992); In re Rachels Indus., Inc., 109 B.R. 797, 803

21 (Bankr. W.D. Tenn. 1990); see also In re Prime Motor Inns Inc., 166 B.R. 993, 997 (Bankr. S.D.

22 Fla. 1994); Carlisle Homes, Inc. v. Azzari (In re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr.

23 D.N.J. 1988) (“[a]lthough no single solution will satisfy every case, the required assurance will fall

24 considerably short of an absolute guarantee of performance”).

25            Adequate assurance of future performance may be provided by demonstrating, among other
26 things, the assignee’s financial health and experience in managing the type of enterprise or property

27 assigned. See, e.g., In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (stating that

28 adequate assurance of future performance is present when the prospective assignee of lease from the

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 1 debtor has financial resources and has expressed willingness to devote sufficient funding to the

 2 business in order to give it a strong likelihood of succeeding).

 3            Here, Trustee believes that any cash buyer approved by Trustee will have the operational
 4 capacity and financial wherewithal to satisfy all future obligations under the Development

 5 Agreement it wishes to assume, especially considering the $30 million purchase price of the

 6 Property. Further, this Motion will be served on the City of Coachella – the counterparty to the

 7 assignable contract. Therefore, to the extent any counterparty contends that the Motion lacks

 8 evidence of adequate assurance of future performance, each party has an opportunity to respond

 9 under Rule 9013-1(f) of the Local Bankruptcy Rules (“LBR”). Finally, Trustee expects to secure an

10 agreement with the City of Coachella providing for the city’s consent to the proposed assumption

11 and assignment prior to the hearing on this Motion.

12            Trustee requests that the Court grant the Motion and authorize Trustee to assume and assign
13 the Development Agreement as within Trustee’s business judgment, and to find adequate assurance

14 of future performance. To be clear, Trustee only seeks to assume the Development Agreement if a

15 sale to any interested cash buyer (or any other interested bidder) is approved and such buyer requests

16 such assumption.

17 10.        Waiver of the Fourteen-Day Period for Effectiveness of Sale Order
18            Rule 6004(h) provides that “An order authorizing the use, sale, or lease of property other
19 than cash collateral is stayed until the expiration of 14 days after entry of the order, unless the court

20 orders otherwise.” FRBP 6004(h). The legislative history to Rule 6004 provides:

21                    The court may, in its discretion, order that Rule 6004(g) [now 6004(h)]
                      is not applicable so that the property may be used, sold, or leased
22                    immediately in accordance with the order entered by the court.
23                    Alternatively, the court may order that the stay under Rule 6004(g) [now
                      6004(h)] is for a fixed period less than 10 [now 14] days.
24
              Given the notice and full opportunity to object, respond, or participate in overbid procedures
25
     presented by this Motion, Trustee believes that, unless there are objections to the Motion that are not
26
     consensually resolved, it is appropriate and good cause exists for the Court to order that Rule
27
     6004(h) is not applicable, and the Property may be sold immediately. Accordingly, Trustee requests
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 1 that the Court authorize the sale to be effectuated immediately upon entry of the order approving this

 2 Motion.

 3 11.        Any cash buyer or USRECH is a good faith purchaser.
 4            Any cash buyeror USRECH is a good faith purchaser entitled to the protections of 11 U.S.C.
 5 §363(m). “Though the Bankruptcy Code and Rules do not provide a definition of good faith, courts

 6 generally have followed traditional equitable principles in holding that a good faith purchaser is one

 7 who buys ‘in good faith’ and ‘for value.’” In re Ewell, 958 F.2d 276, 281 (9th Cir. 1992) (citing In

 8 re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143, 147 (3rd Cir. 1986). Lack of good faith may

 9 be shown by “fraud, collusion between the purchaser and other bidders or the trustee, or an attempt

10 to take grossly unfair advantage of other bidders.” In re Ewell, 958 F.2d 276, 281 (9th Cir. 1992)

11 (quoting In re Suchy, 786 F.2d 900, 902 (9th Cir. 1985)); see also In re Indus. Valley Refrigeration

12 & Air Conditioning Supplies, Inc., 77 B.R. 15, 17 (Bankr. E.D. Pa. 1987) (good faith requirement

13 “focuses principally on the element of special treatment of the debtor’s insiders in the sale

14 transaction”).

15            In this case, the proposed sale is not predicated on fraud or collusion. Neither Buyer nor any
16 other known potentially interested purchaser has received any special treatment or consideration.

17 Marshack Declaration, ¶ 30. The same is true of any successful purchaser if there is an auction based

18 on overbids. Based upon the foregoing, Trustee submits that the Motion satisfies the standards for

19 approval of a sale of the Property outside of the ordinary course of business pursuant to 11 U.S.C. §

20 363(b), and good cause exists to make a finding that Buyer or any successful overbidder is

21 purchasing the Property in “good faith” pursuant to 11 U.S.C. §363(m).

22            Trustee has met the requirements for approval of the proposed PSA. Trustee has negotiated
23 the PSA because it is in the best interest of unsecured creditors. The Court should approve the PSA.

24 12.        There are no known negative tax consequences that should preclude the
25 sale.

26            Because of the financial condition of the Estate, Trustee does not believe that there will be
27 any adverse tax consequences arising from the proposed sale. In fact, Trustee believes that negative

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 1 tax consequences will be avoided if the sale is approved. If the sale is denied, it is possible that a

 2 foreclosure could result in negative tax consequences to the estate.

 3 13.        Conclusion
 4            Based on the foregoing, Trustee respectfully requests that the Court enter an order providing
 5 that:

 6            1.      The Motion is granted;
 7            2.      Trustee is authorized to sell the Property outside the ordinary course of business
 8 and is further authorized to pay, pursuant to demands submitted to escrow, valid liens and

 9 encumbrances to the extent provided herein;

10            3.      Trustee is authorized to execute all documents necessary to consummate the sale
11 and close escrow, including but not limited to, the PSA, escrow instructions, the grant deed, and any

12 documents required to be executed under the PSA;

13            4.      Trustee is authorized to pay all property taxes arising or due prior to closing;
14 escrow;

15            5.      A sound business purpose exists for the sale;
16            6.      The sale is in the best interest of the Estate, and the minimum proposed cash sale
17 price of $30,000,000 sale price is fair and reasonable;

18            7.      Proper and adequate notice of the Motion has been given;
19            8.      In the event of a successful cash purchaser (subject to the PSA and the Compromise
20 Order), the Property is sold free and clear of all liens, claims, and interests including the USRECH

21 Lien, Silhouette Lien, Mechanic’s Liens, Certificates of Indebtedness, and Lis Pendens pursuant to

22 11 U.S.C. §§ 363(f)(1), (f)(2), (f)(3), and (f)(4);

23            9.      Authorizing Trustee to assume and assign the Development Agreement to Buyer, but
24 only in the event of a fully-consummated sale to an interested cash buyer;

25            10.     Authorizing USRECH’s credit bid of at least $22 million, but only in the event a sale
26 to a cash buyer is not consummated;

27            11.     The 14-day stay regarding the effectiveness of the order shall be waived;
28            12.     Any buyer is a good faith purchaser, entitled to the protections set forth in § 363(m);

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 1            13.     Such other further relief as the Court may deem just and proper
 2

 3 Dated: September 15, 2021                               MARSHACK HAYS LLP
 4
                                                           By: /s/ D. Edward Hays
 5                                                           D. EDWARD HAYS
                                                             CHAD V. HAES
 6                                                           Attorneys for Chapter 11 Trustee,
                                                             Richard A. Marshack
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 1                                Declaration of Richard A. Marshack
 2

 3            I, RICHARD A. MARSHACK, declare and state:
 4            1.      I am the duly-appointed Chapter 11 Trustee of the bankruptcy estate (“Estate”) of
 5 Glenroy Coachella, LLC (“Debtor”). The matters stated below are within my own knowledge or

 6 information and, if called upon to testify, I could and would competently testify thereto.

 7            2.      I make this declaration in support of my motion for order authorizing: (1) the sale of
 8 the real property located at and commonly known as 84151 Avenue 48, Coachella, California, a

 9 luxury hotel project, and related assets under 11 U.S.C. § 363, pursuant to the terms and conditions

10 set forth in the Agreement of Purchase and Sale and Joint Escrow Instructions (“PSA”) attached as

11 Exhibit “1;” or (2) pursuant to credit bit of U.S. Real Estate Credit Holdings, III-A, LLP

12 (“USRECH” or “Lender”) and (3) the assignment of any desired executory contracts and unexpired

13 leases under 11 U.S.C. § 365.

14            3.      As used herein, the term “Buyer” shall mean either a cash purchaser subject to the
15 PSA or Lender, pursuant to its credit bid.

16            4.      On February 15, 2021, Glenroy Coachella, LLC (“Debtor”) filed a voluntary petition
17 under Chapter 11 of the Bankruptcy Code. A true and correct copy of this Court’s webPACER

18 Docket for Case No. 2:21-bk-11188-BB as of September 15, 2021, is attached hereto as Exhibit “2.”

19            5.      On March 19, 2021, the Court entered an order approving the United States Trustee’s
20 application for the appointment of a Chapter 11 Trustee. Since my appointment as trustee, my

21 professionals and I have investigated and spent hundreds of hours conducting due diligence

22 analyzing whether there was any value to be realized from the real property located at and

23 commonly known as 84151 Avenue 48, Coachella, California(“Land”), a luxury hotel project

24 (“Hotel” or “Project”), and related assets (collectively, the “Property”) through a sale or equity

25 recapitalization.

26            6.      Debtor’s primary asset was an approximately 70.5% ownership interest of Land as a
27 tenant-in-common with three other non-debtor entities (“TICs”). To facilitate a sale of the Property,

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 1 the other approximate 29.5% of the Land has been deeded to me, which deeds have been recorded

 2 and the Court has entered an order approving my agreement with the TICs.

 3            7.      On the petition date, the Land was encumbered by a deed of trust in favor of
 4 USRECH in the approximate principal amount of $24,400,000 (“USRECH Lien”). I am informed

 5 and believe that the amount currently owing on the debt associated with the USRECH Lien is

 6 approximately $31 million due to unpaid interest and fees on the underlying note as set forth in

 7 USRECH’s filed proof of claim.

 8            8.      I am informed and believe that Certificates of Indebtedness were recorded against the
 9 Land by the receiver appointed by the Riverside County Superior Court more than a year before this

10 bankruptcy (“Receiver”) and in favor of USRECH totaling $2,406,718.57. A true and correct copy

11 of the recent Preliminary Title Reports (“PTR”) are attached hereto as Exhibits “3-7.”

12            9.      There are California Statewide Communities Development Authority liens against the
13 Land in the approximate amount of $13.75 million pursuant to its filed proof of claim. There are also

14 Mello Roos assessments by the Community Facilities District No. 2005-1 in an amount that I am

15 informed and believe to be in excess of $6 million (“Mello Roos Assessments”). I am unaware of the

16 exact amount of the Mello Roos Assessments because no proof of claim has been filed.

17            10.     There is also a judgment lien in the amount of $94,275.04 recorded against the Land
18 on August 29, 2019, related to a U.S. District Court lawsuit entitled Silhouette Outdoor Furniture,

19 Inc. v. Glenroy Coachella, LLC, Case No. EDCV 19-00373-CJC(KKx) (“Silhouette Lien”). A true

20 and correct copy of the Silhouette Lien is attached hereto as Exhibit “8.”

21            11.     Thirty-three mechanic’s liens totaling approximately $9 million have been recorded
22 against the Land (“Mechanic’s Liens”), and 13 lis pendens related to pending lawsuits are recorded

23 against the Land (“Lis Pendens”). The relative priorities between the Mechanic’s Liens and the

24 USRECH Lien is disputed by the respective parties.

25            12.     USRECH has filed motions under FRBP 3012 seeking to value the secured portion of
26 multiple stale Mechanic’s Liens at $0.00 given their failure to timely perfect by filing lawsuits which

27 hearings are currently scheduled for September 15, 2021 and September 29, 2021.

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 1            13.     According to Debtor’s bankruptcy schedules and statements, Debtor’s 70.5% of the
 2 Real Property was worth $52.2 million as of the Petition Date, with secured claims in excess of $30

 3 million.

 4            14.     Shortly after I was appointed, I immediately mobilized with my professionals to
 5 investigate and ascertain the Debtor’s assets and liabilities, with a primary focus on the Property and

 6 the potential sale of the Property.

 7            15.     I had over 75 conference calls with various parties, agents, brokers, attorneys, and
 8 potential purchasers of the Property, including, but not limited to: (1) USRECH and its counsel,

 9 Marsha Houston and Christopher Rivas of Reed Smith LLP; (2) Leonard Shulman of Shulman

10 Bastian Friedman & Bui LLP, counsel for an interested prospective purchaser; (3) David Neale of

11 Levene Neale Bender Yoo & Brill, LLP and Saul Breskal of Glaser Weil, LLP, counsel for Buyer;

12 (4) multiple third party brokers and appraisers, including, but not limited, to Steve Lyle of Coldwell

13 Banker Commercial (“Mr. Lyle”) and Mr. Alan Reay of Atlas Hospitality (“Mr. Reay”); (5) Leib

14 Lerner of Alston & Bird LLP, counsel for the previously retained franchisor; and (6) multiple third-

15 party lenders who had previously expressed interest in providing financing for the Property,

16 including, but not limited to EFO Financial Group, LLC.

17            16.     I also obtained a market report for Coachella Valley hotel comparables from Coldwell
18 Banker. These communications and my analysis of information provided proved to be vital in my

19 efforts to consummate a sale of the Property.

20            17.     I continue to have communications with potential overbidders who continue to
21 remain interested in the property.

22            18.     I spent considerable time investigating and analyzing the anticipated costs to
23 complete the Project. To that end, my professionals and I interviewed Mr. Lyle of Coldwell Banker

24 and Mr. Reay of Atlas Hospitality who specialize in the marketing of similar hotel projects in the

25 Coachella Valley. I assessed the market report for Coachella Valley hotel comparables obtained

26 from Coldwell Banker. Based on the information provided by Mr. Lyle and Mr. Reay, I concluded

27 that the Estate is not in a position to finance the completion of construction of the Project.

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 1            19.     I am informed and believe that Debtor borrowed money from USRECH and, together
 2 with the TICs, secured the debt with a deed of trust against the Land. Prior to bankruptcy, Debtor

 3 defaulted on the loan and USRECH commenced judicial and non-judicial foreclosure proceedings.

 4            20.     Notwithstanding my best efforts, I have been unable to locate an interested buyer who
 5 would pay enough for the Property to satisfy all liens, including mechanic’s liens. If USRECH were

 6 to foreclose, the sales price undoubtedly would be for less than a negotiated third-party sale. Plus,

 7 there would be a substantial deficiency claim that would dilute the Estate’s unsecured creditor body.

 8 Lastly, any liens that were wiped out in a foreclosure sale would undoubtedly lead to increased

 9 unsecured claims.

10            21.     In order to realize some certain benefit to the Estate, I negotiated an agreement
11 pursuant to which USRECH will consent to a sale free and clear of its lien for an amount that is a

12 substantially discounted, provide carve-outs for the benefit of the Estate’s administrative claims, and

13 subordinate the balance of its claim otherwise secured by its lien to all other allowed general

14 unsecured creditors. The agreement created a path for the Estate to avoid the risk of losing the

15 Property in foreclosure and to realize substantial benefits from its administration including payment

16 of substantially all secured claims.

17            22.     On July 28, 2021, I filed a motion to approve the USRECH compromise
18 (“Compromise Motion”). On September 13, 2021, the Court entered an order granting the

19 Compromise Motion.

20            23.     I believe that the benefit to Debtor’s creditors will be maximized by a sale of the
21 Property. I have negotiated the terms set forth in the attached PSA subject to the terms of the

22 USRECH compromise and require a relatively quick closing. The $30,000,000 sales price is fair

23 based upon outstanding liens, the carve-outs, the reimbursement, and the arm’s length negotiations

24 between the Estate and any cash buyer. Simply put, my decision to sell the Property reflects a sound

25 business decision.

26            24.     The sale of the Property was negotiated with multiple potentially interested buyers at
27 arms’ length. There has been no fraud or collusion present during negotiations, and this is not an

28 insider transaction. No potential buyer has received or will receive any special treatment or

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 1 consideration. Because the proposed sale will be by auction and subject to overbid, I believe that any

 2 qualified buyer, including USRECH, will be entitled to a good faith determination. Prior to or at the

 3 conclusion of the hearing, I will present evidence sufficient for the Court to make such a

 4 determination with respect to the winning bidder(s) or any back-up bidder(s).

 5            25.     With a few exceptions, I seek authority to complete the sale free and clear of all liens,
 6 claims, and interests, including charges, mortgages, pledges, security interests, hypothecation,

 7 restrictions, claims, secured debts, unsecured debts, liens, or encumbrances (“Liens”).

 8            26.     The sale should be free and clear of alleged mechanic’s liens (“Mechanic’s Liens”)
 9 because, among other things, the relative priorities between the Mechanic’s Liens and the USRECH

10 Lien are disputed by the respective parties.

11            27.     The PSA provides for my assumption and assignment to any interested cash buyer of
12 a Development Agreement entered into by and between the City of Coachella (“City”) and Debtor

13 and dated as of February 15, 2018, if the such buyer so requests and if the sale is approved and

14 consummated.

15            28.     I am informed and believe that the Development Agreement is necessary for any
16 successful bidder to complete the Hotel and finish the Project going forward. I do not believe than

17 any purchaser would purchase the Property without the benefits conferred under the Development

18 Agreement. I only seek to assume the Development Agreement if a sale to any interested cash buyer

19 (or any other interested bidder) is approved and such buyer requests such assumption.

20            29.     I am informed and believe that any qualified cash buyer will have the operational
21 capacity and financial wherewithal to satisfy future obligations under the Development Agreement,

22 especially considering the $30 million purchase price of the Property. I expect to secure an

23 agreement with the City of Coachella providing for the city’s consent to the proposed assumption

24 and assignment prior to the hearing on this Motion.

25            30.     The proposed sale is not predicated on fraud or collusion. Neither Buyer nor any
26 other known potentially interested purchaser has received any special treatment or consideration.

27 The same is true of any successful purchaser if there is an auction based on overbids.

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 1            31.     Based upon the foregoing, the instant motion satisfies the standards for approval of a
 2 sale of the Property outside of the ordinary course of business pursuant to 11 U.S.C. § 363(b), and

 3 good cause exists to make a finding that Buyer or any successful overbidder is purchasing the

 4 Property in “good faith” pursuant to 11 U.S.C. §363(m).

 5            32.     I do not believe that there will be adverse tax consequences arising from the proposed
 6 sale. In fact, I believe that negative tax consequences will be avoided if the sale is approved. If the

 7 sale is denied, it is possible that a foreclosure could result in negative tax consequences to the Estate.

 8            33.     I declare that the foregoing is true and correct under the penalty of perjury. Executed
 9 September 15, 2021.

10                                                  ____________________________
                                                    RICHARD A. MARSHACK
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                        AGREEMENT OF PURCHASE AND SALE

                          AND JOINT ESCROW INSTRUCTIONS

                               DATED SEPTEMBER __, 2021

                                            Between

                                    ___________________

                                             Buyer

                                               and

                                 RICHARD A. MARSHACK,
                  the duly-appointed trustee acting for the bankruptcy estate of
                               GLENROY COACHELLA, LLC,
                             a Delaware limited liability company

                                              Seller




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                                                                              EXHIBIT 1




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                          AGREEMENT OF PURCHASE AND SALE
                           AND JOINT ESCROW INSTRUCTIONS

       THIS AGREEMENT OF PURCHASE AND SALE AND JOINT ESCROW
INSTRUCTIONS (“Agreement”) is made and entered into as of this ___ day of September, 2021
(“Effective Date”), by and between ___________________ (“Buyer”), and RICHARD A.
MARSHACK (“Seller”), the duly-appointed trustee acting for the bankruptcy estate of
GLENROY COACHELLA, LLC, a Delaware limited liability company (“Debtor”), with
reference to the following facts:

        A.      Debtor’s bankruptcy estate is the owner of (i) that certain land located in the County
of Riverside, State of California, identified by APNs 603-220-061, 603-220-065, 603-220-067,
603-220-068, and 603-220-069, comprising approximately thirty-five (35) acres, as more
particularly described in Exhibit A attached hereto (“Land”), and (ii) the partially completed
resort being constructed on the Land, which is intended to include (a) 51 one-story villas, (b) 4
restaurants, (c) an outdoor pool, (d) fitness center, (e) full service spa, (f) outdoor event space, (g)
meeting rooms and convention center, and (h) surface parking for approximately 377 automobiles
(collectively, the “Project”).

        B.     On February 15, 2021, (“Petition Date”) Debtor filed a voluntary petition for relief
under Chapter 11 of Title 11, United States Code, 11 U.S.C. §§ 101, et seq. (“Bankruptcy Code”)
in the United States Bankruptcy Court, Central District of California (“Bankruptcy Court”) as
Case No. 2:21-bk-11199-BB (the case arising under such petition, the “Bankruptcy Case”).

        C.      On March 19, 2021, the Bankruptcy Court entered its order directing the
appointment of a chapter 11 trustee for the Debtor. Seller is the duly-appointed and acting chapter
11 trustee for the Debtor and is managing the affairs of the Debtor pursuant to Section 1106 of the
Bankruptcy Code. As the duly-appointed trustee for the Debtor, Seller is the exclusive
representative of Debtor’s bankruptcy estate with standing to enter into this Agreement and obtain
Bankruptcy Court approval for the transaction described herein.

        D.     Buyer desires to purchase the Property (defined in Section 1.1 below) free and clear
of all judgments and monetary liens, judgments and claims (but not easements, assessments,
covenants, conditions, restrictions, dedications, access, maintenance, and other recorded burdens
that run with the land), and to assume the Assumed Liabilities (defined in Section Error!
Reference source not found.2.2(c) below), and Seller desires to sell, convey, assign, and transfer
to Buyer, the Property together with the Assumed Liabilities, all in the manner and subject to the
terms and conditions set forth in this Agreement and in accordance with Sections 105, 363, and
365 and other applicable provisions of the Bankruptcy Code.

        E.       Seller has selected Buyer to serve, and Buyer has consented to its selection and
service, as the “Stalking Horse Bidder,” all in the manner and subject to the terms and conditions
set forth in this Agreement and in the Bid Procedures Order (defined below).

        F.     In exchange for the transfer to Buyer of the Property, Buyer desires to provide
certain consideration (as set forth below) to Seller.



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        G.      The Property and Assumed Liabilities are assets and liabilities of Debtor, which are
to be purchased and assumed by Buyer pursuant to orders of the Bankruptcy Court establishing
bidding procedures and bidder protections for Buyer (“Bid Procedures Order”) and approving
such sale pursuant to Sections 105, 363, and 365 of the Bankruptcy Code (“Sale Order”), which
orders will include the authorization for the assumption by Debtor and assignment to Buyer of
certain executory contracts and liabilities thereunder pursuant to Section 365 of the Bankruptcy
Code, all in the manner and subject to the terms and conditions set forth in this Agreement and the
Sale Order and in accordance with the applicable provisions of the Bankruptcy Code. The
execution and delivery of this Agreement and Seller’s ability to consummate the transactions set
forth in this Agreement are subject, among other things, to the entry of the Sale Order.

       H.      Seller has entered into that certain Settlement Agreement and Terms of Consent for
Section 362 Sale dated July 21, 2021 (“Settlement Agreement”) with the largest secured creditor,
U.S. Real Estate Credit Holdings III-A, LP (“Lender”), being the beneficiary under a deed of trust
recorded on title to the Property on April 26, 2018, as Instrument Number 2018-0162476. The
Settlement Agreement has been approved by the Bankruptcy Court and a formal order has been
entered. This agreement is intended to comply with all the terms of the Settlement Agreement.

        NOW, THEREFORE, IN CONSIDERATION of the foregoing and the mutual covenants
and agreements herein set forth, and other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, Seller and Buyer agree, subject to approval f the
Bankruptcy Court, as follows:

                                            ARTICLE I
                                            PROPERTY

         1.1     Conveyance of Property. Seller agrees to sell and convey to Buyer, and Buyer
agrees to purchase from Seller, subject to the terms and conditions set forth herein, all of Debtor’s
right, title, and interest, if any, in and to the following (collectively, the “Property”):

                (a)    Real Property. The Land and Project improvements (collectively, the “Real
Property”), together with all rights, privileges, and easements appurtenant to the Land or Project,
or any portion thereof (collectively, “Appurtenances”), including, without limitation, all
minerals, oil, gas, and other hydrocarbon substances on or under the Land or any portion thereof
(if owned by Debtor), as well as all development rights, air rights, water, water rights, and water
stock, if any, relating exclusively to the Real Property or any portion thereof and any other
easements, rights-of-way, or appurtenances used in connection with the beneficial use and
enjoyment of the Land or any portion thereof including, without limitation all rights, if any, relating
to the development of the Project under that certain Glenroy Resort Development Agreement
entered into by and between the City of Coachella (“City”) and Debtor and dated as of February
15, 2018, as same may have been amended or modified by that certain Memorandum of
Understanding between the City, Debtor and The Coachella Lighthouse, LLC dated as of May 13,
2020 and that certain First Amendment to Memorandum of Understanding between the City,
Debtor and The Coachella Lighthouse, LLC dated as of October 8, 2020 (“Development
Agreement”);




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                (b)      Intangible Property. All right, title, and interest of Debtor in and to any and
all intangible personal property now or through the Closing Date owned by Debtor and used in
connection with the ownership, use, development, or operation of the Land, the Project and/or the
Appurtenances, including, without limitation, (i) any and all warranties and guaranties and other
intangible rights relating to the ownership, use or operation of all or any part of the Property, (ii) all
names by which the Property or any part thereof may be known or which may be used in
connection with the Property, (iii) any websites respecting the Property, along with any domain
names, together with any customer lists, (iv) any and all consents, licenses, approvals, certificates,
permits, floor plans, and plans and specifications relating to the Improvements, the Appurtenances,
the Land and/or the Personal Property (as hereinafter defined), (v) all architectural and engineering
plans and drawings related to the Project including, without limitation, conceptual designs, design
drawings, and structural plans, and (vi) all construction permits for the Project issued by the City
and other applicable government agencies (collectively, “Intangible Property”); and

               (c)      Personal Property. All tangible personal property owned by Debtor and
located on the Real Property, or purchased in connection with the development or operation of the
Project and deemed delivered to Debtor but stored at a location off the Real Property, including,
without limitation, all purchased and delivered but not yet used or installed construction materials,
equipment, and furnishings (collectively, “Personal Property”). To the extent that there are valid
and perfected liens against any personal property desired by Buyer, it shall pay any additional
amounts necessary to satisfy such liens over and above the Purchase Price set forth below.

                                          ARTICLE II
                                        PURCHASE PRICE

       2.1     Purchase Price. The total purchase price payable by Buyer for the Property shall
be the aggregate of: (i) Thirty Million Dollars ($30,000,000) in cash; and (ii) the assumption of
the Assumed Liabilities (defined below). The Purchase Price shall be subject to the closing
adjustments as set forth in Article V hereof.

        2.2     Payment of Purchase Price. The Purchase Price shall be paid as follows:

                (a)     Deposit. Within two (2) business day following the Effective Date, Buyer
shall deliver the sum of One Million and No/100 Dollars ($1,000,000.00) (“Deposit”) by wire
transfer to Seller to be held in trust for Buyer according to the terms of this Purchase Agreement.
The Deposit shall not be fully refundable to Buyer if Buyer elects to terminate this Agreement. If
sale of the Property as contemplated hereunder is consummated, then the Deposit shall be credited
towards the Purchase Price payable at the Closing. If the sale of the Property is not consummated
because of the failure of any condition or any reason other than a default under this Agreement on
the part of Buyer, the Deposit shall be returned to Buyer.

              (b)      Balance of Purchase Price. The cash portion of the Purchase Price less the
sum of the Deposit and any other credits or adjustments to Buyer under this Agreement (“Purchase
Price Balance”) shall be deposited with Escrow Holder by Buyer in immediately available funds
as and when set forth in Section 5.4(a) hereof.




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               (c)    Assumed Liabilities. At the Closing, Buyer shall assume all of Debtor’s
obligations with respect to the following liabilities (collectively, the “Assumed Liabilities”):

                        (i)    the total amount owed by Debtor under those certain bonds issued
by the City of Coachella on behalf of Community Facilities District No. 2018-1 of the City of
Coachella, related to the construction, purchase, modification, expansion, rehabilitation and/or
improvement of storm drainage, sewer facilities, roadways, landscaping and other public facilities
and other facilities serving the City of Coachella, notice of which was recorded in the Official
Records of Riverside County on June 4, 2018 as Instrument No. 2018-0225621 (“Mello Roos
Bonds”); and

                       (ii)   the total amount owed by Debtor under those certain bonds issued
by California Statewide Communities Development Authority notice of which was recorded on
April 25, 2018 as Instrument No. 2018-0160473 including Addendum No. 1 to such notice
recorded on September 29, 2020, as Instrument No. 2020-0464144 (collectively “PACE Bonds”),
which as of the Effective Date is approximately $13.75 million pursuant to the Proof of Claim
filed in the Bankruptcy Case as Claim No. 34-1.

       Seller makes no representations regarding the amounts owed to the various lienholders
referenced in Subsections 2.2(c)(i)-(iii) above and Buyer shall be fully responsible for conducting
whatever investigation and due diligence it deems appropriate on or before the Effective Date.

                (d)     Doug Wall Construction. Buyer and Seller acknowledge that Doug Wall
Construction (“DWC”) has filed a Proof of Claim in the Bankruptcy as Claim No. 19-1 alleging
that Debtor owes DWC approximately $3,823,871 pursuant to the Proof of Claim filed in the
Bankruptcy Case as Claim No. 19-1 for unpaid construction costs incurred in connection with the
Project (the “DWC Claim”), which claim is secured by a Mechanics Lien recorded on the Real
Property on September 12, 2019, as document number 2019-0356369 and amended by that certain
Amended Mechanics Lien recorded on the Real Property on October 7, 2019, as document number
2019-0401936 (collectively, the “DWC Lien”). At the Closing, Buyer shall have the right to
assume the DWC Claim, in which event the DWC Claim shall be included in the Assumed
Liabilities. If Buyer fails to notify Seller in writing prior to the Closing of Buyer’s intention to
assume the DWC Claim, then (i) the DWC Claim shall be excluded from the Assumed Liabilities,
and (ii) Buyer shall indemnify Seller from and against any amounts that the Bankruptcy Court
determines is payable by Seller to DWC if the Bankruptcy Court rules that the DWC Lien has
priority over the lien of Lender’s deed of trust on the Real Property; provided, however, said
indemnity obligation shall be subject to and conditioned upon (a) Seller using his best faith efforts,
consistent with the exercise of Seller’s reasonable business judgment, to pursue a determination
from the Bankruptcy Court that the DWC Lien is either unenforceable or subordinate to Lender’s
deed of trust so that any amounts payable to DWC would be paid exclusively from the proceeds
of the sale in excess of the amount needed to obtain a release of Lender’s deed of trust on the Real
Property without increasing the amount payable by Buyer, and (b) Seller not entering into any
settlement with DWC that would trigger Buyer’s indemnity obligations without obtaining Buyer’s
prior written approval of such settlement. To clarify, no portion of the $30 million cash portion of
the purchase price will be allocated to the DWC Claim. Instead, if it is determined to have priority
over Lender’s deed of trust, Buyer will indemnify Seller and be responsible for payment of the
DWC Claim.

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                 (e)    Additional Assumed Liabilities. Buyer shall have the right, exercisable at
any time prior to the Closing, by the delivery of written notice to Seller, to assume some or all of
those liabilities owed by Debtor to contractors, subcontractors, design professionals, and vendors
and listed on Exhibit B attached hereto. There shall be no offsets to the Purchase Price Balance
for such additional assumed liabilities unless (i) the creditor of each assumed liability has a lien on
the Property that is senior to Lender’s lien on the Property, and (ii) such creditor consents in writing
to such assumption in lieu of payment from the Purchase Price. Other than the Assumed Liabilities
and any additional liabilities that Buyer affirmatively elects to assume pursuant to this Subsection
(d), Buyer shall not assume any liabilities of Seller or Debtor at the Closing. Notwithstanding
anything to the contrary in this Agreement, Buyer shall not assume any obligations under, and
expressly disclaims any assumption of, that certain Memorandum of Understanding between the
City, Debtor and Coachella Lighthouse, LLC, dated May 13, 2020, as same may have been
amended from time to time.

     2.3  Seller’s Remedies; Liquidated Damages. IN THE EVENT THE TRANSACTION
CONTEMPLATED HEREBY IS NOT CONSUMMATED BECAUSE OF A DEFAULT
UNDER THIS AGREEMENT ON THE PART OF BUYER, AS SELLER’S SOLE AND
EXCLUSIVE REMEDY BY REASON OF SUCH DEFAULT BY BUYER, THE AMOUNT OF
THE DEPOSIT SHALL BE PAID TO AND RETAINED BY SELLER AS LIQUIDATED
DAMAGES, ALL OTHER CLAIMS TO DAMAGES OR OTHER REMEDIES BEING HEREIN
EXPRESSLY WAIVED BY SELLER. SELLER HEREBY EXPRESSLY WAIVES THE
PROVISIONS OF CALIFORNIA CIVIL CODE SECTION 3389.                 THE PARTIES
ACKNOWLEDGE THAT, IN THE EVENT THE TRANSACTION CONTEMPLATED
HEREBY IS NOT CONSUMMATED BECAUSE OF A DEFAULT UNDER THIS
AGREEMENT ON THE PART OF BUYER, SELLER’S ACTUAL DAMAGES BY REASON
OF SUCH DEFAULT BY BUYER WOULD BE EXTREMELY DIFFICULT OR
IMPRACTICABLE TO DETERMINE. THEREFORE, BY PLACING THEIR INITIALS
BELOW, THE PARTIES ACKNOWLEDGE THAT THE AMOUNT OF THE DEPOSIT HAS
BEEN AGREED UPON, AFTER NEGOTIATION, AS THE PARTIES’ REASONABLE
ESTIMATE OF SELLER’S DAMAGES IN THE EVENT THE TRANSACTION
CONTEMPLATED HEREBY IS NOT CONSUMMATED BECAUSE OF A DEFAULT
UNDER THIS AGREEMENT ON THE PART OF BUYER.

        Seller’s Initials: _______________             Buyer’s Initials: _______________



                                         ARTICLE III
                                     TITLE TO PROPERTY

          3.1    Real Property. At Closing (as hereinafter defined), Seller shall convey fee simple
title to the Real Property to Buyer, free and clear of all monetary liens, judgments and claims (but
not easements, assessments, covenants, conditions, restrictions, dedications, access, maintenance,
and other recorded burdens that run with the land), encumbrances, and interests, other than those
listed on Exhibit C attached hereto which include liens securing the Assumed Liabilities
(“Permitted Encumbrances”), by a duly executed and acknowledged Grant Deed in the form of
Exhibit D attached hereto (“Deed”). Evidence of Seller’s satisfaction of its obligation under this

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Section shall be the issuance to Buyer by Fidelity National Title Insurance Company (“Title
Company”) of an ALTA Extended Coverage Owner’s Policy of Title Insurance with coverage in
the amount of the Purchase Price and insuring fee simple title to the Real Property is vested in
Buyer as of the date and time of the Closing, subject only to the Permitted Encumbrances (“Title
Policy”).

        3.2      Personal Property, Intangible Property, and Leases. At Closing, Seller shall transfer
to Buyer, free and clear of liens, encumbrances, and interests, all of Debtor’s right, title, and
interest in and to all (i) Personal Property, by a duly executed Bill of Sale in substantially the form
of Exhibit E attached hereto (“Bill of Sale”), and (ii) Intangible Property, by an Assignment of
Intangible Property, Warranties, and Guaranties, in the form of Exhibit F attached hereto
(“Assignment of Intangible Property, Warranties, and Guaranties”).

                                  ARTICLE IV
                   CONTINGENCIES AND CONDITIONS TO CLOSING

       4.1     Contingencies to Buyer’s Obligations; Disapproval and Cure. Buyer’s obligations
under this Agreement are subject to the satisfaction or waiver of the following contingencies prior
to Closing:

               (a)     Due Diligence. Buyer shall review, inspect, and evaluate the Property and
all matters relating thereto, including any documents recorded against the Property and the
amounts of Assumed Liabilities, and to approve or disapprove of the foregoing in its sole and
absolute discretion before the Effective Date.

               (b)    Title. The Title Company must be irrevocably committed to issuing the
Title Policy to Buyer in accordance with the requirements of Section 3.1 above. Seller
acknowledges that the Real Property had been owned by four tenants in common, only one of
which (the Debtor) is currently a party to the Bankruptcy Case but that such other tenants-in-
common deeded their interests to Seller in order to facilitate a sale of the Property. The Court has
entered an order approving of such transfer of the tenancy in common interests to Seller.

                (c)    Representations and Warranties, Covenants, and Agreements. All of
Seller’s representations and warranties contained in Section 6.1 shall have been true and correct in
all material respects when made and shall be true and correct in all material respects as of the date
of the Closing, and Seller shall have complied with all of Seller’s covenants and agreements
contained in or made pursuant to this Agreement.

                (d)      Litigation. On or after the Effective Date and prior to the Closing Date,
there shall have been no litigation commenced against Seller or the Property (including, without
limitation, condemnation proceedings) which could materially and adversely affect the Property
or Seller’s ability to consummate the transactions contemplated by this Agreement by the Closing
Date.




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              (e)     No Material Adverse Change. After the Effective Date, there shall have
been no material adverse change in the status or condition of the Property, nor in any materials or
documents reviewed and approved by Buyer prior to the Effective Date.

               (f)     Sale Order. The Bankruptcy Court shall, by not later than September 30,
2021, have entered the Sale Order, in form and substance satisfactory to Buyer in its sole and
absolute discretion, and no Order staying, modifying, or amending the Sale Order shall be in effect
on the Closing Date.

               (g)   No Order. There shall not be in effect on the Closing Date any Order that
declares this Agreement invalid or unenforceable in any respect or which prevents or makes illegal
the consummation of the transactions contemplated by this Agreement.

The conditions contained in this Section 4.1 are intended solely for the benefit of Buyer. If any
of the conditions set forth in this Section 4.1 are not satisfied on or prior to the date for the
satisfaction thereof for any reason whatsoever, Buyer shall have the right, in its sole and absolute
discretion, to either (i) terminate this Agreement, in which event the Deposit shall be returned to
Buyer, or (ii) waive the condition in question and proceed with the transaction contemplated
hereby or, in the alternative and so long as the failure of the condition is not the result of a default
under this Agreement by Buyer, to terminate this Agreement by written notice to Seller; provided,
however, that any such termination shall not relieve either party hereto of any obligations that
expressly survive the termination of this Agreement, nor for any liability either party may have
under the terms and provisions of this Agreement for its wrongful failure to close.

        4.2    Seller’s Condition. The following conditions are conditions precedent to Seller’s
obligation to consummate the transaction contemplated by this Agreement:

                (a)    Representations and Warranties, Covenants and Agreements. All of
Buyer’s representations and warranties contained in or made pursuant to this Agreement shall have
been true and correct in all material respects when made and shall be true and correct in all material
respects as of the Closing Date, and Buyer shall have complied with all of Buyer’s covenants and
agreements contained in or made pursuant to this Agreement.

               (b)   Court Approval.          Entry of the Sale Order by the Bankruptcy Court
approving this Agreement.

The conditions contained in this Section 4.2 are intended solely for the benefit of Seller. If any of
the conditions set forth in this Section 4.2 are not satisfied on or prior to the date for the satisfaction
thereof for any reason whatsoever, Seller shall have the right in its sole and absolute discretion, to
waive the condition in question and proceed with the transaction contemplated hereby or, in the
alternative and so long as the failure of the condition is not the result of a default under this
Agreement by Seller, to terminate this Agreement by written notice to Buyer; provided, however,
that any such termination shall not relieve either party hereto of any obligations that expressly
survive the termination of this Agreement, nor for any liability either party may have under the
terms and provisions of this Agreement for its wrongful failure to close.




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                                         ARTICLE V
                                    CLOSING AND ESCROW

         5.1    Deposit with Escrow Holder and Escrow Instructions. Upon the mutual execution
of this Agreement by the parties hereto, the parties shall cause an escrow for this transaction to be
opened with Fidelity National Title Company (“Escrow Holder”), at 915 Wilshire Boulevard,
Suite 1920, Los Angeles, California 90017, Attention: Bobbie Purdy, Telephone No. (213) 452-
7104, Email address: Bobbie.Purdy@fnf.com by promptly depositing with Escrow Holder a fully
executed copy (or executed counterparts) of this Agreement. This instrument shall serve as the
instructions to Escrow Holder for the consummation of the transaction contemplated hereby.
Seller and Buyer agree to execute such additional and supplementary escrow instructions as may
be appropriate to enable Escrow Holder to comply with the terms of this Agreement; provided,
however, that in the event of any conflict or inconsistency between the terms and provisions of
this Agreement and the terms and provisions of any such additional or supplementary escrow
instructions, the terms and provisions of this Agreement shall control, notwithstanding that any
such additional or supplemental escrow instructions constitute a later signed writing between the
parties.

        5.2      Closing and Closing Date. The closing hereunder (“Closing”) shall mean the
recording of the Deed in the official records of Riverside County. The delivery of all items to be
made at the Closing shall be made at the offices of Escrow Holder on the date which is fifteen (15)
days following the entry of the Sale Order, but in no event later than September 30, 2021 (“Closing
Date”) or on such other date as Buyer and Seller may mutually agree in writing. Except as
hereinafter provided, the Closing Date may not be extended without the written approval of both
Seller and Buyer. In the event the Closing does not occur on or before the Closing Date, subject
to the provisions of Section 2.3 hereof, Escrow Holder shall, unless otherwise provided herein, or,
unless it is notified in writing by both parties to the contrary within five (5) days after the Closing
Date, return to the depositor thereof items which may have been deposited hereunder, including,
without limitation, returning the Deposit to Buyer if permitted by Section 2.2(a). Any such return
or termination, shall not, however, relieve either party hereto of any liability it may have under the
terms and provisions of this Agreement for its wrongful failure to close.

        5.3     Deliveries by Seller. Not later than one (1) business day prior to the Closing Date,
Seller shall deposit with Escrow Holder the following:

              (a)     The original Deed, duly executed by Seller and acknowledged, in
recordable form, and ready for recordation on the Closing Date;

              (b)     Two (2) duly executed counterparts of the Assignment of Intangible
Property, Warranties, and Guaranties;

               (c)     One (1) original, duly executed Bill of Sale;

             (d)     Seller’s estimated settlement statement in form and content consistent with
this Agreement and otherwise reasonably satisfactory to Seller;

               (e)     A California Form 593 duly executed by Seller;


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               (f)    A Non-Foreign Affidavit in substantially the form of Exhibit F attached
hereto, duly executed by Seller pursuant to Section 1445 of the Internal Revenue Code of 1986, as
amended (the “FIRPTA”);

            (g)   Two (2) duly executed counterparts of an assignment and assumption of the
Development Agreement in a form reasonably acceptable to the City (“Assignment of
Development Agreement”;

              (h)     An estoppel certificate regarding the Development Agreement, in the form
of Exhibit H attached hereto, duly executed by City; and

                (i)    Any other documents, instruments, data, records, correspondence,
agreements, or other items expressly specified to be delivered hereunder which are to be deposited
with Escrow Holder and which have not previously been delivered by Seller and such other
document and instruments as the Title Company and/or Escrow Holder may require from Buyer
in order to close the Escrow and issue the Title Policy.

       5.4    Deliveries by Buyer. Not later than one (1) business day prior to the Closing Date,
Buyer shall deposit with Escrow Holder the following:

               (a)    The Purchase Price Balance, together with Buyer’s share of the closing
adjustments as set forth in Section 5.7, for disbursement in accordance with the terms and
provisions of this Agreement, to be held by Escrow Holder pursuant to disbursement instructions
mutually acceptable to Buyer and Seller;

              (b)     Two (2) duly executed counterparts of the Assignment of Intangible
Property, Warranties, and Guarantees;

             (c)     Buyer’s estimated settlement statement in form and content consistent with
this Agreement and otherwise reasonably satisfactory to Buyer;

             (d)       Two (2) duly executed counterparts of the Assignment of Development
Agreement; and

               (e)     Any documents, instruments, data, records, correspondence, agreements, or
other items expressly specified to be delivered hereunder which have not previously been delivered
by Buyer and such other document and instruments as the Title Company and/or Escrow Holder
may require from Seller in order to close the Escrow and issue the Title Policy.

        5.5   Other Instruments. In addition to the documents and instruments to be delivered as
herein provided, each of the parties hereto shall, from time to time at the request of the other party,
execute and deliver to the other party such other commercially reasonable instruments of transfer,
conveyance, and assignment and shall take such other commercially reasonable action as may be
reasonably required to effectively carry out the terms of this Agreement; provided that no such
document or act will impose additional costs, obligations or liabilities on either party that are not
already contemplated by this Agreement.



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        5.6    Prorations. All property taxes, other taxes payable to the City and other government
agencies with regard to the Property, and utility charges shall be prorated between Buyer and Seller
as of the date of the Closing, with such date being a date of income and expenses of the Buyer;
provided, however, if Seller elects to close its utility accounts prior to Closing, then Buyer shall
open new utility accounts and the respective charges shall not be prorated. Buyer will be
responsible for obtaining appropriate insurance covering the Property on and after the Closing,
accordingly there shall be no proration of the same.

        5.7     Costs and Expenses. Buyer shall pay the premium for the Title Policy attributable
to the CLTA standard coverage (i.e., without extended coverage and without endorsements), as
well as any documentary or other transfer taxes imposed by the city and/or county in which the
Property is located and applicable to the transaction contemplated hereby. Buyer shall also pay
the portion of the premium for the Title Policy attributable to the ALTA extended coverage, the
cost of any endorsements thereto that are not Seller’s obligation as set forth hereinabove as well
as the cost of any recording fees applicable to the transaction contemplated hereby. Buyer shall
pay all escrow costs, including any escrow termination charges, if any; provided, however, if this
Agreement is terminated due to a party’s breach or default hereunder, the breaching or defaulting
party shall be solely responsible for the escrow costs, including any termination fee.
Notwithstanding anything contained herein to the contrary, except as otherwise specifically set
forth herein, each party shall be responsible for its own legal and accounting expenses incurred in
connection with the subject matter of this Agreement.

                                   ARTICLE VI
                         REPRESENTATIONS AND WARRANTIES

        6.1     Representations and Warranties of Seller. As a material inducement to Buyer to
enter into this Agreement, Seller hereby represents and warrants to and agrees with Buyer as
follows:

                 (a)    Subject to any necessary authority from the Bankruptcy Court, Seller has
the full right, power and authority to enter into this Agreement, and has taken all action necessary
to consummate the transactions contemplated hereby.

                (b)    Subject to the Bankruptcy Court’s entry of the Sale Order, this Agreement
and all documents executed by Seller which are to be delivered to Buyer at or prior to the Closing
are or at the time of Closing will be duly authorized, executed, and delivered by Seller, are or at
the time of Closing will be legal, valid, and binding obligations of Seller enforceable in accordance
with their terms.

               (c)     there are no actions, suits, proceedings, judgments, orders, decrees, defaults,
delinquencies, or deficiencies pending, outstanding or to Seller’s actual knowledge threatened
against Seller or the Property which would materially and adversely affect Seller’s ability to
perform its obligations under the Agreement.

              (d)     There are no pending or to Seller’s actual knowledge threatened eminent
domain, zoning, or other land-use regulation proceedings which would affect the use or operation



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of the Property, and Seller has not been involved in any settlement discussions with any
governmental agency regarding a sale of the Property in lieu of condemnation.

                (e)     Seller has not executed or otherwise entered into any leases, tenancies,
license, concession agreements, occupancy agreements, or other agreements with respect to rights
affecting possession or occupancy of the Property or any portion thereof, that will not be
terminated prior to the Closing Date. Seller has not entered into, and, to Seller’s actual knowledge
there are no, agreements affecting the Property except for those delivered by Seller to Buyer
pursuant to the terms hereof and there will be, as of the Closing Date, no obligation of Buyer under
the terms of any contract or other instrument affecting the Property other than the contracts or
other documents, if any, which Buyer has elected to assume pursuant to this Agreement.

               (f)     Seller has received no written notice from any governmental or quasi-
governmental authority either that the Property or the use thereof violates any statutes, ordinances,
orders or regulations affecting any portion of the Property.

                (g)    To Seller’s actual knowledge, the documents posted on Seller’s data site
and made available to Buyer to review prior to the Effective Date contain all material documents,
files, written information, books and records in Seller’s possession or control relating to the
Property (including without limitation, all reports, studies and related materials that Seller has
received in connection with prior attempts to sell the Property).

                For all purposes of this Agreement, including Seller’s representations and
warranties contained in this Section Error! Reference source not found.6.1, the phrase “to
Seller’s actual knowledge” or other words to such effect, shall mean the actual current knowledge
of Richard A. Marshack.

        6.2     Representations and Warranties of Buyer. As a material inducement to Seller to
enter into this Agreement, Buyer hereby represents and warrants to and agrees with Seller as
follows:

                (a)   Buyer is a corporation duly incorporated, validly existing and in good
standing under the laws of the State of Delaware and has the full right, power, and authority to
enter into this Agreement, and has, or by the Closing will have, taken all action necessary to
consummate the transactions contemplated hereby.

                (b)     This Agreement and all documents executed by Buyer which are to be
delivered to Seller at or prior to the Closing are or at the time of Closing will be duly authorized,
executed, and delivered by Buyer, are or at the time of Closing, will be legal, valid and binding
obligations of Buyer enforceable in accordance with their terms, except as such enforceability may
be limited or subject to, any bankruptcy, insolvency, reorganization, moratorium or similar law as
is now or hereafter in effect relating to creditors’ rights generally, and general principles of equity,
and do not and at the time of Closing will not violate any provisions of any agreement or judicial
order to which Buyer is a party or to which Buyer is subject.

               (c)    There are no actions, suits, proceedings, judgments, orders, decrees,
defaults, delinquencies or deficiencies pending, outstanding or, to Buyer’s actual knowledge,


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threatened against Buyer which would materially and adversely affect Buyer’s ability to perform
its obligations under this Agreement.

                (d)    No attachment, execution proceedings, assignment for the benefit of
creditors, insolvency, bankruptcy, reorganization for the benefit of creditors, or other similar
proceedings are pending against Buyer.

                For all purposes of this Agreement, including Buyer’s representations and
warranties contained in this Section 6.2, the phrase “to Buyer’s actual knowledge” or other words
to such effect, shall mean the actual current knowledge of Monique Rice.

                                 ARTICLE VII
                     ACCEPTANCE OF PROPERTY AS IS, WHERE IS

      BUYER ACKNOWLEDGES AND AGREES THAT EXCEPT AS OTHERWISE SET
FORTH IN THIS AGREEMENT BUYER WILL BE PURCHASING THE PROPERTY ON AN
“AS IS, WHERE IS” BASIS, WITH ALL FAULTS, LATENT AND PATENT. WITHOUT
LIMITING THE GENERALITY OF THE FOREGOING, BUYER ACKNOWLEDGES AND
AGREES THAT, EXCEPT AS CONTAINED IN THIS AGREEMENT, SELLER HAS NOT
MADE, IS NOT HEREBY MAKING AND SELLER HEREBY EXPRESSLY DISCLAIMS
AND NEGATES ANY REPRESENTATIONS OR WARRANTIES OF ANY KIND
WHATSOEVER

                                 ARTICLE VIII
               LOSS BY FIRE OR OTHER CASUALTY; CONDEMNATION

         In the event that prior to the Closing the Property is destroyed or damaged (as reasonably
determined by Buyer), or if condemnation proceedings are threatened or commenced against the
Property, Buyer shall have the right, at its option, exercisable by giving written notice of such
decision to Seller within ten (10) days after receiving written notice from Seller of such damage,
destruction or condemnation proceedings, either to (i) terminate this Agreement, in which case
Escrow Holder shall return the Deposit to Buyer and, except for those matters which expressly
survive any termination hereof, neither party shall have any further rights or obligations hereunder,
or (ii) accept the Property in its then condition with no reduction of the Purchase Price except as
set forth below in this paragraph. If Buyer elects to accept the Property in its then condition, then
Seller shall assign to Buyer all proceeds of insurance or condemnation awards payable by reason
of such damage, destruction or condemnation, and the Purchase Price shall be reduced by the
amount of any deductibles under such policies and applicable to such damage.

                                ARTICLE IX
               DELIVERY OF POSSESSION AND ENTRY ON PROPERTY

        9.1     Delivery of Possession. Seller shall deliver possession of the Property to Buyer on
the date of the Closing, subject only to the Permitted Encumbrances.

       9.2    Entry on Property. From and after the Effective Date, Seller shall afford Buyer and
Buyer’s consultants and representatives reasonable access to the Property. Buyer agrees to
maintain and cause any of its representatives or agents entering upon the Property to maintain and

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have in effect commercial general liability insurance with limits of not less than One Million and
No/100 Dollars ($1,000,000.00) for personal injury, including bodily injury and death, and
property damage, and a waiver of subrogation. Upon request from Seller, Buyer shall deliver to
Seller a copy of the certificates of insurance evidencing the insurance required hereunder prior to
the commencement of such activities.

                                 ARTICLE X
                 MAINTENANCE AND OPERATION OF THE PROPERTY

        10.1 Maintenance. Seller shall, between the Effective Date and the Closing Date,
maintain the Property in the same order, condition and repair, reasonable wear and tear and
casualty damage excepted, as on the Effective Date. Seller agrees to maintain in effect during the
period from and after the Effective Date through and until the Closing such policies of insurance
with respect to the Property as Seller has in effect as of the Effective Date.

         10.2 Leases and Other Agreements. From and after the Effective Date, Seller shall not
enter into any lease, contract, or agreement pertaining to the Property, or amend or modify any
lease, contract, or agreement pertaining to the Property, or waive any rights of Seller thereunder,
without in each case obtaining Buyer’s prior written consent thereto, which consent may be granted
or withheld in Buyer’s sole and absolute discretion. Buyer acknowledges that Seller has a duty to
continue to seek overbids for the benefit of Debtor’s bankruptcy estate. Nothing herein is intended
to limit Seller’s exercise of his duty to seek higher and better offers prior to entry of the Sale Order.

        10.3 Encumbrances. From and after the Effective Date, Seller shall not mortgage or
further encumber all or any portion of, or any of its interest in, the Property without the prior
written consent of Buyer, which consent may be granted or withheld in Buyer’s sole and absolute
discretion.

        10.4 Termination of Contracts. Except for contracts that Buyer expressly elects to take
assumption at the Closing, Seller shall, on or before the Closing Date, reject all contracts affecting
the Property pursuant to Section 365 of the Bankruptcy Code, including, without limitation that
certain Hotel Management Agreement entered into by and between Highgate Hotels, L.P. and
Seller dated as of April 26, 2018, and that certain License Agreement entered into by and between
Holiday Hospitality Franchising, LLC and Seller and dated April 25, 2018, and Seller shall be
responsible, at the sole cost and expense of the Debtor’s estate, for all costs and fees associated
with Seller’s rejection of the same.

       10.5 No Other Offers. From and after the Effective Date and during the pendency of this
Agreement, Seller shall not enter into any agreements with any third parties regarding the sale of
the Property except as permitted by Section 10.2.

                                        ARTICLE XI
                                  ADDITIONAL AGREEMENTS

        11.1    Bid Procedures.

               (a)     Seller has selected Buyer to serve, and Buyer has consented to its selection
and service, as a "Stalking Horse Bidder," whereby this Agreement (i) shall serve as a base by

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which other offers for the potential purchase of the Property (each, an “Alternative Transaction”)
may be measured, and (ii) is subject to competing offers for an Alternative Transaction by way of
the auction process contemplated by and more fully set forth in the Bid Procedures Order. In
accordance therewith, and notwithstanding anything herein to the contrary, Seller may at any time
prior to the Closing Date (whether before, during or after the auction process contemplated by the
Bid Procedures Order) furnish information concerning the Property and the Assumed Liabilities
to any Person in connection with a potential Alternative Transaction and negotiate, enter into and
consummate an Alternative Transaction. As consideration for and as a material inducement to
Buyer conducting due diligence investigations of the Property and entering into this Agreement,
in the event this Agreement is terminated pursuant to Section 11.1(b), Buyer shall be entitled to
receive (A) a break-up fee in the amount of $150,000 (“Break-Up Fee”) which is intended to
reimburse Buyer for its attorneys’, accountants’, investment bankers’, and representatives’ fees
and expenses incurred in negotiating and preparing this Agreement and the Ancillary Agreements,
conducting due diligence investigations of the Property, and preserving and protecting Buyer’s
rights and interests as “Buyer” in the Bankruptcy Case. The Break-Up Fee shall be increased by
one-half of all amounts received by Seller in excess of $200,000 under the Settlement Agreement
with Lender, provided that the Breakup Fee, as increased, shall not exceed the lesser of Buyer’s
out-of-pocket costs or $500,000.

               (b)     In the event Seller consummates an Alternative Transaction, this Agreement
shall automatically terminate upon the earlier of (i) Seller consummating the Alternative
Transaction, and (ii) thirty (30) days following the date upon which the Bankruptcy Court issues
a Final Order approving the Alternative Transaction.

               (c)    In connection with Section 11.1(a), Seller shall request the entry of the Bid
Procedures Order, and Seller and Buyer shall use commercially reasonable efforts to cooperate,
assist and consult with each other to secure the entry of the Bid Procedures Order on or before
September 15, 2021. The Bid Procedures Order shall be in form and substance satisfactory to
Seller and Buyer, each acting reasonably, and, subject to the approval of the Bankruptcy Court,
shall provide for, among other things,

                       (i)     approval of the Break-Up Fee;

                      (ii)   the date by which bids for an Alternative Transaction must be
submitted by bidders and the date of the auction, which dates shall be on or before September 15,
2021; and

                        (iii) procedures for the auction process, including (i) requiring bidders to
provide good faith purchase price deposits in an amount no less than the Deposit and evidence of
ability to perform that is reasonably satisfactory to Seller, (ii) requiring the first overbid to exceed
the sum of the Purchase Price, plus the Breakup Fee by at least Five Hundred Thousand Dollars
($500,000) and all subsequent overbids to be in increments of at least Two Hundred Fifty
Thousand Dollars ($250,000), (iii) allowing Buyer to increase its bid at any time and to credit bid
the amount of the Breakup Fee, and (iv) requiring each bidder to qualify as a bidder prior to the
sale by (a) complying with the financial conditions relating to overbids set forth above, (b)
submitting qualifications to Seller no later than five (5) business days prior to the hearing for
consideration of the motion to approve the sale together with a cash deposit equal to the amount

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of the Deposit and evidence reasonably satisfactory to Seller and Buyer that establishes the party’s
financial ability to close on the purchase of the Property, and agreeing to purchase the Property on
the same or better terms and conditions as are set forth in this Agreement.

        11.2 Break-up Fee. If this Agreement is terminated pursuant to Section Error!
Reference source not found.11.1(b), then (i) Seller shall pay to Buyer the Break-Up Fee, and (ii)
Seller and Buyer shall, in accordance with the terms of the Escrow Agreement, deliver joint written
instructions to the Escrow Holder instructing the Escrow Holder to release the Deposit to Buyer.
The amounts set forth in this Section 11.2 shall be Buyer’s sole and exclusive recourse in the event
this Agreement is terminated pursuant to Section 11.1(b).

        11.3 Notice to Holders of Liens, Claims, and Interests. Seller shall provide notice of the
sale to all holders of liens, claims, and interests in the Property in accordance with the Bankruptcy
Code, the Federal Rules of Bankruptcy Procedure, the Local Rules for the Bankruptcy Court and
any other applicable Order of the Bankruptcy Court.

        11.4 Entry of Sale Order. Seller shall seek the entry of the Sale Order and shall use
reasonable best efforts to secure the entry of the Sale Order on or before September 15, 2021, and
to consummate the transactions contemplated by this Agreement (including furnishing affidavits
or other documents or information for filing with the Bankruptcy Court for the purposes, among
others, of providing necessary assurances of performance by Buyer under this Agreement) on or
before September 30, 2021. In the event that any Orders of the Bankruptcy Court relating to this
Agreement shall be appealed by any person (or a petition for certiorari or motion for
reconsideration, amendment, clarification, modification, vacation, stay, rehearing or reargument
shall be filed with respect to any such Order), Seller and Buyer shall cooperate in determining and
pursuing the response to any such appeal, petition or motion and Seller and Buyer shall use their
commercially reasonable efforts to obtain an expedited resolution of any such appeal, petition or
motion. The Sale Order shall also provide, among other things, that:

              (a)     Seller has complied with all the requirements and conditions set forth in the
Bid Procedures Order;

               (b)     the Purchase Price constitutes fair value for the Property;

                (c)     the Real Property subject to the Sale Order comprises 100% of the fee
interest in the Real Property;

               (d)     Buyer is not a continuation of the Debtor in the Bankruptcy Case or
otherwise liable for any claims against the Debtor based upon success liability or similar theories;

              (e)     the Property is being purchased by Buyer in good faith and the Purchase
Price was not controlled by an agreement among potential bidders and otherwise complies with
the requirements of Bankruptcy Code Section 363(m);

               (f)    the Purchase Agreement (and all other ancillary documents delivered
pursuant to the Purchase Agreement) are approved in their entirety;



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               (g)     the Property will be conveyed to Buyer free and clear of any and all third
party rights or interests in the Property including but not limited to mortgages, liens, security
interests, encumbrances, claims, restrictions, and limitations in accordance with Bankruptcy Code
Section 363(b) and (f), or by any Order entered by the Bankruptcy Court in the Bankruptcy Case;

              (h)     the Assumed Contracts are assumed by and assigned to Buyer pursuant to
the requirements of Section 365 of the Bankruptcy Code or such other appropriate sections of the
Bankruptcy Code; and

               (i)     Buyer will not be liable for any liability, liens, interests, damages, costs,
expenses, claims, or demands arising from or related to the pre-Closing ownership or operation of
the Property, other than the Assumed Liabilities.

                                        ARTICLE XII
                                      MISCELLANEOUS

       12.1 Notices. Any notice or other communication required or permitted to be given
under this Agreement shall be in writing and sent by United States mail, registered or certified
mail, postage prepaid, return receipt requested, or by facsimile, or by personal delivery (by
overnight courier or otherwise), or by electronic mail (email) and addressed as follows:

If to Buyer:                          ______________
                                      ______________
                                      ______________
                                      Attn: _________
                                      Email: ________

                With a copy to:       ______________
                                      ______________
                                      ______________
                                      Attn: _________
                                      Email: ________

                and to:               ______________
                                      ______________
                                      ______________
                                      Attn: _________
                                      Email: ________

If to Seller:                         Richard A. Marshack
                                      Marshack Hays LLP
                                      870 Roosevelt
                                      Irvine, CA 92620
                                      Email: RMarshack@MarshackHays.com

                With a copy to:       Marshack Hays LLP
                                      870 Roosevelt

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                                       Irvine, CA 92620
                                       Attn: Ed Hays
                                       Email: EHays@MarshackHays.com

If to Escrow Holder:           At the address specified in Section 5.1 above.

or such other address as either party may from time to time specify in writing to the other in the
manner aforesaid. If sent by United States mail, registered or certified mail, postage prepaid, return
receipt requested, such notices or other communications shall be deemed delivered upon delivery
or refusal to accept delivery as indicated on the return receipt. If sent by personal delivery (by
overnight courier or otherwise), such notices or other communications shall be deemed delivered
upon delivery, or refusal thereof. If sent by facsimile or email, such notices or other
communications shall be deemed delivered upon delivery, provided such fax or email is sent prior
to 5:30 p.m. Pacific Time on such date (otherwise such fax or email shall be deemed to be delivered
and effective as of the next business day), and provided further that delivery is also made promptly
thereafter by mail or overnight courier as provided above.

        12.2 Brokers and Finders. In connection with the transactions contemplated by this
Agreement: (a) Buyer hereby represents and warrants to Seller that Buyer has not, and shall not,
incur any obligation to any third party for the payment of any broker’s fee, finder’s fee,
commission or other similar compensation in connection with the transactions contemplated by
this Agreement, and (b) Seller hereby represents and warrants to Buyer that Seller has not, and
shall not, incur any obligation to any third party for the payment of any broker’s fee, finder’s fee,
commission or other similar compensation in connection with the transactions contemplated by
this Agreement. In the event of a claim for broker’s fee, finder’s fee, commission or other similar
compensation in connection herewith, then (i) Buyer, if such claim is based upon any agreement
alleged to have been made by Buyer, hereby agrees to indemnify and hold Seller harmless from
and against any and all liability, loss, cost, damage and/or expense (including, without limitation,
reasonable attorneys’ fees and expenses) which Seller may sustain or incur by reason of such claim,
and (ii) Seller, if such claim is based upon any agreement alleged to have been made by Seller,
hereby agrees to indemnify and hold Buyer harmless from and against any and all liability, loss,
cost, damage and/or expense (including, without limitation, reasonable attorneys’ fees and
expenses) which Buyer may sustain or incur by reason of such claim. The provisions of this
Section 12.2 shall survive the execution and delivery (or termination) of this Agreement and the
Closing.

        12.3 Successors and Assigns. This Agreement shall be binding upon and inure to the
benefit of the parties hereto and their respective successors, heirs, administrators and assigns.
Buyer shall have the right to assign its rights under this Agreement to any entity controlling,
controlled by or under common control (directly or indirectly) with Buyer and which assumes
Buyer’s obligations hereunder in writing.

       12.4 Amendments. This Agreement may be amended or modified only by a written
instrument executed by both Buyer and Seller.

       12.5 Interpretation. Whenever used herein, the terms “including”, “include” and
“includes” shall be deemed to be followed by the words “without limitation.” Words used in the

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singular number shall include the plural, and vice-versa, and any gender shall be deemed to include
each other gender. The captions and headings of the Articles and Sections of this Agreement are
for convenience of reference only, and shall not be deemed to define or limit the provisions hereof.

        12.6 Governing Law. This Agreement shall be governed by and construed in accordance
with the laws of the State of California, except to the extent that the Laws of such State are
superseded by the Bankruptcy Code. For so long as Seller is subject to the jurisdiction of the
Bankruptcy Court, the parties to this Agreement irrevocably elect as the sole judicial forum for the
adjudication of any matters arising under or in connection with the Agreement, and consent to the
exclusive jurisdiction of, the Bankruptcy Court. After Seller is no longer subject to the jurisdiction
of the Bankruptcy Court, the parties to this Agreement irrevocably elect as the sole judicial forum
for the adjudication of any matters arising under or in connection with this Agreement, and consent
to the jurisdiction of, any state or federal court having competent jurisdiction over Los Angeles
County, California.

        12.7 Merger of Prior Agreements. This Agreement, including the exhibits hereto,
constitutes the entire agreement between the parties with respect to the transaction contemplated
hereby and supersedes all prior agreements and understandings between the parties hereto relating
to the subject matter hereof.

        12.8 Attorneys’ Fees. In the event either Buyer or Seller brings any suit or other
proceeding with respect to the subject matter or enforcement of this Agreement, the prevailing
party (as determined by the court, agency, or other authority before which such suit or proceeding
is commenced) shall, in addition to such other relief as may be awarded, be entitled to recover
reasonable attorneys’ fees, expenses and costs of investigation (including, without limitation,
reasonable attorneys’ fees, expenses and costs of investigation incurred in appellate proceedings,
costs incurred in establishing the right to indemnification, or in any action or participation in, or
in connection with, any case or proceeding under Chapter 7, 11, or 13 of the Bankruptcy Code, 11
United States Code Sections 101 et seq., or any successor statutes).

        12.9   Time of the Essence. Time is of the essence of this Agreement.

        12.10 Specific Performance. In the event of any breach or default in or of this Agreement
or any of the warranties, terms or provisions hereof by Seller, Buyer shall have the right to demand
and have specific performance of this Agreement.

        12.11 Counterparts. This Agreement may be executed in counterparts, each of which
shall be deemed an original, and all of which, taken together, shall constitute one and the same
instrument. In order to expedite matters, electronic signatures may be used in place of original
signatures on this Agreement. The parties hereto intend to be bound by the signatures on the
electronic document, and hereby waive any defenses to the enforcement of the terms of this
Agreement based on the use of an electronic signature; provided, however, that the parties hereby
agree to execute and provide to each other original signatures, upon the request made by either
party to the other.




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        12.12 No Third Parties Benefited. This Agreement is made and entered into for the
benefit of Seller and Buyer, their successors and permitted assigns, and no other person or entity
shall have any rights hereunder.

       12.13 Severability. The invalidity or unenforceability of any one or more of the
provisions of this Agreement shall not affect the validity or enforceability of any of the other
provisions of this Agreement.

       12.14 Exhibits and Schedules. The exhibits and schedules attached hereto are hereby
incorporated by reference herein.

        12.15 Multiple Parties. If more than one person or entity is named herein as either Buyer
or Seller, the obligations of such multiple parties shall be the joint and several responsibility of all
persons or entities named herein as such Buyer or Seller.

       12.16 Counting of Days. Unless expressly specified herein, any reference to “days” shall
mean calendar days. To the extent the last day for any act falls on a Saturday, Sunday or legal
holiday, the last day for that act shall be extended to the next business day. As used in this
Agreement, “business day” shall be deemed to be any day other than a Saturday, Sunday and any
day on which banks in the state of California shall be permitted or required to close.


[Signature page follows.]




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        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
Effective Date.

SELLER:

GLENROY COACHELLA, LLC,
a Delaware limited liability company



By:
Name: Richard A. Marshack
Title: Bankruptcy Trustee for Glenroy Coachella, LLC


BUYER:

__________________




By:
Name:
Title:




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                                       LIST OF EXHIBITS

           A:   Legal Description of the Land

           B:   Seller’s Liabilities

           C:   Permitted Encumbrances

           D:   Form of Grant Deed

           E:   Bill of Sale

           F:   Form of Assignment of Intangible Property, Warranties and Guarantees

           G:   Form of FIRPTA

           H:   Form of Development Agreement Estoppel Certifricate




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                                           EXHIBIT A

                            LEGAL DESCRIPTION OF THE LAND

        The land referred to herein is situated in the County of Riverside, State of California, and
is described as follows:

PARCELS 1, 2, 4, 5 AND 6 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AS SHOWN BY MAP ON FILE IN BOOK 243, PAGES 82 TO 84
INCLUSIVE OF PARCEL MAPS, RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

APN: 603-220-061, 603-220-065, 603-220-067, 603-220-068 AND 603-220-069




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                                         EXHIBIT B

                                   SELLER’S LIABILITIES




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                                                  Central District of California
                                                        Claims Register
                                                2:21-bk-11188-BB Glenroy Coachella, LLC

                            Judge: Sheri Bluebond                                   Chapter: 11
                            Office: Los Angeles                                     Last Date to file claims: 04/30/2021
                            Trustee: Richard A Marshack (TR)                        Last Date to file (Govt): 08/24/2021
  Creditor:     (40670967)                                 Claim No: 1                                    Status:
  Ally Bank Lease Trust                                    Original Filed Date: 02/25/2021                Filed by: CR
  PO Box 130424                                            Original Entered Date: 02/25/2021              Entered by: ePOC-User AutoDocket
  Roseville, MN 55113-0004                                                                                Modified:
    Amount claimed: $11137.38
  History:
  Details            1-1    02/25/2021 Claim #1 filed by Ally Bank Lease Trust, Amount claimed: $11137.38 (AutoDocket, ePOC-
                                       User)
  Description:
  Remarks: (1-1) Account Number (last 4 digits):4753


  Creditor:     (40658483)              History            Claim No: 2                                    Status:
  Art Of The Muse, LLC                                     Original Filed Date: 02/26/2021                Filed by: CR
  2200 Central St. Unit D                                  Original Entered Date: 02/26/2021              Entered by: ePOC-User AutoDocket
  Richmond, CA 94801                                                                                      Modified:
    Amount claimed: $324180.71
    Secured claimed: $324180.71
  History:
  Details            2-1    02/26/2021 Claim #2 filed by Art Of The Muse, LLC, Amount claimed: $324180.71 (AutoDocket, ePOC-
                                       User)
  Description:
  Remarks:


  Creditor:    (40689573)                                  Claim No: 3                                    Status:
  WM Security Solutions                                    Original Filed Date: 03/09/2021                Filed by: CR
  18341 Sherman Way # 206A                                 Original Entered Date: 03/09/2021              Entered by: ePOC-User AutoDocket
  Reseda, CA 91335                                                                                        Modified:
    Amount claimed: $32851.00
  History:
  Details            3-1    03/09/2021 Claim #3 filed by WM Security Solutions, Amount claimed: $32851.00 (AutoDocket, ePOC-
                                       User)
  Description:
  Remarks:

  Creditor:     (40690866)                                 Claim No: 4                                    Status:
  Gloster LA                                               Original Filed Date: 03/10/2021                Filed by: CR
  471 N. Robertson Blvd.                                   Original Entered Date: 03/10/2021              Entered by: ePOC-User AutoDocket
  West Hollywood, CA 90048                                                                                Modified:

  History:
  Details            4-1    03/10/2021 Claim #4 filed by Gloster LA, Amount claimed: $320000.00 (AutoDocket, ePOC-User)
  Description:
  Remarks:
https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=1918832;sc                                                                      1/13


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    Amount claimed: $320000.00
  History:
  Details            4-1    03/10/2021 Claim #4 filed by Gloster LA, Amount claimed: $320000.00 (AutoDocket, ePOC-User)
  Description:
  Remarks:


  Creditor:   (40690890)                                   Claim No: 5                                    Status:
  FRANCHISE TAX BOARD                                      Original Filed Date: 03/10/2021                Filed by: CR
  BANKRUPTCY SECTION MS A340                               Original Entered Date: 03/10/2021              Entered by: Kim Tho Nguyen
  PO BOX 2952                                                                                             Modified:
  SACRAMENTO CA 95812-2952
    Amount claimed: $892.03
    Priority claimed: $819.67
  History:
  Details            5-1    03/10/2021 Claim #5 filed by FRANCHISE TAX BOARD, Amount claimed: $892.03 (Nguyen, Kim Tho)
  Description: (5-1) Claim Filed
  Remarks:

  Creditor:     (40658601)                                 Claim No: 6                                    Status:
  Superior Pool Products, LLC                              Original Filed Date: 03/15/2021                Filed by: CR
  4900 E. Landon Dr.                                       Original Entered Date: 03/15/2021              Entered by: ePOC-User AutoDocket
  Anaheim, CA 92807-1980                                                                                  Modified:
    Amount claimed: $19255.18
    Secured claimed: $14386.05
  History:
  Details            6-1    03/15/2021 Claim #6 filed by Superior Pool Products, LLC, Amount claimed: $19255.18 (AutoDocket,
                                       ePOC-User)
  Description:
  Remarks: (6-1) Account Number (last 4 digits):1059

  Creditor:     (40698505)                                 Claim No: 7                                    Status:
  Riverside County Tax Collector                           Original Filed Date: 03/12/2021                Filed by: CR
  Adelina Abril                                            Original Entered Date: 03/15/2021              Entered by: Olivia Ventura
  4080 Lemon St, 4th Floor                                                                                Modified:
  Riverside CA 92501
    Amount claimed: $688477.00
    Secured claimed: $688477.00
  History:
  Details            7-1    03/12/2021 Claim #7 filed by Riverside County Tax Collector, Amount claimed: $688477.00 (Ventura,
                                       Olivia)
  Description: (7-1) Real Property Taxes
  Remarks:

  Creditor:     (40658570)                                 Claim No: 8                                    Status:
  Orco Block & Hardscape                                   Original Filed Date: 03/25/2021                Filed by: CR
  11100 Beach Blvd.                                        Original Entered Date: 03/25/2021              Entered by: ePOC-User AutoDocket
  Stanton, CA 90680-3219                                                                                  Modified:
  History:
  Details            8-1    03/25/2021 Claim #8 filed by Orco Block & Hardscape, Amount claimed: $30158.01 (AutoDocket, ePOC-
                                       User)
  Description:
  Remarks:
https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=1918832;sc                                                                      2/13


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    Amount claimed: $30158.01
    Secured claimed: $30158.01
  History:
  Details            8-1    03/25/2021 Claim #8 filed by Orco Block & Hardscape, Amount claimed: $30158.01 (AutoDocket, ePOC-
                                       User)
  Description:
  Remarks:

  Creditor:      (40658504)                                Claim No: 9                                    Status:
  Coachella Valley Collection Service                      Original Filed Date: 03/29/2021                Filed by: CR
  P.O. Box 13621                                           Original Entered Date: 03/29/2021              Entered by: ePOC-User AutoDocket
  Palm Desert, CA 92255-3621                                                                              Modified:
    Amount claimed: $18468.52
  History:
  Details            9-1    03/29/2021 Claim #9 filed by Coachella Valley Collection Service, Amount claimed: $18468.52
                                       (AutoDocket, ePOC-User)
  Description:
  Remarks: (9-1) Account Number (last 4 digits):9628

  Creditor:      (40658557)                                Claim No: 10                                   Status:
  L & W Supply Corporation                                 Original Filed Date: 03/31/2021                Filed by: CR
  P.O. Box 838                                             Original Entered Date: 03/31/2021              Entered by: ePOC-User AutoDocket
  Beloit, WI 53512                                                                                        Modified:
    Amount claimed: $18505.40
    Secured claimed: $18505.40
  History:
  Details           10-1 03/31/2021 Claim #10 filed by L & W Supply Corporation, Amount claimed: $18505.40 (AutoDocket,
                                    ePOC-User)
  Description:
  Remarks: (10-1) Account Number (last 4 digits):0340

  Creditor:     (40731654)                               Claim No: 11                                       Status:
  GF Investment Group, Inc.                              Original Filed Date: 04/07/2021                    Filed by: CR
  Plumtree & Associates                                  Original Entered Date: 04/07/2021                  Entered by: ePOC-User AutoDocket
  11132 Winners Circle, Suite G-207                      Last Amendment Filed: 04/29/2021                   Modified: 04/29/2021
  Los Alamitos, CA 90720                                 Last Amendment Entered: 04/29/2021
    Amount claimed: $250695.63
    Secured claimed: $250695.63
  History:
  Details           11-1 04/07/2021 Claim #11 filed by GF Investment Group, Inc., Amount claimed: $250695.63 (AutoDocket,
                                    ePOC-User)
   Details          11-2 04/29/2021 Amended Claim #11 filed by GF Investment Group, Inc., Amount claimed: $250695.63
                                    (AutoDocket, ePOC-User)
  Description:
  Remarks: (11-1) Account Number (last 4 digits):2028
  (11-2) Account Number (last 4 digits):2028




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  Creditor:     (40731661)                                 Claim No: 12                                   Status:
  Jeffer Mangels Butler & Mitchell LLP                     Original Filed Date: 04/07/2021                Filed by: CR
  1900 Avenue of the Stars, 7th Fl.                        Original Entered Date: 04/07/2021              Entered by: Thomas M Geher
  Los Angeles, CA 90067                                                                                   Modified:
    Amount claimed: $18173.01
  History:
  Details           12-1 04/07/2021 Claim #12 filed by Jeffer Mangels Butler & Mitchell LLP, Amount claimed: $18173.01 (Geher,
                                    Thomas)
  Description: (12-1) Legal fees and costs.
  Remarks:


  Creditor:    (40658610)                                  Claim No: 13                                   Status:
  The Sherwin-Williams Company                             Original Filed Date: 04/07/2021                Filed by: CR
  101 W. Prospect Ave., Suite 1020                         Original Entered Date: 04/07/2021              Entered by: ePOC-User AutoDocket
  Cleveland, OH 44115-1027                                                                                Modified:
    Amount claimed: $30511.69
    Secured claimed: $26794.79
  History:
  Details           13-1 04/07/2021 Claim #13 filed by The Sherwin-Williams Company, Amount claimed: $30511.69
                                    (AutoDocket, ePOC-User)
  Description:
  Remarks: (13-1) Account Number (last 4 digits):2396

  Creditor:      (40736171)                                Claim No: 14                                   Status:
  Bret H. Reed, Jr., A Law Corporation                     Original Filed Date: 04/09/2021                Filed by: CR
  428 Avocado Avenue                                       Original Entered Date: 04/09/2021              Entered by: ePOC-User AutoDocket
  Corona Del Mar, CA 92625                                                                                Modified:
    Amount claimed: $9865.00
  History:
  Details           14-1 04/09/2021 Claim #14 filed by Bret H. Reed, Jr., A Law Corporation, Amount claimed: $9865.00
                                    (AutoDocket, ePOC-User)
  Description:
  Remarks:

  Creditor:     (40658576)                                 Claim No: 15                                   Status:
  Porsche Leasing Ltd.                                     Original Filed Date: 04/14/2021                Filed by: CR
  1 Porsche Dr.                                            Original Entered Date: 04/14/2021              Entered by: Stacey A Miller
  Atlanta, GA 30354-1654                                                                                  Modified:
    Amount claimed: $133788.81
    Secured claimed: $133788.81
  History:
  Details           15-1 04/14/2021 Claim #15 filed by Porsche Leasing Ltd., Amount claimed: $133788.81 (Miller, Stacey)
  Description: (15-1) Lease on 2019 Bentley Bentayga
  Remarks:


  Creditor:    (40658519)                                  Claim No: 16                                   Status:
  Design Development Co.                                   Original Filed Date: 04/13/2021                Filed by: CR




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  28035 Dorothy Dr., Suite 100                             Original Entered Date: 04/15/2021              Entered by: Olivia Ventura
  Agoura Hills, CA 91301                                                                                  Modified:
    Amount claimed: $23798.91
  History:
  Details           16-1 04/13/2021 Claim #16 filed by Design Development Co., Amount claimed: $23798.91 (Ventura, Olivia)
  Description: (16-1) Design, plans, services performed, goods sold Provided from 12/9/18 through July, 2019
  Remarks:


  Creditor:       (40658486)                               Claim No: 17                                   Status:
  Blair Air, Inc.                                          Original Filed Date: 04/16/2021                Filed by: CR
  653 S. Oleander Rd.                                      Original Entered Date: 04/16/2021              Entered by: M. Wayne Tucker
  Palm Springs, CA 92264-1502                                                                             Modified:
    Amount claimed: $424937.27
    Secured claimed: $354114.39
  History:
  Details           17-1 04/16/2021 Claim #17 filed by Blair Air, Inc., Amount claimed: $424937.27 (Tucker, M.)
  Description: (17-1) Mechanic's Lien
  Remarks:

  Creditor:       (40658506) History                       Claim No: 18                                   Status:
  Colliers Project Leaders USA NE, LLC                     Original Filed Date: 04/16/2021                Filed by: CR
  135 New Road                                             Original Entered Date: 04/19/2021              Entered by: Olivia Ventura
  Madison, CT 06443                                                                                       Modified:
    Amount claimed: $71991.67
  History:
  Details           18-1 04/16/2021 Claim #18 filed by Colliers Project Leaders USA NE, LLC, Amount claimed: $71991.67
                                    (Ventura, Olivia)
  Description: (18-1) Services Performed
  Remarks:


  Creditor:    (40658520)                                  Claim No: 19                                   Status:
  Doug Wall Construction                                   Original Filed Date: 04/19/2021                Filed by: CR
  78450 Avenue 41                                          Original Entered Date: 04/19/2021              Entered by: Caroline Djang
  Bermuda Dunes, CA 92203-1001                                                                            Modified:
    Amount claimed: $3823871.70
    Secured claimed: $3823871.70
  History:
  Details           19-1 04/19/2021 Claim #19 filed by Doug Wall Construction, Amount claimed: $3823871.70 (Djang, Caroline)
  Description: (19-1) Mechanics Lien
  Remarks:

  Creditor:     (40751830)               Claim No: 20                                                     Status:
  American Contractors Indemnity Company Original Filed Date: 04/21/2021                                  Filed by: CR
  801 S. Figueroa Street                 Original Entered Date: 04/21/2021                                Entered by: ePOC-User AutoDocket
  Suite 700                                                                                               Modified:
  Los Angeles, CA 90017
  No amounts claimed
  History:
  Details           20-1 04/21/2021 Claim #20 filed by American Contractors Indemnity Company, Amount claimed: (AutoDocket,
                                    ePOC-User)
  Description:
  Remarks: (20-1) Account Number (last 4 digits):2243 Filer Comment: + Unliquidated/undetermined damages
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  Creditor:     (40658487) History                         Claim No: 21                                   Status:
  BMC West, LLC                                            Original Filed Date: 04/26/2021                Filed by: CR
  C/O Milene Apanian                                       Original Entered Date: 04/26/2021              Entered by: Bruce D Rudman
  Abdulaziz Grossbart & Rudman                                                                            Modified:
  6454 Coldwater Canyon Avenue
  North Hollywood, CA 91606
    Amount claimed: $50290.00
    Secured claimed: $50290.00
  History:
  Details           21-1 04/26/2021 Claim #21 filed by BMC West, LLC, Amount claimed: $50290.00 (Rudman, Bruce)
  Description: (21-1) Claim secured by Mechanic's Lien
  Remarks:

  Creditor:     (40757339)                                 Claim No: 22                                   Status:
  DAL-TILE DISTRIBUTION, INC.                              Original Filed Date: 04/26/2021                Filed by: CR
  8583 Irvine Center Drive #500                            Original Entered Date: 04/26/2021              Entered by: ePOC-User AutoDocket
  Irvine, CA 92618                                                                                        Modified:
    Amount claimed: $11753.35
  History:
  Details           22-1 04/26/2021 Claim #22 filed by DAL-TILE DISTRIBUTION, INC., Amount claimed: $11753.35
                                    (AutoDocket, ePOC-User)
  Description:
  Remarks: (22-1) Account Number (last 4 digits):1238

  Creditor:     (40760514) History                         Claim No: 23                                   Status:
  Highgate Hotels, L.P.                                    Original Filed Date: 04/28/2021                Filed by: CR
  c/o Kelly Bagnall, Holland & Knight LLP                  Original Entered Date: 04/28/2021              Entered by: Brian Smith
  200 Crescent Court, Suite 1600                                                                          Modified:
  Dallas, TX 75201
    Amount claimed: $626625.36
  History:
  Details           23-1 04/28/2021 Claim #23 filed by Highgate Hotels, L.P., Amount claimed: $626625.36 (Smith, Brian)
  Description:
  Remarks:


  Creditor:     (40658558)                                 Claim No: 24                                   Status:
  La Hacienda Nursery & Landscape Inc                      Original Filed Date: 04/28/2021                Filed by: CR
  80-900 Miles Ave.                                        Original Entered Date: 04/28/2021              Entered by: ePOC-User AutoDocket
  Indio, CA 92201-2822                                                                                    Modified:
    Amount claimed: $146717.74
    Secured claimed: $146717.74
  History:
  Details           24-1 04/28/2021 Claim #24 filed by La Hacienda Nursery & Landscape Inc, Amount claimed: $146717.74
                                    (AutoDocket, ePOC-User)
  Description:
  Remarks:




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  Creditor:      (40658475)                                Claim No: 25                                   Status:
  Al Miller & Sons Roofing, Inc.                           Original Filed Date: 04/28/2021                Filed by: CR
  68760 Summit Dr.                                         Original Entered Date: 04/28/2021              Entered by: ePOC-User AutoDocket
  Cathedral City, CA 92234-7344                                                                           Modified:
    Amount claimed: $143835.82
    Secured claimed: $143835.82
  History:
  Details           25-1 04/28/2021 Claim #25 filed by Al Miller & Sons Roofing, Inc., Amount claimed: $143835.82 (AutoDocket,
                                    ePOC-User)
  Description:
  Remarks:


  Creditor:     (40658481)                                 Claim No: 26                                   Status:
  Apple J Plumbing, Inc.                                   Original Filed Date: 04/28/2021                Filed by: CR
  456 Citrus Ave.                                          Original Entered Date: 04/28/2021              Entered by: ePOC-User AutoDocket
  Indio, CA 92201                                                                                         Modified:
    Amount claimed: $225463.30
    Secured claimed: $225463.30
  History:
  Details           26-1 04/28/2021 Claim #26 filed by Apple J Plumbing, Inc., Amount claimed: $225463.30 (AutoDocket,
                                    ePOC-User)
  Description:
  Remarks:

  Creditor:     (40658518)                                 Claim No: 27                                   Status:
  Desert Palms Electric, Inc.                              Original Filed Date: 04/28/2021                Filed by: CR
  40101 Monterey Ave.                                      Original Entered Date: 04/28/2021              Entered by: ePOC-User AutoDocket
  Rancho Mirage, CA 92270-3261                                                                            Modified:
    Amount claimed: $486944.35
    Secured claimed: $486944.35
  History:
  Details           27-1 04/28/2021 Claim #27 filed by Desert Palms Electric, Inc., Amount claimed: $486944.35 (AutoDocket,
                                    ePOC-User)
  Description:
  Remarks:

  Creditor:     (40658551)                                 Claim No: 28                                   Status:
  Jacobsson Engineering Const., Inc.                       Original Filed Date: 04/28/2021                Filed by: CR
  P.O. Box 14430                                           Original Entered Date: 04/28/2021              Entered by: ePOC-User AutoDocket
  Palm Desert, CA 92255                                                                                   Modified:
    Amount claimed: $1213220.00
    Secured claimed: $1213220.00
  History:
  Details           28-1 04/28/2021 Claim #28 filed by Jacobsson Engineering Const., Inc., Amount claimed: $1213220.00
                                    (AutoDocket, ePOC-User)
  Description:
  Remarks:




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  Creditor:    (40658563)                                  Claim No: 29                                   Status:
  Mascorro Concrete Construction Inc                       Original Filed Date: 04/28/2021                Filed by: CR
  P.O. Box 910                                             Original Entered Date: 04/28/2021              Entered by: ePOC-User AutoDocket
  Thousand Palms, CA 92276                                                                                Modified:
    Amount claimed: $93209.20
    Secured claimed: $93209.20
  History:
  Details           29-1 04/28/2021 Claim #29 filed by Mascorro Concrete Construction Inc, Amount claimed: $93209.20
                                    (AutoDocket, ePOC-User)
  Description:
  Remarks:


  Creditor:     (40658605)                                 Claim No: 30                                   Status:
  Tandem West Glass Inc.                                   Original Filed Date: 04/28/2021                Filed by: CR
  1177 W. Lincoln St., Suite 100                           Original Entered Date: 04/28/2021              Entered by: ePOC-User AutoDocket
  Banning, CA 92220-4524                                                                                  Modified:
    Amount claimed: $564818.80
    Secured claimed: $564818.80
  History:
  Details           30-1 04/28/2021 Claim #30 filed by Tandem West Glass Inc., Amount claimed: $564818.80 (AutoDocket,
                                    ePOC-User)
  Description:
  Remarks:

  Creditor:     (40658607)                                 Claim No: 31                                   Status:
  TemalPakh, Inc.                                          Original Filed Date: 04/28/2021                Filed by: CR
  73750 Spyder Cir.                                        Original Entered Date: 04/28/2021              Entered by: ePOC-User AutoDocket
  Palm Desert, CA 92211-6023                                                                              Modified:
    Amount claimed: $70734.00
    Secured claimed: $70734.00
  History:
  Details           31-1 04/28/2021 Claim #31 filed by TemalPakh, Inc., Amount claimed: $70734.00 (AutoDocket, ePOC-User)
  Description:
  Remarks:

  Creditor:     (40762376)                                 Claim No: 32                                   Status:
  Carrier Johnson, Inc.                                    Original Filed Date: 04/28/2021                Filed by: AT
  c/o K. Todd Curry, Esq.                                  Original Entered Date: 04/28/2021              Entered by: Todd Curry
  185 West F Street, Ste. 100                                                                             Modified:
  San Diego, CA 92101
    Amount claimed: $503071.73
    Secured claimed: $503071.73
  History:
  Details           32-1 04/28/2021 Claim #32 filed by Carrier Johnson, Inc., Amount claimed: $503071.73 (Curry, Todd)
  Description:
  Remarks:

  Creditor:           (40762755)                           Claim No: 33                                   Status:




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  Mobile Mini Inc                                          Original Filed Date: 04/29/2021                Filed by: CR
  4646 E Van Buren St., Ste 400                            Original Entered Date: 04/29/2021              Entered by: ePOC-User AutoDocket
  Attn: Todd Hutchings                                                                                    Modified:
  Phoenix, AZ 85008
    Amount claimed: $53636.33
  History:
  Details           33-1 04/29/2021 Claim #33 filed by Mobile Mini Inc, Amount claimed: $53636.33 (AutoDocket, ePOC-User)
  Description:
  Remarks: (33-1) Account Number (last 4 digits):8970

  Creditor:       (40763908)                               Claim No: 34                                   Status:
  California Statewide Communities Dev.                    Original Filed Date: 04/29/2021                Filed by: CR
  Authority                                                Original Entered Date: 04/29/2021              Entered by: ePOC-User AutoDocket
  600 West Broadway, 27th Floor                                                                           Modified:
  San Diego, CA 92101
    Amount claimed: $13750329.00
    Secured claimed: $13750329.00
  History:
  Details           34-1 04/29/2021 Claim #34 filed by California Statewide Communities Dev. Authority, Amount claimed:
                                    $13750329.00 (AutoDocket, ePOC-User)
  Description:
  Remarks:

  Creditor:      (40658553)                                Claim No: 35                                   Status:
  Jeffrey D. Segal                                         Original Filed Date: 04/29/2021                Filed by: CR
  1840 Century Park East, 17th Fl.                         Original Entered Date: 04/29/2021              Entered by: Sheila M Pistone
  Los Angeles, CA 90067                                                                                   Modified:
    Amount claimed: $282237.21
  History:
  Details           35-1 04/29/2021 Claim #35 filed by Jeffrey D. Segal, Amount claimed: $282237.21 (Pistone, Sheila)
  Description:
  Remarks:

  Creditor:     (40658613)                                 Claim No: 36                                   Status:
  U.S. Real Estate Credit Holdings                         Original Filed Date: 04/29/2021                Filed by: CR
  11755 Wilshire Blvd., Suite 1425                         Original Entered Date: 04/29/2021              Entered by: Christopher O Rivas
  Los Angeles, CA 90025                                                                                   Modified:
    Amount claimed: $30878944.46
    Secured claimed: $14500000.00
  History:
  Details           36-1 04/29/2021 Claim #36 filed by U.S. Real Estate Credit Holdings, Amount claimed: $30878944.46 (Rivas,
                                    Christopher)
  Description:
  Remarks: (36-1) See Addendum for Secured Claim Range: $14.5 million - $23.5 million

  Creditor:     (40658613)                                 Claim No: 37                                   Status:
  U.S. Real Estate Credit Holdings                         Original Filed Date: 04/29/2021                Filed by: CR




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9/6/2021                                                            CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
  11755 Wilshire Blvd., Suite 1425                         Original Entered Date: 04/29/2021              Entered by: Christopher O Rivas
  Los Angeles, CA 90025                                                                                   Modified:
    Amount claimed: $867193.94
    Priority claimed: $867193.94
  History:
  Details           37-1 04/29/2021 Claim #37 filed by U.S. Real Estate Credit Holdings, Amount claimed: $867193.94 (Rivas,
                                    Christopher)
  Description: (37-1) Administrative Priority Claim
  Remarks:


  Creditor:      (40689743) History                        Claim No: 38                                   Status:
  Edwin W Leslie, State Court Receiver                     Original Filed Date: 04/30/2021                Filed by: CR
  Alan G. Tippie/Mark S. Horoupian                         Original Entered Date: 04/30/2021              Entered by: Mark S Horoupian
  Sulmeyer Kupetz                                                                                         Modified:
  333 S. Grand Ave, Ste. 3400
  Los Angeles CA 90071
  No amounts claimed
  History:
  Details           38-1 04/30/2021 Claim #38 filed by Edwin W Leslie, State Court Receiver, Amount claimed: (Horoupian,
                                    Mark)
  Description: (38-1) Amount TBD
  Remarks: (38-1) See Attachment to Proof of Claim

  Creditor:       (40768266)                               Claim No: 39                                   Status:
  Desert Moving Company, LLC                               Original Filed Date: 04/30/2021                Filed by: CR
  82585 Showcase Parkway, Suite A 101                      Original Entered Date: 04/30/2021              Entered by: Simon J Dunstan
  Indio, California 92203                                                                                 Modified:
    Amount claimed: $3957804.00
    Secured claimed:      $1.00
  History:
  Details           39-1 04/30/2021 Claim #39 filed by Desert Moving Company, LLC, Amount claimed: $3957804.00 (Dunstan,
                                    Simon)
  Description: (39-1) Codebtor/alter ego claim for storage fees
  Remarks:

  Creditor:       (40658599)                               Claim No: 40                                   Status:
  Stuart Rubin                                             Original Filed Date: 04/30/2021                Filed by: AT
  715 N. Alpine Dr.                                        Original Entered Date: 04/30/2021              Entered by: Evan L Smith
  Beverly Hills, CA 90210                                                                                 Modified:
    Amount claimed: $5699513.82
  History:
  Details           40-1 04/30/2021 Claim #40 filed by Stuart Rubin, Amount claimed: $5699513.82 (Smith, Evan)
  Description: (40-1) money loaned and/or advanced; and contractual indemnity
  Remarks:

  Creditor:      (40658533)               Claim No: 41                          Status:
  Gary Stiffelman                         Original Filed Date: 04/30/2021       Filed by: AT
  383 S. Beverly Glen Blvd.               Original Entered Date: 04/30/2021     Entered by: Timothy R Laquer
  Los Angeles, CA 90024                                                         Modified:
  History:
  Details      41-1 04/30/2021 Claim #41 filed by Gary Stiffelman, Amount claimed: $5279925.77 (Laquer, Timothy)
  Description:
  Remarks:
https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=1918832;sc                                                                        10/13


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    Amount claimed: $5279925.77
  History:
  Details           41-1 04/30/2021 Claim #41 filed by Gary Stiffelman, Amount claimed: $5279925.77 (Laquer, Timothy)
  Description:
  Remarks:


  Creditor:    (40658502)                                  Claim No: 42                                   Status:
  Coachella Resort, LLC                                    Original Filed Date: 04/30/2021                Filed by: AT
  72780 Country Club Dr., Suite 301                        Original Entered Date: 04/30/2021              Entered by: Evan L Smith
  Rancho Mirage, CA 92270                                                                                 Modified:
    Amount claimed: $19287.00
  History:
  Details           42-1 04/30/2021 Claim #42 filed by Coachella Resort, LLC, Amount claimed: $19287.00 (Smith, Evan)
  Description: (42-1) money loaned and/or advanced
  Remarks:

  Creditor:      (40658525)                                Claim No: 43                                   Status:
  Elliot B. Lander                                         Original Filed Date: 04/30/2021                Filed by: CR
  72780 Country Club Dr., Suite 301                        Original Entered Date: 04/30/2021              Entered by: Evan L Smith
  Rancho Mirage, CA 92270-4126                                                                            Modified:
    Amount claimed: $175000.00
  History:
  Details           43-1 04/30/2021 Claim #43 filed by Elliot B. Lander, Amount claimed: $175000.00 (Smith, Evan)
  Description: (43-1) money loaned and/or advanced
  Remarks:

  Creditor:     (40760514) History                         Claim No: 44                                   Status:
  Highgate Hotels, L.P.                                    Original Filed Date: 04/28/2021                Filed by: CR
  c/o Kelly Bagnall, Holland & Knight LLP                  Original Entered Date: 05/03/2021              Entered by: Olivia Ventura
  200 Crescent Court, Suite 1600                                                                          Modified:
  Dallas, TX 75201
  No amounts claimed
  History:
  Details           44-1 04/28/2021 Claim #44 filed by Highgate Hotels, L.P., Amount claimed: (Ventura, Olivia)
  Description: (44-1) See attached
  Remarks:

  Creditor:    (40773333)                                  Claim No: 45                                   Status:
  G&B Law, LLP                                             Original Filed Date: 05/04/2021                Filed by: CR
  16000 Ventura Blvd., Suite 1000                          Original Entered Date: 05/04/2021              Entered by: ePOC-User AutoDocket
  Encino, CA 91436                                                                                        Modified:
    Amount claimed: $31479.48
  History:
  Details           45-1 05/04/2021 Claim #45 filed by G&B Law, LLP, Amount claimed: $31479.48 (AutoDocket, ePOC-User)
  Description:
  Remarks:




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9/6/2021                                                            CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
  Creditor:      (40658546) History                        Claim No: 46                                   Status:
  Hugh T. Smith Company Inc                                Original Filed Date: 04/30/2021                Filed by: CR
  5383 Roberts Rd.                                         Original Entered Date: 05/05/2021              Entered by: Olivia Ventura
  Yucca Valley, CA 92284                                                                                  Modified:
    Amount claimed: $32400.00
  History:
  Details           46-1 04/30/2021 Claim #46 filed by Hugh T. Smith Company Inc, Amount claimed: $32400.00 (Ventura,
                                    Olivia)
  Description: (46-1) Fire alarm construction & installation
  Remarks:

  Creditor:      (40658550)                                Claim No: 47                                   Status:
  Internal Revenue Service                                 Original Filed Date: 06/02/2021                Filed by: CR
  P.O. Box 7346                                            Original Entered Date: 06/02/2021              Entered by: Timothy C Schakow
  Philadelphia, PA 19101-7346                                                                             Modified:
    Amount claimed: $4920.00
    Secured claimed:   $0.00
    Priority claimed:  $0.00
  History:
  Details           47-1 06/02/2021 Claim #47 filed by Internal Revenue Service, Amount claimed: $4920.00 (Schakow, Timothy)
  Description:
  Remarks:

  Creditor:     (40904356)                                 Claim No: 48                                   Status:
  State Water Resources Control Board                      Original Filed Date: 08/17/2021                Filed by: CR
  1001 I Street                                            Original Entered Date: 08/17/2021              Entered by: ePOC-User AutoDocket
  22nd Floor                                                                                              Modified:
  Sacramento, CA 95814
    Amount claimed: $5610.00
  History:
  Details           48-1 08/17/2021 Claim #48 filed by State Water Resources Control Board, Amount claimed: $5610.00
                                    (AutoDocket, ePOC-User)
  Description:
  Remarks: (48-1) Account Number (last 4 digits):0168


  Creditor:     (40904356)                                 Claim No: 49                                   Status:
  State Water Resources Control Board                      Original Filed Date: 08/17/2021                Filed by: CR
  1001 I Street                                            Original Entered Date: 08/17/2021              Entered by: ePOC-User AutoDocket
  22nd Floor                                                                                              Modified:
  Sacramento, CA 95814
    Amount claimed: $1117.00
  History:
  Details           49-1 08/17/2021 Claim #49 filed by State Water Resources Control Board, Amount claimed: $1117.00
                                    (AutoDocket, ePOC-User)
  Description:
  Remarks: (49-1) Account Number (last 4 digits):9235


  Creditor:           (40912172)                           Claim No: 50                                   Status:




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9/6/2021                                                            CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
  City of Coachella                                          Original Filed Date: 08/24/2021              Filed by: CR
  c/o Best Best & Krieger LLP                                Original Entered Date: 08/24/2021            Entered by: Caroline Djang
  18101 Von Karman Ave., Suite 1000                                                                       Modified:
  Irvine, CA 92612
    Amount claimed: $812900.14
    Secured claimed: $794867.53
  History:
  Details           50-1 08/24/2021 Claim #50 filed by City of Coachella, Amount claimed: $812900.14 (Djang, Caroline)
  Description: (50-1) (1) Delinquent Property Taxes; (2) Amounts Owed on Deposit Account; and (3) Unpaid Utilities
  Remarks:



                                                              Claims Register Summary
                                                        Case Name: Glenroy Coachella, LLC
                                                         Case Number: 2:21-bk-11188-BB
                                                                   Chapter: 11
                                                              Date Filed: 02/15/2021
                                                           Total Number Of Claims: 50

                                                    Total Amount Claimed* $72240540.72
                                                    Total Amount Allowed*
                                                       *Includes general unsecured claims

           The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                                                   Claimed         Allowed
                                                     Secured                  $38208474.96
                                                     Priority       $868013.61
                                                     Administrative



                                                                PACER Service Center
                                                                    Transaction Receipt
                                                                          09/06/2021 11:45:26
                                        PACER                             Client
                                                         mh4052870                  9999-992
                                        Login:                            Code:
                                                                                    2:21-bk-11188-BB Filed or Entered
                                                         Claims           Search
                                        Description:                                From: 1/1/1900 Filed or Entered To:
                                                         Register         Criteria:
                                                                                    9/6/2021
                                        Billable
                                                         4                Cost:     0.40
                                        Pages:




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                                          EXHIBIT C

                                 PERMITTED EXCEPTIONS


 The following exceptions to covered listed as Exceptions in that certain Amended Preliminary
 Report prepared by Fidelity National Title Insurance Company dated August 12, 2021 at 7:30
 a.m., amended August 18, 2021 under Order No. 002-30066002-BA-TS4.

 A – J;
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                                              EXHIBIT D

                                      FORM OF GRANT DEED


RECORDING REQUESTED BY,
AND WHEN RECORDED MAIL TO,
AND MAIL TAX STATEMENT TO:




Attention:

APN:                                                            (Above Space For Recorder’s Use Only)




The Undersigned Grantor(s) Declare(s): DOCUMENTARY TRANSFER TAX $_________;
CITY TRANSFER TAX $00.00

             [ x   ] computed on the consideration or full value of property conveyed, OR
             [     ] computed on the consideration or full value less value of liens
                     and/or encumbrances remaining at time of sale,
             [   x ] unincorporated area; [ ] City of _____, and

                     __________________________________
                     Signature of Declarant


                                            GRANT DEED



       FOR VALUABLE CONSIDERATION, the receipt and sufficiency of which is hereby
acknowledged, GLENROY COACHELLA, LLC, a Delaware limited liability company, hereby
GRANTS to _______________, a _______________, the following described real property
located in the County of Riverside, State of California:

                   See Exhibit A which is attached hereto and incorporated by
                   reference herein.

      This conveyance is made subject to all liens and encumbrances of record and all matters
which would be apparent from a visual inspection of the Property.


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           DATED: ____________________, 2021


           GLENROY COACHELLA, LLC,
           a Delaware limited liability company


           By:
           Name:
           Title:




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                         CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT

 A notary public or other officer completing this certificate verifies only the identity of the
 individual who signed the document to which this certificate is attached, and not the
 truthfulness, accuracy, or validity of that document.


STATE OF CALIFORNIA                         )

COUNTY OF ______________________ )

On _______________, 2021, before me, ______________________________, Notary Public, personally
appeared ____________________________, who proved to me on the basis of satisfactory evidence to be
the person(s) whose name(s) is/are subscribed to the within instrument, and acknowledged to me that
he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s)
on the instrument the person(s) or the entity upon behalf of which the person(s) acted, executed the
instrument.

I certify under PENALTY of PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.

WITNESS my hand and official seal.



__________________________________
Notary Public




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                                   Exhibit A to Grant Deed

                                      Legal Description

PARCELS 1, 2, 4, 5 AND 6 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AS SHOWN BY MAP ON FILE IN BOOK 243, PAGES 82 TO 84
INCLUSIVE OF PARCEL MAPS, RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

APN: 603-220-061, 603-220-065, 603-220-067, 603-220-068 AND 603-220-069




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                                           EXHIBIT E

                                         BILL OF SALE

       THIS BILL OF SALE is made, executed and dated as of this _____ day of _________,
2021, by Richard A. Marshack (“Seller”), solely in his capacity as Chapter 11 trustee for
GLENROY COACHELLA, LLC, a Delaware limited liability company (“Debtor”), to and in
favor of ______________________________ (“Buyer”), in connection with that certain
Agreement of Purchase and Sale and Joint Escrow Instructions dated as of August ____, 2021 (the
“Purchase Agreement”), by and between Seller and Buyer (as successor-in-interest to Socialize
Inc.).

        FOR VALUABLE CONSIDERATION, the receipt and sufficiency of which are hereby
acknowledged, Seller does hereby grant, bargain, sell, convey, assign, transfer and set over unto
Buyer all of Seller’s right, title and interest in and to all personal property owned by Debtor and
used in connection with ownership, use, development or operation of the Land (as described in the
Purchase Agreement) including, without limitation, those items of personal property listed on
Exhibit A attached hereto. The foregoing grant, bargain, sale, conveyance, assignment, transfer
and setting over by Seller is on an as-is, where-is basis, without warranty or representation of any
kind, whether expressed or implied.

        This instrument shall be binding upon, and inure to the benefit of, the parties hereto and
their respective successors and assigns.



                         [Remainder of this page intentionally left blank.
                        Seller’s signature appears on the following page.]




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       IN WITNESS WHEREOF, the undersigned has executed this instrument as of the date first
above written.

SELLER:

GLENROY COACHELLA, LLC,
a Delaware limited liability company


By:    _________________________
Name: _________________________
Title: _________________________




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                                 Exhibit A to Bill of Sale

                                 List of Personal Property




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                                   19 pallets of ceramic tile   6-28-2021




                    Removed    6-28-2021
                    Removed    6-28-2021
                    Removed    6-28-2021




                                  Empty removed 6-28-2021       corner of 48th & Van Buren




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                                            EXHIBIT F

   ASSIGNMENT OF INTANGIBLE PROPERTY, WARRANTIES, AND GUARANTIES

        THIS ASSIGNMENT OF INTANGIBLE PROPERTY, WARRANTIES, AND
GUARANTIES (this “Assignment”), dated as of _______________, 2021, is made and entered
into by and between Richard A. Marshack (“Assignor”), solely in his capacity as Chapter 11
trustee for GLENROY COACHELLA, LLC, a Delaware limited liability company (“Debtor”),
and _______________, a _______________ (“Assignee”), with reference to the following facts:

        A.     Debtor is the owner and holder of the “Intangible Property” as defined in that
certain Agreement of Purchase and Sale and Joint Escrow Instructions, dated as of August ___,
2021, by and between Assignor, as Seller, and Assignee, as Buyer (as successor-in-interest to
Socialize Inc.) (the “Purchase Agreement”). All undefined capitalized terms used, but not
defined, in this Assignment, shall have the meaning given to such terms in the Purchase
Agreement.

        B.    Assignor desires to assign the Intangible Property (collectively, the “Assigned
Rights”) to Assignee, and Assignee desires to accept such assignment, on the terms and conditions
stated below.

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, it is agreed:

      1.      Effective as of the Closing Date, Assignor hereby assigns, transfers and conveys to
Assignee, without warranty, all of its right, title and interest in, to and under the Assigned Rights.

       2.     Assignee hereby accepts the foregoing assignment and assumes all obligations of
the Assignor under the Assigned Rights arising from and after the Closing Date.

       3.       Assignor agrees to indemnify and hold Assignee harmless from and against any
and all liability, loss, cost, damage and/or expense (including, without limitation, reasonable
attorneys’ fees and expenses) arising out of Assignor’s obligations with respect to the Assigned
Rights assigned to Assignee hereunder accruing prior to the Closing Date.

       4.       Assignee agrees to indemnify and hold Assignor harmless from and against any
and all liability, loss, cost, damage and/or expense (including, without limitation, reasonable
attorneys’ fees and expenses) arising out of Assignor’s obligations with respect to the Assigned
Rights assigned to Assignee hereunder accruing from and after the Closing Date.

       5.     At no cost, expense, or liability to the party to whom such request is made, Assignor
and Assignee agree to execute such other commercially reasonable instruments as the other party
may reasonably request, from time to time, to carry out the intent and purposes hereof.

       6.      This instrument shall be binding upon, and inure to the benefit of, the parties hereto
and their respective successors and assigns.




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        7.    This instrument may be executed in any number of counterparts, each of which
shall be deemed an original, and all of which shall constitute one and the same instrument.

        IN WITNESS WHEREOF, the parties hereto have executed this Assignment as of the date
first above written.

ASSIGNOR:

GLENROY COACHELLA, LLC,
a Delaware limited liability company



By:
Name:
Its:


ASSIGNEE:


a



By:
Name:
Its:




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                                           EXHIBIT G

                     FORM OF AFFIDAVIT OF NON-FOREIGN STATUS

        Section 1445 of the Internal Revenue Code of 1986, as amended (the “Code”), provides
that a transferee of a United States real property interest must withhold tax if the transferor is a
foreign person. To inform _______________, a _______________ (“Transferee”) that
withholding of tax is not required upon the disposition of a United States real property interest
located in the County of Riverside, State of California, by GLENROY COACHELLA, LLC, a
Delaware limited liability company, a Delaware limited liability company (“Transferor”), the
undersigned hereby certify the following to Transferee:

        1.     Transferor is not a foreign person, foreign corporation, foreign partnership, foreign
trust or foreign estate for purposes of the Code and the Income Tax Regulations promulgated
thereunder;

       2.     Transferor is not a disregarded entity as defined in Section 1.1445-2(b)(2)(iii) of
the Code and Income Tax Regulations promulgated thereunder;

        3.     Transferor’s United States employer identification number is _______________;
and

        4.     Transferor’s principal address is _______________.

       Transferor understands that this certification may be disclosed to the Internal Revenue
Service by the transferee and that any false statement contained herein could be punished by fine,
imprisonment, or both.

        Under penalties of perjury, the undersigned declare that the undersigned have examined
this certification and to the best of the undersigned’s knowledge and belief it is true, correct and
complete. The undersigned further declare that the undersigned have the authority to sign this
document on behalf of Transferor.

DATED: _______________, 2021

GLENROY COACHELLA, LLC,
a Delaware limited liability company



By:
Name:
Its:




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                                               Exhibit H

                                     Form of Estoppel Certificate

               DEVELOPMENT AGREEMENT ESTOPPEL CERTIFICATE

        City of Coachella
        1515 Sixth Street
        Coachella, CA 92236
        Attn: William B. Pattison, Jr., City Manager (bpattison@coachella.org)
        Carlos Campos, City Attorney (ccampos@coachella.org)



RE:     Glenroy Resort Development Agreement by and between the City Of Coachella and Glenroy
        Coachella, LLC, dated as of February 15, 2018 and recorded as DOC # 2018-0089219 on March
        8, 2018 in the official records of Riverside County (the “Development Agreement”)

         WHEREAS, Glenroy Coachella, LLC (“Developer”) is the current owner and developer of the
following parcels of real property subject to the Development Agreement, which comprise substantially all
the “Property” (as defined in the Development Agreement): Parcels 1, 2, 4, 5 & 6 of Parcel Map 37310
and identified by APNs 603-220-061, 603-220-065, 603-220-067, 603-220-068 and 603-220-069
(collectively, the “Developer’s Property”);

        WHEREAS, Developer does not currently own the following property subject to the Development
Agreement upon which a cannabis dispensary has been constructed and is currently operating: Parcel 3 of
Parcel Map 37310, identified by APN 603-220-063:

        WHEREAS, Developer is currently in the process of selling the Developer’s Property and
prospective purchaser is seeking confirmation regarding certain salient terms of the Development
Agreement.

        NOW THEREFORE, in accordance with Section 10.9 of the Development Agreement, the
undersigned, on behalf of the City of Coachella, hereby certifies the following to Developer and to
prospective purchaser of the Developer’s Property:

        1.      The Development Agreement is in full force and effect and has not been amended other
than in accordance with that certain Memorandum of Understanding between the City, Debtor and
The Coachella Lighthouse, LLC dated as of May 13, 2020 and that certain First Amendment to
Memorandum of Understanding between the City, Debtor and The Coachella Lighthouse, LLC
dated as of October 8, 2020 (collectively, the “MOA”);

       2.      The copies of the Development Agreement and MOA attached hereto are accurate and
complete copies of the originals of such documents, and the Development Agreement and MOA have not
been amended or modified other than as stated in paragraph 1 above;

       3.     Developer is not currently in default of any of Developer’s covenants or obligations under
the Development Agreement;

        4.      Developer’s rights under the Development Agreement are fully vested;




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        5.       Developer’s rights and obligations under the Development Agreement run with the land
and are freely assignable to, and assumable by, a purchaser of the Developer’s Property.

        The City of Coachella acknowledges that Developer is in the process of selling the Property. This
Estoppel Certificate is given solely for the information of Developer and potential purchaser of the Property,
and may not be relied upon by any other person or entity. The undersigned has all requisite authority to
execute this Estoppel Certificate. The undersigned acknowledges that (i) the purchaser of the Property will
be relying on the statements made herein in connection with its decision to purchase the Property, and (ii)
the City .



CITY OF COACHELLA,
a California municipal corporation


By:
Name: William B. Pattison, Jr.
Title: City Manager

Dated: September ___, 2021




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                                                                                                                     DsclsDue, PlnDue


                                                  U.S. Bankruptcy Court
                                         Central District of California (Los Angeles)
                                          Bankruptcy Petition #: 2:21-bk-11188-BB
                                                                                                             Date filed: 02/15/2021
 Assigned to: Sheri Bluebond                                                                              341 meeting: 10/19/2021
 Chapter 11                                                                                 Deadline for filing claims: 04/30/2021
                                                                                     Deadline for filing claims (govt.): 08/24/2021
 Voluntary                                                                         Deadline for objecting to discharge: 05/17/2021
 Asset


 Debtor                                                                             represented by Crystle Jane Lindsey
 Glenroy Coachella, LLC                                                                            Weintraub & Selth, APC
 1801 S. La Cienega Blvd., Suite 301                                                               11766 Wilshire Blvd.
 Los Angeles, CA 90035                                                                             Suite 1170
 LOS ANGELES-CA                                                                                    Los Angeles, CA 90025
 Tax ID / EIN: XX-XXXXXXX                                                                          (310) 207-1494
                                                                                                   Fax : (310) 442-0660
                                                                                                   Email: crystle@wsrlaw.net

                                                                                                        James R Selth
                                                                                                        Weintraub & Selth APC
                                                                                                        11766 Wilshire Blvd Ste 1170
                                                                                                        Los Angeles, CA 90025
                                                                                                        310-207-1494
                                                                                                        Fax : 310-442-0660
                                                                                                        Email: jim@wsrlaw.net

                                                                                                        Daniel J Weintraub
                                                                                                        Weintraub and Selth APC
                                                                                                        11766 Wilshire Blvd Ste 1170
                                                                                                        Los Angeles, CA 90025-6553
                                                                                                        310-207-1494
                                                                                                        Fax : 310-442-0660
                                                                                                        Email: dan@wsrlaw.net

 Trustee                                                                            represented by Chad V Haes
 Richard A Marshack (TR)                                                                           Marshack Hays LLP
 Marshack Hays LLP                                                                                 870 Roosevelt Ave
 870 Roosevelt                                                                                     Irvine, CA 92620
 Irvine, CA 92620                                                                                  949-333-7777
 949-333-7777                                                                                      Fax : 949-333-7778
                                                                                                   Email: chaes@marshackhays.com

                                                                                                        D Edward Hays
                                                                                                        Marshack Hays LLP
                                                                                                        870 Roosevelt Ave
                                                                                                        Irvine, CA 92620
                                                                                                        949-333-7777
                                                                                                        Fax : 949-333-7778

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                                                                                                        Email: ehays@marshackhays.com

 U.S. Trustee                                                                       represented by Eryk R Escobar
 United States Trustee (LA)                                                                        Office of the United States
 915 Wilshire Blvd, Suite 1850                                                                     Trustee
 Los Angeles, CA 90017                                                                             915 Wilshire Blvd., Suite 1850
 (213) 894-6811                                                                                    Los Angeles, CA 90017
                                                                                                   202-934-4168
                                                                                                   Fax : 213-894-2603
                                                                                                   Email: eryk.r.escobar@usdoj.gov

                                                                                                        Kenneth G Lau
                                                                                                        Office of the United States
                                                                                                        Trustee
                                                                                                        125 Ottawa Avenue NW
                                                                                                        Suite 200R
                                                                                                        Grand Rapids, MI 49503
                                                                                                        616-456-2002
                                                                                                        Fax : 616-456-2550
                                                                                                        Email: kenneth.g.lau@usdoj.gov
                                                                                                        TERMINATED: 02/23/2021

 Creditor Committee                                                                 represented by Daren Brinkman
 Committee of Unsecured Creditors, Committee of                                                    4333 Pk Terr Dr Ste 205
 Unsecured Creditors                                                                               Westlake Village, CA 91361
                                                                                                   818-597-2992
                                                                                                   Email: office@brinkmanlaw.com

     Filing Date                         #                                                      Docket Text

                                       1                      Chapter 11 Voluntary Petition Non-Individual. Fee Amount $1738 Filed
                                       (34 pgs; 2 docs)       by Glenroy Coachella, LLC Summary of Assets and Liabilities (Form
                                                              106Sum or 206Sum ) due 03/1/2021. Schedule A/B: Property (Form
                                                              106A/B or 206A/B) due 03/1/2021. Schedule C: The Property You Claim
                                                              as Exempt (Form 106C) due 03/1/2021. Schedule D: Creditors Who Have
                                                              Claims Secured by Property (Form 106D or 206D) due 03/1/2021.
                                                              Schedule E/F: Creditors Who Have Unsecured Claims (Form 106E/F or
                                                              206E/F) due 03/1/2021. Schedule G: Executory Contracts and Unexpired
                                                              Leases (Form 106G or 206G) due 03/1/2021. Schedule H: Your Codebtors
                                                              (Form 106H or 206H) due 03/1/2021. Declaration Under Penalty of
                                                              Perjury for Non-Individual Debtors (Form 202) due 03/1/2021. Statement
                                                              of Financial Affairs (Form 107 or 207) due 03/1/2021. Incomplete Filings
                                                              due by 03/1/2021. (Weintraub, Daniel) WARNING: CASE IS NOT
                                                              DEFICIENT FOR: Schedule C (Form 106C) as this document is not
                                                              required in a Chapter 11 Non-Individual Case; Modified on 2/16/2021
   02/15/2021                                                 (Jackson, Wendy Ann). (Entered: 02/15/2021)

                                       2                      Statement of Corporate Ownership filed. Corporate parents added to case:
                                       (3 pgs)                Glenroy Coachella Holdings, LLC. Filed by Debtor Glenroy Coachella,
   02/15/2021                                                 LLC. (Weintraub, Daniel) (Entered: 02/15/2021)

                                                              Receipt of Voluntary Petition (Chapter 11)(2:21-bk-11188) [misc,volp11]
                                                              (1738.00) Filing Fee. Receipt number 52469470. Fee amount 1738.00. (re:
   02/16/2021                                                 Doc# 1) (U.S. Treasury) (Entered: 02/16/2021)

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   02/16/2021                          3                      Notice to Filer of Correction Made/No Action Required: Incorrect
                                                              schedules /statements recorded as deficient. THE PROPER
                                                              DEFICIENCY HAS BEEN ISSUED. CASE IS NOT DEFICIENT
                                                              FOR: Schedule C (Form 106C); (RE: related document(s)1 Voluntary
                                                              Petition (Chapter 11) filed by Debtor Glenroy Coachella, LLC) (Jackson,
                                                              Wendy Ann) (Entered: 02/16/2021)

                                       4                      Request for courtesy Notice of Electronic Filing (NEF) Filed by Selth,
   02/16/2021                          (1 pg)                 James. (Selth, James) (Entered: 02/16/2021)

                                       5                      Order setting initial status conference in chapter 11 case (BNC-PDF)
                                       (4 pgs)                Signed on 2/16/2021 (RE: related document(s)1 Voluntary Petition
                                                              (Chapter 11) filed by Debtor Glenroy Coachella, LLC). Status hearing to
                                                              be held on 4/7/2021 at 10:00 AM at Crtrm 1539, 255 E Temple St., Los
                                                              Angeles, CA 90012. The case judge is Sheri Bluebond Initial Status
                                                              Conference Report Due By 3/24/2021. (Jackson, Wendy Ann) (Entered:
   02/16/2021                                                 02/16/2021)

                                       6                      Hearing Set (RE: related document(s)1 Voluntary Petition (Chapter 11)
                                                              filed by Debtor Glenroy Coachella, LLC) Status hearing to be held on
                                                              4/7/2021 at 10:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA
                                                              90012. The case judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered:
   02/16/2021                                                 02/16/2021)

                                       7                      Meeting of Creditors 341(a) meeting to be held on 3/16/2021 at 09:00 AM
                                       (2 pgs)                at UST-LA2, TELEPHONIC MEETING. CONFERENCE LINE:1-866-
                                                              816-0394, PARTICIPANT CODE:5282999. Last day to oppose discharge
   02/16/2021                                                 or dischargeability is 5/17/2021. (Ventura, Olivia) (Entered: 02/16/2021)

                                       8                      Request for courtesy Notice of Electronic Filing (NEF) Filed by Tippie,
   02/16/2021                          (1 pg)                 Alan. (Tippie, Alan) (Entered: 02/16/2021)

                                       9                      Request for courtesy Notice of Electronic Filing (NEF) Filed by
   02/16/2021                          (1 pg)                 Horoupian, Mark. (Horoupian, Mark) (Entered: 02/16/2021)

                                       10                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Kogan,
   02/17/2021                          (1 pg)                 Michael. (Kogan, Michael) (Entered: 02/17/2021)

                                       11                     Notice of Appearance and Request for Special Notice Filed by Creditor
                                       (3 pgs)                U.S. Real Estate Credit Holdings III-A, LP. (Houston, Marsha) (Entered:
   02/17/2021                                                 02/17/2021)

                                       12                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                              event was used to file this document. The correct docket event is:
                                                              Notice of Appearance and Request for Notice; THE FILER IS
                                                              INSTRUCTED TO RE-FILE THE DOCUMENT USING THE
                                                              CORRECT DOCKET EVENT. (RE: related document(s)11 Notice filed
                                                              by Creditor U.S. Real Estate Credit Holdings III-A, LP) (Jackson, Wendy
   02/17/2021                                                 Ann) (Entered: 02/17/2021)

   02/17/2021                          13                     Application to Employ Weintraub & Selth, APC as General Bankruptcy
                                       (27 pgs)               Counsel Notice of Opportunity to Request Hearing on Motion and
                                                              Application of Chapter 11 Debtor and Debtor in Possession to Employ
                                                              Weintraub & Selth, APC, as General Bankruptcy Counsel Effective
                                                              February 15, 2021; Declarations of Daniel J. Weintraub and Stuart Rubin
                                                              in Support Thereof Filed by Debtor Glenroy Coachella, LLC (Weintraub,
                                                              Daniel) (Entered: 02/17/2021)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                 3/54


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                                       14                     Notice of Appearance and Request for Notice by Debra Riley Filed by
                                       (2 pgs)                Creditor California Statewide Communities Development Authority.
   02/17/2021                                                 (Riley, Debra) (Entered: 02/17/2021)

                                       15                     Motion to Set Last Day to File Proofs of Claim Filed by Debtor Glenroy
   02/17/2021                          (8 pgs)                Coachella, LLC (Lindsey, Crystle) (Entered: 02/17/2021)

                                       16                     Motion to Appoint Trustee Motion for the Appointment of a Chapter 11
                                       (25 pgs)               Trustee Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP
   02/17/2021                                                 (Rivas, Christopher) (Entered: 02/17/2021)

                                       17                     Notice of Hearing Notice of Motion for Appointment of a Chapter 11
                                       (4 pgs)                Trustee Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE:
                                                              related document(s)16 Motion to Appoint Trustee Motion for the
                                                              Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real Estate
   02/17/2021                                                 Credit Holdings III-A, LP). (Rivas, Christopher) (Entered: 02/17/2021)

                                       18                     Declaration re: Declaration of Marsha A. Houston In Support of Motion
                                       (153 pgs)              for the Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP (RE: related document(s)17 Notice of
                                                              Hearing). (Rivas, Christopher). Related document(s) 16 Motion to
                                                              Appoint Trustee Motion for the Appointment of a Chapter 11 Trustee filed
                                                              by Creditor U.S. Real Estate Credit Holdings III-A, LP. Modified on
                                                              2/18/2021 to relate the document to the motion; (Jackson, Wendy Ann).
   02/17/2021                                                 (Entered: 02/17/2021)

                                       19                     Declaration re: Declaration of Simond Lavian In Support of Motion for the
                                       (243 pgs)              Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP (RE: related document(s)17 Notice of Hearing).
                                                              (Rivas, Christopher). Related document(s) 16 Motion to Appoint Trustee
                                                              Motion for the Appointment of a Chapter 11 Trustee filed by Creditor U.S.
                                                              Real Estate Credit Holdings III-A, LP. Modified on 2/18/2021 to relate the
   02/17/2021                                                 document to the motion; (Jackson, Wendy Ann). (Entered: 02/17/2021)

                                       20                     Declaration re: Declaration of Edwin Leslie In Support of Motion for the
                                       (63 pgs)               Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP (RE: related document(s)17 Notice of Hearing).
                                                              (Rivas, Christopher). Related document(s) 16 Motion to Appoint Trustee
                                                              Motion for the Appointment of a Chapter 11 Trustee filed by Creditor U.S.
                                                              Real Estate Credit Holdings III-A, LP. Modified on 2/18/2021 to relate the
   02/17/2021                                                 document to the motion; (Jackson, Wendy Ann). (Entered: 02/17/2021)

                                       21                     Declaration re: Declaration of Gary Stiffelman In Support of Motion for
                                       (6 pgs)                the Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP (RE: related document(s)17 Notice of
                                                              Hearing). (Rivas, Christopher). Related document(s) 16 Motion to
                                                              Appoint Trustee Motion for the Appointment of a Chapter 11 Trustee filed
                                                              by Creditor U.S. Real Estate Credit Holdings III-A, LP. Modified on
                                                              2/18/2021 to relate the document to the motion; (Jackson, Wendy Ann).
   02/17/2021                                                 (Entered: 02/17/2021)

   02/17/2021                          22                     Declaration re: Declaration of Alan G. Tippie Filed by Creditor U.S. Real
                                       (15 pgs)               Estate Credit Holdings III-A, LP (RE: related document(s)17 Notice of
                                                              Hearing). (Rivas, Christopher). Related document(s) 16 Motion to
                                                              Appoint Trustee Motion for the Appointment of a Chapter 11 Trustee filed
                                                              by Creditor U.S. Real Estate Credit Holdings III-A, LP. Modified on

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                4/54


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                                                              2/18/2021 to relate the document to the motion; (Jackson, Wendy Ann).
                                                              (Entered: 02/17/2021)

                                       23                     Hearing Set (RE: related document(s)16 Motion to Appoint Trustee filed
                                                              by Creditor U.S. Real Estate Credit Holdings III-A, LP) The Hearing date
                                                              is set for 3/10/2021 at 10:00 AM at Crtrm 1539, 255 E Temple St., Los
                                                              Angeles, CA 90012. The case judge is Sheri Bluebond (Jackson, Wendy
   02/18/2021                                                 Ann) (Entered: 02/18/2021)

                                       24                     Emergency motion EMERGENCY MOTION OF DEBTOR FOR ORDER
                                       (10 pgs)               TO CONTINUE THE HEARING ON THE MOTION TO APPOINT
                                                              CHAPTER 11 TRUSTEE; SUPPORTING DECLARATION OF DANIEL J.
                                                              WEINTRAUB Filed by Debtor Glenroy Coachella, LLC (Weintraub,
                                                              Daniel). Related document(s) 16 Motion to Appoint Trustee Motion for
                                                              the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP. Modified on 2/19/2021 to properly relate the
   02/18/2021                                                 document to the motion; (Jackson, Wendy Ann). (Entered: 02/18/2021)

                                       25                     BNC Certificate of Notice (RE: related document(s)7 Meeting of
                                       (7 pgs)                Creditors Chapter 11 (Corporations or Partnerships) (309F1)) No. of
   02/18/2021                                                 Notices: 132. Notice Date 02/18/2021. (Admin.) (Entered: 02/18/2021)

                                       26                     BNC Certificate of Notice (RE: related document(s)1 Voluntary Petition
                                       (2 pgs)                (Chapter 11) filed by Debtor Glenroy Coachella, LLC) No. of Notices: 1.
   02/18/2021                                                 Notice Date 02/18/2021. (Admin.) (Entered: 02/18/2021)

                                       27                     BNC Certificate of Notice - PDF Document. (RE: related document(s)5
                                       (6 pgs)                Order setting initial status conference in chapter 11 case (BNC-PDF)) No.
   02/18/2021                                                 of Notices: 1. Notice Date 02/18/2021. (Admin.) (Entered: 02/18/2021)

                                       28                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                              event was used to file this document. The correct docket event is:
                                                              Continue Hearing/Reschedule Hearing (motion) and filer should not
                                                              type in secondary text all Capital letters. THE FILER IS
                                                              INSTRUCTED TO RE-FILE THE DOCUMENT USING THE
                                                              CORRECT DOCKET EVENT. (RE: related document(s)24 Emergency
                                                              motion filed by Debtor Glenroy Coachella, LLC) (Jackson, Wendy Ann)
   02/19/2021                                                 (Entered: 02/19/2021)

                                       29                     Motion to Continue Hearing On (related documents 16 Motion to Appoint
                                       (10 pgs)               Trustee) Emergency Motion of Debtor for Order to Continue the Hearing
                                                              on the Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy
   02/19/2021                                                 Coachella, LLC (Weintraub, Daniel) (Entered: 02/19/2021)

                                       30                     Objection (related document(s): 24 Emergency motion EMERGENCY
                                       (16 pgs)               MOTION OF DEBTOR FOR ORDER TO CONTINUE THE HEARING
                                                              ON THE MOTION TO APPOINT CHAPTER 11 TRUSTEE;
                                                              SUPPORTING DECLARATION OF DANIEL J. WEINTRAUB filed by
                                                              Debtor Glenroy Coachella, LLC) Objection to Emergency Motion of
                                                              Debtor for Order to Continue the Hearing on the Motion to Appoint
                                                              Chapter 11 Trustee Filed by Creditor U.S. Real Estate Credit Holdings III-
                                                              A, LP (Rivas, Christopher). Related document(s) 29 Motion to Continue
                                                              Hearing On (related documents 16 Motion to Appoint Trustee) Emergency
                                                              Motion of Debtor for Order to Continue the Hearing on the Motion to
                                                              Appoint Chapter 11 Trustee filed by Debtor Glenroy Coachella, LLC.
                                                              Modified on 2/19/2021 to relate the document to the correct motion filed;
   02/19/2021                                                 (Jackson, Wendy Ann). (Entered: 02/19/2021)

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                 5/54


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   02/19/2021                          31                     Order 1) Denying Debtor's Emergency Motion for order to continue the
                                       (2 pgs)                hearing on the Motion to Appoint Chapter 11 Trustee and (ii) extending
                                                              the deadlines to file oppositions and replies to the Motion to Appoint
                                                              Chapter 11 Trustee; ORDERED that the Motion is Denied; Debtor may
                                                              have until 3/3/21 to file an opposition and Movant may have until
                                                              12:00pm on 3/8/21 to serve/file a reply; (BNC-PDF) (Related Doc # 24
                                                              and 29) Signed on 2/19/2021 (Jackson, Wendy Ann). Related document(s)
                                                              29 Motion to Continue Hearing On (related documents 16 Motion to
                                                              Appoint Trustee) Emergency Motion of Debtor for Order to Continue the
                                                              Hearing on the Motion to Appoint Chapter 11 Trustee filed by Debtor
                                                              Glenroy Coachella, LLC. Modified on 2/19/2021 (Jackson, Wendy Ann).
                                                              (Entered: 02/19/2021)

                                       32                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Laquer,
   02/19/2021                          (1 pg)                 Timothy. (Laquer, Timothy) (Entered: 02/19/2021)

                                       33                     BNC Certificate of Notice - PDF Document. (RE: related document(s)31
                                       (4 pgs)                ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   02/21/2021                                                 Notice Date 02/21/2021. (Admin.) (Entered: 02/21/2021)

                                       34                     Addendum to voluntary petition Amended Petition to Designate as Single
                                       (5 pgs)                Asset Real Estate Filed by Debtor Glenroy Coachella, LLC. (Selth, James)
   02/23/2021                                                 (Entered: 02/23/2021)

                                       35                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Djang,
   02/23/2021                          (1 pg)                 Caroline. (Djang, Caroline) (Entered: 02/23/2021)

                                       36                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Rallis,
   02/23/2021                          (1 pg)                 Dean. (Rallis, Dean) (Entered: 02/23/2021)

                                       37                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Pham,
   02/23/2021                          (1 pg)                 Matthew. (Pham, Matthew) (Entered: 02/23/2021)

                                       38                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Lerner,
   02/23/2021                          (1 pg)                 Leib. (Lerner, Leib) (Entered: 02/23/2021)

                                       39                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Harris,
   02/23/2021                          (1 pg)                 Douglas. (Harris, Douglas) (Entered: 02/23/2021)

                                       40                     Notice of Appearance and Request for Notice by Steven M Berman Filed
                                       (4 pgs)                by Interested Party EFO Financial Group LLC. (Berman, Steven)
   02/23/2021                                                 (Entered: 02/23/2021)

                                       41                     Motion Application for Order Setting Hearing on Shortened Notice [LBR
                                       (13 pgs)               9075-1(b)] Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP
   02/23/2021                                                 (Rivas, Christopher) (Entered: 02/23/2021)

                                       42                     Motion to Excuse State Court Receiver, Edwin Leslie, From Turnover of
                                       (13 pgs)               Assets Under 11 U.S.C. Section 543; Memorandum of Points and
                                                              Authorities Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP
   02/23/2021                                                 (Rivas, Christopher) (Entered: 02/23/2021)

   02/23/2021                          43                     Declaration re: Declaration of Edwin Leslie In Support of Motion to
                                       (111 pgs)              Excuse State Court Receiver, Edwin Leslie, From Turnover of Assets
                                                              Under 11 U.S.C. Section 543 Filed by Creditor U.S. Real Estate Credit
                                                              Holdings III-A, LP (RE: related document(s)42 Motion to Excuse State

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                                                              Court Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C.
                                                              Section 543; Memorandum of Points and Authorities). (Rivas,
                                                              Christopher) (Entered: 02/23/2021)

                                       44                     Application shortening time Application for Order Setting Hearing On
                                       (7 pgs)                Shortened Notice [LBR 9075-1(b)] Filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP (Rivas, Christopher). Related document(s) 42
                                                              Motion to Excuse State Court Receiver, Edwin Leslie, From Turnover of
                                                              Assets Under 11 U.S.C. Section 543; Memorandum of Points and
                                                              Authorities filed by Creditor U.S. Real Estate Credit Holdings III-A, LP.
                                                              Modified on 2/24/2021 to relate the document to the motion; (Jackson,
   02/23/2021                                                 Wendy Ann). (Entered: 02/23/2021)

                                       45                     Notice of lodgment of Order in Bankruptcy Case Re: Order Granting
                                       (7 pgs)                Application and Setting Hearing on Shortened Notice Filed by Creditor
                                                              U.S. Real Estate Credit Holdings III-A, LP (RE: related document(s)44
                                                              Application shortening time Application for Order Setting Hearing On
                                                              Shortened Notice [LBR 9075-1(b)]). (Rivas, Christopher) (Entered:
   02/23/2021                                                 02/23/2021)

                                       46                     Objection (related document(s): 44 Application shortening time
                                       (5 pgs)                Application for Order Setting Hearing On Shortened Notice [LBR 9075-
                                                              1(b)] filed by Creditor U.S. Real Estate Credit Holdings III-A, LP) Filed
                                                              by Debtor Glenroy Coachella, LLC (Lindsey, Crystle) (Entered:
   02/23/2021                                                 02/23/2021)

                                       47                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                              event was used to file this document. The correct docket event is:
                                                              Shortening time (motion)THE FILER IS INSTRUCTED TO RE-
                                                              FILE THE DOCUMENT USING THE CORRECT DOCKET
                                                              EVENT. (RE: related document(s)41 Generic Motion filed by Creditor
                                                              U.S. Real Estate Credit Holdings III-A, LP) (Jackson, Wendy Ann)
   02/24/2021                                                 (Entered: 02/24/2021)

                                       48                     Order Granting Application and Setting hearing on shortened notice re:
                                       (5 pgs)                Motion to Excuse State Court Receiver, Edwin Leslie, from turnover of
                                                              assets under 11 USC Section 543; (BNC-PDF); ORDERED that the
                                                              hearing is set for: MARCH 10, 2021 @ 10AM; (Related Doc # 44 )
   02/24/2021                                                 Signed on 2/24/2021 (Jackson, Wendy Ann) (Entered: 02/24/2021)

                                       49                     Hearing Set (RE: related document(s)42 Generic Motion filed by Creditor
                                                              U.S. Real Estate Credit Holdings III-A, LP) The Hearing date is set for
                                                              3/10/2021 at 10:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles,
                                                              CA 90012. The case judge is Sheri Bluebond (Jackson, Wendy Ann)
   02/24/2021                                                 (Entered: 02/24/2021)

                                       50                     Notice of Hearing Filed by Creditor U.S. Real Estate Credit Holdings III-
                                       (137 pgs)              A, LP (RE: related document(s)42 Motion to Excuse State Court Receiver,
                                                              Edwin Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;
                                                              Memorandum of Points and Authorities Filed by Creditor U.S. Real Estate
   02/24/2021                                                 Credit Holdings III-A, LP). (Rivas, Christopher) (Entered: 02/24/2021)

                                       51                     Notice of Appearance and Request for Notice by Daren Brinkman Filed
                                       (3 pgs)                by Creditor Saxon Engineering Services Inc.. (Brinkman, Daren) (Entered:
   02/24/2021                                                 02/24/2021)

   02/25/2021                          52                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Doling,

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                   7/54


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                                       (1 pg)                 Jenny. (Doling, Jenny) (Entered: 02/25/2021)

                                       53                     Order Granting Motion To Set Set Last Day To File Proofs of Claim
                                       (2 pgs)                (BNC-PDF) (Related Doc # 15) Signed on 2/25/2021. Proofs of Claims
                                                              due by 4/30/2021. Government Proof of Claim due by 8/24/2021.
   02/25/2021                                                 (Jackson, Wendy Ann) (Entered: 02/25/2021)

                                       54                     Notice of Bar Date for Filing Proofs of Claim in a Chapter 11 Filed by
   02/25/2021                          (10 pgs)               Debtor Glenroy Coachella, LLC. (Lindsey, Crystle) (Entered: 02/25/2021)

                                       55                     Request for courtesy Notice of Electronic Filing (NEF) Filed by OKeefe,
   02/25/2021                          (3 pgs)                Sean. (OKeefe, Sean) (Entered: 02/25/2021)

                                       56                     BNC Certificate of Notice - PDF Document. (RE: related document(s)48
                                       (7 pgs)                ORDER shortening time (BNC-PDF)) No. of Notices: 1. Notice Date
   02/26/2021                                                 02/26/2021. (Admin.) (Entered: 02/26/2021)

                                       57                     BNC Certificate of Notice - PDF Document. (RE: related document(s)53
                                       (4 pgs)                Order on Motion To Set Last Day to File Proofs of Claim (BNC-PDF))
                                                              No. of Notices: 1. Notice Date 02/27/2021. (Admin.) (Entered:
   02/27/2021                                                 02/27/2021)

                                       58                     Declaration Under Penalty of Perjury for Non-Individual Debtors (Official
                                       (51 pgs)               Form 202) , Schedule A/B Non-Individual: Property (Official Form
                                                              106A/B or 206A/B) , Schedule D Non-Individual: Creditors Who Have
                                                              Claims Secured by Property (Official Form 106D or 206D) , Schedule E/F
                                                              Non-Individual: Creditors Who Have Unsecured Claims (Official Form
                                                              106F or 206F) , Schedule G Non-Individual: Executory Contracts and
                                                              Unexpired Leases (Official Form 106G or 206G) , Schedule H Non-
                                                              Individual: Your Codebtors (Official Form 106H or 206H) , Statement of
                                                              Financial Affairs for Non-Individual Filing for Bankruptcy (Official Form
                                                              107 or 207) , Disclosure of Compensation of Attorney for Debtor (Official
                                                              Form 2030) Filed by Debtor Glenroy Coachella, LLC (RE: related
                                                              document(s)1 Voluntary Petition (Chapter 11)). (Lindsey, Crystle)
   03/01/2021                                                 (Entered: 03/02/2021)

                                       59                     Notice of Perfection Filed by Creditor Doug Wall Construction. (Djang,
   03/02/2021                          (10 pgs)               Caroline) (Entered: 03/02/2021)

                                       60                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Shulman,
   03/02/2021                          (1 pg)                 Leonard. (Shulman, Leonard) (Entered: 03/02/2021)

                                       61                     Objection (related document(s): 16 Motion to Appoint Trustee Motion for
                                       (7 pgs)                the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 19 Declaration filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Debtors Evidentiary Objections to
                                                              Declaration of Simond Lavian Filed by Debtor Glenroy Coachella, LLC
   03/03/2021                                                 (Selth, James) (Entered: 03/03/2021)

                                       62                     Objection (related document(s): 16 Motion to Appoint Trustee Motion for
                                       (7 pgs)                the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 20 Declaration filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Debtors Evidentiary Objections to
                                                              Declaration of Edwin Leslie Filed by Debtor Glenroy Coachella, LLC
   03/03/2021                                                 (Selth, James) (Entered: 03/03/2021)

   03/03/2021                          63                     Objection (related document(s): 16 Motion to Appoint Trustee Motion for
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                                       (7 pgs)                the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 21 Declaration filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Debtors Evidentiary Objections to
                                                              Declaration of Gary Stiffelman Filed by Debtor Glenroy Coachella, LLC
                                                              (Selth, James) (Entered: 03/03/2021)

                                       64                     Objection (related document(s): 16 Motion to Appoint Trustee Motion for
                                       (5 pgs)                the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 22 Declaration filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Debtors Evidentiary Objections to
                                                              Declaration of Alan G. Tippie Filed by Debtor Glenroy Coachella, LLC
   03/03/2021                                                 (Selth, James) (Entered: 03/03/2021)

                                       65                     Opposition to (related document(s): 16 Motion to Appoint Trustee Motion
                                       (88 pgs; 2 docs)       for the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Filed by Interested Party Stuart Rubin
                                                              (Attachments: # 1 Affidavit Declaration of Sean A. OKeefe In Support of
   03/03/2021                                                 Opposition) (OKeefe, Sean) (Entered: 03/03/2021)

                                       66                     Opposition to (related document(s): 16 Motion to Appoint Trustee Motion
                                       (19 pgs)               for the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Filed by Debtor Glenroy Coachella,
   03/03/2021                                                 LLC (Weintraub, Daniel) (Entered: 03/03/2021)

                                       67                     Declaration re: Declaration of Joseph Rubin In Support of Opposition to
                                       (67 pgs)               Motion to Appoint Trustee Motion for the Appointment of a Chapter 11
                                                              Trustee Filed by Debtor Glenroy Coachella, LLC (RE: related
   03/03/2021                                                 document(s)66 Opposition). (Weintraub, Daniel) (Entered: 03/03/2021)

                                       68                     Declaration re: Declaration of Laurence Berman In Support of Opposition
                                       (24 pgs)               to Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy
                                                              Coachella, LLC (RE: related document(s)66 Opposition). (Weintraub,
   03/03/2021                                                 Daniel) (Entered: 03/03/2021)

                                       69                     Declaration re: Declaration of Renzo Renzi In Support of Opposition to
                                       (41 pgs)               Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy Coachella,
                                                              LLC (RE: related document(s)66 Opposition). (Weintraub, Daniel)
   03/03/2021                                                 (Entered: 03/03/2021)

                                       70                     Declaration re: Declaration of Dana Barbera In Support of Opposition to
                                       (430 pgs)              Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy Coachella,
                                                              LLC (RE: related document(s)66 Opposition). (Weintraub, Daniel)
   03/03/2021                                                 (Entered: 03/03/2021)

                                       71                     Declaration re: Declaration of Steven Bram In Support of Opposition to
                                       (8 pgs)                Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy Coachella,
                                                              LLC (RE: related document(s)66 Opposition). (Weintraub, Daniel)
   03/03/2021                                                 (Entered: 03/03/2021)

                                       72                     Declaration re: Declaration of Ian Waddell In Support of Opposition to
                                       (6 pgs)                Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy Coachella,
                                                              LLC (RE: related document(s)66 Opposition). (Weintraub, Daniel)
   03/03/2021                                                 (Entered: 03/03/2021)

   03/03/2021                          73                     Opposition to (related document(s): 42 Motion to Excuse State Court
                                       (13 pgs)               Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C. Section
                                                              543; Memorandum of Points and Authorities filed by Creditor U.S. Real
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                 9/54


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                                                              Estate Credit Holdings III-A, LP) Filed by Debtor Glenroy Coachella,
                                                              LLC (Weintraub, Daniel) (Entered: 03/03/2021)

                                       74                     Declaration re: Declaration of Stuart Rubin In Support of Opposition to
                                       (18 pgs)               Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy Coachella,
                                                              LLC (RE: related document(s)73 Opposition). (Weintraub, Daniel)
   03/03/2021                                                 (Entered: 03/03/2021)

                                       75                     Exhibit Exhibits 1 through 4 In Support of Declaration of Stuart Rubin
                                       (414 pgs)              Filed by Debtor Glenroy Coachella, LLC (RE: related document(s)74
   03/03/2021                                                 Declaration). (Weintraub, Daniel) (Entered: 03/03/2021)

                                       76                     Exhibit Exhibits 5 Through 14 In Support of Declaration of Stuart Rubin
                                       (130 pgs)              Filed by Debtor Glenroy Coachella, LLC (RE: related document(s)74
   03/03/2021                                                 Declaration). (Weintraub, Daniel) (Entered: 03/03/2021)

                                       77                     Notice to Filer of Error and/or Deficient Document
                                                              Incorrect/incomplete/unreadable PDF was attached to the docket
                                                              entry. No proof of service provided and All documents filed with the
                                                              court must have a pleading cover sheet that includes debtor's name,
                                                              case number and title of document. THE FILER IS INSTRUCTED
                                                              TO RE-FILE THE DOCUMENT WITH THE CORRECT PDF
                                                              IMMEDIATELY. (RE: related document(s)74 Declaration filed by
                                                              Debtor Glenroy Coachella, LLC, 75 Exhibit filed by Debtor Glenroy
                                                              Coachella, LLC, 76 Exhibit filed by Debtor Glenroy Coachella, LLC)
   03/04/2021                                                 (Pennington-Jones, Patricia) (Entered: 03/04/2021)

                                       78                     Declaration re: Sean A. OKeefe In Opposition To Motion Filed by
                                       (78 pgs)               Interested Party Stuart Rubin (RE: related document(s)42 Motion to
                                                              Excuse State Court Receiver, Edwin Leslie, From Turnover of Assets
                                                              Under 11 U.S.C. Section 543; Memorandum of Points and Authorities).
   03/04/2021                                                 (OKeefe, Sean) (Entered: 03/04/2021)

                                       79                     Exhibit Exhibits 1 Through 3 for Declaration of Stuart Rubin in Support of
                                       (417 pgs)              Debtor's Opposition to Motion for the Appointment of Chapter 11 Trustee
                                                              Filed by Debtor Glenroy Coachella, LLC (RE: related document(s)74
   03/04/2021                                                 Declaration). (Weintraub, Daniel) (Entered: 03/04/2021)

                                       80                     Exhibit Exhibits 4 Through 15 for Declaration of Stuart Rubin in Support
                                       (133 pgs)              of Debtor's Opposition to Motion for the Appointment of Chapter 11
                                                              Trustee Filed by Debtor Glenroy Coachella, LLC (RE: related
   03/04/2021                                                 document(s)74 Declaration). (Weintraub, Daniel) (Entered: 03/04/2021)

                                       81                     Opposition to (related document(s): 16 Motion to Appoint Trustee Motion
                                       (21 pgs)               for the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP, 66 Opposition filed by Debtor Glenroy
                                                              Coachella, LLC) Refiled with Table of Contents and Table of Authorities
                                                              Filed by Debtor Glenroy Coachella, LLC (Weintraub, Daniel) (Entered:
   03/04/2021                                                 03/04/2021)

                                       82                     Request for a Certified Copy Fee Amount $11. The document will be sent
                                                              via email to :gabby@wsrlaw.net: Filed by Debtor Glenroy Coachella, LLC
                                                              (RE: related document(s)1 Voluntary Petition (Chapter 11)). (Lindsey,
   03/05/2021                                                 Crystle) (Entered: 03/05/2021)

   03/05/2021                                                 Receipt of Request for a Certified Copy(2:21-bk-11188-BB)
                                                              [misc,paycert] ( 11.00) Filing Fee. Receipt number 52560094. Fee amount
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                10/54


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                                                              11.00. (re: Doc# 82 ) (U.S. Treasury) (Entered: 03/05/2021)

   03/05/2021                          83                     Certified Copy Emailed to gabby@wsrlaw.net (Entered: 03/05/2021)

                                       84                     Notice of Joinder and Joinder Filed by Creditor Doug Wall Construction
                                       (5 pgs)                (RE: related document(s)66 Opposition to (related document(s): 16
                                                              Motion to Appoint Trustee Motion for the Appointment of a Chapter 11
                                                              Trustee filed by Creditor U.S. Real Estate Credit Holdings III-A, LP) Filed
                                                              by Debtor Glenroy Coachella, LLC). (Djang, Caroline) (Entered:
   03/05/2021                                                 03/05/2021)

                                       85                     Reply to (related document(s): 42 Motion to Excuse State Court Receiver,
                                       (6 pgs)                Edwin Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;
                                                              Memorandum of Points and Authorities filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 73 Opposition filed by Debtor Glenroy
                                                              Coachella, LLC) Filed by Creditor U.S. Real Estate Credit Holdings III-A,
   03/08/2021                                                 LP (Houston, Marsha) (Entered: 03/08/2021)

                                       86                     Reply to (related document(s): 16 Motion to Appoint Trustee Motion for
                                       (19 pgs)               the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 65 Opposition filed by Interested Party Stuart
                                                              Rubin, 81 Opposition filed by Debtor Glenroy Coachella, LLC) Filed by
                                                              Creditor U.S. Real Estate Credit Holdings III-A, LP (Houston, Marsha)
   03/08/2021                                                 (Entered: 03/08/2021)

                                       87                     Request for judicial notice in Support of Motion for Appointment of a
                                       (46 pgs)               Trustee Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP.
   03/08/2021                                                 (Houston, Marsha) (Entered: 03/08/2021)

                                       88                     Notice of Joinder and Joinder Filed by Interested Party Gary Stiffelman
                                       (6 pgs)                (RE: related document(s)16 Motion to Appoint Trustee Motion for the
                                                              Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real Estate
   03/08/2021                                                 Credit Holdings III-A, LP). (Laquer, Timothy) (Entered: 03/08/2021)

                                       89                     Notice of Joinder and Joinder Filed by Interested Party Gary Stiffelman
                                       (6 pgs)                (RE: related document(s)42 Motion to Excuse State Court Receiver, Edwin
                                                              Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;
                                                              Memorandum of Points and Authorities Filed by Creditor U.S. Real Estate
   03/08/2021                                                 Credit Holdings III-A, LP). (Laquer, Timothy) (Entered: 03/08/2021)

                                       90                     Declaration re: of Gary Stiffelman in Support of Joinder to U.S. Real
                                       (75 pgs)               Estate Credit Holdings III-A, LP's Motion for Appointment of a Chapter
                                                              11 Trustee and Motion to Excuse State Court Receiver, Edwin Leslie, from
                                                              Turnover of Assets Filed by Interested Party Gary Stiffelman (RE: related
                                                              document(s)16 Motion to Appoint Trustee Motion for the Appointment of
                                                              a Chapter 11 Trustee, 42 Motion to Excuse State Court Receiver, Edwin
                                                              Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;
                                                              Memorandum of Points and Authorities). (Laquer, Timothy) (Entered:
   03/08/2021                                                 03/08/2021)

                                       91                     Reply to (related document(s): 19 Declaration filed by Creditor U.S. Real
                                       (14 pgs)               Estate Credit Holdings III-A, LP) * Responses to Evidentiary Objections
                                                              to Declaration of Simond Lavian * Filed by Creditor U.S. Real Estate
   03/08/2021                                                 Credit Holdings III-A, LP (Rivas, Christopher) (Entered: 03/08/2021)

   03/08/2021                          92                     Reply to (related document(s): 20 Declaration filed by Creditor U.S. Real
                                       (16 pgs)               Estate Credit Holdings III-A, LP) * Responses to Evidentiary Objections
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                 11/54


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                                                              to Declaration of Edwin Leslie * Filed by Creditor U.S. Real Estate Credit
                                                              Holdings III-A, LP (Rivas, Christopher) (Entered: 03/08/2021)

                                       93                     Reply to (related document(s): 22 Declaration filed by Creditor U.S. Real
                                       (4 pgs)                Estate Credit Holdings III-A, LP) * Responses to Evidentiary Objections
                                                              to Declaration of Alan G. Tippie * Filed by Creditor U.S. Real Estate
   03/08/2021                                                 Credit Holdings III-A, LP (Rivas, Christopher) (Entered: 03/08/2021)

                                       94                     Reply to (related document(s): 21 Declaration filed by Creditor U.S. Real
                                       (15 pgs)               Estate Credit Holdings III-A, LP) * Responses to Evidentiary Objections
                                                              to Declaration of Gary Stiffelman* Filed by Creditor U.S. Real Estate
   03/08/2021                                                 Credit Holdings III-A, LP (Rivas, Christopher) (Entered: 03/08/2021)

                                       95                     Objection (related document(s): 74 Declaration filed by Debtor Glenroy
                                       (16 pgs)               Coachella, LLC) * Evidentiary Objections to Declaration of Stuart Rubin
                                                              * Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas,
   03/08/2021                                                 Christopher) (Entered: 03/08/2021)

                                       96                     Objection (related document(s): 67 Declaration filed by Debtor Glenroy
                                       (6 pgs)                Coachella, LLC) * Evidentiary Objections to Declaration of Joseph Rubin
                                                              Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas,
   03/08/2021                                                 Christopher) (Entered: 03/08/2021)

                                       97                     Amending Schedules (D) (E/F) Amended Schedule A/B; Amended
                                       (57 pgs)               Schedule D; Amended Schedule E/F; Amended Schedule G; Amended
                                                              Schedule H; Amended Disclosure of Compensation of Attorney for
                                                              Debtor; and Corporate Ownership Statement Filed by Debtor Glenroy
   03/08/2021                                                 Coachella, LLC. (Weintraub, Daniel) (Entered: 03/08/2021)

                                       98                     Declaration re: Notice and Service regarding Order Shortening Time Filed
                                       (5 pgs)                by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE: related
                                                              document(s)48 ORDER shortening time (BNC-PDF)). (Rivas,
   03/08/2021                                                 Christopher) (Entered: 03/08/2021)

                                       99                      Reply to (related document(s): 16 Motion to Appoint Trustee Motion for
                                       (54 pgs)                the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real
                                                               Estate Credit Holdings III-A, LP, 42 Motion to Excuse State Court
                                                               Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C.
                                                               Section 543; Memorandum of Points and Authorities filed by Creditor
                                                               U.S. Real Estate Credit Holdings III-A, LP) Response Of Edwin W.
                                                               Leslie, Receiver, To Opposition Of Debtor, A. Stuart Rubin, And Elliott
                                                               Lander To Motion Of U.S. Real Estate Credit Holdings Iii-A, LP To
                                                               Appoint Trustee And Motion To Excuse State Court Receiver From
                                                               Turnover Of Assets Under 11 U.S.C. § 543; Declaration Of Edwin W.
                                                               Leslie (With Proof of Service) Filed by Interested Party Edwin W. Leslie,
   03/08/2021                                                  Receiver (Tippie, Alan) (Entered: 03/08/2021)

   03/08/2021                          100                     Notice to Filer of Error and/or Deficient Document
                                                               Incorrect/incomplete/unreadable PDF was attached to the docket
                                                               entry. Filer must select the appropriate box on page 1 of this
                                                               document to state whether creditors are being added. Filer must
                                                               select the correct docket event for each document being filed by
                                                               holding the <CTRL> key and selecting each document. Also, a
                                                               clearly marked supplemental master mailing list (do not repeat any
                                                               creditors from the original filing) is required as an attachment if
                                                               creditors are being added and a filing fee must be paid; THE FILER
                                                               IS INSTRUCTED TO RE-FILE THE DOCUMENT WITH THE
                                                               CORRECT PDF AND SELECTING THE APPROPRIATE
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                               12/54


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                                                               DOCKET EVENTS IMMEDIATELY. (RE: related document(s)97
                                                               Amending Schedules D and/or E/F (Official Form 106D, 106E/F, 206D,
                                                               or 206E/F) (Fee) filed by Debtor Glenroy Coachella, LLC) (Jackson,
                                                               Wendy Ann) (Entered: 03/08/2021)

                                       101                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (31 pgs)                1(o)(3)) Filed by Debtor Glenroy Coachella, LLC (RE: related
                                                               document(s)13 Application to Employ Weintraub & Selth, APC as
                                                               General Bankruptcy Counsel Notice of Opportunity to Request Hearing
                                                               on Motion and Application of Chapter 11 Debtor and Debtor in
                                                               Possession to Employ Weintraub & Selth, APC, as General Bankruptcy
   03/09/2021                                                  Counse). (Selth, James) (Entered: 03/09/2021)

                                       102                     Amended Schedule A/B Non-Individual: Property (Official Form
                                       (29 pgs)                106A/B or 206A/B) , Schedule G Non-Individual: Executory Contracts
                                                               and Unexpired Leases (Official Form 106G or 206G) Amended, Schedule
                                                               H Non-Individual: Your Codebtors (Official Form 106H or 206H)
                                                               Amended, Statement of Financial Affairs for Non-Individual Filing for
                                                               Bankruptcy (Official Form 107 or 207) Amended, Disclosure of
                                                               Compensation of Attorney for Debtor (Official Form 2030) Corrected,
                                                               Statement of Corporate Ownership filed. Filed by Debtor Glenroy
   03/09/2021                                                  Coachella, LLC. (Weintraub, Daniel) (Entered: 03/09/2021)

                                       103                     Notice Joinder and Joinder to Opposition Filed by Creditor Orco Block
                                       (3 pgs)                 & Hardscape (RE: related document(s)66 Opposition to (related
                                                               document(s): 16 Motion to Appoint Trustee Motion for the Appointment
                                                               of a Chapter 11 Trustee filed by Creditor U.S. Real Estate Credit
                                                               Holdings III-A, LP) Filed by Debtor Glenroy Coachella, LLC).
   03/09/2021                                                  (Hoggard, William) (Entered: 03/09/2021)

                                       104                     Amending Schedules (D) (E/F) and mailing matrix listing added
                                       (32 pgs)                creditors Filed by Debtor Glenroy Coachella, LLC. (Weintraub, Daniel)
   03/09/2021                                                  (Entered: 03/09/2021)

                                                               Receipt of Amending Schedules D and/or E/F (Official Form 106D,
                                                               106E/F, 206D, or 206E/F) (Fee)(2:21-bk-11188-BB) [misc,amdsch] (
                                                               32.00) Filing Fee. Receipt number 52573765. Fee amount 32.00. (re:
   03/09/2021                                                  Doc# 97) (U.S. Treasury) (Entered: 03/09/2021)

                                                               Receipt of Amending Schedules D and/or E/F (Official Form 106D,
                                                               106E/F, 206D, or 206E/F) (Fee)(2:21-bk-11188-BB) [misc,amdsch] (
                                                               32.00) Filing Fee. Receipt number 52573765. Fee amount 32.00. (re:
   03/09/2021                                                  Doc# 104) (U.S. Treasury) (Entered: 03/09/2021)

                                       105                     Notice //Amendment to Joinder Filed by Creditor Doug Wall
                                       (5 pgs)                 Construction (RE: related document(s)84 Notice of Joinder and Joinder
                                                               Filed by Creditor Doug Wall Construction (RE: related document(s)66
                                                               Opposition to (related document(s): 16 Motion to Appoint Trustee
                                                               Motion for the Appointment of a Chapter 11 Trustee filed by Creditor
                                                               U.S. Real Estate Credit Holdings III-A, LP) Filed by Debtor Glenroy
   03/09/2021                                                  Coachella, LLC).). (Djang, Caroline) (Entered: 03/09/2021)

                                       106                     Order Granting Application to Employ Weintraub & Selth APC as
                                       (2 pgs)                 General Bankruptcy Counsel; (BNC-PDF) (Related Doc # 13) Signed on
   03/09/2021                                                  3/9/2021. (Jackson, Wendy Ann) (Entered: 03/09/2021)

   03/09/2021                          107                     Supplemental Declaration of Renzo Renzi In Support of Opposition to

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                              13/54


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                                       (35 pgs)                Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy
                                                               Coachella, LLC. (Weintraub, Daniel). Related document(s) 16 Motion to
                                                               Appoint Trustee Motion for the Appointment of a Chapter 11 Trustee
                                                               filed by Creditor U.S. Real Estate Credit Holdings III-A, LP. Modified on
                                                               3/10/2021 to relate the document to the motion; (Jackson, Wendy Ann).
                                                               (Entered: 03/09/2021)

                                       108                     Emergency motion For Order Authorizing (1) Retention of GlassRatner
                                       (58 pgs)                Advisory & Capital Group, LLC d/b/a B. Riley Advisory Services to
                                                               Provide the Debtor With a Chief Restructuring Officer and Certain
                                                               Reorganization Services and Personnel; and (2) Designate Dan Berman
                                                               as Chief Restructuring Officer for the Debtor; Declarations of Dan
                                                               Berman and Stuart Rubin In Support Thereof Filed by Debtor Glenroy
   03/09/2021                                                  Coachella, LLC (Weintraub, Daniel) (Entered: 03/09/2021)

                                       109                     Notice of Joinder and Joinder in Opposition to Motion to Appoint
                                       (4 pgs)                 Chapter 11 Trustee Filed by Creditor Saxon Engineering Services Inc.
                                                               (RE: related document(s)66 Opposition to (related document(s): 16
                                                               Motion to Appoint Trustee Motion for the Appointment of a Chapter 11
                                                               Trustee filed by Creditor U.S. Real Estate Credit Holdings III-A, LP)
                                                               Filed by Debtor Glenroy Coachella, LLC). (Brinkman, Daren) (Entered:
   03/09/2021                                                  03/09/2021)

                                       112                     Joinder of Blair Air, Inc. in support of debtor's opposition to motion for
                                       (3 pgs)                 the appointment of a chapter 11 trustee Filed by Creditor Blair Air, Inc
                                                               (RE: related document(s)16 Motion to Appoint Trustee Motion for the
                                                               Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real Estate
                                                               Credit Holdings III-A, LP). (Pennington-Jones, Patricia) (Entered:
   03/09/2021                                                  03/10/2021)

                                       113                     Joinder to debtor's opposition to motion for the appointment of a chapter
                                       (3 pgs)                 11 trustee Filed by Creditor Joseph Rubin and The Coachella Lighthouse,
                                                               LLC (RE: related document(s)16 Motion to Appoint Trustee Motion for
                                                               the Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real
                                                               Estate Credit Holdings III-A, LP). (Pennington-Jones, Patricia) (Entered:
   03/09/2021                                                  03/10/2021)

                                       114                     Joinder of GF Investment Group, Inc. dba The Investment Center in
                                       (4 pgs)                 support of debtor's opposition to motion for the appointment of a chapter
                                                               11 trustee Filed by Creditor GF Investment Group, Inc. dba The
                                                               Investment Center, a California corporation (RE: related document(s)16
                                                               Motion to Appoint Trustee Motion for the Appointment of a Chapter 11
                                                               Trustee Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP).
   03/09/2021                                                  (Pennington-Jones, Patricia) (Entered: 03/10/2021)

                                       110                     Notice of Appointment of Creditors' Committee Filed by United States
                                       (5 pgs; 2 docs)         Trustee. (Attachments: # 1 Proof of Service)(Escobar, Eryk) (Entered:
   03/10/2021                                                  03/10/2021)

                                       111                     Notice of lodgment of Order Granting Motion for the Appointment of a
                                       (6 pgs)                 Chapter 11 Trustee Pursuant to 11 U.S.C. § 1104(a); and Directing and
                                                               Authorizing United States Trustee to Appoint a Chapter 11 Trustee Filed
                                                               by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE: related
                                                               document(s)16 Motion to Appoint Trustee Motion for the Appointment of
                                                               a Chapter 11 Trustee Filed by Creditor U.S. Real Estate Credit Holdings
   03/10/2021                                                  III-A, LP). (Rivas, Christopher) (Entered: 03/10/2021)

   03/11/2021                          115                     Hearing Held (Bk Motion) (RE: related document(s) 16 Motion to
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                 14/54


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                                                               Appoint Trustee); RULING- GRANTED; ORDER TO FOLLOW;
                                                               (Jackson, Wendy Ann) (Entered: 03/11/2021)

                                       116                     Hearing Held (Bk Motion) (RE: related document(s) 42 Generic
                                                               Motion); RULING - ORDER TO FOLLOW FROM MR. TIPPEE;
                                                               CONT'D. TO 4/7/21 @ 10AM; (Jackson, Wendy Ann) (Entered:
   03/11/2021                                                  03/11/2021)

                                                               Hearing (Bk Motion) Continued (RE: related document(s) 42 GENERIC
                                                               MOTION filed by U.S. Real Estate Credit Holdings III-A, LP) Hearing
                                                               to be held on 04/07/2021 at 10:00 AM 255 E. Temple St. Courtroom
                                                               1539 Los Angeles, CA 90012 for 42 , (Jackson, Wendy Ann) (Entered:
   03/11/2021                                                  03/11/2021)

                                       117                     Notice of lodgment of Order Re Motion Of U.S. Real Estate Credit
                                       (6 pgs)                 Holdings III-A, LP To Excuse State Court Receiver, Edwin W. Leslie,
                                                               From Turnover Of Assets Under 11 U.S.C. § 543 (With Proof of Service)
                                                               Filed by Interested Party Edwin W. Leslie, Receiver (RE: related
                                                               document(s)42 Motion to Excuse State Court Receiver, Edwin Leslie,
                                                               From Turnover of Assets Under 11 U.S.C. Section 543; Memorandum of
                                                               Points and Authorities Filed by Creditor U.S. Real Estate Credit
   03/11/2021                                                  Holdings III-A, LP). (Tippie, Alan) (Entered: 03/11/2021)

                                       118                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)106 Order on Application to Employ (BNC-PDF)) No. of
   03/11/2021                                                  Notices: 1. Notice Date 03/11/2021. (Admin.) (Entered: 03/11/2021)

                                       119                     Notice of lodgment of Order Granting Motion For The Appointment Of A
                                       (6 pgs)                 Chapter 11 Trustee Pursuant To 11 U.S.C. § 1104(A); And Directing And
                                                               Authorizing United States Trustee To Appoint A Chapter 11 Trustee Filed
                                                               by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE: related
                                                               document(s)16 Motion to Appoint Trustee Motion for the Appointment of
                                                               a Chapter 11 Trustee Filed by Creditor U.S. Real Estate Credit Holdings
   03/12/2021                                                  III-A, LP). (Rivas, Christopher) (Entered: 03/12/2021)

                                       120                     Order Granting Motion for the Appointment of a Chapter 11 Trustee
                                       (2 pgs)                 pursuant to 11 USC Section 1104(a); and Directing and Authorizing the
                                                               U.S. Trustee to Appoint a Chapter 11 Trustee. (BNC-PDF) Signed on
   03/12/2021                                                  3/12/2021. (Jackson, Wendy Ann) (Entered: 03/12/2021)

                                       121                     Order re: Motion of US Real Estate Credit Holdings III-A, LP to excuse
                                       (2 pgs)                 State Court Receiver, Edwin W. Leslie, from turnover of assets under 11
                                                               USC Section 543; (BNC-PDF); ORDERED that the hearing is continued
                                                               to APRIL 7, 2021 @ 10AM; SEE ORDER FOR FURTHER DETAILS;
                                                               (Related Doc # 42 ) Signed on 3/12/2021 (Jackson, Wendy Ann)
   03/12/2021                                                  (Entered: 03/12/2021)

                                       122                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)120 Order on Motion to Appoint Trustee (BNC-PDF)) No.
   03/14/2021                                                  of Notices: 1. Notice Date 03/14/2021. (Admin.) (Entered: 03/14/2021)

                                       123                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)121 Order on Generic Motion (BNC-PDF)) No. of Notices:
   03/14/2021                                                  1. Notice Date 03/14/2021. (Admin.) (Entered: 03/14/2021)

   03/18/2021                          124                     Notice of Appointment of Trustee . Richard A Marshack (TR) added to
                                       (4 pgs; 2 docs)         the case. Filed by U.S. Trustee United States Trustee (LA). (Attachments:
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                15/54


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                                                               # 1 Proof of Service)(Escobar, Eryk) (Entered: 03/18/2021)

                                       125                     Motion to Appoint Trustee United States Trustee's Application for Order
                                       (11 pgs)                Approving Appointment of Chapter 11 Trustee and Fixing Bond Filed by
                                                               U.S. Trustee United States Trustee (LA) (Escobar, Eryk) (Entered:
   03/18/2021                                                  03/18/2021)

                                       126                     Order Approving Appointment of Chapter 11 Trustee. (BNC-PDF);
                                       (2 pgs)                 ORDERED that the appointment of Richard Marshack as Chapter 11
                                                               Trustee is approved; Signed on 3/19/2021. (Jackson, Wendy Ann)
   03/19/2021                                                  (Entered: 03/19/2021)

                                       127                     Notice of appointment and acceptance of trustee with Proof of Service
                                       (3 pgs)                 Filed by Trustee Richard A Marshack (TR). (Marshack (TR), Richard)
   03/19/2021                                                  (Entered: 03/19/2021)

                                       128                     Request for CD of Court Proceedings . Fee Amount $32, Filed by
   03/19/2021                          (1 pg)                  Trustee Richard A Marshack (TR). (Haes, Chad) (Entered: 03/19/2021)

                                                               Receipt of Request for CD of Court Proceedings (fee)(2:21-bk-11188-
                                                               BB) [misc,cdrf] ( 32.00) Filing Fee. Receipt number 52630435. Fee
   03/19/2021                                                  amount 32.00. (re: Doc# 128) (U.S. Treasury) (Entered: 03/19/2021)

                                       129                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)126 Order on Motion to Appoint Trustee (BNC-PDF)) No.
   03/21/2021                                                  of Notices: 1. Notice Date 03/21/2021. (Admin.) (Entered: 03/21/2021)

                                       130                     Request for CD of Court Proceedings (Amended) Audio Recording of
                                       (1 pg)                  Court Proceedings Order Form (to correct date of hearing); Re: 128. Fee
                                                               Amount $32, Filed by Trustee Richard A Marshack (TR). (Haes, Chad)
   03/22/2021                                                  (Entered: 03/22/2021)

                                                               Receipt of Request for CD of Court Proceedings (fee)(2:21-bk-11188-
                                                               BB) [misc,cdrf] ( 32.00) Filing Fee. Receipt number 52634419. Fee
   03/22/2021                                                  amount 32.00. (re: Doc# 130) (U.S. Treasury) (Entered: 03/22/2021)

                                       131                     Continuance of Meeting of Creditors (Rule 2003(e)) Filed by U.S.
                                                               Trustee United States Trustee (LA). 341(a) Meeting Continued to
                                                               3/25/2021 at 09:15 AM at UST-LA2, TELEPHONIC MEETING.
                                                               CONFERENCE LINE:1-866-816-0394, PARTICIPANT
   03/23/2021                                                  CODE:5282999. (Escobar, Eryk) (Entered: 03/23/2021)

                                       132                     Monthly Operating Report. Operating Report Number: 1. For the Month
                                       (21 pgs)                Ending February 28, 2021 Filed by Debtor Glenroy Coachella, LLC.
   03/23/2021                                                  (Lindsey, Crystle) (Entered: 03/23/2021)

                                       133                     Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real Estate
                                       (9 pgs)                 Credit Holdings III-A, LP, Edwin W. Leslie, Gary Stiffelman, Elliot
                                                               Lander and Abraham Stuart Rubin to Continue Hearing on Motion to
                                                               Excuse State Court Receiver, Edwin Leslie, from Turnover of Assets
                                                               Under 11 U.S.C. Section 543; with Proof of service Filed by Trustee
   03/24/2021                                                  Richard A Marshack (TR) (Haes, Chad) (Entered: 03/24/2021)

   03/24/2021                          134                     Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                 related document(s)133 Stipulation By Richard A Marshack (TR) and
                                                               Debtor, U.S. Real Estate Credit Holdings III-A, LP, Edwin W. Leslie,

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                16/54


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                                                               Gary Stiffelman, Elliot Lander and Abraham Stuart Rubin to Continue
                                                               Hearing on Motion to Excuse State Court Receiver, Edwin Leslie, from).
                                                               (Haes, Chad) (Entered: 03/24/2021)

                                       135                     Status report Chapter 11 Trustee's Initial Status Report; with Proof of
                                       (29 pgs)                Service Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s)5 Order setting initial status conference in chapter 11 case
                                                               (BNC-PDF)). (Marshack (TR), Richard). Related document(s) 1
                                                               Voluntary Petition (Chapter 11) filed by Debtor Glenroy Coachella, LLC.
   03/24/2021                                                  Modified on 3/25/2021 (Jackson, Wendy Ann). (Entered: 03/24/2021)

                                       136                     Application to Employ Brinkman Law Group, PC as Counsel to the
                                       (27 pgs)                Official Committee of Unsecured Creditors Filed by Creditor Committee
                                                               Committee of Unsecured Creditors (Brinkman, Daren) (Entered:
   03/25/2021                                                  03/25/2021)

                                       137                     Order Denying without prejudice Debtor's Emergency Motion for
                                       (2 pgs)                 Retention of Chief Restructuring Officer; (BNC-PDF) (Related Doc #
   03/25/2021                                                  108 ) Signed on 3/25/2021 (Jackson, Wendy Ann) (Entered: 03/25/2021)

                                       138                     Order Approving Stipulation to continue hearing on Motion to Excuse
                                       (2 pgs)                 State Court Receiver Edwin Leslie from turnover of assets under 11 USC
                                                               Section 543; ORDERED that the hearing is continued to MAY 5, 2021
                                                               @ 10AM; (BNC-PDF) (Related Doc # 133 ) Signed on 3/26/2021
   03/26/2021                                                  (Jackson, Wendy Ann) (Entered: 03/26/2021)

                                                               Hearing (Bk Motion) Continued (RE: related document(s) 42 GENERIC
                                                               MOTION filed by U.S. Real Estate Credit Holdings III-A, LP) Hearing
                                                               to be held on 05/05/2021 at 10:00 AM 255 E. Temple St. Courtroom
                                                               1539 Los Angeles, CA 90012 for 42 , (Jackson, Wendy Ann) (Entered:
   03/26/2021                                                  03/26/2021)

                                       139                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Mang,
   03/26/2021                          (1 pg)                  Tinho. (Mang, Tinho) (Entered: 03/26/2021)

                                       140                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)137 Order on Generic Motion (BNC-PDF)) No. of Notices:
   03/27/2021                                                  1. Notice Date 03/27/2021. (Admin.) (Entered: 03/27/2021)

                                       141                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)138 ORDER to continue/reschedule hearing (BNC-PDF))
                                                               No. of Notices: 1. Notice Date 03/28/2021. (Admin.) (Entered:
   03/28/2021                                                  03/28/2021)

                                       142                     Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                               Richard A Marshack (TR). 341(a) Meeting Continued to 4/19/2021 at
                                                               09:15 AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                               CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   03/29/2021                                                  03/29/2021)

   03/29/2021                          143                     Notice with Proof of Service Filed by Trustee Richard A Marshack (TR)
                                       (3 pgs)                 (RE: related document(s) 142 Continuance of Meeting of Creditors (Rule
                                                               2003(e)) Filed by Trustee Richard A Marshack (TR). 341(a) Meeting
                                                               Continued to 4/19/2021 at 09:15 AM at TR 7, TELEPHONIC
                                                               MEETING. FOR INSTRUCTIONS CONTACT THE TRUSTEE.
                                                               (Marshack (TR), Richard)). (Marshack (TR), Richard) (Entered:
                                                               03/29/2021)
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                                       144                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                               event was used to file this document. The correct docket event is:
                                                               Notice of continued meeting of creditors and appearance of debtor
                                                               (11 USC 341(a)); THE FILER IS INSTRUCTED TO RE-FILE THE
                                                               DOCUMENT USING THE CORRECT DOCKET EVENT. (RE:
                                                               related document(s)143 Notice filed by Trustee Richard A Marshack
   03/29/2021                                                  (TR)) (Jackson, Wendy Ann) (Entered: 03/29/2021)

                                       145                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (3 pgs)                 USC 341(a)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s) 142 Continuance of Meeting of Creditors (Rule 2003(e))
                                                               (by Trustee/US Trustee - No PDF)). (Marshack (TR), Richard) (Entered:
   03/30/2021                                                  03/30/2021)

                                       146                     Application to Employ Grobstein Teeple, LLP as Accountants Notice Of
                                       (26 pgs)                Application And Application Of Chapter 11 Trustee, Richard A.
                                                               Marshack, For Authorization To Employ Grobstein Teeple LLP As
                                                               Accountants Effective March 17, 2021; Statement Of Disinterestedness In
                                                               Support Thereof With Proof Of Service Filed by Accountant Grobstein
   03/31/2021                                                  Teeple, LLP. (Grobstein, Howard) (Entered: 03/31/2021)

                                       147                     Notice of Appearance and Request for Notice and Service of Papers by
                                       (2 pgs)                 Jonathan R Doolittle Filed by Creditors Laserscopic Spinal Centers of
                                                               America, Inc., Laserscopic Medical Clinic, LLC, Laserscopic Spine
                                                               Centers Of America, Inc., Joe Samuel Bailey. (Doolittle, Jonathan)
   04/06/2021                                                  (Entered: 04/06/2021)

                                       148                     Application to Employ Marshack Hays LLP as General Counsel ; and
                                       (29 pgs)                Declaration of Chad V. Haes in support; with Proof of Service Filed by
   04/06/2021                                                  Trustee Richard A Marshack (TR) (Haes, Chad) (Entered: 04/06/2021)

                                       149                     Notice of motion/application Filed by Trustee Richard A Marshack (TR)
                                       (8 pgs)                 (RE: related document(s)148 Application to Employ Marshack Hays
                                                               LLP as General Counsel ; and Declaration of Chad V. Haes in support;
                                                               with Proof of Service Filed by Trustee Richard A Marshack (TR)). (Haes,
   04/06/2021                                                  Chad) (Entered: 04/06/2021)

                                       150                     Hearing Held (Bk Other) (RE: related document(s) 1 Voluntary Petition
                                                               (Chapter 11)); RULING - S/C CONT'D. TO 5/5/21 @ 10AM TO
                                                               COINCIDE WITH OTHER MATTERS ON CALENDAR; (Jackson,
   04/07/2021                                                  Wendy Ann) (Entered: 04/07/2021)

                                       151                     Document Re: Bond of Trustee Richard A Marshack of Irvine, CA, as
                                       (2 pgs)                 Principal, and Liberty Mutual Insurance Company, as Surety, are held
                                                               and firmly bound to the United States of American in the sum of
   04/09/2021                                                  $50,000.00. (Pennington-Jones, Patricia) (Entered: 04/09/2021)

                                       152                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Miller,
   04/13/2021                          (1 pg)                  Stacey. (Miller, Stacey) (Entered: 04/13/2021)

                                       153                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (31 pgs)                1(o)(3)) Filed by Creditor Committee Committee of Unsecured Creditors
                                                               (RE: related document(s)136 Application to Employ Brinkman Law
                                                               Group, PC as Counsel to the Official Committee of Unsecured Creditors
   04/14/2021                                                  ). (Brinkman, Daren) (Entered: 04/14/2021)


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   04/16/2021                          154                     Notice Of Appearance and Request for Notices, with Proof of Service
                                       (6 pgs)                 Filed by Interested Party Stuart Rubin. (Smith, Evan) (Entered:
                                                               04/16/2021)

                                       155                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                               event was used to file this document. The correct docket event is:
                                                               Notice of Appearance and Request for Notice; THE FILER IS
                                                               INSTRUCTED TO RE-FILE THE DOCUMENT USING THE
                                                               CORRECT DOCKET EVENT. (RE: related document(s)154 Notice
                                                               filed by Interested Party Stuart Rubin) (Jackson, Wendy Ann) (Entered:
   04/19/2021                                                  04/19/2021)

                                       156                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (3 pgs)                 USC 341(a)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s) 142 Continuance of Meeting of Creditors (Rule 2003(e))
                                                               (by Trustee/US Trustee - No PDF)). (Marshack (TR), Richard) (Entered:
   04/19/2021                                                  04/19/2021)

                                       157                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (3 pgs)                 USC 341(a)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s) 142 Continuance of Meeting of Creditors (Rule 2003(e))
                                                               (by Trustee/US Trustee - No PDF)). (Marshack (TR), Richard) (Entered:
   04/19/2021                                                  04/19/2021)

                                       158                     Notice of Appearance and Request for Notice with Proof of Service. by
                                       (6 pgs)                 Evan L Smith Filed by Interested Party Stuart Rubin. (Smith, Evan)
   04/19/2021                                                  (Entered: 04/19/2021)

                                       159                     Status Report for Chapter 11 Status Conference with Proof of Service
                                       (8 pgs)                 Filed by Trustee Richard A Marshack (TR) (RE: related document(s)5
                                                               Order setting initial status conference in chapter 11 case (BNC-PDF)).
   04/21/2021                                                  (Marshack (TR), Richard) (Entered: 04/21/2021)

                                       160                     Opposition to (related document(s): 42 Motion to Excuse State Court
                                       (8 pgs)                 Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C.
                                                               Section 543; Memorandum of Points and Authorities filed by Creditor
                                                               U.S. Real Estate Credit Holdings III-A, LP) Chapter 11 Trustee's
                                                               Response to Motion to Excuse State Court Receiver, Edwin Leslie, From
                                                               Turnover of Assets Under 11 U.S.C. Section 543; Declaration of Chad V.
                                                               Haes Filed by Trustee Richard A Marshack (TR) (Haes, Chad) (Entered:
   04/22/2021                                                  04/22/2021)

                                       161                     Request for special notice Filed by Creditors Tandem West Glass, Inc.,
                                       (1 pg)                  Temalpakh, Inc. dba The Works Floor & Wall, Mascorro Concrete
                                                               Construction, Inc., Jacobsson Engineering Construction, Inc., Apple J.
                                                               Plumbing, Desert Palm Electric, Inc., Al Miller & Sons Roofing Co.,
   04/22/2021                                                  Inc.. (Polis, Thomas) (Entered: 04/22/2021)

                                       162                     Reply to (related document(s): 159 Status Report for Chapter 11 Status
                                       (10 pgs)                Conference filed by Trustee Richard A Marshack (TR), 160 Opposition
                                                               filed by Trustee Richard A Marshack (TR)) Filed by Creditor U.S. Real
                                                               Estate Credit Holdings III-A, LP (Rivas, Christopher) (Entered:
   04/26/2021                                                  04/26/2021)

   04/28/2021                          163                     Declaration re: DECLARATION THAT NO PARTY REQUESTED A
                                       (30 pgs)                HEARING ON MOTION Filed by Accountant Grobstein Teeple, LLP
                                                               (RE: related document(s)146 Application to Employ Grobstein Teeple,

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                 19/54


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                                                               LLP as Accountants Notice Of Application And Application Of Chapter
                                                               11 Trustee, Richard A. Marshack, For Authorization To Employ
                                                               Grobstein Teeple LLP As Accountants Effective March 17, 2021;
                                                               Statement Of Disinterestedness In Support Thereof With Proof Of Service
                                                               Filed by Accountant Grobstein Teeple, LLP.). (Grobstein, Howard)
                                                               (Entered: 04/28/2021)

                                       164                     Order Granting Application to Employ Grobstein Teeple LLP as
                                       (2 pgs)                 Accountants effective March 17, 2021; (BNC-PDF) (Related Doc # 146)
   04/28/2021                                                  Signed on 4/28/2021. (Jackson, Wendy Ann) (Entered: 04/28/2021)

                                       165                     Reply to (related document(s): 42 Motion to Excuse State Court
                                       (23 pgs)                Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C.
                                                               Section 543; Memorandum of Points and Authorities filed by Creditor
                                                               U.S. Real Estate Credit Holdings III-A, LP, 160 Opposition filed by
                                                               Trustee Richard A Marshack (TR)) Comments Of Edwin W. Leslie,
                                                               Receiver, To Response Of Chapter 11 Trustee To Motion To Excuse State
                                                               Court Receiver From Turnover Of Assets Under 11 U.S.C. § 543;
                                                               Declaration Of Edwin W. Leslie (With Proof of Service) Filed by
                                                               Interested Party Edwin W. Leslie, Receiver (Tippie, Alan) (Entered:
   04/28/2021                                                  04/28/2021)

                                       166                     Notice of Perfection by Secured Creditor Al Miller & Sons Roofing Co.,
                                       (7 pgs; 2 docs)         Inc.; with Proof of Service Filed by Creditor Al Miller & Sons Roofing
                                                               Co., Inc.. (Attachments: # 1 Exhibit A) (Polis, Thomas) (Entered:
   04/28/2021                                                  04/28/2021)

                                       167                     Notice of Perfection by Secured Creditor Apple J Plumbing; with Proof
                                       (6 pgs; 2 docs)         of Service Filed by Creditor Apple J. Plumbing. (Attachments: # 1
   04/28/2021                                                  Exhibit A) (Polis, Thomas) (Entered: 04/28/2021)

                                       168                     Notice of Perfection by Secured Creditor Desert Palms Electric; with
                                       (6 pgs; 2 docs)         Proof of Service Filed by Creditor Desert Palm Electric, Inc..
   04/28/2021                                                  (Attachments: # 1 Exhibit A) (Polis, Thomas) (Entered: 04/28/2021)

                                       169                     Notice of Perfection by Secured Creditor Jacobsson Engineering
                                       (7 pgs; 2 docs)         Construction; with Proof of Service Filed by Creditor Jacobsson
                                                               Engineering Construction, Inc.. (Attachments: # 1 Exhibit A) (Polis,
   04/28/2021                                                  Thomas) (Entered: 04/28/2021)

                                       170                     Notice of Perfection by Secured Creditor Mascorro Concrete
                                       (6 pgs; 2 docs)         Construction; with Proof of Service Filed by Creditor Mascorro Concrete
                                                               Construction, Inc.. (Attachments: # 1 Exhibit A) (Polis, Thomas)
   04/28/2021                                                  (Entered: 04/28/2021)

                                       171                     Notice of Perfection by Secured Creditor Tandem West Glass; with Proof
                                       (7 pgs; 2 docs)         of Service Filed by Creditor Tandem West Glass, Inc.. (Attachments: # 1
   04/28/2021                                                  Exhibit A) (Polis, Thomas) (Entered: 04/28/2021)

                                       172                     Notice of Perfection by Secured Creditor Temalpakh, Inc.; with Proof of
                                       (5 pgs; 2 docs)         Service Filed by Creditor Temalpakh, Inc. dba The Works Floor & Wall.
   04/28/2021                                                  (Attachments: # 1 Exhibit A) (Polis, Thomas) (Entered: 04/28/2021)

                                       173                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Pistone,
   04/29/2021                          (1 pg)                  Sheila. (Pistone, Sheila) (Entered: 04/29/2021)

   04/30/2021                          174                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                               20/54


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                                       (42 pgs)                1(o)(3)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s)148 Application to Employ Marshack Hays LLP as General
                                                               Counsel ; and Declaration of Chad V. Haes in support; with Proof of
                                                               Service). (Haes, Chad) (Entered: 04/30/2021)

                                       175                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)164 Order on Application to Employ (BNC-PDF)) No. of
   04/30/2021                                                  Notices: 1. Notice Date 04/30/2021. (Admin.) (Entered: 04/30/2021)

                                       176                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (3 pgs)                 USC 341(a)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s) 142 Continuance of Meeting of Creditors (Rule 2003(e))
                                                               (by Trustee/US Trustee - No PDF)). (Marshack (TR), Richard) (Entered:
   05/03/2021                                                  05/03/2021)

                                       177                     Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                               Richard A Marshack (TR). 341(a) Meeting Continued to 5/20/2021 at
                                                               10:00 AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                               CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   05/03/2021                                                  05/03/2021)

                                       178                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Hays, D.
   05/03/2021                          (1 pg)                  (Hays, D) (Entered: 05/03/2021)

                                       179                     Monthly Operating Report. Operating Report Number: 2. For the Month
                                       (18 pgs)                Ending 3/31/21 with Proof of Service Filed by Trustee Richard A
   05/03/2021                                                  Marshack (TR). (Marshack (TR), Richard) (Entered: 05/03/2021)

                                       180                     Notice of motion and motion for relief from automatic stay with
                                       (76 pgs; 2 docs)        supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                                                               RE: Al Miller & Sons Roofing v. Doug Wall Construction et al; with
                                                               Proof of Service. Fee Amount $188, Filed by Creditor Al Miller & Sons
                                                               Roofing Co., Inc. (Attachments: # 1 Exhibit A) (Polis, Thomas) (Entered:
   05/04/2021                                                  05/04/2021)

                                       181                     Notice of motion and motion for relief from automatic stay with
                                       (135 pgs; 2 docs)       supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                                                               RE: Tandem West Glass v. Doug Wall Construction, et al; with Proof of
                                                               Service. Fee Amount $188, Filed by Creditor Tandem West Glass, Inc.
   05/04/2021                                                  (Attachments: # 1 Exhibit A) (Polis, Thomas) (Entered: 05/04/2021)

                                                               Receipt of Motion for Relief from Stay - ACTION IN NON-
                                                               BANKRUPTCY FORUM( 2:21-bk-11188-BB) [motion,nman] ( 188.00)
                                                               Filing Fee. Receipt number AXXXXXXXX. Fee amount 188.00. (re: Doc#
   05/04/2021                                                  180) (U.S. Treasury) (Entered: 05/04/2021)

                                                               Receipt of Motion for Relief from Stay - ACTION IN NON-
                                                               BANKRUPTCY FORUM( 2:21-bk-11188-BB) [motion,nman] ( 188.00)
                                                               Filing Fee. Receipt number AXXXXXXXX. Fee amount 188.00. (re: Doc#
   05/04/2021                                                  181) (U.S. Treasury) (Entered: 05/04/2021)

   05/05/2021                          182                     Motion Chapter 11 Trustee's Motion to (1) Extend the SARE Deadline
                                       (29 pgs)                Under Section 362(d)(3) or, in the Alternative, (2) Abandon the Estate's
                                                               Interest in Certain Real Property; Memorandum of Points and
                                                               Authorities; Declaration of Richard A. Marshack in Support, with Proof
                                                               of Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad)
                                                               (Entered: 05/05/2021)
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                                       183                     Application shortening time Application for Order Setting Hearing on
                                       (7 pgs)                 Shortened Notice; Declaration of Chad V. Haes in Support of Application
                                                               re: Chapter 11 Trustee's Motion to (1) Extend the SARE Deadline Under
                                                               Section 362(d)(3) or, in the Alternative, (2) Abandon the Estate's Interest
                                                               in Certain Real Property (Related to: [Dk. No. 182] Motion), with Proof
                                                               of Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad).
                                                               Related document(s) 182 Motion Chapter 11 Trustee's Motion to (1)
                                                               Extend the SARE Deadline Under Section 362(d)(3) or, in the
                                                               Alternative, (2) Abandon the Estate's Interest in Certain Real Property;
                                                               Memorandum of Points and Authorities; Declaration of Richard A. M
                                                               filed by Trustee Richard A Marshack (TR). Modified on 5/5/2021 to
                                                               relate the document to the motion. (Jackson, Wendy Ann). (Entered:
   05/05/2021                                                  05/05/2021)

                                       184                     Hearing Set (RE: related document(s)180 Motion for Relief from Stay -
                                                               ACTION IN NON-BANKRUPTCY FORUM filed by Creditor Al Miller
                                                               & Sons Roofing Co., Inc.) The Hearing date is set for 5/25/2021 at 10:00
                                                               AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012. The case
   05/05/2021                                                  judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered: 05/05/2021)

                                       185                     Hearing Set (RE: related document(s)181 Motion for Relief from Stay -
                                                               ACTION IN NON-BANKRUPTCY FORUM filed by Creditor Tandem
                                                               West Glass, Inc.) The Hearing date is set for 5/25/2021 at 10:00 AM at
                                                               Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012. The case judge
   05/05/2021                                                  is Sheri Bluebond (Jackson, Wendy Ann) (Entered: 05/05/2021)

                                       186                     Declaration re: Stephen J. Armstrong's Holographic Signature Filed by
                                       (3 pgs)                 Creditor Al Miller & Sons Roofing Co., Inc. (RE: related
                                                               document(s)180 Notice of motion and motion for relief from automatic
                                                               stay with supporting declarations ACTION IN NON-BANKRUPTCY
                                                               FORUM RE: Al Miller & Sons Roofing v. Doug Wall Construction et al;
                                                               with Proof of Service. Fee Amount $188,). (Polis, Thomas) (Entered:
   05/05/2021                                                  05/05/2021)

                                       187                     Declaration re: Stephen J. Armstrong's Holographic Signature Filed by
                                       (3 pgs)                 Creditor Tandem West Glass, Inc. (RE: related document(s)181 Notice of
                                                               motion and motion for relief from automatic stay with supporting
                                                               declarations ACTION IN NON-BANKRUPTCY FORUM RE: Tandem
                                                               West Glass v. Doug Wall Construction, et al; with Proof of Service. Fee
   05/05/2021                                                  Amount $188,). (Polis, Thomas) (Entered: 05/05/2021)

                                       188                     Order Granting Application and setting hearing on shortened notice re:
                                       (4 pgs)                 Chapter 11 Trustee's Motion to (1) Extend the SARE Deadline Under
                                                               Section 362(d)(3) or, in the Alternative, (2) Abandon the Estate's Interest
                                                               in Certain Real Property; ORDERED that the hearing is set for: MAY 18,
                                                               2021 @ 10AM; (BNC-PDF) (Related Doc # 183 ) Signed on 5/5/2021
   05/05/2021                                                  (Jackson, Wendy Ann) (Entered: 05/05/2021)

                                       189                     Hearing Set (RE: related document(s)182 Generic Motion filed by
                                                               Trustee Richard A Marshack (TR)) The Hearing date is set for 5/18/2021
                                                               at 10:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012.
                                                               The case judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered:
   05/05/2021                                                  05/05/2021)

                                       190                     Order Granting Application to Employ Marshack Hays LLP as General
                                       (2 pgs)                 Counsel; (BNC-PDF) (Related Doc # 148) Signed on 5/5/2021. (Jackson,
   05/05/2021                                                  Wendy Ann) (Entered: 05/05/2021)

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                                       191                    Notice to Filer of Error and/or Deficient Document
                                                              Incorrect/incomplete/unreadable PDF was attached to the docket
                                                              entry. All Documents filed with the Court must have a pleading
                                                              coversheet with Debtor's Name, Case Number and Title of document.
                                                              THE FILER IS INSTRUCTED TO RE-FILE THE DOCUMENT
                                                              WITH THE CORRECT PDF IMMEDIATELY. (RE: related
                                                              document(s)186 Declaration filed by Creditor Al Miller & Sons Roofing
                                                              Co., Inc., 187 Declaration filed by Creditor Tandem West Glass, Inc.)
   05/05/2021                                                 (Jackson, Wendy Ann) (Entered: 05/05/2021)

                                       192                    Notice of Hearing Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (18 pgs)               document(s)182 Motion Chapter 11 Trustee's Motion to (1) Extend the
                                                              SARE Deadline Under Section 362(d)(3) or, in the Alternative, (2)
                                                              Abandon the Estate's Interest in Certain Real Property; Memorandum of
                                                              Points and Authorities; Declaration of Richard A. Marshack in Support,
                                                              with Proof of Service Filed by Trustee Richard A Marshack (TR)). (Haes,
   05/05/2021                                                 Chad) (Entered: 05/05/2021)

                                       193                    Notice of Hearing Notice of Continued Status Conference; with Proof of
                                       (13 pgs)               Service Filed by Trustee Richard A Marshack (TR). (Haes, Chad)
   05/05/2021                                                 (Entered: 05/05/2021)

                                       194                    Proof of service Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (12 pgs)               document(s)182 Motion Chapter 11 Trustee's Motion to (1) Extend the
                                                              SARE Deadline Under Section 362(d)(3) or, in the Alternative, (2)
                                                              Abandon the Estate's Interest in Certain Real Property; Memorandum of
                                                              Points and Authorities; Declaration of Richard A. M). (Haes, Chad)
   05/05/2021                                                 (Entered: 05/05/2021)

                                       195                    Declaration re: Holographic Signature of Stephen J. Armstrong in Support
                                       (6 pgs)                of Movants Motion for Relief from the Automatic Stay (ECF No. 180);
                                                              with Proof of Service Filed by Creditor Al Miller & Sons Roofing Co.,
                                                              Inc. (RE: related document(s)180 Notice of motion and motion for relief
                                                              from automatic stay with supporting declarations ACTION IN NON-
                                                              BANKRUPTCY FORUM RE: Al Miller & Sons Roofing v. Doug Wall
                                                              Construction et al; with Proof of Service. Fee Amount $188,). (Polis,
   05/05/2021                                                 Thomas) (Entered: 05/05/2021)

                                       196                    Declaration re: Holographic Signature of Stephen J. Armstrong in Support
                                       (6 pgs)                of Movants Motion for Relief from the Automatic Stay (ECF No. 181);
                                                              with Proof of Service Filed by Creditor Tandem West Glass, Inc. (RE:
                                                              related document(s)181 Notice of motion and motion for relief from
                                                              automatic stay with supporting declarations ACTION IN NON-
                                                              BANKRUPTCY FORUM RE: Tandem West Glass v. Doug Wall
                                                              Construction, et al; with Proof of Service. Fee Amount $188,). (Polis,
   05/05/2021                                                 Thomas) (Entered: 05/05/2021)

                                       197                    Declaration re: Declaration Regarding Service and Notice of Hearing re:
                                       (6 pgs)                apter 11 Trustee's Motion to (1) Extend the SARE Deadline Under Section
                                                              362(d)(3) or, in the Alternative, (2) Abandon the Estate's Interest in
                                                              Certain Real Property Filed by Trustee Richard A Marshack (TR) (RE:
                                                              related document(s)182 Motion Chapter 11 Trustee's Motion to (1) Extend
                                                              the SARE Deadline Under Section 362(d)(3) or, in the Alternative, (2)
                                                              Abandon the Estate's Interest in Certain Real Property; Memorandum of
                                                              Points and Authorities; Declaration of Richard A. M). (Haes, Chad)
   05/06/2021                                                 (Entered: 05/06/2021)


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   05/06/2021                                                 An Order is to be lodged by Committee of Unsecured Creditors (RE:
                                                              related document(s)136 Application to Employ filed by Creditor
                                                              Committee Committee of Unsecured Creditors) Order due by 5/7/2021.
                                                              (Jackson, Wendy Ann) (Entered: 05/06/2021)

                                       198                    Motion Motion for Order to Limit Notice Pursuant to Rules 2002 and
                                       (43 pgs)               9007 of the Federal Rules of Bankruptcy Procedure; Memorandum of
                                                              Points and Authorities; Declaration of Chad V. Haes in Support; with
                                                              Proof of Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad)
   05/06/2021                                                 (Entered: 05/06/2021)

                                       199                    Notice of motion/application Filed by Trustee Richard A Marshack (TR)
                                       (14 pgs)               (RE: related document(s)198 Motion Motion for Order to Limit Notice
                                                              Pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy
                                                              Procedure; Memorandum of Points and Authorities; Declaration of Chad
                                                              V. Haes in Support; with Proof of Service Filed by Trustee Richard A
   05/06/2021                                                 Marshack (TR)). (Haes, Chad) (Entered: 05/06/2021)

                                       200                    Hearing Held (Bk Motion) (RE: related document(s) 42 Generic Motion);
                                                              RULING - ORDER TO FOLLOW FROM MR. HAYES; CONT'D. TO
   05/06/2021                                                 7/7/21 @ 10AM; (Jackson, Wendy Ann) (Entered: 05/06/2021)

                                       201                    Hearing Continued (RE: related document(s)1 Voluntary Petition (Chapter
                                                              11) filed by Debtor Glenroy Coachella, LLC); RULING- Status Report
                                                              waived; Status hearing to be held on 7/7/2021 at 10:00 AM at Crtrm 1539,
                                                              255 E Temple St., Los Angeles, CA 90012. The case judge is Sheri
   05/06/2021                                                 Bluebond (Jackson, Wendy Ann) (Entered: 05/06/2021)

                                       202                    Order Granting Application of the Official Committee of Unsecured
                                       (2 pgs)                Creditors to Employ Brinkman Law Group, PC as Counsel; (BNC-PDF)
                                                              (Related Doc # 136) Signed on 5/7/2021. (Jackson, Wendy Ann) (Entered:
   05/07/2021                                                 05/07/2021)

                                       203                    Supplemental Movant Al Miller & Sons Roofings Supplemental Points and
                                       (5 pgs)                Authorities Re: Motion for Relief from the Automatic Stay (ECF NO. 180);
                                                              with Proof of Service Filed by Creditor Al Miller & Sons Roofing Co.,
                                                              Inc.. (Polis, Thomas). Related document(s) 180 Notice of motion and
                                                              motion for relief from automatic stay with supporting declarations
                                                              ACTION IN NON-BANKRUPTCY FORUM RE: Al Miller & Sons
                                                              Roofing v. Doug Wall Construction et al; with Proof of Service. Fee
                                                              Amount $188, filed by Creditor Al Miller & Sons Roofing Co., Inc..
                                                              Modified on 5/7/2021 to relate the document to the motion; (Jackson,
   05/07/2021                                                 Wendy Ann). (Entered: 05/07/2021)

                                       204                    Supplemental Movant Tandem West Glass Supplemental Points and
                                       (5 pgs)                Authorities Re: Motion for Relief from the Automatic Stay (ECF NO. 181);
                                                              with Proof of Service Filed by Creditor Tandem West Glass, Inc.. (Polis,
                                                              Thomas). Related document(s) 181 Notice of motion and motion for relief
                                                              from automatic stay with supporting declarations ACTION IN NON-
                                                              BANKRUPTCY FORUM RE: Tandem West Glass v. Doug Wall
                                                              Construction, et al; with Proof of Service. Fee Amount $188, filed by
                                                              Creditor Tandem West Glass, Inc.. Modified on 5/7/2021 to relate the
   05/07/2021                                                 document to the motion; (Jackson, Wendy Ann). (Entered: 05/07/2021)

   05/07/2021                          205                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (11 pgs)               related document(s)42 Motion to Excuse State Court Receiver, Edwin
                                                              Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                             24/54


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                                                              Memorandum of Points and Authorities Filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP). (Hays, D) (Entered: 05/07/2021)

                                       206                    BNC Certificate of Notice - PDF Document. (RE: related document(s)188
                                       (7 pgs)                ORDER shortening time (BNC-PDF)) No. of Notices: 1. Notice Date
   05/07/2021                                                 05/07/2021. (Admin.) (Entered: 05/07/2021)

                                       207                    BNC Certificate of Notice - PDF Document. (RE: related document(s)190
                                       (5 pgs)                Order on Application to Employ (BNC-PDF)) No. of Notices: 1. Notice
   05/07/2021                                                 Date 05/07/2021. (Admin.) (Entered: 05/07/2021)

                                       208                    BNC Certificate of Notice - PDF Document. (RE: related document(s)202
                                       (5 pgs)                Order on Application to Employ (BNC-PDF)) No. of Notices: 1. Notice
   05/09/2021                                                 Date 05/09/2021. (Admin.) (Entered: 05/09/2021)

                                       209                    Response to motion for order to terminate, annul, modify or condition the
                                       (25 pgs)               automatic stay and declaration(s) in support (related document(s): 180
                                                              Notice of motion and motion for relief from automatic stay with
                                                              supporting declarations ACTION IN NON-BANKRUPTCY FORUM RE:
                                                              Al Miller & Sons Roofing v. Doug Wall Construction et al; with Proof of
                                                              Service. Fee Amount $188, filed by Creditor Al Miller & Sons Roofing
                                                              Co., Inc., 181 Notice of motion and motion for relief from automatic stay
                                                              with supporting declarations ACTION IN NON-BANKRUPTCY
                                                              FORUM RE: Tandem West Glass v. Doug Wall Construction, et al; with
                                                              Proof of Service. Fee Amount $188, filed by Creditor Tandem West Glass,
                                                              Inc.) Omnibus Response To Motions For Relief From The Automatic Stay
                                                              Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas,
   05/11/2021                                                 Christopher) (Entered: 05/11/2021)

                                       210                    Monthly Operating Report. Operating Report Number: 3. For the Month
                                       (18 pgs)               Ending 4/30/21 with proof of service; Filed by Trustee Richard A
   05/11/2021                                                 Marshack (TR). (Marshack (TR), Richard) (Entered: 05/11/2021)

                                       211                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (11 pgs)               related document(s)42 Motion to Excuse State Court Receiver, Edwin
                                                              Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;
                                                              Memorandum of Points and Authorities Filed by Creditor U.S. Real Estate
   05/11/2021                                                 Credit Holdings III-A, LP). (Hays, D) (Entered: 05/11/2021)

                                       212                    Stipulation By Richard A Marshack (TR) and Al Miller & Sons Roofing,
                                       (5 pgs)                Inc. to Continue Hearing on Motion for Relief from Automatic Stay Under
                                                              11 U.S.C. Section 362 Filed By Al Miller & Sons Roofing, Inc., with Proof
                                                              of Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad)
   05/11/2021                                                 (Entered: 05/11/2021)

                                       213                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)212 Stipulation By Richard A Marshack (TR) and Al
                                                              Miller & Sons Roofing, Inc. to Continue Hearing on Motion for Relief
                                                              from Automatic Stay Under 11 U.S.C. Section 362 Filed By Al Miller &
                                                              Sons Roofing, Inc., with Proof of Service Filed by Trustee Richard A
   05/11/2021                                                 Marshack (TR)). (Haes, Chad) (Entered: 05/11/2021)

                                       214                    Stipulation By Richard A Marshack (TR) and Tandem West Glass Inc. to
                                       (5 pgs)                Continue Hearing on Motion for Relief from the Automatic Stay Under 11
                                                              U.S.C. Section 362 Filed by Tandem West Glass, Inc.; with Proof of
                                                              Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad) (Entered:
   05/11/2021                                                 05/11/2021)

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   05/11/2021                          215                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)214 Stipulation By Richard A Marshack (TR) and
                                                              Tandem West Glass Inc. to Continue Hearing on Motion for Relief from
                                                              the Automatic Stay Under 11 U.S.C. Section 362 Filed by Tandem West
                                                              Glass, Inc.; with Proof of Service). (Haes, Chad) (Entered: 05/11/2021)

                                       216                    Order Granting to excuse State Court Receiver, Edwin Leslie, form
                                       (8 pgs)                turnover of assets under 11 U.S.C. §543. Hearing is being continued from
                                                              May 5, 2021 at 10am to July 7, 2021 at 10am (BNC-PDF) (Related Doc #
   05/12/2021                                                 42 ) Signed on 5/12/2021 (Lewis, Litaun) (Entered: 05/12/2021)

                                       217                    Order appoving stipulation to continue hearing on motion for relief from
                                       (2 pgs)                the automatic stay under 11 U.S.C. §362 filed by Al Miller & Sons
                                                              Roofing, Inc from May 25, 2021 at 10am to June 8, 2021 at 10am (BNC-
                                                              PDF) (Related Doc # 212 ) Signed on 5/12/2021 (Lewis, Litaun) (Entered:
   05/12/2021                                                 05/12/2021)

                                                              Hearing (Bk Motion) Continued (RE: related document(s) 180 MOTION
                                                              FOR RELIEF FROM STAY - ACTION IN NON-BANKRUPTCY
                                                              FORUM filed by Al Miller & Sons Roofing Co., Inc.) Hearing to be held
                                                              on 06/08/2021 at 10:00 AM 255 E. Temple St. Courtroom 1539 Los
   05/12/2021                                                 Angeles, CA 90012 for 180 , (Lewis, Litaun) (Entered: 05/12/2021)

                                       218                    Order approving stipulation to continue hearing on motion for relief from
                                       (2 pgs)                the automatic stay under 11 U.S.C. §362 filed by Tandem West Glass, Inc
                                                              from May 25, 2021 at 10am to June 8, 2021 at 10am (BNC-PDF) (Related
   05/13/2021                                                 Doc # 214 ) Signed on 5/13/2021 (Lewis, Litaun) (Entered: 05/13/2021)

                                                              Hearing (Bk Motion) Continued (RE: related document(s) 181 MOTION
                                                              FOR RELIEF FROM STAY - ACTION IN NON-BANKRUPTCY
                                                              FORUM filed by Tandem West Glass, Inc.) Hearing to be held on
                                                              06/08/2021 at 10:00 AM 255 E. Temple St. Courtroom 1539 Los Angeles,
   05/13/2021                                                 CA 90012 for 181 , (Lewis, Litaun) (Entered: 05/13/2021)

                                       219                    Stipulation By U.S. Real Estate Credit Holdings III-A, LP and Stipulation
                                       (5 pgs)                To Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   05/14/2021                                                 Holdings III-A, LP (Rivas, Christopher) (Entered: 05/14/2021)

                                       220                    Notice of lodgment of Order In Bankruptcy Case Re: Order Granting
                                       (6 pgs)                Stipulation To Continue Deadlines And Hearing With Respect To Single
                                                              Asset Real Estate And Abandonment Motion Filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP (RE: related document(s)180 Notice of
                                                              motion and motion for relief from automatic stay with supporting
                                                              declarations ACTION IN NON-BANKRUPTCY FORUM RE: Al Miller
                                                              & Sons Roofing v. Doug Wall Construction et al; with Proof of Service.
                                                              Fee Amount $188, Filed by Creditor Al Miller & Sons Roofing Co., Inc.
                                                              (Attachments: # 1 Exhibit A), 181 Notice of motion and motion for relief
                                                              from automatic stay with supporting declarations ACTION IN NON-
                                                              BANKRUPTCY FORUM RE: Tandem West Glass v. Doug Wall
                                                              Construction, et al; with Proof of Service. Fee Amount $188, Filed by
                                                              Creditor Tandem West Glass, Inc. (Attachments: # 1 Exhibit A), 219
                                                              Stipulation By U.S. Real Estate Credit Holdings III-A, LP and Stipulation
                                                              To Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   05/14/2021                                                 Holdings III-A, LP). (Rivas, Christopher) (Entered: 05/14/2021)


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   05/14/2021                          221                    Notice of motion and motion for relief from the automatic stay with
                                       (32 pgs; 2 docs)       supporting declarations PERSONAL PROPERTY RE: 2019 Bentley
                                                              Bentayga . Fee Amount $188, Filed by Creditors Porsche Financial
                                                              Services, Inc.dba Bentley Financial Services, Porsche Leasing Ltd.
                                                              (Attachments: # 1 Exhibit 1 - 4) (Miller, Stacey) (Entered: 05/14/2021)

                                                              Receipt of Motion for Relief from Stay - Personal Property( 2:21-bk-
                                                              11188-BB) [motion,nmpp] ( 188.00) Filing Fee. Receipt number
                                                              AXXXXXXXX. Fee amount 188.00. (re: Doc# 221) (U.S. Treasury) (Entered:
   05/14/2021                                                 05/14/2021)

                                       222                    Order granting stipulation to continue deadlines and hearing to May 26,
                                       (2 pgs)                2021 at 10:00 am with respect to single asset real estate and abandonment
                                                              motion for relief from automatic stay ACTION IN NON-BANKRUPTCY
                                                              FORUM (BNC-PDF) (Related Doc # 181 ) Signed on 5/14/2021 (Lewis,
   05/14/2021                                                 Litaun) (Entered: 05/14/2021)

                                                              Hearing (Bk Motion) Continued (RE: related document(s) 182 GENERIC
                                                              MOTION filed by Richard A Marshack (TR)) Hearing to be held on
                                                              05/26/2021 at 10:00 AM 255 E. Temple St. Courtroom 1539 Los Angeles,
   05/14/2021                                                 CA 90012 for 182 , (Lewis, Litaun) (Entered: 05/14/2021)

                                       223                    Hearing Set (RE: related document(s)221 Motion for Relief from Stay -
                                                              Personal Property filed by Creditor Porsche Leasing Ltd., Creditor
                                                              Porsche Financial Services, Inc.dba Bentley Financial Services) The
                                                              Hearing date is set for 6/8/2021 at 10:00 AM at Crtrm 1539, 255 E Temple
                                                              St., Los Angeles, CA 90012. The case judge is Sheri Bluebond (Lewis,
   05/14/2021                                                 Litaun) (Entered: 05/14/2021)

                                       224                    Request for Removal from Courtesy Notice of Electronic Filing (NEF)
   05/14/2021                                                 Filed by Pham, Matthew. (Pham, Matthew) (Entered: 05/14/2021)

                                       225                    Request for Removal from Courtesy Notice of Electronic Filing (NEF)
   05/14/2021                          (1 pg)                 Filed by Rallis, Dean. (Rallis, Dean) (Entered: 05/14/2021)

                                       226                    BNC Certificate of Notice - PDF Document. (RE: related document(s)216
                                       (11 pgs)               Order on Generic Motion (BNC-PDF)) No. of Notices: 1. Notice Date
   05/14/2021                                                 05/14/2021. (Admin.) (Entered: 05/14/2021)

                                       227                    BNC Certificate of Notice - PDF Document. (RE: related document(s)217
                                       (5 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
   05/14/2021                                                 Date 05/14/2021. (Admin.) (Entered: 05/14/2021)

                                       228                    BNC Certificate of Notice - PDF Document. (RE: related document(s)218
                                       (5 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
   05/15/2021                                                 Date 05/15/2021. (Admin.) (Entered: 05/15/2021)

                                       229                    BNC Certificate of Notice - PDF Document. (RE: related document(s)222
                                       (5 pgs)                Motion for relief from automatic stay ACTION IN NON-BANKRUPTCY
                                                              FORUM (BNC-PDF)) No. of Notices: 1. Notice Date 05/16/2021.
   05/16/2021                                                 (Admin.) (Entered: 05/16/2021)

   05/17/2021                          230                    Notice to Filer of Error and/or Deficient Document
                                                              Incorrect/incomplete/unreadable PDF was attached to the docket
                                                              entry. THE FILER IS INSTRUCTED TO RE-FILE THE
                                                              DOCUMENT WITH THE CORRECT PDF IMMEDIATELY - All
                                                              PDF files must be flattened before filing through CM/ECF - Court
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                 27/54


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                                                              Manual Section 3.5(k). (RE: related document(s)224 Request for
                                                              Removal from Courtesy Notice of Electronic Filing (NEF) filed by
                                                              Interested Party Courtesy NEF) (Milano, Sonny) (Entered: 05/17/2021)

                                       231                    Request for courtesy Notice of Electronic Filing (NEF) Filed by Pagter, R.
   05/20/2021                          (1 pg)                 (Pagter, R) (Entered: 05/20/2021)

                                       232                    Notice of Appearance and Request for Notice with Proof of service by
                                       (6 pgs)                Evan L Smith Filed by Interested Party Elliot Lander. (Smith, Evan)
   05/24/2021                                                 (Entered: 05/24/2021)

                                       233                    Opposition to (related document(s): 182 Motion Chapter 11 Trustee's
                                       (83 pgs)               Motion to (1) Extend the SARE Deadline Under Section 362(d)(3) or, in
                                                              the Alternative, (2) Abandon the Estate's Interest in Certain Real
                                                              Property; Memorandum of Points and Authorities; Declaration of Richard
                                                              A. M filed by Trustee Richard A Marshack (TR)) Filed by Creditor U.S.
                                                              Real Estate Credit Holdings III-A, LP (Houston, Marsha) (Entered:
   05/24/2021                                                 05/24/2021)

                                       234                    Response to (related document(s): 182 Motion Chapter 11 Trustee's
                                       (33 pgs)               Motion to (1) Extend the SARE Deadline Under Section 362(d)(3) or, in
                                                              the Alternative, (2) Abandon the Estate's Interest in Certain Real
                                                              Property; Memorandum of Points and Authorities; Declaration of Richard
                                                              A. M filed by Trustee Richard A Marshack (TR)) and Declaration of Evan
                                                              L. Smith, with Proof of Service Filed by Interested Parties Elliot Lander,
   05/24/2021                                                 Stuart Rubin (Smith, Evan) (Entered: 05/24/2021)

                                       235                    Stipulation By U.S. Real Estate Credit Holdings III-A, LP and Stipulation
                                       (5 pgs)                To Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   05/25/2021                                                 Holdings III-A, LP (Rivas, Christopher) (Entered: 05/25/2021)

                                       236                    Notice of lodgment Notice Of Lodgment Of Order In Bankruptcy Case Re:
                                       (6 pgs)                Stipulation To Continue Deadlines And Hearing With Respect To Single
                                                              Asset Real Estate And Abandonment Motion Filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP (RE: related document(s)182 Motion
                                                              Chapter 11 Trustee's Motion to (1) Extend the SARE Deadline Under
                                                              Section 362(d)(3) or, in the Alternative, (2) Abandon the Estate's Interest
                                                              in Certain Real Property; Memorandum of Points and Authorities;
                                                              Declaration of Richard A. M, 235 Stipulation By U.S. Real Estate Credit
                                                              Holdings III-A, LP and Stipulation To Continue Deadlines And Hearing
                                                              With Respect To Single Asset Real Estate And Abandonment Motion).
   05/25/2021                                                 (Rivas, Christopher) (Entered: 05/25/2021)

                                       237                    Order Granting Stipulation to continue deadlines and hearing with respect
                                       (2 pgs)                to Single Asset Real Estate and Abandonment Motion; ORDERED that
                                                              the SARE deadline is extended to 6/11/21; opposition to the SARE motion
                                                              is 6/7/21; hearing date is continued to JUNE 9, 2021 @ 11AM; (BNC-
                                                              PDF) (Related Doc # 235 ) Signed on 5/25/2021 (Jackson, Wendy Ann)
   05/25/2021                                                 (Entered: 05/25/2021)

                                       238                    BNC Certificate of Notice - PDF Document. (RE: related document(s)237
                                       (5 pgs)                ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   05/27/2021                                                 Notice Date 05/27/2021. (Admin.) (Entered: 05/27/2021)

   05/28/2021                          239                    Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (62 pgs)               1(o)(3)) Filed by Trustee Richard A Marshack (TR) (RE: related

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                28/54


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                                                              document(s)198 Motion Motion for Order to Limit Notice Pursuant to
                                                              Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure;
                                                              Memorandum of Points and Authorities; Declaration of Chad V. Haes in
                                                              Support; with Proof of Service). (Haes, Chad) (Entered: 05/28/2021)

                                       240                    Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                              Richard A Marshack (TR). 341(a) Meeting Continued to 6/4/2021 at 10:00
                                                              AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                              CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   05/28/2021                                                 05/28/2021)

                                       241                    Order Granting Motion for Order to Limit Notice pursuant to Rules 2002
                                       (2 pgs)                and 9007 of the F.R.B.P. (BNC-PDF) (Related Doc # 198 ) Signed on
   05/28/2021                                                 5/28/2021 (Jackson, Wendy Ann) (Entered: 05/28/2021)

                                       242                    BNC Certificate of Notice - PDF Document. (RE: related document(s)241
                                       (5 pgs)                Order on Generic Motion (BNC-PDF)) No. of Notices: 1. Notice Date
   05/30/2021                                                 05/30/2021. (Admin.) (Entered: 05/30/2021)

                                       243                    Notice of Change of Address Re: Art of the Muse, LLC Filed by
                                       (1 pg)                 Creditor/Owner Bradley Huntzinger . (Pennington-Jones, Patricia)
   06/01/2021                                                 (Entered: 06/02/2021)

                                       244                    Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                              Richard A Marshack (TR). 341(a) Meeting Continued to 6/25/2021 at
                                                              10:00 AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                              CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   06/02/2021                                                 06/02/2021)

                                       245                    Stipulation By Richard A Marshack (TR) and Al Miller & Sons Roofing,
                                       (5 pgs)                Inc. to Continue Hearing on Motion for Relief from the Automatic Stay
                                                              Under 11 U.S.C. Section 362 filed by Al Miller & Sons Roofing, Inc. ; with
                                                              Proof of Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad)
   06/02/2021                                                 (Entered: 06/02/2021)

                                       246                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)245 Stipulation By Richard A Marshack (TR) and Al
                                                              Miller & Sons Roofing, Inc. to Continue Hearing on Motion for Relief
                                                              from the Automatic Stay Under 11 U.S.C. Section 362 filed by Al Miller &
                                                              Sons Roofing, Inc. ; with Proof of Service Filed by Trustee Richard A
   06/02/2021                                                 Marshack (TR)). (Haes, Chad) (Entered: 06/02/2021)

                                       247                    Stipulation By Richard A Marshack (TR) and Tandem West Glass, Inc. to
                                       (5 pgs)                Continue Hearing on Motion for Relief from the Automatic stay Under 11
                                                              U.S.C. Section 362 filed by Tandem West Glass, Inc.; with proof of service
                                                              Filed by Trustee Richard A Marshack (TR) (Haes, Chad) (Entered:
   06/02/2021                                                 06/02/2021)

                                       248                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)247 Stipulation By Richard A Marshack (TR) and
                                                              Tandem West Glass, Inc. to Continue Hearing on Motion for Relief from
                                                              the Automatic stay Under 11 U.S.C. Section 362 filed by Tandem West
   06/02/2021                                                 Glass, Inc.; with proof of service). (Haes, Chad) (Entered: 06/02/2021)

   06/03/2021                          249                    Order Approving Stipulation to continue hearing on Motion for Relief
                                       (2 pgs)                from the automatic stay under 11 USC Section 362 filed by Tandem West
                                                              Glass, Inc. (BNC-PDF); ORDERED that the hearing is continued to JUNE
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                 29/54


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                                                              29, 2021 @ 10AM; the SARE deadline is extended to 6/30/21; (Related
                                                              Doc # 247 ) Signed on 6/3/2021 (Jackson, Wendy Ann) (Entered:
                                                              06/03/2021)

                                       250                    Order Approving Stipulation to continue hearing on Motion for Relief
                                       (2 pgs)                from the automatic stay under 11 USC Section 362 filed by AL Miller &
                                                              Sons Roofing, Inc. (BNC-PDF); ORDERED that the hearing is continued
                                                              to JUNE 29, 2021 @ 10AM; the SARE deadline is extended to 6/30/21
                                                              (Related Doc # 245 ) Signed on 6/3/2021 (Jackson, Wendy Ann) (Entered:
   06/03/2021                                                 06/03/2021)

                                       251                    BNC Certificate of Notice - PDF Document. (RE: related document(s)249
                                       (5 pgs)                ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   06/05/2021                                                 Notice Date 06/05/2021. (Admin.) (Entered: 06/05/2021)

                                       252                    BNC Certificate of Notice - PDF Document. (RE: related document(s)250
                                       (5 pgs)                ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   06/05/2021                                                 Notice Date 06/05/2021. (Admin.) (Entered: 06/05/2021)

                                       253                    Order Granting Motion for relief from the automatic stay PERSONAL
                                       (3 pgs)                PROPERTY (BNC-PDF) (Related Doc # 221 ) Signed on 6/8/2021
   06/08/2021                                                 (Jackson, Wendy Ann) (Entered: 06/08/2021)

                                       254                    Stipulation By U.S. Real Estate Credit Holdings III-A, LP and Stipulation
                                       (6 pgs)                to Continue Deadlines and Hearing With Respect to Single Asset Real
                                                              Estate and Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   06/08/2021                                                 Holdings III-A, LP (Rivas, Christopher) (Entered: 06/08/2021)

                                       255                    Notice of lodgment Notice of Lodgment of Order Granting Stipulation To
                                       (6 pgs)                Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
                                                              Holdings III-A, LP (RE: related document(s)254 Stipulation By U.S. Real
                                                              Estate Credit Holdings III-A, LP and Stipulation to Continue Deadlines
                                                              and Hearing With Respect to Single Asset Real Estate and Abandonment
                                                              Motion Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP).
   06/08/2021                                                 (Rivas, Christopher) (Entered: 06/08/2021)

                                       256                    Hearing Held re: order to show cause re: Appointment of Chapter 11
                                                              Trustee 189 ; RULING- GRANTED; TENTATIVE IS THE RULING;
                                                              ORDER TO FOLLOW FROM US TRUSTEE; (Jackson, Wendy Ann)
                                                              ENTERED DUE TO CLERICAL ERROR; THIS HEARING RESULT
                                                              BELONGS TO CASE NO. 21-10826BB; Modified on 6/8/2021 (Jackson,
   06/08/2021                                                 Wendy Ann). (Entered: 06/08/2021)

                                       257                    Order Approving Stipulation to continue deadlines and hearings with
                                       (2 pgs)                respect to Single Asset Real Estate and abandonment motion; ORDERED
                                                              that the SARE deadline is continued to 6/18/21; deadline to oppose the
                                                              SARE motion is 6/14/21; hearing is continued to JUNE 16, 2021 @ 10am;
                                                              SEE ORDER FOR FURTHER DETAILS; (BNC-PDF) (Related Doc #
   06/08/2021                                                 254 ) Signed on 6/8/2021 (Jackson, Wendy Ann) (Entered: 06/08/2021)

                                       258                    BNC Certificate of Notice - PDF Document. (RE: related document(s)253
                                       (6 pgs)                Motion for relief from the automatic stay PERSONAL PROPERTY
                                                              (BNC-PDF)) No. of Notices: 1. Notice Date 06/10/2021. (Admin.)
   06/10/2021                                                 (Entered: 06/10/2021)

   06/11/2021                          259                    BNC Certificate of Notice - PDF Document. (RE: related document(s)257
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                              30/54


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                                       (5 pgs)                Order on Generic Motion (BNC-PDF)) No. of Notices: 1. Notice Date
                                                              06/11/2021. (Admin.) (Entered: 06/11/2021)

                                       260                    Stipulation By U.S. Real Estate Credit Holdings III-A, LP and Stipulation
                                       (7 pgs)                To Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   06/15/2021                                                 Holdings III-A, LP (Rivas, Christopher) (Entered: 06/15/2021)

                                       261                    Notice of lodgment Of Order In Bankruptcy Case Re: Order Granting
                                       (6 pgs)                Stipulation To Continue Deadlines And Hearing With Respect To Single
                                                              Asset Real Estate And Abandonment Motion Filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP (RE: related document(s)260 Stipulation
                                                              By U.S. Real Estate Credit Holdings III-A, LP and Stipulation To
                                                              Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   06/15/2021                                                 Holdings III-A, LP). (Rivas, Christopher) (Entered: 06/15/2021)

                                       262                    Errata Notice Of Errata Regarding Stipulation To Continue Deadlines And
                                       (4 pgs)                Hearing With Respect To Single Asset Real Estate And Abandonment
                                                              Motion Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE:
                                                              related document(s)260 Stipulation By U.S. Real Estate Credit Holdings
                                                              III-A, LP and Stipulation To Continue Deadlines And Hearing With
                                                              Respect To Single Asset Real Estate And Abandonment Motion). (Rivas,
   06/15/2021                                                 Christopher) (Entered: 06/15/2021)

                                       263                    Order Approving Stipulation to continue deadlines and hearing with
                                       (2 pgs)                respect to Single Asset Real Estate and Abandonment Motion; ORDERED
                                                              that the SARE deadline is extended to 7/2/21; deadline to oppose the
                                                              SARE motion is 6/28/21; replies can be made verbally at the hearing;
                                                              Hearing shall be on JUNE 30, 2021 @ 10AM; (BNC-PDF) (Related Doc #
   06/16/2021                                                 260 ) Signed on 6/16/2021 (Jackson, Wendy Ann) (Entered: 06/16/2021)

                                       264                    BNC Certificate of Notice - PDF Document. (RE: related document(s)263
                                       (5 pgs)                ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   06/18/2021                                                 Notice Date 06/18/2021. (Admin.) (Entered: 06/18/2021)

                                       265                    Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                              Richard A Marshack (TR). 341(a) Meeting Continued to 7/6/2021 at 01:00
                                                              PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                              CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   06/23/2021                                                 06/23/2021)

                                       266                    Status report Chapter 11 Trustee's Status Report; with Proof of Service
                                       (7 pgs)                Filed by Trustee Richard A Marshack (TR) (RE: related document(s) 201
                                                              Hearing (Bk Other) Continued). (Marshack (TR), Richard) (Entered:
   06/23/2021                                                 06/23/2021)

                                       267                    Stipulation By Richard A Marshack (TR) and Al Miller & Sons Roofing,
                                       (6 pgs)                Inc. and Tandem West Glass, Inc. to Continue Hearings on Motion for
                                                              Relief from the Automatic Stay Under 11 U.S.C. Section 362, filed by Al
                                                              Miller & Sons, Inc. [Re: Dk. No. 180] and Tandem West Glass, Inc. [Re:
                                                              Dk. No. 181]; with Proof of Service Filed by Trustee Richard A Marshack
   06/24/2021                                                 (TR) (Hays, D) (Entered: 06/24/2021)

   06/24/2021                          268                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)267 Stipulation By Richard A Marshack (TR) and Al
                                                              Miller & Sons Roofing, Inc. and Tandem West Glass, Inc. to Continue

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                                                              Hearings on Motion for Relief from the Automatic Stay Under 11 U.S.C.
                                                              Section 362, filed by Al Miller & Sons, Inc. [Re: Dk. No. 180] and Tandem
                                                              West Glass, Inc. [Re: Dk. No. 181]; with Proof of Service Filed by Trustee
                                                              Richard A Marshack (TR)). (Hays, D) (Entered: 06/24/2021)

                                       269                    Order Approving Stipulation to Continue Hearing on Motions for Relief
                                       (2 pgs)                from the Automatic Stay Under 11 U.S.C. Section 362 Filed by Al Miller
                                                              & Sons, Inc. and Tandem West Glass, Inc. (MTN;S CUR SCH FOR 6-29-
                                                              21 @ 10AM IS CONT'D TO 7-13-21 @ 10AM; PLEASE REFER TO
                                                              ORD FOR ADD'L INSTRUCTIONS) (BNC-PDF) (Related Doc # 267 )
   06/25/2021                                                 Signed on 6/25/2021 (Kaaumoana, William) (Entered: 06/25/2021)

                                       270                    Hearing Continued (RE: related document(s)180 Motion for Relief from
                                                              Stay - ACTION IN NON-BANKRUPTCY FORUM filed by Creditor Al
                                                              Miller & Sons Roofing Co., Inc.) CONT'D TO 7-13-21 @ 10AM
   06/25/2021                                                 (Kaaumoana, William) (Entered: 06/25/2021)

                                       271                    Hearing Continued : Notice of motion and motion for relief from
                                                              automatic stay with supporting declarations ACTION IN NON-
                                                              BANKRUPTCY FORUM RE: Tandem West Glass v. Doug Wall
                                                              Construction, et al; with Proof of Service. (Related Doc # 181) CONT'D
   06/25/2021                                                 TO 7-13-21 @ 10AM(Kaaumoana, William) (Entered: 06/25/2021)

                                       272                    Stipulation By Richard A Marshack (TR) and U.S. Real Estate Credit
                                       (10 pgs)               Holdings III-A, LP, Debtor, Edwin W. Leslie, Elliot Lander, Abraham
                                                              Stuart Rubin and Gary Stiffelman to Continue Hearing on Motion to
                                                              Excuse State Court Receiver, Edwin Leslie, from Turnover of Assets Under
                                                              11 U.S.C. Section 543; with Proof of Service Filed by Trustee Richard A
   06/25/2021                                                 Marshack (TR) (Haes, Chad) (Entered: 06/25/2021)

                                       273                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)272 Stipulation By Richard A Marshack (TR) and U.S.
                                                              Real Estate Credit Holdings III-A, LP, Debtor, Edwin W. Leslie, Elliot
                                                              Lander, Abraham Stuart Rubin and Gary Stiffelman to Continue Hearing
                                                              on Motion to Excuse State Court Receiver, Edwin Leslie, from). (Haes,
   06/25/2021                                                 Chad) (Entered: 06/25/2021)

                                       274                    BNC Certificate of Notice - PDF Document. (RE: related document(s)269
                                       (5 pgs)                Order (Generic) (BNC-PDF)) No. of Notices: 1. Notice Date 06/27/2021.
   06/27/2021                                                 (Admin.) (Entered: 06/27/2021)

                                       275                    Order Approving Stipulation To Continue Hearing On Motion To Excuse
                                       (2 pgs)                State Court Receiver, Edwin Leslie, From Turnover Of Assets Under 11
                                                              U.S.C. §543. The hearing on the Motion currently scheduled for July 7,
                                                              2021, at 10:00 a.m., is continued to July 28, 2021, at 10:00 a.m. (BNC-
                                                              PDF) (Related Doc # 272 ) Signed on 6/28/2021 (Pennington-Jones,
   06/28/2021                                                 Patricia) (Entered: 06/28/2021)

                                       276                    Response to (related document(s): 182 Motion Chapter 11 Trustee's
                                       (6 pgs)                Motion to (1) Extend the SARE Deadline Under Section 362(d)(3) or, in
                                                              the Alternative, (2) Abandon the Estate's Interest in Certain Real
                                                              Property; Memorandum of Points and Authorities; Declaration of Richard
                                                              A. M filed by Trustee Richard A Marshack (TR)) Supplemental Response
                                                              Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (Houston,
   06/28/2021                                                 Marsha) (Entered: 06/28/2021)

   06/30/2021                          277                    BNC Certificate of Notice - PDF Document. (RE: related document(s)275

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                                       (5 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
                                                              Date 06/30/2021. (Admin.) (Entered: 06/30/2021)

                                       278                    Hearing Held (RE: related document(s)182 Generic Motion filed by
                                                              Trustee Richard A Marshack (TR)); RULING - TRUSTEE TO FILE
                                                              NOTICE OF WITHDRAWAL; (Jackson, Wendy Ann) (Entered:
   07/01/2021                                                 07/01/2021)

                                       279                    Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                              Richard A Marshack (TR). 341(a) Meeting Continued to 7/27/2021 at
                                                              01:00 PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                              CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   07/06/2021                                                 07/06/2021)

                                       280                    Motion MOTION FOR ORDER DISQUALIFYING REED SMITH LLP,
                                       (68 pgs)               AND/OR ANY OF ITS ATTORNEYS, FROM REPRESENTING U.S. REAL
                                                              ESTATE CREDIT HOLDINGS III-A, LP DUE TO CONFLICTS OF
                                                              INTEREST GIVEN ITS ONGOING REPRESENTATION OF DEBTOR,
                                                              AND PRIOR REPRESENTATION OF DEBTORS MANAGER;
                                                              MEMORANDUM OF POINTS AND AUTHORITIES; AND
                                                              DECLARATIONS OF A. STUART RUBIN, ANNETTE RUBIN, EVAN L.
                                                              SMITH, AND PATRICK C. McGARRIGLE, with Proof of Service Filed by
   07/07/2021                                                 Interested Party Stuart Rubin (Smith, Evan) (Entered: 07/07/2021)

                                       281                    Application shortening time Application for Order Setting Hearing on
                                       (62 pgs)               Shortened Notice [LBR 9075-1(b)] with Proof of Service Filed by
                                                              Interested Party Stuart Rubin (Smith, Evan). Related document(s) 280
                                                              Motion MOTION FOR ORDER DISQUALIFYING REED SMITH LLP,
                                                              AND/OR ANY OF ITS ATTORNEYS, FROM REPRESENTING U.S. REAL
                                                              ESTATE CREDIT HOLDINGS III-A, LP DUE TO CONFLICTS OF
                                                              INTEREST GIVEN ITS ONGOING REPRESENTATION OF DEBTOR,
                                                              AND PRIOR REPRESENTATION OF DEBT filed by Interested Party
                                                              Stuart Rubin. Modified on 7/8/2021 (Jackson, Wendy Ann). (Entered:
   07/07/2021                                                 07/07/2021)

                                       282                    Notice to Filer of Correction Made/No Action Required: Other - Filer
                                                              should not type in Secondary Text in all capital letters; THIS ENTRY
                                                              IS PROVIDED FOR FUTURE REFERENCE. (RE: related
                                                              document(s)280 Generic Motion filed by Interested Party Stuart Rubin)
   07/08/2021                                                 (Jackson, Wendy Ann) (Entered: 07/08/2021)

                                                              Hearing (Bk Other) Continued (RE: related document(s) 1 VOLUNTARY
                                                              PETITION (CHAPTER 11) filed by Glenroy Coachella, LLC) Status
                                                              Hearing to be held on 07/28/2021 at 10:00 AM 255 E. Temple St.
                                                              Courtroom 1539 Los Angeles, CA 90012 for 1 , (Jackson, Wendy Ann)
   07/08/2021                                                 (Entered: 07/08/2021)

                                       283                    Objection (related document(s): 281 Application shortening time
                                       (10 pgs; 3 docs)       Application for Order Setting Hearing on Shortened Notice [LBR 9075-
                                                              1(b)] with Proof of Service filed by Interested Party Stuart Rubin) Filed by
                                                              Creditor U.S. Real Estate Credit Holdings III-A, LP (Attachments: # 1
   07/08/2021                                                 Exhibit A # 2 Proof of Service) (Houston, Marsha) (Entered: 07/08/2021)

   07/08/2021                          284                    Order Denying Application for order setting hearing on shortened notice
                                       (4 pgs)                re: Motion for order disqualifying Reed Smith, LLP...; ORDERED that the
                                                              motion may be brought on regular notice pursuant to LBR'S; (BNC-PDF)
                                                              (Related Doc # 281) Signed on 7/8/2021 (Jackson, Wendy Ann) Modified
                                                              on 7/8/2021 (Jackson, Wendy Ann). (Entered: 07/08/2021)
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                                       285                     Request for Removal from Courtesy Notice of Electronic Filing (NEF)
   07/08/2021                          (1 pg)                  Filed by Harris, Douglas. (Harris, Douglas) (Entered: 07/08/2021)

                                       286                     Request for Removal from Courtesy Notice of Electronic Filing (NEF)
   07/08/2021                          (1 pg)                  Filed by Lerner, Leib. (Lerner, Leib) (Entered: 07/08/2021)

                                       287                     Stipulation By Richard A Marshack (TR) and Al Miller & Sons, Inc. and
                                       (5 pgs)                 Tandem West Glass, Inc. to Continue Hearing on Motions for Relief from
                                                               the Automatic Stay; with Proof of Service Filed by Trustee Richard A
   07/08/2021                                                  Marshack (TR) (Hays, D) (Entered: 07/08/2021)

                                       288                     Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                 related document(s)287 Stipulation By Richard A Marshack (TR) and Al
                                                               Miller & Sons, Inc. and Tandem West Glass, Inc. to Continue Hearing on
                                                               Motions for Relief from the Automatic Stay; with Proof of Service Filed
   07/08/2021                                                  by Trustee Richard A Marshack (TR)). (Hays, D) (Entered: 07/08/2021)

                                       289                     Order Approving Stipulation to continue hearing on Motions for relief
                                       (2 pgs)                 from stay under 11 USC Section 362 filed by AL Miller & Sons and
                                                               Tandem West Glass, Inc. 180 AND 181 (BNC-PDF) (Related Doc # 287
                                                               ); ORDERED that the motions are continued to JULY 27, 2021 @
   07/09/2021                                                  10AM; Signed on 7/9/2021 (Jackson, Wendy Ann) (Entered: 07/09/2021)

                                       290                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (7 pgs)                 document(s)284 ORDER shortening time (BNC-PDF)) No. of Notices: 1.
   07/10/2021                                                  Notice Date 07/10/2021. (Admin.) (Entered: 07/10/2021)

                                       291                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)289 ORDER to continue/reschedule hearing (BNC-PDF))
                                                               No. of Notices: 1. Notice Date 07/11/2021. (Admin.) (Entered:
   07/11/2021                                                  07/11/2021)

                                       292                     Notice of Hearing Notice of Motion For: Filed by Creditor A. Stuart
                                       (70 pgs)                Rubin (RE: related document(s)280 Motion MOTION FOR ORDER
                                                               DISQUALIFYING REED SMITH LLP, AND/OR ANY OF ITS
                                                               ATTORNEYS, FROM REPRESENTING U.S. REAL ESTATE CREDIT
                                                               HOLDINGS III-A, LP DUE TO CONFLICTS OF INTEREST GIVEN ITS
                                                               ONGOING REPRESENTATION OF DEBTOR, AND PRIOR
                                                               REPRESENTATION OF DEBTORS MANAGER; MEMORANDUM OF
                                                               POINTS AND AUTHORITIES; AND DECLARATIONS OF A. STUART
                                                               RUBIN, ANNETTE RUBIN, EVAN L. SMITH, AND PATRICK C.
                                                               McGARRIGLE, with Proof of Service Filed by Interested Party Stuart
   07/12/2021                                                  Rubin). (Smith, Evan) (Entered: 07/12/2021)

                                       293                     Hearing Set (RE: related document(s)280 Generic Motion filed by
                                                               Interested Party Stuart Rubin) The Hearing date is set for 8/18/2021 at
                                                               10:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012.
                                                               The case judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered:
   07/12/2021                                                  07/12/2021)

   07/12/2021                          294                     Voluntary Dismissal of Motion Notice of Voluntary Dismissal re:
                                       (4 pgs)                 Chapter 11 Trustee's Motion to (1) Extend the SARE Deadline Under
                                                               Section 362(d)(3) or, in the Alternative, (2) Abandon the Estate's Interest
                                                               in Certain Real Property; with Proof of Service Filed by Trustee Richard
                                                               A Marshack (TR) (RE: related document(s)182 Motion Chapter 11
                                                               Trustee's Motion to (1) Extend the SARE Deadline Under Section 362(d)

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                                                               (3) or, in the Alternative, (2) Abandon the Estate's Interest in Certain
                                                               Real Property; Memorandum of Points and Authorities; Declaration of
                                                               Richard A. M). (Hays, D) (Entered: 07/12/2021)

                                       295                     Motion Chapter 11 Trustee's Motion for Order Approving Agreement re:
                                       (28 pgs)                Estate's Receipt of Deeds from Tenants-in-Common; Memorandum of
                                                               Points and Authorities; Declaration of Richard A. Marshack in Support;
                                                               with Proof of Service Filed by Trustee Richard A Marshack (TR) (Hays,
   07/13/2021                                                  D) (Entered: 07/13/2021)

                                       296                     Application shortening time Filed by Trustee Richard A Marshack (TR)
                                       (8 pgs)                 (Haes, Chad). Related document(s) 295 Motion Chapter 11 Trustee's
                                                               Motion for Order Approving Agreement re: Estate's Receipt of Deeds
                                                               from Tenants-in-Common; Memorandum of Points and Authorities;
                                                               Declaration of Richard A. Marshack in Support; with Proof of Service
                                                               filed by Trustee Richard A Marshack (TR). Modified on 7/14/2021
   07/13/2021                                                  (Jackson, Wendy Ann). (Entered: 07/13/2021)

                                       297                     Notice of Appearance and Request for Notice by Christopher O Rivas
                                       (4 pgs)                 Filed by Respondent Reed Smith LLP. (Rivas, Christopher) (Entered:
   07/13/2021                                                  07/13/2021)

                                       298                     Stipulation By Richard A Marshack (TR) and Al Miller & Sons Roofing,
                                       (5 pgs)                 Inc., and Tandem West Glass, Inc. to Continue Hearings on Motions for
                                                               Relief from the Automatic Stay Under 11 U.S.C. Section 362; with Proof
                                                               of Service Filed by Trustee Richard A Marshack (TR) (Hays, D)
   07/13/2021                                                  (Entered: 07/13/2021)

                                       299                     Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                 related document(s)298 Stipulation By Richard A Marshack (TR) and Al
                                                               Miller & Sons Roofing, Inc., and Tandem West Glass, Inc. to Continue
                                                               Hearings on Motions for Relief from the Automatic Stay Under 11 U.S.C.
   07/13/2021                                                  Section 362; with Proof of Service). (Hays, D) (Entered: 07/13/2021)

                                       300                     Order Granting Application and Setting hearing on shortened notice re:
                                       (5 pgs)                 Chapter 11 Trustee's Motion for order approving agreement re: Estate's
                                                               Receipt of Deeds from Tenants-in-Common; ORDERED that the hearing
                                                               is set for: JULY 21, 2021 @ 10AM; (BNC-PDF) (Related Doc # 296 )
   07/14/2021                                                  Signed on 7/14/2021 (Jackson, Wendy Ann) (Entered: 07/14/2021)

                                       301                     Order Approving Stipulation to continue hearing on Motions for relief
                                       (2 pgs)                 from stay under 11 USC Section 362 filed by AL Miller & Sons, Inc. and
                                                               Tandem West Glass, Inc. 180 and 181 ; ORDERED that the hearings are
                                                               continued to AUGUST 17, 2021 @ 10AM; (BNC-PDF) (Related Doc #
   07/14/2021                                                  298 ) Signed on 7/14/2021 (Jackson, Wendy Ann) (Entered: 07/14/2021)

                                       302                     Hearing Set (RE: related document(s)295 Generic Motion filed by
                                                               Trustee Richard A Marshack (TR)) The Hearing date is set for 7/21/2021
                                                               at 10:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012.
                                                               The case judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered:
   07/14/2021                                                  07/14/2021)

   07/14/2021                          303                     Notice of Hearing Filed by Trustee Richard A Marshack (TR) (RE:
                                       (23 pgs)                related document(s)295 Motion Chapter 11 Trustee's Motion for Order
                                                               Approving Agreement re: Estate's Receipt of Deeds from Tenants-in-
                                                               Common; Memorandum of Points and Authorities; Declaration of


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                                                               Richard A. Marshack in Support; with Proof of Service Filed by Trustee
                                                               Richard A Marshack (TR)). (Haes, Chad) (Entered: 07/14/2021)

                                       304                     Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real Estate
                                       (9 pgs)                 Credit Holdings III-A, LP, Edwin W. Leslie, Elliot Lander and Abraham
                                                               Stuart Rubin, and Gary Stiffelman to Continue Hearing on Motion to
                                                               Excuse State Court Receiver, Edwin Leslie, from Turnover of Assets
                                                               Under 11 U.S.C. Section 543 and Status Conference; with Proof of
                                                               Service Filed by Trustee Richard A Marshack (TR) (Hays, D) (Entered:
   07/15/2021                                                  07/15/2021)

                                       305                     Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real Estate
                                       (9 pgs)                 Credit Holdings III-A, LP, Edwin Leslie, Elliot Lander and Abraham
                                                               Stuart Rubin and Gary Stiffelman to Continue Hearing on Motion to
                                                               Excuse State Court Receiver, Edwin Leslie from Turnover of Assets
                                                               Under 11 U.S.C. Section 543 and Status Conference; with Proof of
                                                               Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad)
   07/15/2021                                                  (Entered: 07/15/2021)

                                       306                     Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (7 pgs)                 related document(s)305 Stipulation By Richard A Marshack (TR) and
                                                               Debtor, U.S. Real Estate Credit Holdings III-A, LP, Edwin Leslie, Elliot
                                                               Lander and Abraham Stuart Rubin and Gary Stiffelman to Continue
                                                               Hearing on Motion to Excuse State Court Receiver, Edwin Leslie from).
   07/15/2021                                                  (Haes, Chad) (Entered: 07/15/2021)

                                       307                     Declaration re: Declaration Regarding Service and Notice of Hearing re:
                                       (7 pgs)                 Chapter 11 Trustee's Motion for Order Approving Agreement re: Estate's
                                                               Receipt of Deeds from Tenants-in-Common; with Proof of Service Filed
                                                               by Trustee Richard A Marshack (TR) (RE: related document(s)295
                                                               Motion Chapter 11 Trustee's Motion for Order Approving Agreement re:
                                                               Estate's Receipt of Deeds from Tenants-in-Common; Memorandum of
                                                               Points and Authorities; Declaration of Richard A. Marshack in Support;
   07/16/2021                                                  with Proof of Service). (Haes, Chad) (Entered: 07/16/2021)

                                       308                     Order Approving Stipulation to continue hearing on Motion to Excuse
                                       (2 pgs)                 State Court REceiver, Edwin Leslie, from turnover of assets under 11
                                                               USC Section 543 and Status Conference; ORDERED that the hearing on
                                                               the Motion to Excuse State Court Receiver and the Status Conference is
                                                               continued to AUGUST 18, 2021 @ 10AM; (BNC-PDF) (Related Doc #
                                                               305) Signed on 7/16/2021 (Jackson, Wendy Ann). Related document(s)
                                                               304 Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real
                                                               Estate Credit Holdings III-A, LP, Edwin W. Leslie, Elliot Lander and
                                                               Abraham Stuart Rubin, and Gary Stiffelman to Continue Hearing on
                                                               Motion to Excuse State Court Receiver, Edwin Leslie, filed by Trustee
                                                               Richard A Marshack (TR). Modified on 7/16/2021 to relate this order to
                                                               both Stipulations; Stipulations are duplicate; (Jackson, Wendy Ann).
   07/16/2021                                                  (Entered: 07/16/2021)

                                       309                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (8 pgs)                 document(s)300 ORDER shortening time (BNC-PDF)) No. of Notices: 1.
   07/16/2021                                                  Notice Date 07/16/2021. (Admin.) (Entered: 07/16/2021)

                                       310                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)301 ORDER to continue/reschedule hearing (BNC-PDF))
                                                               No. of Notices: 1. Notice Date 07/16/2021. (Admin.) (Entered:
   07/16/2021                                                  07/16/2021)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                               36/54


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   07/18/2021                          311                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)308 ORDER to continue/reschedule hearing (BNC-PDF))
                                                               No. of Notices: 1. Notice Date 07/18/2021. (Admin.) (Entered:
                                                               07/18/2021)

                                       312                     Objection (related document(s): 295 Motion Chapter 11 Trustee's Motion
                                       (52 pgs)                for Order Approving Agreement re: Estate's Receipt of Deeds from
                                                               Tenants-in-Common; Memorandum of Points and Authorities;
                                                               Declaration of Richard A. Marshack in Support; with Proof of Service
                                                               filed by Trustee Richard A Marshack (TR)) Limited Objection To
                                                               Chapter 11 Trustees Motion For Order Approving Agreement Re: Estates
                                                               Receipt Of Deeds From Tenants-In-Common Filed by Creditor U.S. Real
                                                               Estate Credit Holdings III-A, LP (Rivas, Christopher) (Entered:
   07/20/2021                                                  07/20/2021)

                                       313                     Reply to (related document(s): 295 Motion Chapter 11 Trustee's Motion
                                       (23 pgs)                for Order Approving Agreement re: Estate's Receipt of Deeds from
                                                               Tenants-in-Common; Memorandum of Points and Authorities;
                                                               Declaration of Richard A. Marshack in Support; with Proof of Service
                                                               filed by Trustee Richard A Marshack (TR)) Response of Edwin W. Leslie,
                                                               Receiver, to Trustee's Motion for Order Approving Agreement Re:
                                                               Estate's Receipt of Deeds from Tenants-in-Common (with Proof of
                                                               Service) Filed by Interested Party Edwin W. Leslie, Receiver (Tippie,
   07/20/2021                                                  Alan) (Entered: 07/20/2021)

                                       314                     Amended Schedule A/B Non-Individual: Property (Official Form
                                       (14 pgs)                106A/B or 206A/B) , Schedule G Non-Individual: Executory Contracts
                                                               and Unexpired Leases (Official Form 106G or 206G) Filed by Debtor
   07/20/2021                                                  Glenroy Coachella, LLC. (Lindsey, Crystle) (Entered: 07/20/2021)

                                       315                     Hearing Held (Bk Motion) (RE: related document(s) 295 Generic
                                                               Motion); RULING - GRANTED; ORDER TO FOLLOW FROM MR.
   07/21/2021                                                  HAYS; (Jackson, Wendy Ann) (Entered: 07/21/2021)

                                       316                     Chapter 11 Monthly Operating Report for the Month Ending: 06/30/2021
                                       (8 pgs; 3 docs)         Filed by Trustee Richard A Marshack (TR). (Attachments: # 1
                                                               Supporting Documents # 2 Supplemental Explanatory Note to 6/30/21
   07/26/2021                                                  MOR) (Marshack (TR), Richard) (Entered: 07/26/2021)

                                       317                     Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                               Richard A Marshack (TR). 341(a) Meeting Continued to 9/10/2021 at
                                                               10:00 AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                               CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   07/27/2021                                                  07/27/2021)

                                       318                     Chapter 11 Monthly Operating Report for the Month Ending: 05/31/2021
                                       (18 pgs)                Filed by Trustee Richard A Marshack (TR). (Marshack (TR), Richard)
   07/28/2021                                                  (Entered: 07/28/2021)

                                       319                     Proof of service Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (3 pgs)                 document(s)316 Chapter 11 Monthly Operating Report (UST Form 11-
   07/28/2021                                                  MOR)). (Marshack (TR), Richard) (Entered: 07/28/2021)

   07/28/2021                          320                     Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (10 pgs)                related document(s)295 Motion Chapter 11 Trustee's Motion for Order
                                                               Approving Agreement re: Estate's Receipt of Deeds from Tenants-in-
                                                               Common; Memorandum of Points and Authorities; Declaration of

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                                                               Richard A. Marshack in Support; with Proof of Service). (Hays, D)
                                                               (Entered: 07/28/2021)

                                       321                     Order Granting Chapter 11 Trustee's Motion For Order Approving
                                       (5 pgs)                 Agreement Re: Estate's Receipt Of Deeds From Tenants-In-Common
                                                               (BNC-PDF) (Related Doc # 295 ) Signed on 7/28/2021 (Pennington-
   07/28/2021                                                  Jones, Patricia) (Entered: 07/28/2021)

                                       322                     Motion to Approve Compromise Under Rule 9019 Trustee's Motion to
                                       (49 pgs)                Approve Compromise with U.S. Real Estate Credit Holdings III-A, L.P.
                                                               Re Lender's Consent to Sale Free and Clear of Lien and to Approve
                                                               Credit Bid; Memorandum of Points and Authorities; Declaration of
                                                               Richard A. Marshack in Support; with Proof of Service [Hrg. 8/18/2021
                                                               at 10:00 a.m., Ctrm 1539] Filed by Trustee Richard A Marshack (TR)
   07/28/2021                                                  (Hays, D) (Entered: 07/28/2021)

                                       323                     Notice of motion/application Filed by Trustee Richard A Marshack (TR)
                                       (19 pgs)                (RE: related document(s)322 Motion to Approve Compromise Under
                                                               Rule 9019 Trustee's Motion to Approve Compromise with U.S. Real
                                                               Estate Credit Holdings III-A, L.P. Re Lender's Consent to Sale Free and
                                                               Clear of Lien and to Approve Credit Bid; Memorandum of Points and
                                                               Authorities; Declaration of Richard A. Marshack in Support; with Proof
                                                               of Service [Hrg. 8/18/2021 at 10:00 a.m., Ctrm 1539] Filed by Trustee
   07/28/2021                                                  Richard A Marshack (TR)). (Hays, D) (Entered: 07/28/2021)

                                       324                     Motion to Convert Case From Chapter 11 to 7. Pursuant to 11 U.S.C.
                                       (232 pgs)               Sections 1112(b); Memorandum of Points and Authorities; Declaration
                                                               of Richard A. Marshack in Support; with Proof of Service [Hrg. 8/18/21
                                                               at 10:00 a.m., Ctrm. 1539] Fee Amount $15 Filed by Trustee Richard A
   07/28/2021                                                  Marshack (TR) (Haes, Chad) (Entered: 07/28/2021)

                                                               Receipt of Motion to Convert Case( 2:21-bk-11188-BB) [motion,mconv]
                                                               ( 15.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount 15.00. (re:
   07/28/2021                                                  Doc# 324) (U.S. Treasury) (Entered: 07/28/2021)

                                       325                     Notice of motion/application Filed by Trustee Richard A Marshack (TR)
                                       (18 pgs)                (RE: related document(s)324 Motion to Convert Case From Chapter 11
                                                               to 7. Pursuant to 11 U.S.C. Sections 1112(b); Memorandum of Points and
                                                               Authorities; Declaration of Richard A. Marshack in Support; with Proof
                                                               of Service [Hrg. 8/18/21 at 10:00 a.m., Ctrm. 1539] Fee Amount $15
                                                               Filed by Trustee Richard A Marshack (TR)). (Haes, Chad) (Entered:
   07/28/2021                                                  07/28/2021)

                                                               Hearing Set (RE: related document(s) 322 Motion to Approve
                                                               Compromise Under Rule 9019 filed by Richard A Marshack (TR))
                                                               Hearing to be held on 08/18/2021 at 10:00 AM 255 E. Temple St.
                                                               Courtroom 1539 Los Angeles, CA 90012. The hearing judge is Sheri
   07/29/2021                                                  Bluebond (Pennington-Jones, Patricia) (Entered: 07/29/2021)

                                                               Hearing Set (RE: related document(s) 324 Motion to Convert Case filed
                                                               by Richard A Marshack (TR)) Hearing to be held on 08/18/2021 at 10:00
                                                               AM 255 E. Temple St. Courtroom 1539 Los Angeles, CA 90012. The
                                                               hearing judge is Sheri Bluebond (Pennington-Jones, Patricia) (Entered:
   07/29/2021                                                  07/29/2021)

                                       326                     Motion to Appear pro hac vice Filed by Creditor Committee Committee
   07/29/2021                          (7 pgs)                 of Unsecured Creditors (Brinkman, Daren) (Entered: 07/29/2021)

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   07/30/2021                          327                     Notice to Filer of Error and/or Deficient Document (1) Document filed
                                                               without holographic signature of Jory D. Cook; (2) Incorrect docket
                                                               event was used to file this document. The correct docket event is:
                                                               Non-resident attorney to appear in a specific case per Local
                                                               Bankruptcy rule; (3) Attach a copy of the receipt.THE FILER IS
                                                               INSTRUCTED TO RE-FILE THE DOCUMENT WITH THE
                                                               PROPER SIGNATURES AND USING THE CORRECT DOCKET
                                                               EVENT; (RE: related document(s)326 Motion to Appear pro hac vice
                                                               filed by Creditor Committee Committee of Unsecured Creditors)
                                                               (Pennington-Jones, Patricia) (Entered: 07/30/2021)

                                       328                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (8 pgs)                 document(s)321 Order on Generic Motion (BNC-PDF)) No. of Notices:
   07/30/2021                                                  1. Notice Date 07/30/2021. (Admin.) (Entered: 07/30/2021)

                                       329                     Motion to Continue Hearing On (related documents 280 Generic Motion)
                                       (4 pgs)                 Stipulation To Continue Hearing On Disqualification Motion Filed by
                                                               Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas, Christopher)
   08/03/2021                                                  (Entered: 08/03/2021)

                                       330                     Notice of lodgment Of Order In Bankruptcy Case Re: Order Granting
                                       (6 pgs)                 Stipulation To Continue Hearing On Disqualification Motion Filed by
                                                               Creditor U.S. Real Estate Credit Holdings III-A, LP (RE: related
                                                               document(s)329 Motion to Continue Hearing On (related documents 280
                                                               Generic Motion) Stipulation To Continue Hearing On Disqualification
                                                               Motion). (Rivas, Christopher). Related document(s) 334 Stipulation By
                                                               U.S. Real Estate Credit Holdings III-A, LP and Stipulation To Continue
                                                               Hearing On Disqualification Motion filed by Creditor U.S. Real Estate
                                                               Credit Holdings III-A, LP. Modified on 8/4/2021 (Jackson, Wendy Ann).
   08/03/2021                                                  (Entered: 08/03/2021)

                                       331                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                               event was used to file this document. The Correct docket event is:
                                                               Stipulation (motion); THE FILER IS INSTRUCTED TO RE-FILE
                                                               THE DOCUMENT USING THE CORRECT DOCKET EVENT.
                                                               (RE: related document(s)329 Motion to Continue/Reschedule Hearing
                                                               filed by Creditor U.S. Real Estate Credit Holdings III-A, LP) (Jackson,
   08/03/2021                                                  Wendy Ann) (Entered: 08/03/2021)

                                       332                     Stipulation By Stuart Rubin and Richard Marshack, Chapter 11 Trustee;
                                       (9 pgs)                 U.S. Real Estate Credit Holdings III-A, L.P., and Official Committee of
                                                               Unsecured Creditors to Continue Hearings on Chapter 11 Trustee's
                                                               Motions For: (1) Approval of Compromise With U.S. Real Estate Credit
                                                               Holdings III-A, L.P. Re Lender's Consent to Sale Free and Clear of Lien
                                                               and to Approve Credit Bid; and (2) To Convert Case to One Under
                                                               Chapter 7 Pursuant to 11 U.S.C Sec 1112(B); and (3) Status Conference,
                                                               with Proof of Service Filed by Interested Party Stuart Rubin (Smith,
   08/04/2021                                                  Evan) (Entered: 08/04/2021)

   08/04/2021                          333                     Notice of lodgment with Proof of Service Filed by Interested Party Stuart
                                       (7 pgs)                 Rubin (RE: related document(s)322 Motion to Approve Compromise
                                                               Under Rule 9019 Trustee's Motion to Approve Compromise with U.S.
                                                               Real Estate Credit Holdings III-A, L.P. Re Lender's Consent to Sale Free
                                                               and Clear of Lien and to Approve Credit Bid; Memorandum of Points
                                                               and Authorities; Declaration of Richard A. Marshack in Support; with
                                                               Proof of Service [Hrg. 8/18/2021 at 10:00 a.m., Ctrm 1539] Filed by
                                                               Trustee Richard A Marshack (TR), 324 Motion to Convert Case From
                                                               Chapter 11 to 7. Pursuant to 11 U.S.C. Sections 1112(b); Memorandum of
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                              39/54


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                                                               Points and Authorities; Declaration of Richard A. Marshack in Support;
                                                               with Proof of Service [Hrg. 8/18/21 at 10:00 a.m., Ctrm. 1539] Fee
                                                               Amount $15 Filed by Trustee Richard A Marshack (TR)). (Smith, Evan).
                                                               Related document(s) 332 Stipulation By Stuart Rubin and Richard
                                                               Marshack, Chapter 11 Trustee; U.S. Real Estate Credit Holdings III-A,
                                                               L.P., and Official Committee of Unsecured Creditors to Continue
                                                               Hearings on Chapter 11 Trustee's Motions For: (1) Approval of Compro
                                                               filed by Interested Party Stuart Rubin. Modified on 8/4/2021 (Jackson,
                                                               Wendy Ann). (Entered: 08/04/2021)

                                       334                     Stipulation By U.S. Real Estate Credit Holdings III-A, LP and
                                       (4 pgs)                 Stipulation To Continue Hearing On Disqualification Motion Filed by
                                                               Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas, Christopher)
   08/04/2021                                                  (Entered: 08/04/2021)

                                       335                     Order Approving Stipulation to continue hearing on Disqualification
                                       (2 pgs)                 Motion 280 ; ORDERED that the hearing is continued to SEPTEMBER
                                                               1, 2021 @ 10AM; (BNC-PDF) (Related Doc # 334 ) Signed on 8/4/2021
   08/04/2021                                                  (Jackson, Wendy Ann) (Entered: 08/04/2021)

                                       336                     Order Approving Stipulation to continue hearings on Chapter 11
                                       (2 pgs)                 Trustee's Motions for 1) Approval of Compromise with U.S. Real EState
                                                               Credit Holdings, III-A, LP re: Lender's consent to sale free and clear of
                                                               liens and to approve credit bid; 2) To Convert Case to one under Chapter
                                                               7 pursuant to 11 USC Section 1112(B) and 3). Status Conference;
                                                               ORDERED that the hearings are continued to AUGUST 31, 2021 @
                                                               2PM; (BNC-PDF) (Related Doc # 332 ) Signed on 8/4/2021 (Jackson,
   08/04/2021                                                  Wendy Ann) (Entered: 08/04/2021)

                                                               Hearing (Bk Motion) Continued (RE: related document(s) 280
                                                               GENERIC MOTION filed by Stuart Rubin) Hearing to be held on
                                                               09/01/2021 at 10:00 AM 255 E. Temple St. Courtroom 1539 Los
                                                               Angeles, CA 90012 for 280 , (Jackson, Wendy Ann) (Entered:
   08/04/2021                                                  08/04/2021)

                                       337                     Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real Estate
                                       (11 pgs)                Credit Holdings III-A LP, Edwin Leslie, Elliot Lander, Abraham Stuart
                                                               Rubin and Gary Stiffelman to Continue Hearing on Motion to Excuse
                                                               State Court Receiver, Edwin Leslie from Turnover of Assets Under 11
                                                               U.S.C. Section 543, with proof of service Filed by Trustee Richard A
   08/05/2021                                                  Marshack (TR) (Hays, D) (Entered: 08/05/2021)

                                       338                     Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (7 pgs)                 related document(s)337 Stipulation By Richard A Marshack (TR) and
                                                               Debtor, U.S. Real Estate Credit Holdings III-A LP, Edwin Leslie, Elliot
                                                               Lander, Abraham Stuart Rubin and Gary Stiffelman to Continue Hearing
                                                               on Motion to Excuse State Court Receiver, Edwin Leslie from Turnover of
                                                               Assets Under 11 U.S.C. Section 543, with proof of service Filed by
   08/05/2021                                                  Trustee Richard A Marshack (TR)). (Hays, D) (Entered: 08/05/2021)

                                       339                     Order Approving Stipulation to continue hearing on Motion to Excuse
                                       (2 pgs)                 State Court Receiver, Edwin Leslie, from turnover of assets under 11
                                                               USC Section 543; ORDERED that the hearing is continued to AUGUST
                                                               31, 2021 @ 2PM; (BNC-PDF) (Related Doc # 337 ) Signed on 8/6/2021
   08/06/2021                                                  (Jackson, Wendy Ann) (Entered: 08/06/2021)

   08/06/2021                          340                     Stipulation By Richard A Marshack (TR) and Al Miller & Sons Roofing,
                                       (5 pgs)                 Inc. and Tandem West Glass, Inc. to Continue Hearing on Motions for
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                40/54


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                                                               Relief from the Automatic Stay Under 11 U.S.C. Section 363 filed by Al
                                                               Miller & Sons, Inc. and Tandem West Glass, Inc.; with Proof of Service
                                                               Filed by Trustee Richard A Marshack (TR) (Hays, D) (Entered:
                                                               08/06/2021)

                                       341                     Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                 related document(s)340 Stipulation By Richard A Marshack (TR) and Al
                                                               Miller & Sons Roofing, Inc. and Tandem West Glass, Inc. to Continue
                                                               Hearing on Motions for Relief from the Automatic Stay Under 11 U.S.C.
                                                               Section 363 filed by Al Miller & Sons, Inc. and Tandem West Glas).
   08/06/2021                                                  (Hays, D) (Entered: 08/06/2021)

                                       342                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)335 ORDER to continue/reschedule hearing (BNC-PDF))
                                                               No. of Notices: 1. Notice Date 08/06/2021. (Admin.) (Entered:
   08/06/2021                                                  08/06/2021)

                                       343                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)336 ORDER to continue/reschedule hearing (BNC-PDF))
                                                               No. of Notices: 1. Notice Date 08/06/2021. (Admin.) (Entered:
   08/06/2021                                                  08/06/2021)

                                       344                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)339 ORDER to continue/reschedule hearing (BNC-PDF))
                                                               No. of Notices: 1. Notice Date 08/08/2021. (Admin.) (Entered:
   08/08/2021                                                  08/08/2021)

                                       345                     Order Approving Stipulation to continue hearing on Motions for Relief
                                       (2 pgs)                 from the automatic stay under 11 USC Section 362 filed by AL Miller &
                                                               Sons, Inc. and Tandem West Glass, Inc.; ORDERED that the hearings are
                                                               continued to AUGUST 31, 2021 @ *2PM; oppositions by 8/20/21;
                                                               replies by 8/25/21; (BNC-PDF) (Related Doc # 340) Signed on 8/9/2021
                                                               (Jackson, Wendy Ann) Modified on 8/23/2021 to correct the time of the
                                                               hearing. The correct hearing time is: 2:00pm; (Jackson, Wendy Ann).
   08/09/2021                                                  (Entered: 08/09/2021)

                                       346                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)345 ORDER to continue/reschedule hearing (BNC-PDF))
                                                               No. of Notices: 1. Notice Date 08/11/2021. (Admin.) (Entered:
   08/11/2021                                                  08/11/2021)

                                       347                     Opposition to (related document(s): 322 Motion to Approve Compromise
                                       (7 pgs)                 Under Rule 9019 Trustee's Motion to Approve Compromise with U.S.
                                                               Real Estate Credit Holdings III-A, L.P. Re Lender's Consent to Sale Free
                                                               and Clear of Lien and to Approve Credit Bid; Memorandum of Points
                                                               and Aut filed by Trustee Richard A Marshack (TR)) Limited Opposition
                                                               to Chapter 11 Trustees Compromise Motion Re: U.S. Real Estate Credit
                                                               Holdings Claims and Proposed Treatment of Sale; with Proof of Service
                                                               Filed by Creditors Al Miller & Sons Roofing Co., Inc., Apple J.
                                                               Plumbing, Desert Palm Electric, Inc., Jacobsson Engineering
                                                               Construction, Inc., Mascorro Concrete Construction, Inc., Tandem West
                                                               Glass, Inc., Temalpakh, Inc. dba The Works Floor & Wall (Polis,
   08/17/2021                                                  Thomas) (Entered: 08/17/2021)

   08/17/2021                          348                     Request for judicial notice with Proof of Service Filed by Creditors Al
                                       (25 pgs; 8 docs)        Miller & Sons Roofing Co., Inc., Apple J. Plumbing, Desert Palm
                                                               Electric, Inc., Jacobsson Engineering Construction, Inc., Mascorro
                                                               Concrete Construction, Inc., Tandem West Glass, Inc., Temalpakh, Inc.
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                  41/54


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                                                               dba The Works Floor & Wall (RE: related document(s)347 Opposition).
                                                               (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D #
                                                               5 Exhibit E # 6 Exhibit F # 7 Exhibit G) (Polis, Thomas) (Entered:
                                                               08/17/2021)

                                       349                     Status Report for Chapter 11 Status Conference Chapter 11 Trustee's
                                       (8 pgs)                 Status Report; with Proof of Service Filed by Trustee Richard A
   08/17/2021                                                  Marshack (TR). (Hays, D) (Entered: 08/17/2021)

                                       350                     Opposition to (related document(s): 42 Motion to Excuse State Court
                                       (9 pgs)                 Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C.
                                                               Section 543; Memorandum of Points and Authorities filed by Creditor
                                                               U.S. Real Estate Credit Holdings III-A, LP) Chapter 11 Trustee's
                                                               Response to Motion to Excuse State Court Receiver, Edwin Leslie, from
                                                               Turnover of Assets Under 11 U.S.C. Section 543; Declaration of Chad V.
                                                               Haes in Support; with Proof of Service Filed by Trustee Richard A
   08/17/2021                                                  Marshack (TR) (Haes, Chad) (Entered: 08/17/2021)

                                       351                     Opposition to (related document(s): 322 Motion to Approve Compromise
                                       (14 pgs)                Under Rule 9019 Trustee's Motion to Approve Compromise with U.S.
                                                               Real Estate Credit Holdings III-A, L.P. Re Lender's Consent to Sale Free
                                                               and Clear of Lien and to Approve Credit Bid; Memorandum of Points
                                                               and Aut filed by Trustee Richard A Marshack (TR)) //Limited Opposition
                                                               Filed by Creditor Doug Wall Construction (Djang, Caroline) (Entered:
   08/17/2021                                                  08/17/2021)

                                       352                     Request for judicial notice Filed by Creditor Doug Wall Construction
                                       (70 pgs)                (RE: related document(s)351 Opposition). (Djang, Caroline) (Entered:
   08/17/2021                                                  08/17/2021)

                                       353                     Opposition to (related document(s): 322 Motion to Approve Compromise
                                       (154 pgs; 4 docs)       Under Rule 9019 Trustee's Motion to Approve Compromise with U.S.
                                                               Real Estate Credit Holdings III-A, L.P. Re Lender's Consent to Sale Free
                                                               and Clear of Lien and to Approve Credit Bid; Memorandum of Points
                                                               and Aut filed by Trustee Richard A Marshack (TR), 323 Notice of
                                                               motion/application filed by Trustee Richard A Marshack (TR))
                                                               Opposition to Trustee's Motion to Approve Compromise With U.S. Real
                                                               Estate Credit Holdings III-A, L.P. Re Lender's Consent to Sale Free and
                                                               Clear of Lien, and to Approve Credit Bid; Memrandum; and
                                                               Declarations of A. Stuart Rubin, Michal Rogson, and Evan L. Smith
                                                               Filed by Creditor A. Stuart Rubin (Attachments: # 1 Exhibits 1-3 # 2
   08/17/2021                                                  Exhibits 4-6 # 3 Exhibits 7-9) (Smith, Evan) (Entered: 08/17/2021)

                                       354                     Proof of service of Opposition to Trustee's Motion to Approve
                                       (4 pgs)                 Compromise With U.S. Real Estate Credit Holdings III-A, L.P. Re
                                                               Lender's Consent to Sale Free and Clear of Lien, and to Approve Credit
                                                               Bid; Memrandum; and Declarations of A. Stuart Rubin, Michal Rogson,
                                                               and Evan L. Smith Filed by Creditor A. Stuart Rubin (RE: related
                                                               document(s)322 Motion to Approve Compromise Under Rule 9019
                                                               Trustee's Motion to Approve Compromise with U.S. Real Estate Credit
                                                               Holdings III-A, L.P. Re Lender's Consent to Sale Free and Clear of Lien
                                                               and to Approve Credit Bid; Memorandum of Points and Aut). (Smith,
   08/17/2021                                                  Evan) (Entered: 08/17/2021)

   08/17/2021                          355                     Opposition to (related document(s): 324 Motion to Convert Case From
                                       (7 pgs)                 Chapter 11 to 7. Pursuant to 11 U.S.C. Sections 1112(b); Memorandum of
                                                               Points and Authorities; Declaration of Richard A. Marshack in Support;
                                                               with Proof of Service [Hrg. 8/18/21 at 10:00 a.m., Ctrm. 1539] Fee

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                                                               Amount filed by Trustee Richard A Marshack (TR)) Filed by Creditor
                                                               Committee Committee of Unsecured Creditors (Brinkman, Daren)
                                                               (Entered: 08/17/2021)

                                       356                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                               event was used to file this document. The correct docket event is:
                                                               RESPONSE; THE FILER IS INSTRUCTED TO RE-FILE THE
                                                               DOCUMENT USING THE CORRECT DOCKET EVENT. (RE:
                                                               related document(s)350 Opposition filed by Trustee Richard A Marshack
   08/18/2021                                                  (TR)) (Jackson, Wendy Ann) (Entered: 08/18/2021)

                                       357                     Notice to Filer of Error and/or Deficient Document
                                                               Incorrect/incomplete/unreadable PDF was attached to the docket
                                                               entry. All documents filed with the court must have a pleading
                                                               coversheet that includes debtors name, case number and title of
                                                               document; see court manual section 2.5(c)(3); THE FILER IS
                                                               INSTRUCTED TO RE-FILE THE DOCUMENT WITH THE
                                                               CORRECT PDF IMMEDIATELY. (RE: related document(s)354 Proof
                                                               of service filed by Creditor A. Stuart Rubin) (Jackson, Wendy Ann)
   08/18/2021                                                  (Entered: 08/18/2021)

                                       358                     Notice to Filer of Error and/or Deficient Document
                                                               Incorrect/incomplete/unreadable PDF was attached to the docket
                                                               entry. All PDF files must be flattened prior to uploading in the courts
                                                               CM/ECF system - Court Manual Section 3.5(k). (The proof of service
                                                               has interactive fields and must be flatten); THE FILER IS
                                                               INSTRUCTED TO RE-FILE THE DOCUMENT WITH THE
                                                               CORRECT PDF IMMEDIATELY. (RE: related document(s)355
                                                               Opposition filed by Creditor Committee Committee of Unsecured
   08/18/2021                                                  Creditors) (Jackson, Wendy Ann) (Entered: 08/18/2021)

                                       359                     Proof of service Opposition to Trustee's Motion to Approve Compromise
                                       (5 pgs)                 With U.S. Real Estate Credit Holdings III-A, L.P. Re Lender's Consent to
                                                               Sale Free and Clear of Lien, and to Approve Credit Bid; Memorandum.
                                                               and Declarations of A. Stuart Rubin, Michal Rogson, and Evan L. Smith
                                                               Filed by Creditor A. Stuart Rubin (RE: related document(s)353
   08/18/2021                                                  Opposition). (Smith, Evan) (Entered: 08/18/2021)

                                       360                     Opposition to (related document(s): 280 Motion MOTION FOR ORDER
                                       (24 pgs)                DISQUALIFYING REED SMITH LLP, AND/OR ANY OF ITS
                                                               ATTORNEYS, FROM REPRESENTING U.S. REAL ESTATE CREDIT
                                                               HOLDINGS III-A, LP DUE TO CONFLICTS OF INTEREST GIVEN ITS
                                                               ONGOING REPRESENTATION OF DEBTOR, AND PRIOR
                                                               REPRESENTATION OF DEBT filed by Interested Party Stuart Rubin)
                                                               U.S. Real Estate Credit Holdings III-A, L.Ps Opposition To Motion To
                                                               Disqualify Reed Smith LLP Filed by Creditor U.S. Real Estate Credit
   08/18/2021                                                  Holdings III-A, LP (Rivas, Christopher) (Entered: 08/18/2021)

                                       361                     Objection (related document(s): 280 Motion MOTION FOR ORDER
                                       (7 pgs)                 DISQUALIFYING REED SMITH LLP, AND/OR ANY OF ITS
                                                               ATTORNEYS, FROM REPRESENTING U.S. REAL ESTATE CREDIT
                                                               HOLDINGS III-A, LP DUE TO CONFLICTS OF INTEREST GIVEN ITS
                                                               ONGOING REPRESENTATION OF DEBTOR, AND PRIOR
                                                               REPRESENTATION OF DEBT filed by Interested Party Stuart Rubin)
                                                               Evidentiary Objections In Support Of U.S. Real Estate Credit Holdings
                                                               III-A, L.P., Opposition To Motion To Disqualify Reed Smith Filed by
                                                               Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas, Christopher)
   08/18/2021                                                  (Entered: 08/18/2021)

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   08/18/2021                          362                     Declaration re: Declaration of Marsha A. Houston Filed by Creditor U.S.
                                       (248 pgs)               Real Estate Credit Holdings III-A, LP (RE: related document(s)360
                                                               Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       363                     Declaration re: Declaration of Peter Kennedy Filed by Creditor U.S. Real
                                       (59 pgs)                Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       364                     Declaration re: Declaration of Richard C. Giller Filed by Creditor U.S.
                                       (135 pgs)               Real Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       365                     Declaration re: Declaration of David Halbreich Filed by Creditor U.S.
                                       (4 pgs)                 Real Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       366                     Declaration re: Declaration of Ashley Rodriguez Filed by Creditor U.S.
                                       (5 pgs)                 Real Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       367                     Declaration re: Declaration of Stefania Hoffstetter Filed by Creditor U.S.
                                       (5 pgs)                 Real Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       368                     Declaration re: Declaration of Nathan M. Carle Filed by Creditor U.S.
                                       (4 pgs)                 Real Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       369                     Notice to Filer of Error and/or Deficient Document Incorrect hearing
                                                               date/time/location was selected. Missing hearing date of the Motion
                                                               that the declarations are related to. THE FILER IS INSTRUCTED
                                                               TO RE-FILE THE DOCUMENTS WITH THE CORRECT
                                                               HEARING INFORMATION. (RE: related document(s)362 Declaration
                                                               filed by Creditor U.S. Real Estate Credit Holdings III-A, LP, 363
                                                               Declaration filed by Creditor U.S. Real Estate Credit Holdings III-A, LP,
                                                               364 Declaration filed by Creditor U.S. Real Estate Credit Holdings III-A,
                                                               LP, 365 Declaration filed by Creditor U.S. Real Estate Credit Holdings
                                                               III-A, LP, 366 Declaration filed by Creditor U.S. Real Estate Credit
                                                               Holdings III-A, LP, 367 Declaration filed by Creditor U.S. Real Estate
                                                               Credit Holdings III-A, LP, 368 Declaration filed by Creditor U.S. Real
                                                               Estate Credit Holdings III-A, LP) (Jackson, Wendy Ann) (Entered:
   08/18/2021                                                  08/18/2021)

                                       370                     Opposition to (related document(s): 280 Motion MOTION FOR ORDER
                                       (6 pgs)                 DISQUALIFYING REED SMITH LLP, AND/OR ANY OF ITS
                                                               ATTORNEYS, FROM REPRESENTING U.S. REAL ESTATE CREDIT
                                                               HOLDINGS III-A, LP DUE TO CONFLICTS OF INTEREST GIVEN ITS
                                                               ONGOING REPRESENTATION OF DEBTOR, AND PRIOR
                                                               REPRESENTATION OF DEBT filed by Interested Party Stuart Rubin)
                                                               Chapter 11 Trustee's Statement in Opposition to Motion to Disqualify
                                                               Reed & Smith as Counsel of Record For U.S. Real Estate Credit
                                                               Holdings III; with Proof of Service Filed by Trustee Richard A Marshack
   08/18/2021                                                  (TR) (Hays, D) (Entered: 08/18/2021)

   08/18/2021                          371                     Declaration re: Declaration of Marsha A. Houston Filed by Creditor U.S.
                                       (248 pgs)               Real Estate Credit Holdings III-A, LP (RE: related document(s)360
                                                               Opposition). (Rivas, Christopher) (Entered: 08/18/2021)
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                                       372                     Declaration re: Declaration of Peter Kennedy Filed by Creditor U.S. Real
                                       (59 pgs)                Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       373                     Declaration re: Declaration of Richard C. Giller Filed by Creditor U.S.
                                       (135 pgs)               Real Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       374                     Declaration re: Declaration of David Halbreich Filed by Creditor U.S.
                                       (4 pgs)                 Real Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       375                     Declaration re: Declaration of Ashley Rodriguez Filed by Creditor U.S.
                                       (5 pgs)                 Real Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       376                     Declaration re: Declaration of Nathan M. Carle Filed by Creditor U.S.
                                       (4 pgs)                 Real Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       377                     Declaration re: Declaration of Stefania Hoffstetter Filed by Creditor U.S.
                                       (5 pgs)                 Real Estate Credit Holdings III-A, LP (RE: related document(s)360
   08/18/2021                                                  Opposition). (Rivas, Christopher) (Entered: 08/18/2021)

                                       378                     Chapter 11 Monthly Operating Report for the Month Ending: 07/31/2021
                                       (10 pgs)                Filed by Trustee Richard A Marshack (TR). (Marshack (TR), Richard)
   08/19/2021                                                  (Entered: 08/19/2021)

                                       379                     Response to (related document(s): 42 Motion to Excuse State Court
                                       (9 pgs)                 Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C.
                                                               Section 543; Memorandum of Points and Authorities filed by Creditor
                                                               U.S. Real Estate Credit Holdings III-A, LP) Chapter 11 Trustee's
                                                               Response to Motion to Excuse State Court Receiver, Edwin Leslie, From
                                                               Turnover of Assets Under 11 U.S.C. Section 543; Declaration of Chad V.
                                                               Haes; and Proof of Service Filed by Trustee Richard A Marshack (TR)
   08/19/2021                                                  (Haes, Chad) (Entered: 08/19/2021)

                                       380                     Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real Estate
                                       (10 pgs)                Credit Holdings III-A, LP, Edwin W. Leslie, Elliot Lander and Abraham
                                                               Stuart Rubin and Gary Stiffelman to continue hearing on Motion to
                                                               Excuse State Court Receiver, Edwin Leslie, from Turnover of Assets
                                                               Under 11 U.S.C. Section 543; with Proof of Service Filed by Trustee
   08/20/2021                                                  Richard A Marshack (TR) (Hays, D) (Entered: 08/20/2021)

                                       381             Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (7 pgs)         document(s)380 Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real
                                                       Estate Credit Holdings III-A, LP, Edwin W. Leslie, Elliot Lander and Abraham
                                                       Stuart Rubin and Gary Stiffelman to continue hearing on Motion to Excuse State
   08/20/2021                                          Court Receiver, Edwin Leslie, f). (Hays, D) (Entered: 08/20/2021)

   08/20/2021                          382             Opposition to (related document(s): 180 Notice of motion and motion for relief
                                       (21 pgs)        from automatic stay with supporting declarations ACTION IN NON-
                                                       BANKRUPTCY FORUM RE: Al Miller & Sons Roofing v. Doug Wall
                                                       Construction et al; with Proof of Service. Fee Amount $188, filed by Creditor Al
                                                       Miller & Sons Roofing Co., Inc.) Filed by Trustee Richard A Marshack (TR)
                                                       (Haes, Chad) (Entered: 08/20/2021)
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                                       383             Opposition to (related document(s): 181 Notice of motion and motion for relief
                                       (21 pgs)        from automatic stay with supporting declarations ACTION IN NON-
                                                       BANKRUPTCY FORUM RE: Tandem West Glass v. Doug Wall Construction, et
                                                       al; with Proof of Service. Fee Amount $188, filed by Creditor Tandem West
                                                       Glass, Inc.) Filed by Trustee Richard A Marshack (TR) (Haes, Chad) (Entered:
   08/20/2021                                          08/20/2021)

                                       384             Request for special notice Filed by Creditor Ally Bank Lease Trust - Assignor to
                                       (2 pgs)         Vehicle Asset Universal Leasing Trust (a.k.a. "VAULT TRUST", or "V.A.U.L.
                                                       Trust", or "VAULT", or "V.A.U.L.T."), c/o AIS Port. (Rawal, Arvind) (Entered:
   08/23/2021                                          08/23/2021)

                                       385             Order Approving Stipulation to continue hearing on Motion to Excuse State
                                       (2 pgs)         Court Receiver Edwin Leslie, from turnover of assets under 11 USC Section
                                                       543; ORDERED that the hearing is continued to SEPTEMBER 29, 2021 @
                                                       10AM; (BNC-PDF) (Related Doc # 380 ) Signed on 8/23/2021 (Jackson, Wendy
   08/23/2021                                          Ann) (Entered: 08/23/2021)

                                       386             Reply to (related document(s): 353 Opposition filed by Creditor A. Stuart Rubin)
                                       (6 pgs)         Joining Opposition to Motion to Approve Compromise Filed by Creditor
                                                       Committee Committee of Unsecured Creditors (Brinkman, Daren) (Entered:
   08/23/2021                                          08/23/2021)

                                       387             Notice to Filer of Error and/or Deficient Document Incorrect docket event was
                                                       used to file this document. The correct docket event is: OPPOSITION; THE
                                                       FILER IS INSTRUCTED TO RE-FILE THE DOCUMENT USING THE
                                                       CORRECT DOCKET EVENT. (RE: related document(s)386 Reply filed by
                                                       Creditor Committee Committee of Unsecured Creditors) (Jackson, Wendy Ann)
   08/24/2021                                          (Entered: 08/24/2021)

                                       388             Opposition to (related document(s): 322 Motion to Approve Compromise Under
                                       (6 pgs)         Rule 9019 Trustee's Motion to Approve Compromise with U.S. Real Estate
                                                       Credit Holdings III-A, L.P. Re Lender's Consent to Sale Free and Clear of Lien
                                                       and to Approve Credit Bid; Memorandum of Points and Aut filed by Trustee
                                                       Richard A Marshack (TR), 353 Opposition filed by Creditor A. Stuart Rubin)
                                                       Joinder in Opposition to Motion Filed by Creditor Committee Committee of
   08/24/2021                                          Unsecured Creditors (Brinkman, Daren) (Entered: 08/24/2021)

                                       389             Declaration re: * Supplemental Declaration of Peter J. Kennedy in Opposition to
                                       (85 pgs)        Motion to Disqualify Reed Smith LLP * Filed by Creditor U.S. Real Estate Credit
                                                       Holdings III-A, LP (RE: related document(s)281 Application shortening time
                                                       Application for Order Setting Hearing on Shortened Notice [LBR 9075-1(b)]
   08/24/2021                                          with Proof of Service). (Houston, Marsha) (Entered: 08/24/2021)

                                       390             Reply to (related document(s): 347 Opposition filed by Creditor Al Miller &
                                       (19 pgs)        Sons Roofing Co., Inc., Creditor Desert Palm Electric, Inc., Creditor Apple J.
                                                       Plumbing, Creditor Jacobsson Engineering Construction, Inc., Creditor Mascorro
                                                       Concrete Construction, Inc., Creditor Temalpakh, Inc. dba The Works Floor &
                                                       Wall, Creditor Tandem West Glass, Inc., 351 Opposition filed by Creditor Doug
                                                       Wall Construction, 353 Opposition filed by Creditor A. Stuart Rubin, 382
                                                       Opposition filed by Trustee Richard A Marshack (TR), 383 Opposition filed by
                                                       Trustee Richard A Marshack (TR), 386 Reply filed by Creditor Committee
                                                       Committee of Unsecured Creditors, 388 Opposition filed by Creditor Committee
                                                       Committee of Unsecured Creditors) U.S. Real Estate Credit Holdings III-A, LPs
                                                       Omnibus Reply In Support Of Trustees Motion To Approve Compromise Filed by
                                                       Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas, Christopher)
   08/24/2021                                          (Entered: 08/24/2021)

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                              46/54


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   08/24/2021                          391             Request for judicial notice In Support Of Omnibus Reply In Support Of Trustees
                                       (26 pgs)        Motion To Approve Compromise Filed by Creditor U.S. Real Estate Credit
                                                       Holdings III-A, LP (RE: related document(s)390 Reply). (Rivas, Christopher)
                                                       (Entered: 08/24/2021)

                                       392             Declaration re: Declaration Of Simond Lavian In Support Of Omnibus Reply In
                                       (179 pgs)       Support Of Trustees Motion To Approve Compromise Filed by Creditor U.S. Real
                                                       Estate Credit Holdings III-A, LP (RE: related document(s)390 Reply). (Rivas,
   08/24/2021                                          Christopher) (Entered: 08/24/2021)

                                       393             Declaration re: Declaration Of Tristine Lim In Support Of Omnibus Reply In
                                       (228 pgs)       Support Of Trustees Motion To Approve Compromise Filed by Creditor U.S. Real
                                                       Estate Credit Holdings III-A, LP (RE: related document(s)390 Reply). (Rivas,
   08/24/2021                                          Christopher) (Entered: 08/24/2021)

                                       394             Declaration re: Declaration Of Steven Bram In Connection With Motion To
                                       (42 pgs)        Compromise Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE:
   08/24/2021                                          related document(s)390 Reply). (Rivas, Christopher) (Entered: 08/24/2021)

                                       395             Reply to (related document(s): 322 Motion to Approve Compromise Under Rule
                                       (10 pgs)        9019 Trustee's Motion to Approve Compromise with U.S. Real Estate Credit
                                                       Holdings III-A, L.P. Re Lender's Consent to Sale Free and Clear of Lien and to
                                                       Approve Credit Bid; Memorandum of Points and Aut filed by Trustee Richard A
                                                       Marshack (TR)) Omnibus Reply to Oppositions and Objection to Trustee's
                                                       Motion to Approve Compromise; with proof of Service Filed by Trustee Richard
   08/24/2021                                          A Marshack (TR) (Hays, D) (Entered: 08/24/2021)

                                       396             Reply to (related document(s): 324 Motion to Convert Case From Chapter 11 to
                                       (6 pgs)         7. Pursuant to 11 U.S.C. Sections 1112(b); Memorandum of Points and
                                                       Authorities; Declaration of Richard A. Marshack in Support; with Proof of
                                                       Service [Hrg. 8/18/21 at 10:00 a.m., Ctrm. 1539] Fee Amount filed by Trustee
                                                       Richard A Marshack (TR)) Reply in Support of Motion to Convert Case to One
                                                       Under Chapter 7 Pursuant to 11 U.S.C. Section 1112(b); with Proof of Service
   08/24/2021                                          Filed by Trustee Richard A Marshack (TR) (Hays, D) (Entered: 08/24/2021)

                                       397             Reply to (related document(s): 382 Opposition filed by Trustee Richard A
                                       (4 pgs)         Marshack (TR)) Movant Al Miller & Sons Roofings Reply to Chapter 11 Trustees
                                                       Opposition to Motion for Relief from the Automatic Stay with Proof of Service
                                                       Filed by Creditor Al Miller & Sons Roofing Co., Inc. (Polis, Thomas) (Entered:
   08/25/2021                                          08/25/2021)

                                       398             Reply to (related document(s): 383 Opposition filed by Trustee Richard A
                                       (4 pgs)         Marshack (TR)) Movant Tandem West Glass Reply to Chapter 11 Trustees
                                                       Opposition to Motion for Relief from the Automatic Stay with Proof of Service
                                                       Filed by Creditor Tandem West Glass, Inc. (Polis, Thomas) (Entered:
   08/25/2021                                          08/25/2021)

                                       399             Motion For Determination Of The Value Of The Alleged Secured Claim Of
                                       (11 pgs)        Mechanics Lien Claimants And For The Expungement Of Mechanics Liens Filed
                                                       by Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas, Christopher)
   08/25/2021                                          (Entered: 08/25/2021)

   08/25/2021                          400             Notice of Hearing Notice Of Motion For: Determination Of The Value Of
                                       (5 pgs)         Alleged Secured Claim Of American Builders & Contractors Supply Co.; Clear
                                                       Coast Restoration; Dal Tile Distribution, Inc.; Gauston Corporation; Glendale
                                                       Plumbing & Fire Supply; Hi-Grade Materials Co.; Resource Building Materials;
                                                       Robertson's Ready Mix; Southwest Plumbing; Superior Pool Products, Llc; West
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                                47/54


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                                                       Coast Sand And Gravel, Inc. Filed by Creditor U.S. Real Estate Credit Holdings
                                                       III-A, LP (RE: related document(s)399 Motion For Determination Of The Value
                                                       Of The Alleged Secured Claim Of Mechanics Lien Claimants And For The
                                                       Expungement Of Mechanics Liens Filed by Creditor U.S. Real Estate Credit
                                                       Holdings III-A, LP). (Rivas, Christopher) (Entered: 08/25/2021)

                                       401             Request for judicial notice In Support Of Motion For Determination Of The
                                       (58 pgs)        Value Of The Alleged Secured Claims Of American Builders & Contractors
                                                       Supply Co.; Clear Coast Restoration; Dal Tile Distribution, Inc.; Gauston
                                                       Corporation; Glendale Plumbing & Fire Supply; Hi-Grade Materials Co.;
                                                       Resource Building Materials; Robertson's Ready Mix; Southwest Plumbing;
                                                       Superior Pool Products, Llc; West Coast Sand And Gravel, Inc. Filed by Creditor
                                                       U.S. Real Estate Credit Holdings III-A, LP (RE: related document(s)399 Motion
                                                       For Determination Of The Value Of The Alleged Secured Claim Of Mechanics
                                                       Lien Claimants And For The Expungement Of Mechanics Liens). (Rivas,
   08/25/2021                                          Christopher) (Entered: 08/25/2021)

                                       402             Declaration re: Of Christopher O. Rivas In Support Of Motion For
                                       (222 pgs)       Determination Of The Value Of The Alleged Secured Claims Of American
                                                       Builders & Contractors Supply Co.; Clear Coast Restoration; Dal Tile
                                                       Distribution, Inc.; Gauston Corporation; Glendale Plumbing & Fire Supply; Hi-
                                                       Grade Materials Co.; Resource Building Materials; Robertson's Ready Mix;
                                                       Southwest Plumbing; Superior Pool Products, Llc; West Coast Sand And Gravel,
                                                       Inc. Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE: related
                                                       document(s)399 Motion For Determination Of The Value Of The Alleged
                                                       Secured Claim Of Mechanics Lien Claimants And For The Expungement Of
   08/25/2021                                          Mechanics Liens). (Rivas, Christopher) (Entered: 08/25/2021)

                                       403             Reply to (related document(s): 280 Motion MOTION FOR ORDER
                                       (30 pgs)        DISQUALIFYING REED SMITH LLP, AND/OR ANY OF ITS ATTORNEYS,
                                                       FROM REPRESENTING U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP
                                                       DUE TO CONFLICTS OF INTEREST GIVEN ITS ONGOING
                                                       REPRESENTATION OF DEBTOR, AND PRIOR REPRESENTATION OF DEBT
                                                       filed by Interested Party Stuart Rubin, 360 Opposition filed by Creditor U.S.
                                                       Real Estate Credit Holdings III-A, LP, 370 Opposition filed by Trustee Richard A
                                                       Marshack (TR)) A. STUART RUBINS OMNIBUS REPLY TO U.S.REAL ESTATE
                                                       CREDIT HOLDINGS III-A, L.P.S OPPOSITION TO MOTION TO DISQUALIFY
                                                       REED SMITH LLP, AND CHAPTER 11 TRUSTEES STATEMENT IN
                                                       OPPOSITION TO MOTION TO DISQUALIFY REED & SMITH AS COUNSEL
                                                       OF RECORD FOR U.S.REAL ESTATE CREDIT HOLDINGS III;
                                                       DECLARATION OF EVAN L. SMITH, with Proof of Service. Filed by Creditor
   08/25/2021                                          A. Stuart Rubin (Smith, Evan) (Entered: 08/25/2021)

                                       404             Declaration re: SUPPLEMENTAL DECLARATION OF A. STUART RUBIN IN
                                       (34 pgs)        REPLY TO U.S. REAL ESTATE CREDIT HOLDINGS III-A, LPS OPPOSITION
                                                       TO MOTION FOR ORDER DISQUALIFYING REED SMITH with Proof of
                                                       Service Filed by Creditor A. Stuart Rubin. (Smith, Evan). Related document(s)
                                                       280 Motion MOTION FOR ORDER DISQUALIFYING REED SMITH LLP,
                                                       AND/OR ANY OF ITS ATTORNEYS, FROM REPRESENTING U.S. REAL
                                                       ESTATE CREDIT HOLDINGS III-A, LP DUE TO CONFLICTS OF INTEREST
                                                       GIVEN ITS ONGOING REPRESENTATION OF DEBTOR, AND PRIOR
                                                       REPRESENTATION OF DEBT filed by Interested Party Stuart Rubin. Modified
   08/25/2021                                          on 8/26/2021 (Jackson, Wendy Ann). (Entered: 08/25/2021)

   08/25/2021                          405             Reply to (related document(s): 361 Objection filed by Creditor U.S. Real Estate
                                       (10 pgs)        Credit Holdings III-A, LP, 403 Reply filed by Creditor A. Stuart Rubin)
                                                       MOVANT A. STUART RUBINS REPLY TO EVIDENTIARY OBJECTIONS OF
                                                       U.S. REAL ESTATE CREDIT HOLDINGS III-A, L.P., OPPOSITION TO

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                                                       DISQUALIFY REED SMITH with Proof of Service Filed by Creditor A. Stuart
                                                       Rubin (Smith, Evan) (Entered: 08/25/2021)

                                       406             BNC Certificate of Notice - PDF Document. (RE: related document(s)385
                                       (5 pgs)         ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1. Notice
   08/25/2021                                          Date 08/25/2021. (Admin.) (Entered: 08/25/2021)

                                       407             Hearing Set (RE: related document(s)399 Generic Motion filed by Creditor U.S.
                                                       Real Estate Credit Holdings III-A, LP) The Hearing date is set for 9/15/2021 at
                                                       11:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012. The case
   08/26/2021                                          judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered: 08/26/2021)

                                       408             Objection (related document(s): 404 Declaration filed by Creditor A. Stuart
                                       (14 pgs)        Rubin) * Evidentiary Objections to Supplemental Declarataion of A. Stuart
                                                       Rubin * Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (Houston,
   08/27/2021                                          Marsha) (Entered: 08/27/2021)

                                       409             Proof of service [Corrected] Proof Of Service Re Evidentiary Objections To
                                       (3 pgs)         Supplemental Declaration Of A. Stuart Rubin Filed by Creditor U.S. Real Estate
                                                       Credit Holdings III-A, LP (RE: related document(s)408 Objection). (Rivas,
   08/27/2021                                          Christopher) (Entered: 08/27/2021)

                                       410             Request for courtesy Notice of Electronic Filing (NEF) Filed by Richards,
   08/30/2021                          (1 pg)          Ronald. (Richards, Ronald) (Entered: 08/30/2021)

                                       411             Motion to strike Emergency Ex Parte Motion to Strike and/or Disallow U.S. Real
                                       (18 pgs)        Estate Credit Holdings III-A, L.P.'s Omnibus Reply in Support of Trustee's
                                                       Motion to Approve Compromise and Supporting Papers [Docs 390-394];
                                                       Memorandum; and Declarations of Evan L. Smith, and John Hofilena (with
                                                       Proof of Service). Filed by Interested Party Stuart Rubin (Smith, Evan). Related
                                                       document(s) 390 Reply filed by Creditor U.S. Real Estate Credit Holdings III-A,
                                                       LP, 391 Request for judicial notice filed by Creditor U.S. Real Estate Credit
                                                       Holdings III-A, LP, 392 Declaration filed by Creditor U.S. Real Estate Credit
                                                       Holdings III-A, LP, 393 Declaration filed by Creditor U.S. Real Estate Credit
                                                       Holdings III-A, LP, 394 Declaration filed by Creditor U.S. Real Estate Credit
                                                       Holdings III-A, LP. Modified on 8/31/2021 to properly relate the documents;
   08/30/2021                                          (Jackson, Wendy Ann). (Entered: 08/30/2021)

                                       412             Hearing Set (RE: related document(s)411 Motion to strike filed by Interested
                                                       Party Stuart Rubin) The Hearing date is set for 8/31/2021 at 02:00 PM at Crtrm
                                                       1539, 255 E Temple St., Los Angeles, CA 90012. The case judge is Sheri
   08/31/2021                                          Bluebond (Jackson, Wendy Ann) (Entered: 08/31/2021)

   08/31/2021                          413             Notice of lodgment Of Order in Bankruptcy Case Re: emergency Ex Parte
                                       (8 pgs)         Motion to Strike and/or Disallow U.S. Real Estate Credit Holdings III-A, L.P.'s
                                                       Omnibus Reply in Support of Trustee's Motion to Approve Compromise and
                                                       Supporting Papers [Docs 390-394], with Proof of Service. Filed by Interested
                                                       Party Stuart Rubin (RE: related document(s)411 Motion to strike Emergency Ex
                                                       Parte Motion to Strike and/or Disallow U.S. Real Estate Credit Holdings III-A,
                                                       L.P.'s Omnibus Reply in Support of Trustee's Motion to Approve Compromise
                                                       and Supporting Papers [Docs 390-394]; Memorandum; and Declarations of
                                                       Evan L. Smith, and John Hofilena (with Proof of Service). Filed by Interested
                                                       Party Stuart Rubin (Smith, Evan). Related document(s) 390 Reply filed by
                                                       Creditor U.S. Real Estate Credit Holdings III-A, LP, 391 Request for judicial
                                                       notice filed by Creditor U.S. Real Estate Credit Holdings III-A, LP, 392
                                                       Declaration filed by Creditor U.S. Real Estate Credit Holdings III-A, LP, 393
                                                       Declaration filed by Creditor U.S. Real Estate Credit Holdings III-A, LP, 394
                                                       Declaration filed by Creditor U.S. Real Estate Credit Holdings III-A, LP.
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                                                       Modified on 8/31/2021 to properly relate the documents; (Jackson, Wendy
                                                       Ann).). (Smith, Evan) (Entered: 08/31/2021)

                                       414             Reply to (related document(s): 280 Motion MOTION FOR ORDER
                                       (18 pgs)        DISQUALIFYING REED SMITH LLP, AND/OR ANY OF ITS ATTORNEYS,
                                                       FROM REPRESENTING U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP
                                                       DUE TO CONFLICTS OF INTEREST GIVEN ITS ONGOING
                                                       REPRESENTATION OF DEBTOR, AND PRIOR REPRESENTATION OF DEBT
                                                       filed by Interested Party Stuart Rubin, 404 Declaration filed by Creditor A.
                                                       Stuart Rubin, 408 Objection filed by Creditor U.S. Real Estate Credit Holdings
                                                       III-A, LP) Movant A. Stuart Rubin's Reply to Evidentiary Objections of U.S. Real
                                                       Estate Credit Holdings III-A, L.P. to Supplemental Declaration of A. Stuart
                                                       Rubin, with Proof of Service. Filed by Interested Party Stuart Rubin (Smith,
   08/31/2021                                          Evan) (Entered: 08/31/2021)

                                       415             Hearing Held 180 Notice of motion and motion for relief from automatic stay
                                                       with supporting declarations ACTION IN NON-BANKRUPTCY FORUM RE:
                                                       Al Miller & Sons Roofing v. Doug Wall Construction et al; with Proof of
                                                       Service. Fee Amount $188, Filed by Creditor Al Miller & Sons Roofing Co., Inc.
                                                       (Attachments: # 1 Exhibit A) (Polis, Thomas); RULING - GRANTED;
                                                       TENTATIVE IS THE RULING; ORDER TO FOLLOW FROM MOVANT:
   09/01/2021                                          (Jackson, Wendy Ann) (Entered: 09/01/2021)

                                       416             Hearing Held 181 Notice of motion and motion for relief from automatic stay
                                                       with supporting declarations ACTION IN NON-BANKRUPTCY FORUM RE:
                                                       Tandem West Glass v. Doug Wall Construction, et al; with Proof of Service. Fee
                                                       Amount $188, Filed by Creditor Tandem West Glass, Inc. (Attachments: # 1
                                                       Exhibit A) (Polis, Thomas) (Entered: 05/04/2021); RULING - GRANTED;
                                                       TENTATIVE IS THE RULING; ORDER TO FOLLOW FROM MOVANT;
   09/01/2021                                          (Jackson, Wendy Ann) (Entered: 09/01/2021)

                                       417             Hearing Held 322 Motion to Approve Compromise Under Rule 9019 Trustee's
                                                       Motion to Approve Compromise with U.S. Real Estate Credit Holdings III-A,
                                                       L.P. Re Lender's Consent to Sale Free and Clear of Lien and to Approve Credit
                                                       Bid; Memorandum of Points and Authorities; Declaration of Richard A.
                                                       Marshack in Support; with Proof of Service [Hrg. 8/18/2021 at 10:00 a.m., Ctrm
                                                       1539] Filed by Trustee Richard A Marshack (TR) (Hays, D); RULING -
                                                       GRANTED; TENTATIVE IS THE RULING; ORDER TO FOLLOW FROM
   09/01/2021                                          MR. HAYS OR MS. HOUSTON; (Jackson, Wendy Ann) (Entered: 09/01/2021)

                                       418             Hearing Held 324 Motion to Convert Case From Chapter 11 to 7. Pursuant to 11
                                                       U.S.C. Sections 1112(b); Memorandum of Points and Authorities; Declaration of
                                                       Richard A. Marshack in Support; with Proof of Service [Hrg. 8/18/21 at 10:00
                                                       a.m., Ctrm. 1539] Fee Amount $15 Filed by Trustee Richard A Marshack (TR)
                                                       (Haes, Chad); RULING - GRANTED; TENTATIVE IS THE RULING; ORDER
   09/01/2021                                          TO FOLLOW FROM MR. HAYS; (Jackson, Wendy Ann) (Entered: 09/01/2021)

                                       419             Hearing Held re: Scheduling and Case Management Conference in a Chapter 11
                                                       Case 1; RULING - OFF CALENDAR; (Jackson, Wendy Ann) Modified on
   09/01/2021                                          9/1/2021 (Jackson, Wendy Ann). (Entered: 09/01/2021)

                                       420             Hearing Held (Bk Motion) (RE: related document(s) 411 Motion to strike);
                                                       RULING - DENIED; TENTATIVE IS THE RULING; ORDER TO FOLLOW
   09/01/2021                                          FROM MS. HOUSTON. (Jackson, Wendy Ann) (Entered: 09/01/2021)

   09/01/2021                          421             Notice of lodgment Order Denying Motion For Order Disqualifying Reed Smith
                                       (6 pgs)         LLP And/Or Any Of Its Attorneys, From Representing U.S. Real Estate Credit
                                                       Holdings III-A, LP, Due To Conflicts Of Interest Given Its Ongoing
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                              50/54


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                                                       Representation Of Debtor, And Prior Representation Of Debtors Manager Filed
                                                       by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE: related
                                                       document(s)280 Motion MOTION FOR ORDER DISQUALIFYING REED
                                                       SMITH LLP, AND/OR ANY OF ITS ATTORNEYS, FROM REPRESENTING U.S.
                                                       REAL ESTATE CREDIT HOLDINGS III-A, LP DUE TO CONFLICTS OF
                                                       INTEREST GIVEN ITS ONGOING REPRESENTATION OF DEBTOR, AND
                                                       PRIOR REPRESENTATION OF DEBTORS MANAGER; MEMORANDUM OF
                                                       POINTS AND AUTHORITIES; AND DECLARATIONS OF A. STUART RUBIN,
                                                       ANNETTE RUBIN, EVAN L. SMITH, AND PATRICK C. McGARRIGLE, with
                                                       Proof of Service Filed by Interested Party Stuart Rubin). (Rivas, Christopher)
                                                       (Entered: 09/01/2021)

                                       422             Notice of lodgment Order Denying Emergency Ex Parte Motion To Strike
                                       (6 pgs)         And/Or Disallow U.S. Real Estate Credit Holdings III-A, L.P.'S Omnibus Reply
                                                       In Support Of Trustee's Motion To Approve Compromise Filed by Creditor U.S.
                                                       Real Estate Credit Holdings III-A, LP (RE: related document(s)411 Motion to
                                                       strike Emergency Ex Parte Motion to Strike and/or Disallow U.S. Real Estate
                                                       Credit Holdings III-A, L.P.'s Omnibus Reply in Support of Trustee's Motion to
                                                       Approve Compromise and Supporting Papers [Docs 390-394]; Memorandum;
                                                       and Declarations of Evan L. Smith, and John Hofilena (with Proof of Service).
                                                       Filed by Interested Party Stuart Rubin (Smith, Evan). Related document(s) 390
                                                       Reply filed by Creditor U.S. Real Estate Credit Holdings III-A, LP, 391 Request
                                                       for judicial notice filed by Creditor U.S. Real Estate Credit Holdings III-A, LP,
                                                       392 Declaration filed by Creditor U.S. Real Estate Credit Holdings III-A, LP,
                                                       393 Declaration filed by Creditor U.S. Real Estate Credit Holdings III-A, LP,
                                                       394 Declaration filed by Creditor U.S. Real Estate Credit Holdings III-A, LP.
                                                       Modified on 8/31/2021 to properly relate the documents; (Jackson, Wendy
   09/01/2021                                          Ann).). (Rivas, Christopher) (Entered: 09/01/2021)

                                       423             Hearing Held (RE: related document(s)280 Generic Motion filed by Interested
                                                       Party Stuart Rubin); RULING - DENIED; TENTATIVE IS THE RULING;
                                                       ORDER TO FOLLOW FROM REED SMITH; (Jackson, Wendy Ann) (Entered:
   09/02/2021                                          09/02/2021)

                                       424             Order Denying Emergency Ex Parte Motion to Strike and/or disallow U.S. Real
                                       (2 pgs)         Estate Credit Holdings III-A, LP's Omnibus replyin support of Trustee's Motion
                                                       to approve compromise; (BNC-PDF) (Related Doc # 411 ) Signed on 9/3/2021
   09/03/2021                                          (Jackson, Wendy Ann) (Entered: 09/03/2021)

                                       425             Order Denying Motion for Order Disqualifying Reed Smith, LLP and/or and any
                                       (2 pgs)         of its Attorneys, from representing U.S. Real Estate Holdings, III-A, LP due to
                                                       conflicts of interest given its ongoing representation of Debtor and prior
                                                       representation of Debtor's Manager; (BNC-PDF) (Related Doc # 280 ) Signed on
   09/03/2021                                          9/3/2021 (Jackson, Wendy Ann) (Entered: 09/03/2021)

                                       426             BNC Certificate of Notice - PDF Document. (RE: related document(s)424 Order
                                       (5 pgs)         on Generic Motion (BNC-PDF)) No. of Notices: 1. Notice Date 09/05/2021.
   09/05/2021                                          (Admin.) (Entered: 09/05/2021)

                                       427             BNC Certificate of Notice - PDF Document. (RE: related document(s)425 Order
                                       (5 pgs)         on Generic Motion (BNC-PDF)) No. of Notices: 1. Notice Date 09/05/2021.
   09/05/2021                                          (Admin.) (Entered: 09/05/2021)

   09/07/2021                          428             Notice of lodgment with Proof of Service Filed by Creditor Al Miller & Sons
                                       (5 pgs)         Roofing Co., Inc. (RE: related document(s)180 Notice of motion and motion for
                                                       relief from automatic stay with supporting declarations ACTION IN NON-
                                                       BANKRUPTCY FORUM RE: Al Miller & Sons Roofing v. Doug Wall
                                                       Construction et al; with Proof of Service. Fee Amount $188, Filed by Creditor

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                                                       Al Miller & Sons Roofing Co., Inc. (Attachments: # 1 Exhibit A)). (Polis,
                                                       Thomas) (Entered: 09/07/2021)

                                       429             Notice of lodgment with Proof of Service Filed by Creditor Tandem West Glass,
                                       (5 pgs)         Inc. (RE: related document(s)181 Notice of motion and motion for relief from
                                                       automatic stay with supporting declarations ACTION IN NON-BANKRUPTCY
                                                       FORUM RE: Tandem West Glass v. Doug Wall Construction, et al; with Proof of
                                                       Service. Fee Amount $188, Filed by Creditor Tandem West Glass, Inc.
   09/07/2021                                          (Attachments: # 1 Exhibit A)). (Polis, Thomas) (Entered: 09/07/2021)

                                       430             Motion For Determination Of The Value Of The Alleged Secured Claims Of
                                       (9 pgs)         Constructure, Inc. And Siteone Landscape Supply, And For The Expungement Of
                                                       Mechanics Liens [11 U.S.C. § 506(A); Bankruptcy Rule 3012] Filed by Creditor
                                                       U.S. Real Estate Credit Holdings III-A, LP (Rivas, Christopher) (Entered:
   09/08/2021                                          09/08/2021)

                                       431             Application of non-resident attorney to appear in a specific case per Local
                                       (7 pgs)         Bankruptcy rule Filed by Creditor Committee Committee of Unsecured
   09/08/2021                                          Creditors (Brinkman, Daren) (Entered: 09/08/2021)

                                       432             Notice of Hearing of Motion for Determination Of The Value Of Alleged Secured
                                       (5 pgs)         Claim Of Constructure, Inc. And Siteone Landscape Supply Filed by Creditor
                                                       U.S. Real Estate Credit Holdings III-A, LP (RE: related document(s)430 Motion
                                                       For Determination Of The Value Of The Alleged Secured Claims Of
                                                       Constructure, Inc. And Siteone Landscape Supply, And For The Expungement Of
                                                       Mechanics Liens [11 U.S.C. § 506(A); Bankruptcy Rule 3012] Filed by Creditor
                                                       U.S. Real Estate Credit Holdings III-A, LP). (Rivas, Christopher) (Entered:
   09/08/2021                                          09/08/2021)

                                       433             Declaration re: Of Christopher O. Rivas In Support Of Motion For
                                       (227 pgs)       Determination Of The Value Of The Alleged Secured Claim Of Constructure, Inc.
                                                       And Siteone Landscape Supply, And For The Expungement Of Mechanics Liens
                                                       [11 U.S.C. § 506(a); Bankruptcy Rule 3012] Filed by Creditor U.S. Real Estate
                                                       Credit Holdings III-A, LP (RE: related document(s)430 Motion For
                                                       Determination Of The Value Of The Alleged Secured Claims Of Constructure,
                                                       Inc. And Siteone Landscape Supply, And For The Expungement Of Mechanics
                                                       Liens [11 U.S.C. § 506(A); Bankruptcy Rule 3012]). (Rivas, Christopher)
   09/08/2021                                          (Entered: 09/08/2021)

                                       434             Request for judicial notice U.S. Real Estate Credit Holdings III-A, LPS Request
                                       (15 pgs)        For Judicial Notice In Support Of Motion For Determination Of The Value Of
                                                       The Alleged Secured Claim Of Constructure, Inc. And Siteone Landscape Supply,
                                                       And For The Expungement Of Mechanics Liens Filed by Creditor U.S. Real
                                                       Estate Credit Holdings III-A, LP (RE: related document(s)430 Motion For
                                                       Determination Of The Value Of The Alleged Secured Claims Of Constructure,
                                                       Inc. And Siteone Landscape Supply, And For The Expungement Of Mechanics
                                                       Liens [11 U.S.C. § 506(A); Bankruptcy Rule 3012]). (Rivas, Christopher)
   09/08/2021                                          (Entered: 09/08/2021)

                                       435             Hearing Set (RE: related document(s)430 Generic Motion filed by Creditor U.S.
                                                       Real Estate Credit Holdings III-A, LP) The Hearing date is set for 9/29/2021 at
                                                       10:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012. The case
   09/08/2021                                          judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered: 09/08/2021)

                                       436             Order Granting motion for relief from automatic stay ACTION IN NON-
                                       (2 pgs)         BANKRUPTCY FORUM (BNC-PDF) (Related Doc # 181 ) Signed on 9/8/2021
   09/08/2021                                          (Jackson, Wendy Ann) (Entered: 09/08/2021)

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   09/08/2021                          437             Order Granting motion for relief from automatic stay ACTION IN NON-
                                       (2 pgs)         BANKRUPTCY FORUM (BNC-PDF) (Related Doc # 180 ) Signed on 9/8/2021
                                                       (Jackson, Wendy Ann) (Entered: 09/08/2021)

                                       438             Application of non-resident attorney to appear in a specific case per Local
                                       (7 pgs)         Bankruptcy rule AMENDED Filed by Creditor Committee Committee of
   09/08/2021                                          Unsecured Creditors (Brinkman, Daren) (Entered: 09/08/2021)

                                       439             Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee Richard A
                                                       Marshack (TR). 341(a) Meeting Continued to 10/19/2021 at 10:00 AM at TR 7,
                                                       TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT THE
   09/10/2021                                          TRUSTEE. (Marshack (TR), Richard) (Entered: 09/10/2021)

                                       440             Order On Amended Application Of Non-Resident Attorney To Appear In A
                                       (2 pgs)         Specific Case [LBR 2090-1(b)] (BNC-PDF) (Related Doc # 438 ) Signed on
   09/10/2021                                          9/10/2021 (Pennington-Jones, Patricia) (Entered: 09/10/2021)

                                       441             Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (8 pgs)         document(s)322 Motion to Approve Compromise Under Rule 9019 Trustee's
                                                       Motion to Approve Compromise with U.S. Real Estate Credit Holdings III-A, L.P.
                                                       Re Lender's Consent to Sale Free and Clear of Lien and to Approve Credit Bid;
   09/10/2021                                          Memorandum of Points and Aut). (Hays, D) (Entered: 09/10/2021)

                                       442             BNC Certificate of Notice - PDF Document. (RE: related document(s)436
                                       (5 pgs)         Motion for relief from automatic stay ACTION IN NON-BANKRUPTCY
                                                       FORUM (BNC-PDF)) No. of Notices: 1. Notice Date 09/10/2021. (Admin.)
   09/10/2021                                          (Entered: 09/10/2021)

                                       443             BNC Certificate of Notice - PDF Document. (RE: related document(s)437
                                       (5 pgs)         Motion for relief from automatic stay ACTION IN NON-BANKRUPTCY
                                                       FORUM (BNC-PDF)) No. of Notices: 1. Notice Date 09/10/2021. (Admin.)
   09/10/2021                                          (Entered: 09/10/2021)

                                       444             BNC Certificate of Notice - PDF Document. (RE: related document(s)440
                                       (5 pgs)         ORDER on application of non-resident attorney to appear in a specific case per
                                                       Local Bankruptcy rule (BNC-PDF)) No. of Notices: 1. Notice Date 09/12/2021.
   09/12/2021                                          (Admin.) (Entered: 09/12/2021)

                                       445             Order Granting Motion to Approve Compromise under Rule 9019 with U.S.
                                       (3 pgs)         Real Estate Credit Holdings III-A, L.P. Re Lender's Consent to Sale Free and
                                                       Clear of Lien and to Approve Credit Bid; (BNC-PDF) (Related Doc # 322)
   09/13/2021                                          Signed on 9/13/2021. (Jackson, Wendy Ann) (Entered: 09/13/2021)




                                                        PACER Service Center
                                                             Transaction Receipt
                                                               09/15/2021 12:47:57
                                   PACER                       Client
                                                  atty322146
                                   Login:                      Code:
                                   Description: Docket         Search 2:21-bk-11188-BB Fil or Ent: filed
                                                Report         Criteria: From: 6/17/2000 To: 9/15/2021 Doc
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?100945766212896-L_1_0-1                                                               53/54


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9/15/21, 12:48 PM                                               CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                  Issuing Policies of Fidelity National Title Insurance Company


Title Officer: Blake.Uradomo                                                          ORDER NO.: 00346562-997-OC1-245
Phone: (949) 788-2800
Fax: (949) 341-0251                                                                                                LOAN NO.:
Email: Blake.Uradomo@fnf.com

Fidelity National Title Company
1300 Dove Street, 3rd Floor
Newport Beach, CA 92660

ATTN:              Ben Llorin
YOUR REF:

PROPERTY:          Vacant Land, Coachella, CA


                                                PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Attachment One. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner’s Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Attachment One. Copies of the policy forms should be read. They are available from
the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a
policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a
policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance Company, a
Florida Corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in Attachment One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not covered
under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not
list all liens, defects and encumbrances affecting title to the land.
Countersigned by:




Authorized Signature




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         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                PRELIMINARY REPORT


EFFECTIVE DATE:                       March 24, 2021 at 7:30 a.m.

ORDER NO.: 00346562-997-OC1-245

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
         BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Glenroy Coachella, LLC, a Delaware limited liability company, as to an undivided 70.5% interest;
         Force Rubin, LLC, a Delaware limited liability company, as to an undivided 21.2115% interest;
         Force Rubin 2, LLC, a Delaware limited liability company, as to an undivided 3.7885% interest; and
         Coachella Resort, LLC, a California limited liability company, as to an undivided 4.5% interest

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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YOUR REFERENCE:                                                           ORDER NO.: 00346562-997-OC1-245


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF COACHELLA, IN THE COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 1 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF RIVERSIDE, STATE OF
CALIFORNIA, ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF PARCEL MAPS,
RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED TO THE CITY OF COACHELLA, A
MUNICIPAL CORPORATION, AS DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
(GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS INSTRUMENT NO. 2018-359087 OF OFFICIAL
RECORDS.



APN: 603-220-061




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YOUR REFERENCE:                                                                              ORDER NO.: 00346562-997-OC1-245


                                                        EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION
TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to be levied
         for the fiscal year 2021-2022.

2.       Property taxes, including any personal property taxes and any assessments collected with taxes are as follows:

         Code Area:                   012-037
         Tax Identification No.:      603-220-061
         Fiscal Year:                 2020-2021
         1st Installment:             $8,869.30, Paid
         2nd Installment:             $8,869.30, Open
         Exemption:                   $0.00
         Land:                        $319,672.00
         Improvements:                $0.00
         Personal Property:           $0.00
         Bill No.:                    2020002891868

3.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the provisions of
         Chapter 3.5 or Part 2, Chapter 3, Articles 3 and 4 respectively (commencing with Section 75) of the Revenue and
         Taxation Code of the State of California as a result of the transfer of title to the vestee named in Schedule A; or as a
         result of changes in ownership or new construction occurring prior to date of policy.

4.       The herein described Land is within the boundaries of the Mello-Roos Community Facilities District(s). The annual
         assessments, if any, are collected with the county property taxes. Failure to pay said taxes prior to the delinquency
         date may result in the above assessment being removed from the county tax roll and subjected to Accelerated
         Judicial Bond Foreclosure. Inquiry should be made with said District for possible stripped assessments and prior
         delinquencies.

5.       A Notice

         Entitled:                    Notice of Assessment
         For:                         Coachella Community Center Project Assessment District No. 92-1
         Executed by:                 The Coachella Valley Recreation & Parks District
         Recording Date:              October 13, 1992
         Recording No:                Instrument No. 1992-385076 Official Records

         Reference is hereby made to said document for full particulars.

6.       Any assessments which may be levied against the herein described property by virtue of the fact that said land lies
         within the boundaries of Community Facilities District 2018-1 (Glenroy) adopted by the City of Coachella, a
         boundary map of which is on file in Book 82, Page 7 of Maps of Assessment and Community Facilities Districts,
         recorded February 21, 2018 as Instrument No. 2018-0064380 Official Records, and amended in Book 82, Page 38,
         recorded April 25, 2018 as Instrument No. 2018-158456 Official Records.

7.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                       2005-1
         For:                         Community Facilities District No. 2005-1 (Law Enforcement, Fire and Paramedic
                                      Services)
         Disclosed by:                Notice of Special Tax lien
         Recording Date:              November 3, 2005
         Recording No.:               Instrument No. 2005-0916803, of Official Records

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                                                        EXCEPTIONS
                                                         (Continued)



         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.
         The tax may not be prepaid.

         Matters contained in that certain document

         Entitled:                    Amendment No. 3 to Notice of Special Tax Lien
         Recording Date:              October 6, 2006
         Recording No:                Instrument No. 2006-0741243, of Official Records

         Reference is hereby made to said document for full particulars.

8.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                      2018-1
         For:                         Community Facilities District No. 2018-1
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              June 4, 2018
         Recording No.:               Instrument No. 2018-0225621 Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.

         The tax may not be prepaid.

9.       Assessments and other matters as contained in documents entitled Payment of Contractual Assessment Required,
         recorded April 25, 2018, as Document No. 2018-0160473, of Official, pursuant to Chapter 29 of Part 3 of Division 7
         of the California Streets and Highways Code providing for the assessments. Said assessments are collected with
         county taxes. The assessment may be prepaid.

         Reference is hereby made to said documents for further particulars.

         Matters contained in that certain document

         Entitled:                    Addendum No. 1 to Notice of Assessment and Payment of Contractual Assessment
                                      Required
         Recording Date:              September 29, 2020
         Recording No:                Instrument No. 2020-0464144, of Official Records

         Reference is hereby made to said document for full particulars.




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YOUR REFERENCE:                                                                                ORDER NO.: 00346562-997-OC1-245


                                                         EXCEPTIONS
                                                          (Continued)

10.      Water rights, claims or title to water, whether or not disclosed by the public records.

11.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not limited to
         those based upon race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, marital
         status, national origin, ancestry, familial status, source of income, disability, veteran or military status, genetic
         information, medical condition, citizenship, primary language, and immigration status, as set forth in applicable state
         or federal laws, except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
         document

         Recording Date:              June 6, 1892
         Recording No:                in Book 202, Page 144, of Deeds, San Diego County Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any mortgage
         or deed of trust made in good faith and for value.

12.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley Ice and Electric Company
         Purpose:                     Transmission and distribution of electricity and telephonic communication and
                                      telegraphic communication
         Recording Date:              June 04, 1914
         Recording No:                in Book 398, Page 130, of Deeds
         Affects:                     A portion of said land as described therein

13.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The United States of America
         Purpose:                     Water pipeline
         Recording Date:              July 19, 1949
         Recording No:                in Book 1095, Page 306, of Official Records
         Affects:                     A portion of said land as described therein

         Matters contained in that certain document

         Entitled:                    Quitclaim Deed and Release
         Recording Date:              July 31, 2018
         Recording No:                Instrument No. 2018-0307549, of Official Records

         Reference is hereby made to said document for full particulars.

14.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley County Water District
         Purpose:                     Pipeline
         Recording Date:              September 21, 1960
         Recording No:                Instrument No. 1960-82454, of Official Records
         Affects:                     A portion of said land as described therein




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                                                         EXCEPTIONS
                                                          (Continued)

15.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Imperial Irrigation District
         Purpose:                     Public utilities
         Recording Date:              July 22, 1970
         Recording No:                Instrument No. 1970-70546, of Official Records
         Affects:                     A portion of said land as described therein

16.      Easements as shown and/or dedicated upon the recorded map referenced in the legal description in
         Schedule A as Parcel Map 37310, in the City of Coachella, County of Riverside, State of California,
         according to map on file in Book 243, Pages 82 through 84 inclusive of Parcel Maps, records of Riverside
         County, California, together with any provisions and recitals contained therein.

         Reference is hereby made to said document for full particulars.

17.      The Land described herein is included within a project area of the Redevelopment Agency shown below, and that
         proceedings for the redevelopment of said project have been instituted under the Redevelopment Law (such
         redevelopment to proceed only after the adoption of the Redevelopment Plan) as disclosed by a document.

         Redevelopment Agency:                  City of Coachella
         Recording Date:                        July 10, 2007
         Recording No:                          Instrument No. 2007-0449636, of Official Records

         and Recording Date:          July 10, 2007
         and Recording No:            Instrument No. 2007-0449637, of Official Records

18.      Recitals as shown on Parcel Map 37310

         Recording No:                      in Book 243, Pages 82 to 84 inclusive of Parcel Maps
         Which among other things recites: The real property described below is dedicated in fee for street and
                                            public utility purposes: Lot “A” as shown hereon.

                                                As a condition of dedication of Lot “A” (Avenue 48), the owners of Parcels 1-4,
                                                and 6, inclusive, abutting this right of way and during such time will have no
                                                rights of access except the general easement of travel. Any change of alignment
                                                or width that results in the vacation thereof shall terminate this condition of
                                                access rights as to the party vacated.

         Reference is hereby made to said document for full particulars.

19.      The following matters shown or disclosed by the filed or recorded map referred to in the legal description: Various
         notes and recitals

20.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for dedication,
         on the map of said tract/plat;

         Purpose:                     Landscape and/or retention basin
         Affects:                     As shown on said map

21.      Matters contained in that certain document

         Entitled:                    Water Quality Management Plan and Urban Runoff BMP Transfer, Access and
                                      Maintenance Agreement


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                                                        EXCEPTIONS
                                                         (Continued)

         Recording Date:              December 06, 2017
         Recording No:                Instrument No. 2017-0512010, of Official Records

         Reference is hereby made to said document for full particulars.

22.      Matters contained in that certain document

         Entitled:                    Glenroy Resort Development Agreement
         Recording Date:              March 8, 2018
         Recording No:                Instrument No. 2018-0089219, of Official Records

         Reference is hereby made to said document for full particulars.

23.      Terms and provisions contained in that certain unrecorded Parking License Agreement dated April 20, 2018 by
         and between Glenroy Coachella, LLC and Force-DMP LLC.

24.      Matters contained in that certain document

         Entitled:                    Memorandum of Tenancy in Common Agreement
         Recording Date:              April 24, 2018
         Recording No:                Instrument No. 2018-0156322, of Official Records

         Reference is hereby made to said document for full particulars.

25.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The City of Coachella
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              September 06, 2018
         Recording No:                Instrument No. 2018-0359087, of Official Records
         Affects:                     A portion of said land as described therein

26.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Southern California Gas Company, a California Corporation, its successors and assigns
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423528, of Official Records
         Affects:                     A portion of said land as described therein




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YOUR REFERENCE:                                                                              ORDER NO.: 00346562-997-OC1-245


                                                         EXCEPTIONS
                                                          (Continued)

27.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $24,400,000.00
         Dated:                       April 26, 2018
         Trustor/Grantor              Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Trustee:                     Stewart Title of California, Inc., a California corporation
         Beneficiary:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Loan No.:                    None shown
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162476,of Official Records

         Affects:                     The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350103, of Official Records

         A notice of default under the terms of said trust deed

         Executed by:                 Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350104, of Official Records

         A notice of trustee’s sale under said deed of trust

         Executed by:                           Fidelity National Title Company
         Date, Time and Place of Sale:          February 9, 2021, at 09:00 AM, in front of the Corona Civic Center, 849 W.
                                                Sixth Street, Corona, CA 92882
         Recording Date:                        January 14, 2021
         Recording No:                          Instrument No. 2021-0025741, of Official Records

28.      An assignment of all the moneys due, or to become due as rental, as additional security for the obligations secured
         by deed of trust shown as item above

         Assigned to:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162477,of Official Records

29.      A financing statement as follows:

         Debtor:                      Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Secured Party:               U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162478,of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hi-Grade Materials Co
         Amount:                      $32,847.96
         Recording Date:              July 5, 2018
         Recording No:                Instrument No. 2018-0273102, of Official Records

31.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Glendale Plumbing and Fire Supply
         Amount:                      $23,792.54
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423202, of Official Records

32.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Constructure, Inc.
         Amount:                      $301,119.50
         Recording Date:              January 22, 2019
         Recording No:                Instrument No. 2019-0022660, of Official Records

33.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC.
         Amount:                      $119,569.73
         Recording Date:              May 22, 2019
         Recording No:                Instrument No. 2019-0179443, of Official Records

34.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Ready Mix Concrete L.P.
         Amount:                      $20,571.27
         Recording Date:              May 29, 2019
         Recording No:                Instrument No. 2019-0190540, of Official Records

35.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    The Sherwin-Williams Company
         Amount:                      $33,333.11
         Recording Date:              June 3, 2019
         Recording No:                Instrument No. 2019-0198410, of Official Records

         Said mechanic’s lien has been partially released by instrument

         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0252361, of Official Records

         Claimant reduces its Mechanics’ Lien by $6,538.32, to reflect the current amount subject to the Claimant’s
         Mechanics’ Lien in the sum of $26,794.79.




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                                                       EXCEPTIONS
                                                        (Continued)

36.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $259,695.63
         Recording Date:              June 6, 2019
         Recording No:                Instrument No. 2019-0204095, of Official Records

37.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Blair Air, Inc. Dba Blair Heating & Air
         Amount:                      $297,443.80
         Recording Date:              June 7, 2019
         Recording No:                Instrument No. 2019-0206598, of Official Records

38.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hajoca Corporation
         Amount:                      $39,636.17
         Recording Date:              June 11, 2019
         Recording No:                Instrument No. 2019-0210159, of Official Records

39.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    American Builders and Contractors Supply Co., Inc. – ABC Supply Co., Inc.
         Amount:                      $24,813.58
         Recording Date:              June 13, 2019
         Recording No:                Instrument No. 2019-0213172, of Official Records

40.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Electric Supply
         Amount:                      $61,574.60
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0218809, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

41.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Apple J Plumbing, Inc.
         Amount:                      $175,845.06
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0219453, of Official Records

42.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Jacobsson Engineering Construction, Inc.
         Amount:                      $1,042,299.00
         Recording Date:              June 21, 2019
         Recording No:                Instrument No. 2019-0225760, of Official Records

43.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    West Coast Sand and Gravel, Inc.
         Amount:                      $21,666.29
         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0253543, of Official Records

44.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Pool Products, LLC
         Amount:                      $14,386.05
         Recording Date:              July 11, 2019
         Recording No:                Instrument No. 2019-0254740 Official Records

45.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Resource Building Materials
         Amount:                      $1,905.04
         Recording Date:              July 15, 2019
         Recording No:                Instrument No. 2019-0258520, of Official Records

46.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $10,861.98
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293318, of Official Records

47.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $8,643.42
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293319, of Official Records




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48.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Palms Electric, Inc.
         Amount:                      $389,839.09
         Recording Date:              August 6, 2019
         Recording No:                Instrument No. 2019-0295567, of Official Records

49.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $21,153.36
         Recording Date:              August 21, 2019
         Recording No:                Instrument No. 2019-0321135, of Official Records

50.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC
         Amount:                      $119,569.73
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328148, of Official Records

51.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    TemalPakh, Inc., dba The Works Floor & Wall
         Amount:                      $33,628.46
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328428, of Official Records

52.      A judgment for the amount shown below, and any other amounts due, entered in the United States District Court:

         Amount:                      $89,110.62 (Damages)
         Amount:                      $5,164.42 (Attorney’s Fees)
         Debtor:                      Glenroy Coachella, LLC, and Does 1-10
         Creditor:                    Silhouette Outdoor Furniture, Inc.
         Date entered:                July 02, 2019
         District:                    Central, State of California
         Case No:                     EDCV 19-00373-CJC (KKx)
         Recording Date:              August 29, 2019
         Recording No:                Instrument No. 2019-0336225, of Official Records

53.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    BMC West, LLC
         Amount:                      $50,290.00
         Recording Date:              September 11, 2019
         Recording No:                Instrument No. 2019-0354394, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

54.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Doug Wall Construction, Inc.
         Amount:                      $3,876,856.10
         Recording Date:              September 12, 2019
         Recording No:                Instrument No. 2019-0356369, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $4,359,813.13
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0401936, of Official Records

55.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Blair Air, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glen Roy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906241
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0370664, of Official Records

56.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Al Miller & Sons Roofing Co., Inc.
         Amount:                      $111,631.71
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0372302, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $153,901.00
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402031, of Official Records

57.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Mascorro Concrete Construction, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906560
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376608, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668680, of Official Records



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                                                         (Continued)

58.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Apple J. Plumbing, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906579
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376609, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668682, of Official Records

59.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Desert Palms Electric, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906554
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376610, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668681, of Official Records

60.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Ferguson Enterprises, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906136
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376684, of Official Records

61.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Southwest Plumbing inc.
         Amount:                      $111,141.13
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0377201, of Official Records




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                                                        (Continued)

62.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $40,000.00
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379585, of Official Records

63.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $396,871.43
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379586, of Official Records

64.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Tandem West Glass, Inc.
         Amount:                      $387,752.38
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379822, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $795,971.26
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402041, of Official Records

         As affected by a Second Amended Mechanics Lien

         Amount:                      $449,849.39
         Recording Date:              October 11, 2019
         Recording No:                Instrument No. 2019-0410373, of Official Records

65.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $250,695.63
         Recording Date:              September 27, 2019
         Recording No:                Instrument No. 2019-385786, of Official Records

66.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    La Hacienda Nursery & Landscape, Inc.
         Amount:                      $146,717.74
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415743, of Official Records




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                                                        (Continued)

67.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Doug Wall Construction, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907309
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415790, of Official Records

68.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tmalpakh, Inc., a California corporation dba The Works Floor & Wall
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907262
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 23, 2019
         Recording No:                Instrument No. 2019-0428103, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668684, of Official Records

69.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Orco Block & Hardscape, a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907155
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 25, 2019
         Recording No:                Instrument No. 2019-0432553, of Official Records

70.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   BMC West LLC, a Delaware limited liability company
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1908245
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              November 22, 2019
         Recording No:                Instrument No. 2019-0483250, of Official Records




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71.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   La Hacienda Nursery & Landscape, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909423
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 2, 2020
         Recording No:                Instrument No. 2020-0000938, of Official Records

72.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   All Phase Drywall & Development, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909367
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 9, 2020
         Recording No:                Instrument No. 2020-0009905, of Official Records

73.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tandem West Glass, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000015
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013976, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668679, of Official Records

74.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Al Miller & Sons Roofing, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000009
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013979, of Official Records

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                                                       EXCEPTIONS
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75.      Matters contained in that certain document

         Entitled:                    Stipulation and Order RE Appointment of Receiver and Preliminary Junction
         Recording Date:              January 29, 2020
         Recording No:                Instrument No. 2020-0044153, of Official Records

         Reference is hereby made to said document for full particulars.

76.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   U.S. Real Estate Credit Holdings III-A, LP
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    RIC1905743
         Recording Date:              February 13, 2020
         Recording No.:               Instrument No. 2020-0068228, of Official Records

77.      Certificate of Indebtedness of the Receiver – Receiver Certificate No. 1

         Recording Date:              June 12, 2020
         Recording No.:               Instrument No. 2020-0252044 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252045 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252046 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252047 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252048 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252049 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252050 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252051 Official Records

78.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $28,829.75
         Recording Date:              June 25, 2018
         Recording No:                Instrument No. 2018-0255143, of Official Records




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79.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed by the
         public records.

         The Company will require, for review, a full and complete copy of any unrecorded agreement, contract, license
         and/or lease, together with all supplements, assignments and amendments thereto, before issuing any policy of title
         insurance without excepting this item from coverage.

         The Company reserves the right to except additional items and/or make additional requirements after reviewing said
         documents.

80.      Any facts, rights, interests or claims that may exist or arise by reason of the following matters disclosed by a
         pending final ALTA/NSPS Survey prepared by Saxon Engineering Services, Inc., dated April 10, 2018, designated
         as Job No. Glenroy Coachella:

         a. Electrical vaults located on the northerly property line of Parcel 4.
         b. A cable television box located along the westerly boundary of Parcel 2.
         c. An electrical transformer located along the westerly boundary of Parcel 2.
         d. A street light pole encroaching in the southwest corner of Parcel 2.

81.      Any easements not disclosed by the public records as to matters affecting title to real property, whether or not said
         easements are visible and apparent.

82.      Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other matters which a correct
         survey would disclose and which are not shown by the public records.

83.      Matters which may be disclosed by an inspection and/or by a correct ALTA/ACSM Land Title Survey of said Land
         that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.


      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.


                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION


1.       In order to complete this report, the Company requires a Statement of Information to be completed by the following
         party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the requested
         Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under this order.
               Any title search includes matters that are indexed by name only, and having a completed Statement of
               Information assists the Company in the elimination of certain matters which appear to involve the parties
               but in fact affect another party with the same or similar name. Be assured that the Statement of Information
               is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance predicated
         upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:             Glenroy Coachella, LLC, a Delaware limited liability company,
                                                Force Rubin, LLC, a Delaware limited liability company,
                                                Force Rubin 2, LLC, a Delaware limited liability company
                                                Coachella Resort, LLC, a California limited liability company

         a)          A copy of its operating agreement, if any, and all amendments, supplements and/or modifications thereto,
                     certified by the appropriate manager or member.

         b)          If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments thereto
                     with the appropriate filing stamps.

         c)          If the Limited Liability Company is member-managed, a full and complete current list of members certified
                     by the appropriate manager or member.

         d)          A current dated certificate of good standing from the proper governmental authority of the state in which
                     the entity is currently domiciled.

         e)          If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
                     evidence of the authority of those signing.

         f)          If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                     Member will be required.

         g)          Each member and manager of the LLC without an Operating Agreement must execute in the presence of a
                     notary public the Certificate of California LLC (Without an Operating Agreement) Status and Authority
                     form.

3.       This transaction requires high liability approval prior to close of escrow together with an inspection of the subject
         property.

         Please advise title department with an estimated date that your transaction will close so we can schedule the
         necessary approvals and inspections.

4.       The transaction contemplated in connection with this Report is subject to the review and approval of the Company’s
         Corporate Underwriting Department. The Company reserves the right to add additional items or make further
         requirements after such review.




CLTA Preliminary Report Form – Modified (11/17/06)                                                                      Page 21

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PRELIMINARY REPORT                                                                              Fidelity National Title Company
YOUR REFERENCE:                                                                            ORDER NO.: 00346562-997-OC1-245


                                                      REQUIREMENTS
                                                          (Continued)

5.       Please call the Title Department five (5) days prior to the contemplated closing to determine if additional documents
         or information is required.

         Phone Number:                (949) 788-2800




                                                     END OF REQUIREMENTS




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PRELIMINARY REPORT                                                                              Fidelity National Title Company
YOUR REFERENCE:                                                                            ORDER NO.: 00346562-997-OC1-245


                                       INFORMATIONAL NOTES SECTION

1.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

2.       Note: Please contact your Title Officer to obtain the current recording fees. Fidelity National Title Company will
         pay Fidelity National Title Insurance Company 12% of the title premium, as disclosed on lines 1107 and 1108 of the
         HUD-1.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may demand
         arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim between the Company
         and the insured arising out of or relating to this policy, any service of the Company in connection with its issuance
         or the breach of a policy provision or other obligation. Please ask your escrow or title officer for a sample copy of
         the policy to be issued if you wish to review the arbitration provisions and any other provisions pertaining to your
         Title Insurance coverage.

4.       Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
         distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
         Land that is associated with these activities.

5.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a Documentary Transfer
         Tax (DTT) Affidavit may be required to be completed and submitted with each document when DTT is being paid
         or when an exemption is being claimed from paying the tax. If a governmental agency is a party to the document,
         the form will not be required. DTT Affidavits may be available at a Tax Assessor-County Clerk-Recorder.

6.       The Company and its policy issuing agents are required by Federal law to collect additional information about
         certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
         required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
         agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the
         transaction contemplated herein.

         To protect the private information contained in the attached form and photo ID, please return via a secured
         method.




                                             END OF INFORMATIONAL NOTES

Blake.Uradomo/sp1




CLTA Preliminary Report Form – Modified (11/17/06)                                                                      Page 1

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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

     •     NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
     •     ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
     •     USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
     •     USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                Federal Bureau of Investigation:                                                Internet Crime Complaint Center:
                          http://www.fbi.gov                                                               http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
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          Fidelity National Title Company
          1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
          Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                              Last Saved: April 2, 2021 by SP1
MISC0164 (DSI Rev. 03/12/20)                                                            Escrow No.: 00346562-997-OC1-245

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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective January 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
• contact information (e.g., name, address, phone number, email address);
• demographic information (e.g., date of birth, gender, marital status);
• identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
• financial account information (e.g. loan or bank account information); and
• other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
• information we receive from you or your agent;
• information about your transactions with FNF, our affiliates, or others; and
• information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
• Internet Protocol (IP) address and operating system;
• browser version, language, and type;
• domain name system requests; and
• browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
• To provide products and services to you or in connection with a transaction involving you.
• To improve our products and services.
• To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
• to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
• to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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• to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
• to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
• in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.

For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.



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Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                          601 Riverside Avenue
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 1
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express permission from the California Land Title Association.

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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
    •     For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                  Issuing Policies of Fidelity National Title Insurance Company


Title Officer: Blake.Uradomo                                                          ORDER NO.: 00346564-997-OC1-245
Phone: (949) 788-2800
Fax: (949) 341-0251                                                                                                LOAN NO.:
Email: Blake.Uradomo@fnf.com

Fidelity National Title Company
1300 Dove Street, 3rd Floor
Newport Beach, CA 92660

ATTN:              Ben Llorin
YOUR REF:

PROPERTY:          Vacant Land, Coachella, CA


                                                PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Attachment One. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner’s Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Attachment One. Copies of the policy forms should be read. They are available from
the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a
policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a
policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance Company, a
Florida Corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in Attachment One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not covered
under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not
list all liens, defects and encumbrances affecting title to the land.
Countersigned by:




Authorized Signature




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                PRELIMINARY REPORT


EFFECTIVE DATE:                       March 24, 2021 at 7:30 a.m.

ORDER NO.: 00346564-997-OC1-245

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
         BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Glenroy Coachella, LLC, a Delaware limited liability company, as to an undivided 70.5% interest;
         Force Rubin, LLC, a Delaware limited liability company, as to an undivided 21.2115% interest;
         Force Rubin 2, LLC, a Delaware limited liability company, as to an undivided 3.7885% interest; and
         Coachella Resort, LLC, a California limited liability company, as to an undivided 4.5% interest

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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YOUR REFERENCE:                                                           ORDER NO.: 00346564-997-OC1-245


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF COACHELLA, IN THE COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 2 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF RIVERSIDE, STATE OF
CALIFORNIA, ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF PARCEL MAPS,
RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED TO THE CITY OF COACHELLA, A
MUNICIPAL CORPORATION, AS DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
(GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS INSTRUMENT NO. 2018-359087 OF OFFICIAL
RECORDS.



APN: 603-220-067




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YOUR REFERENCE:                                                                              ORDER NO.: 00346564-997-OC1-245


                                                      EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION
TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to be levied
         for the fiscal year 2021-2022.

2.       Property taxes, including any personal property taxes and any assessments collected with taxes are as follows:

         Code Area:                   012-037
         Tax Identification No.:      603-220-067
         Fiscal Year:                 2020-2021
         1st Installment:             $109,956.41, Paid
         2nd Installment:             $109,956.41, Open
         Exemption:                   $0.00
         Land:                        $2,871,721.00
         Improvements:                $0.00
         Personal Property:           $0.00
         Bill No.:                    2020003418394

3.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the provisions of
         Chapter 3.5 or Part 2, Chapter 3, Articles 3 and 4 respectively (commencing with Section 75) of the Revenue and
         Taxation Code of the State of California as a result of the transfer of title to the vestee named in Schedule A; or as a
         result of changes in ownership or new construction occurring prior to date of policy.

4.       The herein described Land is within the boundaries of the Mello-Roos Community Facilities District(s). The annual
         assessments, if any, are collected with the county property taxes. Failure to pay said taxes prior to the delinquency
         date may result in the above assessment being removed from the county tax roll and subjected to Accelerated
         Judicial Bond Foreclosure. Inquiry should be made with said District for possible stripped assessments and prior
         delinquencies.

5.       A Notice

         Entitled:                    Notice of Assessment
         For:                         Coachella Community Center Project Assessment District No. 92-1
         Executed by:                 The Coachella Valley Recreation & Parks District
         Recording Date:              October 13, 1992
         Recording No:                Instrument No. 1992-385076 Official Records

         Reference is hereby made to said document for full particulars.

6.       Any assessments which may be levied against the herein described property by virtue of the fact that said land lies
         within the boundaries of Community Facilities District 2018-1 (Glenroy) adopted by the City of Coachella, a
         boundary map of which is on file in Book 82, Page 7 of Maps of Assessment and Community Facilities Districts,
         recorded February 21, 2018 as Instrument No. 2018-0064380 Official Records, and amended in Book 82, Page 38,
         recorded April 25, 2018 as Instrument No. 2018-158456 Official Records.

7.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                       2005-1
         For:                         Community Facilities District No. 2005-1 (Law Enforcement, Fire and Paramedic
                                      Services)
         Disclosed by:                Notice of Special Tax lien
         Recording Date:              November 3, 2005
         Recording No.:               Instrument No. 2005-0916803, of Official Records

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YOUR REFERENCE:                                                                                ORDER NO.: 00346564-997-OC1-245


                                                         EXCEPTIONS
                                                          (Continued)



         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.
         The tax may not be prepaid.

         Matters contained in that certain document

         Entitled:                    Amendment No. 3 to Notice of Special Tax Lien
         Recording Date:              October 6, 2006
         Recording No:                Instrument No. 2006-0741243, of Official Records

         Reference is hereby made to said document for full particulars.

8.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                      2018-1
         For:                         Community Facilities District No. 2018-1
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              June 4, 2018
         Recording No.:               Instrument No. 2018-0225621 Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.

         The tax may not be prepaid.

9.       Assessments and other matters as contained in documents entitled Payment of Contractual Assessment Required,
         recorded April 25, 2018, as Document No. 2018-0160474, of Official, pursuant to Chapter 29 of Part 3 of Division 7
         of the California Streets and Highways Code providing for the assessments. Said assessments are collected with
         county taxes. The assessment may be prepaid.

         Reference is hereby made to said documents for further particulars.

10.      Water rights, claims or title to water, whether or not disclosed by the public records.

11.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not limited to
         those based upon race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, marital
         status, national origin, ancestry, familial status, source of income, disability, veteran or military status, genetic
         information, medical condition, citizenship, primary language, and immigration status, as set forth in applicable state
         or federal laws, except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
         document

         Recording Date:              June 6, 1892
         Recording No:                in Book 202, Page 144, of Deeds, San Diego County Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any mortgage
         or deed of trust made in good faith and for value.

12.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley Ice and Electric Company
         Purpose:                     Transmission and distribution of electricity and telephonic communication and


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YOUR REFERENCE:                                                                            ORDER NO.: 00346564-997-OC1-245


                                                         EXCEPTIONS
                                                          (Continued)

                                      telegraphic communication
         Recording Date:              June 04, 1914
         Recording No:                in Book 398, Page 130, of Deeds
         Affects:                     A portion of said land as described therein

13.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The United States of America
         Purpose:                     Water pipeline
         Recording Date:              July 19, 1949
         Recording No:                in Book 1095, Page 306, of Official Records
         Affects:                     A portion of said land as described therein

         Matters contained in that certain document

         Entitled:                    Quitclaim Deed and Release
         Recording Date:              July 31, 2018
         Recording No:                Instrument No. 2018-0307549, of Official Records

         Reference is hereby made to said document for full particulars.

14.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley County Water District
         Purpose:                     Pipeline
         Recording Date:              September 21, 1960
         Recording No:                Instrument No. 1960-82454, of Official Records
         Affects:                     A portion of said land as described therein

15.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Imperial Irrigation District
         Purpose:                     Public utilities
         Recording Date:              July 22, 1970
         Recording No:                Instrument No. 1970-70546, of Official Records
         Affects:                     A portion of said land as described therein

16.      Easements as shown and/or dedicated upon the recorded map referenced in the legal description in
         Schedule A as Parcel Map 37310, in the City of Coachella, County of Riverside, State of California,
         according to map on file in Book 243, Pages 82 through 84 inclusive of Parcel Maps, records of Riverside
         County, California, together with any provisions and recitals contained therein.

         Reference is hereby made to said document for full particulars.

17.      The Land described herein is included within a project area of the Redevelopment Agency shown below, and that
         proceedings for the redevelopment of said project have been instituted under the Redevelopment Law (such
         redevelopment to proceed only after the adoption of the Redevelopment Plan) as disclosed by a document.

         Redevelopment Agency:                  City of Coachella
         Recording Date:                        July 10, 2007
         Recording No:                          Instrument No. 2007-0449636, of Official Records




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         and Recording Date:          July 10, 2007
         and Recording No:            Instrument No. 2007-0449637, of Official Records

18.      Recitals as shown on Parcel Map 37310

         Recording No:                      in Book 243, Pages 82 to 84 inclusive of Parcel Maps
         Which among other things recites: The real property described below is dedicated in fee for street and
                                            public utility purposes: Lot “A” as shown hereon.

                                                As a condition of dedication of Lot “A” (Avenue 48), the owners of Parcels 1-4,
                                                and 6, inclusive, abutting this right of way and during such time will have no
                                                rights of access except the general easement of travel. Any change of alignment
                                                or width that results in the vacation thereof shall terminate this condition of
                                                access rights as to the party vacated.

         Reference is hereby made to said document for full particulars.

19.      The following matters shown or disclosed by the filed or recorded map referred to in the legal description: Various
         notes and recitals
20.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for dedication,
         on the map of said tract/plat;

         Purpose:                     Landscape and/or retention basin
         Affects:                     As shown on said map

21.      Matters contained in that certain document

         Entitled:                    Water Quality Management Plan and Urban Runoff BMP Transfer, Access and
                                      Maintenance Agreement
         Recording Date:              December 06, 2017
         Recording No:                Instrument No. 2017-0512010, of Official Records

         Reference is hereby made to said document for full particulars.

22.      Matters contained in that certain document

         Entitled:                    Glenroy Resort Development Agreement
         Recording Date:              March 8, 2018
         Recording No:                Instrument No. 2018-0089219, of Official Records

         Reference is hereby made to said document for full particulars.

23.      Terms and provisions contained in that certain unrecorded Parking License Agreement dated April 20, 2018 by
         and between Glenroy Coachella, LLC and Force-DMP LLC.




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24.      Matters contained in that certain document

         Entitled:                    Memorandum of Tenancy in Common Agreement
         Recording Date:              April 24, 2018
         Recording No:                Instrument No. 2018-0156322, of Official Records

         Reference is hereby made to said document for full particulars.

25.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The City of Coachella
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              September 06, 2018
         Recording No:                Instrument No. 2018-0359087, of Official Records
         Affects:                     A portion of said land as described therein

26.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Southern California Gas Company, a California Corporation, its successors and assigns
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423528, of Official Records
         Affects:                     A portion of said land as described therein

27.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $24,400,000.00
         Dated:                       April 26, 2018
         Trustor/Grantor              Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Trustee:                     Stewart Title of California, Inc., a California corporation
         Beneficiary:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Loan No.:                    None shown
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162476,of Official Records

         Affects:                     The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350103, of Official Records

         A notice of default under the terms of said trust deed

         Executed by:                 Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350104, of Official Records




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         A notice of trustee’s sale under said deed of trust

         Executed by:                           Fidelity National Title Company
         Date, Time and Place of Sale:          February 9, 2021, at 09:00 AM, in front of the Corona Civic Center, 849 W.
                                                Sixth Street, Corona, CA 92882
         Recording Date:                        January 14, 2021
         Recording No:                          Instrument No. 2021-0025741, of Official Records

28.      An assignment of all the moneys due, or to become due as rental, as additional security for the obligations secured
         by deed of trust shown as item above

         Assigned to:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162477,of Official Records

29.      A financing statement as follows:

         Debtor:                      Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Secured Party:               U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162478,of Official Records

30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hi-Grade Materials Co
         Amount:                      $32,847.96
         Recording Date:              July 5, 2018
         Recording No:                Instrument No. 2018-0273102, of Official Records

31.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Glendale Plumbing and Fire Supply
         Amount:                      $23,792.54
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423202, of Official Records

32.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Constructure, Inc.
         Amount:                      $301,119.50
         Recording Date:              January 22, 2019
         Recording No:                Instrument No. 2019-0022660, of Official Records

33.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC.
         Amount:                      $119,569.73
         Recording Date:              May 22, 2019
         Recording No:                Instrument No. 2019-0179443, of Official Records



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34.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Ready Mix Concrete L.P.
         Amount:                      $20,571.27
         Recording Date:              May 29, 2019
         Recording No:                Instrument No. 2019-0190540, of Official Records

35.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    The Sherwin-Williams Company
         Amount:                      $33,333.11
         Recording Date:              June 3, 2019
         Recording No:                Instrument No. 2019-0198410, of Official Records

         Said mechanic’s lien has been partially released by instrument

         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0252361, of Official Records

         Claimant reduces its Mechanics’ Lien by $6,538.32, to reflect the current amount subject to the Claimant’s
         Mechanics’ Lien in the sum of $26,794.79.

36.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $259,695.63
         Recording Date:              June 6, 2019
         Recording No:                Instrument No. 2019-0204095, of Official Records

37.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Blair Air, Inc. Dba Blair Heating & Air
         Amount:                      $297,443.80
         Recording Date:              June 7, 2019
         Recording No:                Instrument No. 2019-0206598, of Official Records

38.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hajoca Corporation
         Amount:                      $39,636.17
         Recording Date:              June 11, 2019
         Recording No:                Instrument No. 2019-0210159, of Official Records

39.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    American Builders and Contractors Supply Co., Inc. – ABC Supply Co., Inc.
         Amount:                      $24,813.58
         Recording Date:              June 13, 2019
         Recording No:                Instrument No. 2019-0213172, of Official Records




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40.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Electric Supply
         Amount:                      $61,574.60
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0218809, of Official Records

41.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Apple J Plumbing, Inc.
         Amount:                      $175,845.06
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0219453, of Official Records

42.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Jacobsson Engineering Construction, Inc.
         Amount:                      $1,042,299.00
         Recording Date:              June 21, 2019
         Recording No:                Instrument No. 2019-0225760, of Official Records

43.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    West Coast Sand and Gravel, Inc.
         Amount:                      $21,666.29
         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0253543, of Official Records

44.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Pool Products, LLC
         Amount:                      $14,386.05
         Recording Date:              July 11, 2019
         Recording No:                Instrument No. 2019-0254740 Official Records

45.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Resource Building Materials
         Amount:                      $1,905.04
         Recording Date:              July 15, 2019
         Recording No:                Instrument No. 2019-0258520, of Official Records

46.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $10,861.98
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293318, of Official Records




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47.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $8,643.42
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293319, of Official Records

48.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Palms Electric, Inc.
         Amount:                      $389,839.09
         Recording Date:              August 6, 2019
         Recording No:                Instrument No. 2019-0295567, of Official Records

49.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $21,153.36
         Recording Date:              August 21, 2019
         Recording No:                Instrument No. 2019-0321135, of Official Records

50.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC
         Amount:                      $119,569.73
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328148, of Official Records

51.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    TemalPakh, Inc., dba The Works Floor & Wall
         Amount:                      $33,628.46
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328428, of Official Records

52.      A judgment for the amount shown below, and any other amounts due, entered in the United States District Court:

         Amount:                      $89,110.62 (Damages)
         Amount:                      $5,164.42 (Attorney’s Fees)
         Debtor:                      Glenroy Coachella, LLC, and Does 1-10
         Creditor:                    Silhouette Outdoor Furniture, Inc.
         Date entered:                July 02, 2019
         District:                    Central, State of California
         Case No:                     EDCV 19-00373-CJC (KKx)
         Recording Date:              August 29, 2019
         Recording No:                Instrument No. 2019-0336225, of Official Records

53.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    BMC West, LLC
         Amount:                      $50,290.00
         Recording Date:              September 11, 2019
         Recording No:                Instrument No. 2019-0354394, of Official Records


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54.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Doug Wall Construction, Inc.
         Amount:                      $3,876,856.10
         Recording Date:              September 12, 2019
         Recording No:                Instrument No. 2019-0356369, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $4,359,813.13
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0401936, of Official Records

55.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Blair Air, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glen Roy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906241
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0370664, of Official Records

56.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Al Miller & Sons Roofing Co., Inc.
         Amount:                      $111,631.71
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0372302, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $153,901.00
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402031, of Official Records

57.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Mascorro Concrete Construction, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906560
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376608, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
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58.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Apple J. Plumbing, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906579
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376609, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668682, of Official Records

59.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Desert Palms Electric, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906554
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376610, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668681, of Official Records

60.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Ferguson Enterprises, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906136
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376684, of Official Records

61.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Southwest Plumbing inc.
         Amount:                      $111,141.13
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0377201, of Official Records




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62.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $40,000.00
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379585, of Official Records

63.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $396,871.43
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379586, of Official Records

64.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Tandem West Glass, Inc.
         Amount:                      $387,752.38
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379822, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $795,971.26
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402041, of Official Records

         As affected by a Second Amended Mechanics Lien

         Amount:                      $449,849.39
         Recording Date:              October 11, 2019
         Recording No:                Instrument No. 2019-0410373, of Official Records

65.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $250,695.63
         Recording Date:              September 27, 2019
         Recording No:                Instrument No. 2019-385786, of Official Records

66.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    La Hacienda Nursery & Landscape, Inc.
         Amount:                      $146,717.74
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415743, of Official Records




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67.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Doug Wall Construction, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907309
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415790, of Official Records

68.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tmalpakh, Inc., a California corporation dba The Works Floor & Wall
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907262
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 23, 2019
         Recording No:                Instrument No. 2019-0428103, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668684, of Official Records

69.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Orco Block & Hardscape, a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907155
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 25, 2019
         Recording No:                Instrument No. 2019-0432553, of Official Records

70.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   BMC West LLC, a Delaware limited liability company
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1908245
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              November 22, 2019
         Recording No:                Instrument No. 2019-0483250, of Official Records




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71.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   La Hacienda Nursery & Landscape, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909423
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 2, 2020
         Recording No:                Instrument No. 2020-0000938, of Official Records

72.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   All Phase Drywall & Development, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909367
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 9, 2020
         Recording No:                Instrument No. 2020-0009905, of Official Records

73.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tandem West Glass, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000015
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013976, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668679, of Official Records

74.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Al Miller & Sons Roofing, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000009
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013979, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668683, of Official Records


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                                                       EXCEPTIONS
                                                        (Continued)

75.      Matters contained in that certain document

         Entitled:                    Stipulation and Order RE Appointment of Receiver and Preliminary Junction
         Recording Date:              January 29, 2020
         Recording No:                Instrument No. 2020-0044153, of Official Records

         Reference is hereby made to said document for full particulars.

76.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   U.S. Real Estate Credit Holdings III-A, LP
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    RIC1905743
         Recording Date:              February 13, 2020
         Recording No.:               Instrument No. 2020-0068228, of Official Records

77.      Certificate of Indebtedness of the Receiver – Receiver Certificate No. 1

         Recording Date:              June 12, 2020
         Recording No.:               Instrument No. 2020-0252044 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252045 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252046 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252047 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252048 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252049 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252050 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252051 Official Records

78.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $28,829.75
         Recording Date:              June 25, 2018
         Recording No:                Instrument No. 2018-0255143, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

79.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed by the
         public records.

         The Company will require, for review, a full and complete copy of any unrecorded agreement, contract, license
         and/or lease, together with all supplements, assignments and amendments thereto, before issuing any policy of title
         insurance without excepting this item from coverage.

         The Company reserves the right to except additional items and/or make additional requirements after reviewing said
         documents.

80.      Any facts, rights, interests or claims that may exist or arise by reason of the following matters disclosed by a
         pending final ALTA/NSPS Survey prepared by Saxon Engineering Services, Inc., dated April 10, 2018, designated
         as Job No. Glenroy Coachella:

         a. Electrical vaults located on the northerly property line of Parcel 4.
         b. A cable television box located along the westerly boundary of Parcel 2.
         c. An electrical transformer located along the westerly boundary of Parcel 2.
         d. A street light pole encroaching in the southwest corner of Parcel 2.

81.      Any easements not disclosed by the public records as to matters affecting title to real property, whether or not said
         easements are visible and apparent.

82.      Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other matters which a correct
         survey would disclose and which are not shown by the public records.

83.      Matters which may be disclosed by an inspection and/or by a correct ALTA/ACSM Land Title Survey of said Land
         that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.


      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.


                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION

1.       In order to complete this report, the Company requires a Statement of Information to be completed by the following
         party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the requested
         Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under this order.
               Any title search includes matters that are indexed by name only, and having a completed Statement of
               Information assists the Company in the elimination of certain matters which appear to involve the parties
               but in fact affect another party with the same or similar name. Be assured that the Statement of Information
               is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance predicated
         upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:             Glenroy Coachella, LLC, a Delaware limited liability company,
                                                Force Rubin, LLC, a Delaware limited liability company,
                                                Force Rubin 2, LLC, a Delaware limited liability company
                                                Coachella Resort, LLC, a California limited liability company

         a)          A copy of its operating agreement, if any, and all amendments, supplements and/or modifications thereto,
                     certified by the appropriate manager or member.

         b)          If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments thereto
                     with the appropriate filing stamps.

         c)          If the Limited Liability Company is member-managed, a full and complete current list of members certified
                     by the appropriate manager or member.

         d)          A current dated certificate of good standing from the proper governmental authority of the state in which
                     the entity is currently domiciled.

         e)          If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
                     evidence of the authority of those signing.

         f)          If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                     Member will be required.

         g)          Each member and manager of the LLC without an Operating Agreement must execute in the presence of a
                     notary public the Certificate of California LLC (Without an Operating Agreement) Status and Authority
                     form.

3.       This transaction requires high liability approval prior to close of escrow together with an inspection of the subject
         property.

         Please advise title department with an estimated date that your transaction will close so we can schedule the
         necessary approvals and inspections.

4.       The transaction contemplated in connection with this Report is subject to the review and approval of the Company’s
         Corporate Underwriting Department. The Company reserves the right to add additional items or make further
         requirements after such review.




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                                                      REQUIREMENTS
                                                          (Continued)

5.       Please call the Title Department five (5) days prior to the contemplated closing to determine if additional documents
         or information is required.

         Phone Number:                (949) 788-2800




                                                     END OF REQUIREMENTS




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                                       INFORMATIONAL NOTES SECTION

1.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

2.       Note: Please contact your Title Officer to obtain the current recording fees. Fidelity National Title Company will
         pay Fidelity National Title Insurance Company 12% of the title premium, as disclosed on lines 1107 and 1108 of the
         HUD-1.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may demand
         arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim between the Company
         and the insured arising out of or relating to this policy, any service of the Company in connection with its issuance
         or the breach of a policy provision or other obligation. Please ask your escrow or title officer for a sample copy of
         the policy to be issued if you wish to review the arbitration provisions and any other provisions pertaining to your
         Title Insurance coverage.

4.       Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
         distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
         Land that is associated with these activities.

5.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a Documentary Transfer
         Tax (DTT) Affidavit may be required to be completed and submitted with each document when DTT is being paid
         or when an exemption is being claimed from paying the tax. If a governmental agency is a party to the document,
         the form will not be required. DTT Affidavits may be available at a Tax Assessor-County Clerk-Recorder.

6.       The Company and its policy issuing agents are required by Federal law to collect additional information about
         certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
         required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
         agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the
         transaction contemplated herein.

         To protect the private information contained in the attached form and photo ID, please return via a secured
         method.



                                             END OF INFORMATIONAL NOTES

Blake.Uradomo/sp1




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

     •     NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
     •     ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
     •     USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
     •     USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
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          Fidelity National Title Company
          1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
          Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                               Last Saved: April 2, 2021 by SP1
MISC0164 (DSI Rev. 03/12/20)                                                             Escrow No.: 00346564-997-OC1-245

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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective January 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
• contact information (e.g., name, address, phone number, email address);
• demographic information (e.g., date of birth, gender, marital status);
• identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
• financial account information (e.g. loan or bank account information); and
• other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
• information we receive from you or your agent;
• information about your transactions with FNF, our affiliates, or others; and
• information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
• Internet Protocol (IP) address and operating system;
• browser version, language, and type;
• domain name system requests; and
• browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
• To provide products and services to you or in connection with a transaction involving you.
• To improve our products and services.
• To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
• to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
• to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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• to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
• to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
• in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.

For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.



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Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                          601 Riverside Avenue
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
    •     For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                  Issuing Policies of Fidelity National Title Insurance Company


Title Officer: Blake.Uradomo                                                          ORDER NO.: 00346565-997-OC1-245
Phone: (949) 788-2800
Fax: (949) 341-0251                                                                                                LOAN NO.:
Email: Blake.Uradomo@fnf.com

Fidelity National Title Company
1300 Dove Street, 3rd Floor
Newport Beach, CA 92660

ATTN:              Ben Llorin
YOUR REF:

PROPERTY:          Vacant Land, Coachella, CA


                                                PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Attachment One. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner’s Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Attachment One. Copies of the policy forms should be read. They are available from
the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a
policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a
policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance Company, a
Florida Corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in Attachment One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not covered
under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not
list all liens, defects and encumbrances affecting title to the land.
Countersigned by:




Authorized Signature




CLTA Preliminary Report Form – Modified (11/17/06)                                                                          Page 1

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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                PRELIMINARY REPORT


EFFECTIVE DATE:                       March 24, 2021 at 7:30 a.m.

ORDER NO.: 00346565-997-OC1-245

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
         BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Glenroy Coachella, LLC, a Delaware limited liability company, as to an undivided 70.5% interest;
         Force Rubin, LLC, a Delaware limited liability company, as to an undivided 21.2115% interest;
         Force Rubin 2, LLC, a Delaware limited liability company, as to an undivided 3.7885% interest; and
         Coachella Resort, LLC, a California limited liability company, as to an undivided 4.5% interest

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




CLTA Preliminary Report Form – Modified (11/17/06)                                                            Page 2

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PRELIMINARY REPORT                                                             Fidelity National Title Company
YOUR REFERENCE:                                                           ORDER NO.: 00346565-997-OC1-245


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF COACHELLA, IN THE COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 4 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF RIVERSIDE, STATE OF
CALIFORNIA, ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF PARCEL MAPS,
RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED TO THE CITY OF COACHELLA, A
MUNICIPAL CORPORATION, AS DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
(GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS INSTRUMENT NO. 2018-359087 OF OFFICIAL
RECORDS.



APN: 603-220-068




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                                                      EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION
TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to be levied
         for the fiscal year 2021-2022.

2.       Property taxes, including any personal property taxes and any assessments collected with taxes are as follows:

         Code Area:                   012-037
         Tax Identification No.:      603-220-068
         Fiscal Year:                 2020-2021
         1st Installment:             $149,118.64, Paid
         2nd Installment:             $149,118.64, Open
         Exemption:                   $0.00
         Land:                        $613,199.00
         Improvements:                $0.00
         Personal Property:           $0.00
         Bill No.:                    2020004843149

3.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the provisions of
         Chapter 3.5 or Part 2, Chapter 3, Articles 3 and 4 respectively (commencing with Section 75) of the Revenue and
         Taxation Code of the State of California as a result of the transfer of title to the vestee named in Schedule A; or as a
         result of changes in ownership or new construction occurring prior to date of policy.

4.       The herein described Land is within the boundaries of the Mello-Roos Community Facilities District(s). The annual
         assessments, if any, are collected with the county property taxes. Failure to pay said taxes prior to the delinquency
         date may result in the above assessment being removed from the county tax roll and subjected to Accelerated
         Judicial Bond Foreclosure. Inquiry should be made with said District for possible stripped assessments and prior
         delinquencies.

5.       A Notice

         Entitled:                    Notice of Assessment
         For:                         Coachella Community Center Project Assessment District No. 92-1
         Executed by:                 The Coachella Valley Recreation & Parks District
         Recording Date:              October 13, 1992
         Recording No:                Instrument No. 1992-385076 Official Records

         Reference is hereby made to said document for full particulars.

6.       Any assessments which may be levied against the herein described property by virtue of the fact that said land lies
         within the boundaries of Community Facilities District 2018-1 (Glenroy) adopted by the City of Coachella, a
         boundary map of which is on file in Book 82, Page 7 of Maps of Assessment and Community Facilities Districts,
         recorded February 21, 2018 as Instrument No. 2018-0064380 Official Records, and amended in Book 82, Page 38,
         recorded April 25, 2018 as Instrument No. 2018-158456 Official Records.

7.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                       2005-1
         For:                         Community Facilities District No. 2005-1 (Law Enforcement, Fire and Paramedic
                                      Services)
         Disclosed by:                Notice of Special Tax lien
         Recording Date:              November 3, 2005
         Recording No.:               Instrument No. 2005-0916803, of Official Records

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         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.
         The tax may not be prepaid.

         Matters contained in that certain document

         Entitled:                    Amendment No. 3 to Notice of Special Tax Lien
         Recording Date:              October 6, 2006
         Recording No:                Instrument No. 2006-0741243, of Official Records

         Reference is hereby made to said document for full particulars.

8.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                      2018-1
         For:                         Community Facilities District No. 2018-1
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              June 4, 2018
         Recording No.:               Instrument No. 2018-0225621 Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.

         The tax may not be prepaid.

9.       Assessments and other matters as contained in documents entitled Payment of Contractual Assessment Required,
         recorded April 25, 2018, as Document No. 2018-0160475, of Official, pursuant to Chapter 29 of Part 3 of Division 7
         of the California Streets and Highways Code providing for the assessments. Said assessments are collected with
         county taxes. The assessment may be prepaid.

         Reference is hereby made to said documents for further particulars.

10.      Water rights, claims or title to water, whether or not disclosed by the public records.

11.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not limited to
         those based upon race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, marital
         status, national origin, ancestry, familial status, source of income, disability, veteran or military status, genetic
         information, medical condition, citizenship, primary language, and immigration status, as set forth in applicable state
         or federal laws, except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
         document

         Recording Date:              June 6, 1892
         Recording No:                in Book 202, Page 144, of Deeds, San Diego County Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any mortgage
         or deed of trust made in good faith and for value.

12.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley Ice and Electric Company
         Purpose:                     Transmission and distribution of electricity and telephonic communication and


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                                      telegraphic communication
         Recording Date:              June 04, 1914
         Recording No:                in Book 398, Page 130, of Deeds
         Affects:                     A portion of said land as described therein

13.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The United States of America
         Purpose:                     Water pipeline
         Recording Date:              July 19, 1949
         Recording No:                in Book 1095, Page 306, of Official Records
         Affects:                     A portion of said land as described therein

         Matters contained in that certain document

         Entitled:                    Quitclaim Deed and Release
         Recording Date:              July 31, 2018
         Recording No:                Instrument No. 2018-0307549, of Official Records

         Reference is hereby made to said document for full particulars.

14.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley County Water District
         Purpose:                     Pipeline
         Recording Date:              September 21, 1960
         Recording No:                Instrument No. 1960-82454, of Official Records
         Affects:                     A portion of said land as described therein

15.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Imperial Irrigation District
         Purpose:                     Public utilities
         Recording Date:              July 22, 1970
         Recording No:                Instrument No. 1970-70546, of Official Records
         Affects:                     A portion of said land as described therein

16.      Easements as shown and/or dedicated upon the recorded map referenced in the legal description in
         Schedule A as Parcel Map 37310, in the City of Coachella, County of Riverside, State of California,
         according to map on file in Book 243, Pages 82 through 84 inclusive of Parcel Maps, records of Riverside
         County, California, together with any provisions and recitals contained therein.

         Reference is hereby made to said document for full particulars.

17.      The Land described herein is included within a project area of the Redevelopment Agency shown below, and that
         proceedings for the redevelopment of said project have been instituted under the Redevelopment Law (such
         redevelopment to proceed only after the adoption of the Redevelopment Plan) as disclosed by a document.

         Redevelopment Agency:                  City of Coachella
         Recording Date:                        July 10, 2007
         Recording No:                          Instrument No. 2007-0449636, of Official Records




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         and Recording Date:          July 10, 2007
         and Recording No:            Instrument No. 2007-0449637, of Official Records

18.      Recitals as shown on Parcel Map 37310

         Recording No:                      in Book 243, Pages 82 to 84 inclusive of Parcel Maps
         Which among other things recites: The real property described below is dedicated in fee for street and
                                            public utility purposes: Lot “A” as shown hereon.

                                                As a condition of dedication of Lot “A” (Avenue 48), the owners of Parcels 1-4,
                                                and 6, inclusive, abutting this right of way and during such time will have no
                                                rights of access except the general easement of travel. Any change of alignment
                                                or width that results in the vacation thereof shall terminate this condition of
                                                access rights as to the party vacated.

         Reference is hereby made to said document for full particulars.

19.      The following matters shown or disclosed by the filed or recorded map referred to in the legal description: Various
         notes and recitals

20.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for dedication,
         on the map of said tract/plat;

         Purpose:                     Landscape and/or retention basin
         Affects:                     As shown on said map

21.      Matters contained in that certain document

         Entitled:                    Water Quality Management Plan and Urban Runoff BMP Transfer, Access and
                                      Maintenance Agreement
         Recording Date:              December 06, 2017
         Recording No:                Instrument No. 2017-0512010, of Official Records

         Reference is hereby made to said document for full particulars.

22.      Matters contained in that certain document

         Entitled:                    Glenroy Resort Development Agreement
         Recording Date:              March 8, 2018
         Recording No:                Instrument No. 2018-0089219, of Official Records

         Reference is hereby made to said document for full particulars.

23.      Terms and provisions contained in that certain unrecorded Parking License Agreement dated April 20, 2018 by
         and between Glenroy Coachella, LLC and Force-DMP LLC.




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24.      Matters contained in that certain document

         Entitled:                    Memorandum of Tenancy in Common Agreement
         Recording Date:              April 24, 2018
         Recording No:                Instrument No. 2018-0156322, of Official Records

         Reference is hereby made to said document for full particulars.

25.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The City of Coachella
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              September 06, 2018
         Recording No:                Instrument No. 2018-0359087, of Official Records
         Affects:                     A portion of said land as described therein

26.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Southern California Gas Company, a California Corporation, its successors and assigns
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423528, of Official Records
         Affects:                     A portion of said land as described therein

27.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $24,400,000.00
         Dated:                       April 26, 2018
         Trustor/Grantor              Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Trustee:                     Stewart Title of California, Inc., a California corporation
         Beneficiary:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Loan No.:                    None shown
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162476,of Official Records

         Affects:                     The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350103, of Official Records

         A notice of default under the terms of said trust deed

         Executed by:                 Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350104, of Official Records




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         A notice of trustee’s sale under said deed of trust

         Executed by:                           Fidelity National Title Company
         Date, Time and Place of Sale:          February 9, 2021, at 09:00 AM, in front of the Corona Civic Center, 849 W.
                                                Sixth Street, Corona, CA 92882
         Recording Date:                        January 14, 2021
         Recording No:                          Instrument No. 2021-0025741, of Official Records

28.      An assignment of all the moneys due, or to become due as rental, as additional security for the obligations secured
         by deed of trust shown as item above

         Assigned to:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162477,of Official Records

29.      A financing statement as follows:

         Debtor:                      Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Secured Party:               U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162478,of Official Records

30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hi-Grade Materials Co
         Amount:                      $32,847.96
         Recording Date:              July 5, 2018
         Recording No:                Instrument No. 2018-0273102, of Official Records

31.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Glendale Plumbing and Fire Supply
         Amount:                      $23,792.54
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423202, of Official Records

32.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Constructure, Inc.
         Amount:                      $301,119.50
         Recording Date:              January 22, 2019
         Recording No:                Instrument No. 2019-0022660, of Official Records

33.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC.
         Amount:                      $119,569.73
         Recording Date:              May 22, 2019
         Recording No:                Instrument No. 2019-0179443, of Official Records



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34.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Ready Mix Concrete L.P.
         Amount:                      $20,571.27
         Recording Date:              May 29, 2019
         Recording No:                Instrument No. 2019-0190540, of Official Records

35.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    The Sherwin-Williams Company
         Amount:                      $33,333.11
         Recording Date:              June 3, 2019
         Recording No:                Instrument No. 2019-0198410, of Official Records

         Said mechanic’s lien has been partially released by instrument

         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0252361, of Official Records

         Claimant reduces its Mechanics’ Lien by $6,538.32, to reflect the current amount subject to the Claimant’s
         Mechanics’ Lien in the sum of $26,794.79.

36.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $259,695.63
         Recording Date:              June 6, 2019
         Recording No:                Instrument No. 2019-0204095, of Official Records

37.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Blair Air, Inc. Dba Blair Heating & Air
         Amount:                      $297,443.80
         Recording Date:              June 7, 2019
         Recording No:                Instrument No. 2019-0206598, of Official Records

38.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hajoca Corporation
         Amount:                      $39,636.17
         Recording Date:              June 11, 2019
         Recording No:                Instrument No. 2019-0210159, of Official Records

39.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    American Builders and Contractors Supply Co., Inc. – ABC Supply Co., Inc.
         Amount:                      $24,813.58
         Recording Date:              June 13, 2019
         Recording No:                Instrument No. 2019-0213172, of Official Records




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40.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Electric Supply
         Amount:                      $61,574.60
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0218809, of Official Records

41.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Apple J Plumbing, Inc.
         Amount:                      $175,845.06
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0219453, of Official Records

42.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Jacobsson Engineering Construction, Inc.
         Amount:                      $1,042,299.00
         Recording Date:              June 21, 2019
         Recording No:                Instrument No. 2019-0225760, of Official Records

43.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    West Coast Sand and Gravel, Inc.
         Amount:                      $21,666.29
         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0253543, of Official Records

44.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Pool Products, LLC
         Amount:                      $14,386.05
         Recording Date:              July 11, 2019
         Recording No:                Instrument No. 2019-0254740 Official Records

45.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Resource Building Materials
         Amount:                      $1,905.04
         Recording Date:              July 15, 2019
         Recording No:                Instrument No. 2019-0258520, of Official Records

46.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $10,861.98
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293318, of Official Records




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47.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $8,643.42
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293319, of Official Records

48.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Palms Electric, Inc.
         Amount:                      $389,839.09
         Recording Date:              August 6, 2019
         Recording No:                Instrument No. 2019-0295567, of Official Records

49.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $21,153.36
         Recording Date:              August 21, 2019
         Recording No:                Instrument No. 2019-0321135, of Official Records

50.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC
         Amount:                      $119,569.73
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328148, of Official Records

51.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    TemalPakh, Inc., dba The Works Floor & Wall
         Amount:                      $33,628.46
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328428, of Official Records

52.      A judgment for the amount shown below, and any other amounts due, entered in the United States District Court:

         Amount:                      $89,110.62 (Damages)
         Amount:                      $5,164.42 (Attorney’s Fees)
         Debtor:                      Glenroy Coachella, LLC, and Does 1-10
         Creditor:                    Silhouette Outdoor Furniture, Inc.
         Date entered:                July 02, 2019
         District:                    Central, State of California
         Case No:                     EDCV 19-00373-CJC (KKx)
         Recording Date:              August 29, 2019
         Recording No:                Instrument No. 2019-0336225, of Official Records

53.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    BMC West, LLC
         Amount:                      $50,290.00
         Recording Date:              September 11, 2019
         Recording No:                Instrument No. 2019-0354394, of Official Records


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54.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Doug Wall Construction, Inc.
         Amount:                      $3,876,856.10
         Recording Date:              September 12, 2019
         Recording No:                Instrument No. 2019-0356369, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $4,359,813.13
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0401936, of Official Records

55.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Blair Air, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glen Roy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906241
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0370664, of Official Records

56.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Al Miller & Sons Roofing Co., Inc.
         Amount:                      $111,631.71
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0372302, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $153,901.00
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402031, of Official Records

57.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Mascorro Concrete Construction, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906560
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376608, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668680, of Official Records



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58.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Apple J. Plumbing, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906579
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376609, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668682, of Official Records

59.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Desert Palms Electric, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906554
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376610, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668681, of Official Records

60.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Ferguson Enterprises, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906136
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376684, of Official Records

61.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Southwest Plumbing inc.
         Amount:                      $111,141.13
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0377201, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

62.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $40,000.00
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379585, of Official Records

63.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $396,871.43
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379586, of Official Records

64.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Tandem West Glass, Inc.
         Amount:                      $387,752.38
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379822, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $795,971.26
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402041, of Official Records

         As affected by a Second Amended Mechanics Lien

         Amount:                      $449,849.39
         Recording Date:              October 11, 2019
         Recording No:                Instrument No. 2019-0410373, of Official Records

65.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $250,695.63
         Recording Date:              September 27, 2019
         Recording No:                Instrument No. 2019-385786, of Official Records

66.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    La Hacienda Nursery & Landscape, Inc.
         Amount:                      $146,717.74
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415743, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

67.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Doug Wall Construction, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907309
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415790, of Official Records

68.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tmalpakh, Inc., a California corporation dba The Works Floor & Wall
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907262
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 23, 2019
         Recording No:                Instrument No. 2019-0428103, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668684, of Official Records

69.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Orco Block & Hardscape, a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907155
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 25, 2019
         Recording No:                Instrument No. 2019-0432553, of Official Records

70.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   BMC West LLC, a Delaware limited liability company
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1908245
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              November 22, 2019
         Recording No:                Instrument No. 2019-0483250, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

71.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   La Hacienda Nursery & Landscape, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909423
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 2, 2020
         Recording No:                Instrument No. 2020-0000938, of Official Records

72.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   All Phase Drywall & Development, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909367
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 9, 2020
         Recording No:                Instrument No. 2020-0009905, of Official Records

73.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tandem West Glass, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000015
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013976, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668679, of Official Records

74.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Al Miller & Sons Roofing, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000009
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013979, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
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                                                       EXCEPTIONS
                                                        (Continued)

75.      Matters contained in that certain document

         Entitled:                    Stipulation and Order RE Appointment of Receiver and Preliminary Junction
         Recording Date:              January 29, 2020
         Recording No:                Instrument No. 2020-0044153, of Official Records

         Reference is hereby made to said document for full particulars.

76.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   U.S. Real Estate Credit Holdings III-A, LP
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    RIC1905743
         Recording Date:              February 13, 2020
         Recording No.:               Instrument No. 2020-0068228, of Official Records

77.      Certificate of Indebtedness of the Receiver – Receiver Certificate No. 1

         Recording Date:              June 12, 2020
         Recording No.:               Instrument No. 2020-0252044 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252045 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252046 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252047 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252048 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252049 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252050 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252051 Official Records

78.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $28,829.75
         Recording Date:              June 25, 2018
         Recording No:                Instrument No. 2018-0255143, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

79.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed by the
         public records.

         The Company will require, for review, a full and complete copy of any unrecorded agreement, contract, license
         and/or lease, together with all supplements, assignments and amendments thereto, before issuing any policy of title
         insurance without excepting this item from coverage.

         The Company reserves the right to except additional items and/or make additional requirements after reviewing said
         documents.

80.      Any facts, rights, interests or claims that may exist or arise by reason of the following matters disclosed by a
         pending final ALTA/NSPS Survey prepared by Saxon Engineering Services, Inc., dated April 10, 2018, designated
         as Job No. Glenroy Coachella:

         a. Electrical vaults located on the northerly property line of Parcel 4.
         b. A cable television box located along the westerly boundary of Parcel 2.
         c. An electrical transformer located along the westerly boundary of Parcel 2.
         d. A street light pole encroaching in the southwest corner of Parcel 2.

81.      Any easements not disclosed by the public records as to matters affecting title to real property, whether or not said
         easements are visible and apparent.

82.      Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other matters which a correct
         survey would disclose and which are not shown by the public records.

83.      Matters which may be disclosed by an inspection and/or by a correct ALTA/ACSM Land Title Survey of said Land
         that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.


      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.


                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION

1.       In order to complete this report, the Company requires a Statement of Information to be completed by the following
         party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the requested
         Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under this order.
               Any title search includes matters that are indexed by name only, and having a completed Statement of
               Information assists the Company in the elimination of certain matters which appear to involve the parties
               but in fact affect another party with the same or similar name. Be assured that the Statement of Information
               is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance predicated
         upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:             Glenroy Coachella, LLC, a Delaware limited liability company
                                                Force Rubin, LLC, a Delaware limited liability company
                                                Force Rubin 2, LLC, a Delaware limited liability company
                                                Coachella Resort, LLC

         a)          A copy of its operating agreement, if any, and all amendments, supplements and/or modifications thereto,
                     certified by the appropriate manager or member.

         b)          If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments thereto
                     with the appropriate filing stamps.

         c)          If the Limited Liability Company is member-managed, a full and complete current list of members certified
                     by the appropriate manager or member.

         d)          A current dated certificate of good standing from the proper governmental authority of the state in which
                     the entity is currently domiciled.

         e)          If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
                     evidence of the authority of those signing.

         f)          If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                     Member will be required.

         g)          Each member and manager of the LLC without an Operating Agreement must execute in the presence of a
                     notary public the Certificate of California LLC (Without an Operating Agreement) Status and Authority
                     form.

3.       This transaction requires high liability approval prior to close of escrow together with an inspection of the subject
         property.

         Please advise title department with an estimated date that your transaction will close so we can schedule the
         necessary approvals and inspections.

4.       The transaction contemplated in connection with this Report is subject to the review and approval of the Company’s
         Corporate Underwriting Department. The Company reserves the right to add additional items or make further
         requirements after such review.




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                                                      REQUIREMENTS
                                                          (Continued)

5.       Please call the Title Department five (5) days prior to the contemplated closing to determine if additional documents
         or information is required.

         Phone Number:                (949) 788-2800




                                                     END OF REQUIREMENTS




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                                       INFORMATIONAL NOTES SECTION

1.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

2.       Note: Please contact your Title Officer to obtain the current recording fees. Fidelity National Title Company will
         pay Fidelity National Title Insurance Company 12% of the title premium, as disclosed on lines 1107 and 1108 of the
         HUD-1.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may demand
         arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim between the Company
         and the insured arising out of or relating to this policy, any service of the Company in connection with its issuance
         or the breach of a policy provision or other obligation. Please ask your escrow or title officer for a sample copy of
         the policy to be issued if you wish to review the arbitration provisions and any other provisions pertaining to your
         Title Insurance coverage.

4.       Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
         distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
         Land that is associated with these activities.

5.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a Documentary Transfer
         Tax (DTT) Affidavit may be required to be completed and submitted with each document when DTT is being paid
         or when an exemption is being claimed from paying the tax. If a governmental agency is a party to the document,
         the form will not be required. DTT Affidavits may be available at a Tax Assessor-County Clerk-Recorder.

6.       The Company and its policy issuing agents are required by Federal law to collect additional information about
         certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
         required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
         agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the
         transaction contemplated herein.

         To protect the private information contained in the attached form and photo ID, please return via a secured
         method.




                                             END OF INFORMATIONAL NOTES

Blake.Uradomo/sp1




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

     •     NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
     •     ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
     •     USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
     •     USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
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          Fidelity National Title Company
          1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
          Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                               Last Saved: April 2, 2021 by SP1
MISC0164 (DSI Rev. 03/12/20)                                                             Escrow No.: 00346565-997-OC1-245

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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective January 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
• contact information (e.g., name, address, phone number, email address);
• demographic information (e.g., date of birth, gender, marital status);
• identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
• financial account information (e.g. loan or bank account information); and
• other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
• information we receive from you or your agent;
• information about your transactions with FNF, our affiliates, or others; and
• information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
• Internet Protocol (IP) address and operating system;
• browser version, language, and type;
• domain name system requests; and
• browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
• To provide products and services to you or in connection with a transaction involving you.
• To improve our products and services.
• To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
• to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
• to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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• to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
• to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
• in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.

For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.



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Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                          601 Riverside Avenue
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
    •     For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                  Issuing Policies of Fidelity National Title Insurance Company


Title Officer: Blake.Uradomo                                                          ORDER NO.: 00346563-997-OC1-245
Phone: (949) 788-2800
Fax: (949) 341-0251                                                                                                LOAN NO.:
Email: Blake.Uradomo@fnf.com

Fidelity National Title Company
1300 Dove Street, 3rd Floor
Newport Beach, CA 92660

ATTN:              Ben Llorin
YOUR REF:

PROPERTY:          Vacant Land, Coachella, CA


                                                PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Attachment One. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner’s Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Attachment One. Copies of the policy forms should be read. They are available from
the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a
policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a
policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance Company, a
Florida Corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in Attachment One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not covered
under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not
list all liens, defects and encumbrances affecting title to the land.
Countersigned by:




Authorized Signature




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         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                PRELIMINARY REPORT


EFFECTIVE DATE:                       March 24, 2021 at 7:30 a.m.

ORDER NO.: 00346563-997-OC1-245

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
         BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Glenroy Coachella, LLC, a Delaware limited liability company, as to an undivided 70.5% interest;
         Force Rubin, LLC, a Delaware limited liability company, as to an undivided 21.2115% interest;
         Force Rubin 2, LLC, a Delaware limited liability company, as to an undivided 3.7885% interest; and
         Coachella Resort, LLC, a California limited liability company, as to an undivided 4.5% interest

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF COACHELLA, IN THE COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 5 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF RIVERSIDE, STATE OF
CALIFORNIA, ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF PARCEL MAPS,
RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED TO THE CITY OF COACHELLA, A
MUNICIPAL CORPORATION, AS DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
(GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS INSTRUMENT NO. 2018-359087 OF OFFICIAL
RECORDS.



APN: 603-220-065




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YOUR REFERENCE:                                                                              ORDER NO.: 00346563-997-OC1-245


                                                        EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION
TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to be levied
         for the fiscal year 2021-2022.

2.       Property taxes, including any personal property taxes and any assessments collected with taxes are as follows:

         Code Area:                   012-037
         Tax Identification No.:      603-220-065
         Fiscal Year:                 2020-2021
         1st Installment:             $5,160.93, Paid
         2nd Installment:             $5,160.93, Open
         Exemption:                   $0.00
         Land:                        $450,096.00
         Improvements:                $0.00
         Personal Property:           $0.00
         Bill No.:                    2020001978579

3.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the provisions of
         Chapter 3.5 or Part 2, Chapter 3, Articles 3 and 4 respectively (commencing with Section 75) of the Revenue and
         Taxation Code of the State of California as a result of the transfer of title to the vestee named in Schedule A; or as a
         result of changes in ownership or new construction occurring prior to date of policy.

4.       The herein described Land is within the boundaries of the Mello-Roos Community Facilities District(s). The annual
         assessments, if any, are collected with the county property taxes. Failure to pay said taxes prior to the delinquency
         date may result in the above assessment being removed from the county tax roll and subjected to Accelerated
         Judicial Bond Foreclosure. Inquiry should be made with said District for possible stripped assessments and prior
         delinquencies.

5.       A Notice

         Entitled:                    Notice of Assessment
         For:                         Coachella Community Center Project Assessment District No. 92-1
         Executed by:                 The Coachella Valley Recreation & Parks District
         Recording Date:              October 13, 1992
         Recording No:                Instrument No. 1992-385076 Official Records

         Reference is hereby made to said document for full particulars.

6.       Any assessments which may be levied against the herein described property by virtue of the fact that said land lies
         within the boundaries of Community Facilities District 2018-1 (Glenroy) adopted by the City of Coachella, a
         boundary map of which is on file in Book 82, Page 7 of Maps of Assessment and Community Facilities Districts,
         recorded February 21, 2018 as Instrument No. 2018-0064380 Official Records, and amended in Book 82, Page 38,
         recorded April 25, 2018 as Instrument No. 2018-158456 Official Records.

7.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                       2005-1
         For:                         Community Facilities District No. 2005-1 (Law Enforcement, Fire and Paramedic
                                      Services)
         Disclosed by:                Notice of Special Tax lien
         Recording Date:              November 3, 2005
         Recording No.:               Instrument No. 2005-0916803, of Official Records

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                                                          (Continued)



         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.
         The tax may not be prepaid.

         Matters contained in that certain document

         Entitled:                    Amendment No. 3 to Notice of Special Tax Lien
         Recording Date:              October 6, 2006
         Recording No:                Instrument No. 2006-0741243, of Official Records

         Reference is hereby made to said document for full particulars.

8.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                      2018-1
         For:                         Community Facilities District No. 2018-1
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              June 4, 2018
         Recording No.:               Instrument No. 2018-0225621 Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.

         The tax may not be prepaid.

9.       Assessments and other matters as contained in documents entitled Payment of Contractual Assessment Required,
         recorded April 25, 2018, as Document No. 2018-0160476, of Official, pursuant to Chapter 29 of Part 3 of Division 7
         of the California Streets and Highways Code providing for the assessments. Said assessments are collected with
         county taxes. The assessment may be prepaid.

         Reference is hereby made to said documents for further particulars.

10.      Water rights, claims or title to water, whether or not disclosed by the public records.

11.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not limited to
         those based upon race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, marital
         status, national origin, ancestry, familial status, source of income, disability, veteran or military status, genetic
         information, medical condition, citizenship, primary language, and immigration status, as set forth in applicable state
         or federal laws, except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
         document

         Recording Date:              June 6, 1892
         Recording No:                in Book 202, Page 144, of Deeds, San Diego County Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any mortgage
         or deed of trust made in good faith and for value.

12.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley Ice and Electric Company
         Purpose:                     Transmission and distribution of electricity and telephonic communication and


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                                                         EXCEPTIONS
                                                          (Continued)

                                      telegraphic communication
         Recording Date:              June 04, 1914
         Recording No:                in Book 398, Page 130, of Deeds
         Affects:                     A portion of said land as described therein

13.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The United States of America
         Purpose:                     Water pipeline
         Recording Date:              July 19, 1949
         Recording No:                in Book 1095, Page 306, of Official Records
         Affects:                     A portion of said land as described therein

         Matters contained in that certain document

         Entitled:                    Quitclaim Deed and Release
         Recording Date:              July 31, 2018
         Recording No:                Instrument No. 2018-0307549, of Official Records

         Reference is hereby made to said document for full particulars.

14.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley County Water District
         Purpose:                     Pipeline
         Recording Date:              September 21, 1960
         Recording No:                Instrument No. 1960-82454, of Official Records
         Affects:                     A portion of said land as described therein

15.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Imperial Irrigation District
         Purpose:                     Public utilities
         Recording Date:              July 22, 1970
         Recording No:                Instrument No. 1970-70546, of Official Records
         Affects:                     A portion of said land as described therein

16.      Easements as shown and/or dedicated upon the recorded map referenced in the legal description in
         Schedule A as Parcel Map 37310, in the City of Coachella, County of Riverside, State of California,
         according to map on file in Book 243, Pages 82 through 84 inclusive of Parcel Maps, records of Riverside
         County, California, together with any provisions and recitals contained therein.

         Reference is hereby made to said document for full particulars.

17.      The Land described herein is included within a project area of the Redevelopment Agency shown below, and that
         proceedings for the redevelopment of said project have been instituted under the Redevelopment Law (such
         redevelopment to proceed only after the adoption of the Redevelopment Plan) as disclosed by a document.

         Redevelopment Agency:                  City of Coachella
         Recording Date:                        July 10, 2007
         Recording No:                          Instrument No. 2007-0449636, of Official Records




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         and Recording Date:          July 10, 2007
         and Recording No:            Instrument No. 2007-0449637, of Official Records

18.      Recitals as shown on Parcel Map 37310

         Recording No:                      in Book 243, Pages 82 to 84 inclusive of Parcel Maps
         Which among other things recites: The real property described below is dedicated in fee for street and
                                            public utility purposes: Lot “A” as shown hereon.

                                                As a condition of dedication of Lot “A” (Avenue 48), the owners of Parcels 1-4,
                                                and 6, inclusive, abutting this right of way and during such time will have no
                                                rights of access except the general easement of travel. Any change of alignment
                                                or width that results in the vacation thereof shall terminate this condition of
                                                access rights as to the party vacated.

         Reference is hereby made to said document for full particulars.

19.      The following matters shown or disclosed by the filed or recorded map referred to in the legal description: Various
         notes and recitals

20.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for dedication,
         on the map of said tract/plat;

         Purpose:                     Landscape and/or retention basin
         Affects:                     As shown on said map

21.      Matters contained in that certain document

         Entitled:                    Water Quality Management Plan and Urban Runoff BMP Transfer, Access and
                                      Maintenance Agreement
         Recording Date:              December 06, 2017
         Recording No:                Instrument No. 2017-0512010, of Official Records

         Reference is hereby made to said document for full particulars.

22.      Matters contained in that certain document

         Entitled:                    Glenroy Resort Development Agreement
         Recording Date:              March 8, 2018
         Recording No:                Instrument No. 2018-0089219, of Official Records

         Reference is hereby made to said document for full particulars.

23.      Terms and provisions contained in that certain unrecorded Parking License Agreement dated April 20, 2018 by
         and between Glenroy Coachella, LLC and Force-DMP LLC.




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24.      Matters contained in that certain document

         Entitled:                    Memorandum of Tenancy in Common Agreement
         Recording Date:              April 24, 2018
         Recording No:                Instrument No. 2018-0156322, of Official Records

         Reference is hereby made to said document for full particulars.

25.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The City of Coachella
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              September 06, 2018
         Recording No:                Instrument No. 2018-0359087, of Official Records
         Affects:                     A portion of said land as described therein

26.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Southern California Gas Company, a California Corporation, its successors and assigns
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423528, of Official Records
         Affects:                     A portion of said land as described therein

27.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $24,400,000.00
         Dated:                       April 26, 2018
         Trustor/Grantor              Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Trustee:                     Stewart Title of California, Inc., a California corporation
         Beneficiary:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Loan No.:                    None shown
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162476,of Official Records

         Affects:                     The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350103, of Official Records

         A notice of default under the terms of said trust deed

         Executed by:                 Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350104, of Official Records




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         A notice of trustee’s sale under said deed of trust

         Executed by:                           Fidelity National Title Company
         Date, Time and Place of Sale:          February 9, 2021, at 09:00 AM, in front of the Corona Civic Center, 849 W.
                                                Sixth Street, Corona, CA 92882
         Recording Date:                        January 14, 2021
         Recording No:                          Instrument No. 2021-0025741, of Official Records

28.      An assignment of all the moneys due, or to become due as rental, as additional security for the obligations secured
         by deed of trust shown as item above

         Assigned to:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162477,of Official Records

29.      A financing statement as follows:

         Debtor:                      Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Secured Party:               U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162478,of Official Records

30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hi-Grade Materials Co
         Amount:                      $32,847.96
         Recording Date:              July 5, 2018
         Recording No:                Instrument No. 2018-0273102, of Official Records

31.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Glendale Plumbing and Fire Supply
         Amount:                      $23,792.54
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423202, of Official Records

32.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Constructure, Inc.
         Amount:                      $301,119.50
         Recording Date:              January 22, 2019
         Recording No:                Instrument No. 2019-0022660, of Official Records

33.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC.
         Amount:                      $119,569.73
         Recording Date:              May 22, 2019
         Recording No:                Instrument No. 2019-0179443, of Official Records




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                                                       EXCEPTIONS
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34.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Ready Mix Concrete L.P.
         Amount:                      $20,571.27
         Recording Date:              May 29, 2019
         Recording No:                Instrument No. 2019-0190540, of Official Records

35.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    The Sherwin-Williams Company
         Amount:                      $33,333.11
         Recording Date:              June 3, 2019
         Recording No:                Instrument No. 2019-0198410, of Official Records

         Said mechanic’s lien has been partially released by instrument

         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0252361, of Official Records

         Claimant reduces its Mechanics’ Lien by $6,538.32, to reflect the current amount subject to the Claimant’s
         Mechanics’ Lien in the sum of $26,794.79.

36.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $259,695.63
         Recording Date:              June 6, 2019
         Recording No:                Instrument No. 2019-0204095, of Official Records

37.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Blair Air, Inc. Dba Blair Heating & Air
         Amount:                      $297,443.80
         Recording Date:              June 7, 2019
         Recording No:                Instrument No. 2019-0206598, of Official Records

38.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hajoca Corporation
         Amount:                      $39,636.17
         Recording Date:              June 11, 2019
         Recording No:                Instrument No. 2019-0210159, of Official Records

39.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    American Builders and Contractors Supply Co., Inc. – ABC Supply Co., Inc.
         Amount:                      $24,813.58
         Recording Date:              June 13, 2019
         Recording No:                Instrument No. 2019-0213172, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

40.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Electric Supply
         Amount:                      $61,574.60
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0218809, of Official Records

41.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Apple J Plumbing, Inc.
         Amount:                      $175,845.06
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0219453, of Official Records

42.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Jacobsson Engineering Construction, Inc.
         Amount:                      $1,042,299.00
         Recording Date:              June 21, 2019
         Recording No:                Instrument No. 2019-0225760, of Official Records

43.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    West Coast Sand and Gravel, Inc.
         Amount:                      $21,666.29
         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0253543, of Official Records

44.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Pool Products, LLC
         Amount:                      $14,386.05
         Recording Date:              July 11, 2019
         Recording No:                Instrument No. 2019-0254740 Official Records

45.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Resource Building Materials
         Amount:                      $1,905.04
         Recording Date:              July 15, 2019
         Recording No:                Instrument No. 2019-0258520, of Official Records

46.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $10,861.98
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293318, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

47.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $8,643.42
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293319, of Official Records

48.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Palms Electric, Inc.
         Amount:                      $389,839.09
         Recording Date:              August 6, 2019
         Recording No:                Instrument No. 2019-0295567, of Official Records

49.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $21,153.36
         Recording Date:              August 21, 2019
         Recording No:                Instrument No. 2019-0321135, of Official Records

50.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC
         Amount:                      $119,569.73
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328148, of Official Records

51.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    TemalPakh, Inc., dba The Works Floor & Wall
         Amount:                      $33,628.46
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328428, of Official Records

52.      A judgment for the amount shown below, and any other amounts due, entered in the United States District Court:

         Amount:                      $89,110.62 (Damages)
         Amount:                      $5,164.42 (Attorney’s Fees)
         Debtor:                      Glenroy Coachella, LLC, and Does 1-10
         Creditor:                    Silhouette Outdoor Furniture, Inc.
         Date entered:                July 02, 2019
         District:                    Central, State of California
         Case No:                     EDCV 19-00373-CJC (KKx)
         Recording Date:              August 29, 2019
         Recording No:                Instrument No. 2019-0336225, of Official Records

53.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    BMC West, LLC
         Amount:                      $50,290.00
         Recording Date:              September 11, 2019
         Recording No:                Instrument No. 2019-0354394, of Official Records


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                                                        EXCEPTIONS
                                                         (Continued)

54.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Doug Wall Construction, Inc.
         Amount:                      $3,876,856.10
         Recording Date:              September 12, 2019
         Recording No:                Instrument No. 2019-0356369, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $4,359,813.13
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0401936, of Official Records

55.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Blair Air, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glen Roy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906241
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0370664, of Official Records

56.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Al Miller & Sons Roofing Co., Inc.
         Amount:                      $111,631.71
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0372302, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $153,901.00
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402031, of Official Records

57.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Mascorro Concrete Construction, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906560
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376608, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668680, of Official Records



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                                                        EXCEPTIONS
                                                         (Continued)

58.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Apple J. Plumbing, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906579
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376609, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668682, of Official Records

59.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Desert Palms Electric, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906554
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376610, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668681, of Official Records

60.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Ferguson Enterprises, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906136
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376684, of Official Records

61.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Southwest Plumbing inc.
         Amount:                      $111,141.13
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0377201, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

62.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $40,000.00
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379585, of Official Records

63.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $396,871.43
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379586, of Official Records

64.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Tandem West Glass, Inc.
         Amount:                      $387,752.38
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379822, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $795,971.26
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402041, of Official Records

         As affected by a Second Amended Mechanics Lien

         Amount:                      $449,849.39
         Recording Date:              October 11, 2019
         Recording No:                Instrument No. 2019-0410373, of Official Records

65.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $250,695.63
         Recording Date:              September 27, 2019
         Recording No:                Instrument No. 2019-385786, of Official Records

66.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    La Hacienda Nursery & Landscape, Inc.
         Amount:                      $146,717.74
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415743, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

67.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Doug Wall Construction, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907309
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415790, of Official Records

68.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tmalpakh, Inc., a California corporation dba The Works Floor & Wall
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907262
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 23, 2019
         Recording No:                Instrument No. 2019-0428103, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668684, of Official Records

69.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Orco Block & Hardscape, a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907155
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 25, 2019
         Recording No:                Instrument No. 2019-0432553, of Official Records

70.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   BMC West LLC, a Delaware limited liability company
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1908245
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              November 22, 2019
         Recording No:                Instrument No. 2019-0483250, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

71.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   La Hacienda Nursery & Landscape, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909423
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 2, 2020
         Recording No:                Instrument No. 2020-0000938, of Official Records

72.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   All Phase Drywall & Development, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909367
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 9, 2020
         Recording No:                Instrument No. 2020-0009905, of Official Records

73.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tandem West Glass, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000015
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013976, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668679, of Official Records

74.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Al Miller & Sons Roofing, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000009
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013979, of Official Records

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         Recording Date:              December 30, 2020
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                                                       EXCEPTIONS
                                                        (Continued)

75.      Matters contained in that certain document

         Entitled:                    Stipulation and Order RE Appointment of Receiver and Preliminary Junction
         Recording Date:              January 29, 2020
         Recording No:                Instrument No. 2020-0044153, of Official Records

         Reference is hereby made to said document for full particulars.

76.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   U.S. Real Estate Credit Holdings III-A, LP
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    RIC1905743
         Recording Date:              February 13, 2020
         Recording No.:               Instrument No. 2020-0068228, of Official Records

77.      Certificate of Indebtedness of the Receiver – Receiver Certificate No. 1

         Recording Date:              June 12, 2020
         Recording No.:               Instrument No. 2020-0252044 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252045 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252046 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252047 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252048 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252049 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252050 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252051 Official Records

78.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $28,829.75
         Recording Date:              June 25, 2018
         Recording No:                Instrument No. 2018-0255143, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

79.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed by the
         public records.

         The Company will require, for review, a full and complete copy of any unrecorded agreement, contract, license
         and/or lease, together with all supplements, assignments and amendments thereto, before issuing any policy of title
         insurance without excepting this item from coverage.

         The Company reserves the right to except additional items and/or make additional requirements after reviewing said
         documents.

80.      Any facts, rights, interests or claims that may exist or arise by reason of the following matters disclosed by a
         pending final ALTA/NSPS Survey prepared by Saxon Engineering Services, Inc., dated April 10, 2018, designated
         as Job No. Glenroy Coachella:

         a. Electrical vaults located on the northerly property line of Parcel 4.
         b. A cable television box located along the westerly boundary of Parcel 2.
         c. An electrical transformer located along the westerly boundary of Parcel 2.
         d. A street light pole encroaching in the southwest corner of Parcel 2.

81.      Any easements not disclosed by the public records as to matters affecting title to real property, whether or not said
         easements are visible and apparent.

82.      Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other matters which a correct
         survey would disclose and which are not shown by the public records.

83.      Matters which may be disclosed by an inspection and/or by a correct ALTA/ACSM Land Title Survey of said Land
         that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.


      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.


                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION

1.       In order to complete this report, the Company requires a Statement of Information to be completed by the following
         party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the requested
         Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under this order.
               Any title search includes matters that are indexed by name only, and having a completed Statement of
               Information assists the Company in the elimination of certain matters which appear to involve the parties
               but in fact affect another party with the same or similar name. Be assured that the Statement of Information
               is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance predicated
         upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:             Glenroy Coachella, LLC, a Delaware limited liability company,
                                                Force Rubin, LLC, a Delaware limited liability company,
                                                Force Rubin 2, LLC, a Delaware limited liability company
                                                Coachella Resort, LLC, a California limited liability company

         a)          A copy of its operating agreement, if any, and all amendments, supplements and/or modifications thereto,
                     certified by the appropriate manager or member.

         b)          If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments thereto
                     with the appropriate filing stamps.

         c)          If the Limited Liability Company is member-managed, a full and complete current list of members certified
                     by the appropriate manager or member.

         d)          A current dated certificate of good standing from the proper governmental authority of the state in which
                     the entity is currently domiciled.

         e)          If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
                     evidence of the authority of those signing.

         f)          If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                     Member will be required.

         g)          Each member and manager of the LLC without an Operating Agreement must execute in the presence of a
                     notary public the Certificate of California LLC (Without an Operating Agreement) Status and Authority
                     form.

3.       This transaction requires high liability approval prior to close of escrow together with an inspection of the subject
         property.

         Please advise title department with an estimated date that your transaction will close so we can schedule the
         necessary approvals and inspections.

4.       The transaction contemplated in connection with this Report is subject to the review and approval of the Company’s
         Corporate Underwriting Department. The Company reserves the right to add additional items or make further
         requirements after such review.




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                                                      REQUIREMENTS
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5.       Please call the Title Department five (5) days prior to the contemplated closing to determine if additional documents
         or information is required.

         Phone Number:                (949) 788-2800




                                                     END OF REQUIREMENTS




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                                       INFORMATIONAL NOTES SECTION

1.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

2.       Note: Please contact your Title Officer to obtain the current recording fees. Fidelity National Title Company will
         pay Fidelity National Title Insurance Company 12% of the title premium, as disclosed on lines 1107 and 1108 of the
         HUD-1.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may demand
         arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim between the Company
         and the insured arising out of or relating to this policy, any service of the Company in connection with its issuance
         or the breach of a policy provision or other obligation. Please ask your escrow or title officer for a sample copy of
         the policy to be issued if you wish to review the arbitration provisions and any other provisions pertaining to your
         Title Insurance coverage.

4.       Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
         distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
         Land that is associated with these activities.

5.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a Documentary Transfer
         Tax (DTT) Affidavit may be required to be completed and submitted with each document when DTT is being paid
         or when an exemption is being claimed from paying the tax. If a governmental agency is a party to the document,
         the form will not be required. DTT Affidavits may be available at a Tax Assessor-County Clerk-Recorder.

6.       The Company and its policy issuing agents are required by Federal law to collect additional information about
         certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
         required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
         agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the
         transaction contemplated herein.

         To protect the private information contained in the attached form and photo ID, please return via a secured
         method.




                                             END OF INFORMATIONAL NOTES

Blake.Uradomo/sp1




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

     •     NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
     •     ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
     •     USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
     •     USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
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          Fidelity National Title Company
          1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
          Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                               Last Saved: April 2, 2021 by SP1
MISC0164 (DSI Rev. 03/12/20)                                                             Escrow No.: 00346563-997-OC1-245

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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective January 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
• contact information (e.g., name, address, phone number, email address);
• demographic information (e.g., date of birth, gender, marital status);
• identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
• financial account information (e.g. loan or bank account information); and
• other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
• information we receive from you or your agent;
• information about your transactions with FNF, our affiliates, or others; and
• information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
• Internet Protocol (IP) address and operating system;
• browser version, language, and type;
• domain name system requests; and
• browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
• To provide products and services to you or in connection with a transaction involving you.
• To improve our products and services.
• To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
• to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
• to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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• to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
• to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
• in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.

For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.



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Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                          601 Riverside Avenue
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 1
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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
    •     For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 2
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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                                                                                                                                EXHIBIT 6
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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                  Issuing Policies of Fidelity National Title Insurance Company


Title Officer: Blake.Uradomo                                                          ORDER NO.: 00346566-997-OC1-245
Phone: (949) 788-2800
Fax: (949) 341-0251                                                                                                LOAN NO.:
Email: Blake.Uradomo@fnf.com

Fidelity National Title Company
1300 Dove Street, 3rd Floor
Newport Beach, CA 92660

ATTN:              Ben Llorin
YOUR REF:

PROPERTY:          Vacant Land, Coachella, CA


                                                PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Attachment One. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner’s Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Attachment One. Copies of the policy forms should be read. They are available from
the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a
policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a
policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance Company, a
Florida Corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in Attachment One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not covered
under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not
list all liens, defects and encumbrances affecting title to the land.
Countersigned by:




Authorized Signature




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         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                PRELIMINARY REPORT


EFFECTIVE DATE:                       March 24, 2021 at 7:30 a.m.

ORDER NO.: 00346566-997-OC1-245

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
         BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Glenroy Coachella, LLC, a Delaware limited liability company, as to an undivided 70.5% interest;
         Force Rubin, LLC, a Delaware limited liability company, as to an undivided 21.2115% interest;
         Force Rubin 2, LLC, a Delaware limited liability company, as to an undivided 3.7885% interest; and
         Coachella Resort, LLC, a California limited liability company, as to an undivided 4.5% interest,

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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YOUR REFERENCE:                                                           ORDER NO.: 00346566-997-OC1-245


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF COACHELLA, IN THE COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 6 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF RIVERSIDE, STATE OF
CALIFORNIA, ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF PARCEL MAPS,
RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED TO THE CITY OF COACHELLA, A
MUNICIPAL CORPORATION, AS DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
(GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS INSTRUMENT NO. 2018-359087 OF OFFICIAL
RECORDS.



APN: 603-220-069




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                                                      EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION
TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to be levied
         for the fiscal year 2021-2022.

2.       Property taxes, including any personal property taxes and any assessments collected with taxes are as follows:

         Code Area:                   012-037
         Tax Identification No.:      603-220-069
         Fiscal Year:                 2020-2021
         1st Installment:             $415,371.72, Paid
         2nd Installment:             $415,371.72, Open
         Exemption:                   $0.00
         Land:                        $5,746,648.00
         Improvements:                $0.00
         Personal Property:           $0.00
         Bill No.:                    2020003466360

3.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the provisions of
         Chapter 3.5 or Part 2, Chapter 3, Articles 3 and 4 respectively (commencing with Section 75) of the Revenue and
         Taxation Code of the State of California as a result of the transfer of title to the vestee named in Schedule A; or as a
         result of changes in ownership or new construction occurring prior to date of policy.

4.       The herein described Land is within the boundaries of the Mello-Roos Community Facilities District(s). The annual
         assessments, if any, are collected with the county property taxes. Failure to pay said taxes prior to the delinquency
         date may result in the above assessment being removed from the county tax roll and subjected to Accelerated
         Judicial Bond Foreclosure. Inquiry should be made with said District for possible stripped assessments and prior
         delinquencies.

5.       A Notice

         Entitled:                    Notice of Assessment
         For:                         Coachella Community Center Project Assessment District No. 92-1
         Executed by:                 The Coachella Valley Recreation & Parks District
         Recording Date:              October 13, 1992
         Recording No:                Instrument No. 1992-385076 Official Records

         Reference is hereby made to said document for full particulars.

6.       Any assessments which may be levied against the herein described property by virtue of the fact that said land lies
         within the boundaries of Community Facilities District 2018-1 (Glenroy) adopted by the City of Coachella, a
         boundary map of which is on file in Book 82, Page 7 of Maps of Assessment and Community Facilities Districts,
         recorded February 21, 2018 as Instrument No. 2018-0064380 Official Records, and amended in Book 82, Page 38,
         recorded April 25, 2018 as Instrument No. 2018-158456 Official Records.

7.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                       2005-1
         For:                         Community Facilities District No. 2005-1 (Law Enforcement, Fire and Paramedic
                                      Services)
         Disclosed by:                Notice of Special Tax lien
         Recording Date:              November 3, 2005
         Recording No.:               Instrument No. 2005-0916803, of Official Records

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                                                        EXCEPTIONS
                                                         (Continued)



         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.
         The tax may not be prepaid.

         Matters contained in that certain document

         Entitled:                    Amendment No. 3 to Notice of Special Tax Lien
         Recording Date:              October 6, 2006
         Recording No:                Instrument No. 2006-0741243, of Official Records

         Reference is hereby made to said document for full particulars.

8.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                      2018-1
         For:                         Community Facilities District No. 2018-1
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              June 4, 2018
         Recording No.:               Instrument No. 2018-0225621 Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.

         The tax may not be prepaid.

9.       Assessments and other matters as contained in documents entitled Payment of Contractual Assessment Required,
         recorded April 25, 2018, as Document No. 2018-0160477, of Official, pursuant to Chapter 29 of Part 3 of Division 7
         of the California Streets and Highways Code providing for the assessments. Said assessments are collected with
         county taxes. The assessment may be prepaid.

         Reference is hereby made to said documents for further particulars.

         Matters contained in that certain document

         Entitled:                    Addendum No. 1 to Notice of Assessment and Payment of Contractual Assessment
                                      Required
         Recording Date:              September 29, 2020
         Recording No:                Instrument No. 2020-0464148, of Official Records

         Reference is hereby made to said document for full particulars.




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                                                         EXCEPTIONS
                                                          (Continued)

10.      Water rights, claims or title to water, whether or not disclosed by the public records.

11.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not limited to
         those based upon race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, marital
         status, national origin, ancestry, familial status, source of income, disability, veteran or military status, genetic
         information, medical condition, citizenship, primary language, and immigration status, as set forth in applicable state
         or federal laws, except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
         document

         Recording Date:              June 6, 1892
         Recording No:                in Book 202, Page 144, of Deeds, San Diego County Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any mortgage
         or deed of trust made in good faith and for value.

12.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley Ice and Electric Company
         Purpose:                     Transmission and distribution of electricity and telephonic communication and
                                      telegraphic communication
         Recording Date:              June 04, 1914
         Recording No:                in Book 398, Page 130, of Deeds
         Affects:                     A portion of said land as described therein

13.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The United States of America
         Purpose:                     Water pipeline
         Recording Date:              July 19, 1949
         Recording No:                in Book 1095, Page 306, of Official Records
         Affects:                     A portion of said land as described therein

         Matters contained in that certain document

         Entitled:                    Quitclaim Deed and Release
         Recording Date:              July 31, 2018
         Recording No:                Instrument No. 2018-0307549, of Official Records

         Reference is hereby made to said document for full particulars.

14.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley County Water District
         Purpose:                     Pipeline
         Recording Date:              September 21, 1960
         Recording No:                Instrument No. 1960-82454, of Official Records
         Affects:                     A portion of said land as described therein




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                                                         EXCEPTIONS
                                                          (Continued)

15.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Imperial Irrigation District
         Purpose:                     Public utilities
         Recording Date:              July 22, 1970
         Recording No:                Instrument No. 1970-70546, of Official Records
         Affects:                     A portion of said land as described therein

16.      Easements as shown and/or dedicated upon the recorded map referenced in the legal description in
         Schedule A as Parcel Map 37310, in the City of Coachella, County of Riverside, State of California,
         according to map on file in Book 243, Pages 82 through 84 inclusive of Parcel Maps, records of Riverside
         County, California, together with any provisions and recitals contained therein.

         Reference is hereby made to said document for full particulars.

17.      The Land described herein is included within a project area of the Redevelopment Agency shown below, and that
         proceedings for the redevelopment of said project have been instituted under the Redevelopment Law (such
         redevelopment to proceed only after the adoption of the Redevelopment Plan) as disclosed by a document.

         Redevelopment Agency:                  City of Coachella
         Recording Date:                        July 10, 2007
         Recording No:                          Instrument No. 2007-0449636, of Official Records

         and Recording Date:          July 10, 2007
         and Recording No:            Instrument No. 2007-0449637, of Official Records

18.      Recitals as shown on Parcel Map 37310

         Recording No:                      in Book 243, Pages 82 to 84 inclusive of Parcel Maps
         Which among other things recites: The real property described below is dedicated in fee for street and
                                            public utility purposes: Lot “A” as shown hereon.

                                                As a condition of dedication of Lot “A” (Avenue 48), the owners of Parcels 1-4,
                                                and 6, inclusive, abutting this right of way and during such time will have no
                                                rights of access except the general easement of travel. Any change of alignment
                                                or width that results in the vacation thereof shall terminate this condition of
                                                access rights as to the party vacated.

         Reference is hereby made to said document for full particulars.

19.      The following matters shown or disclosed by the filed or recorded map referred to in the legal description: Various
         notes and recitals

20.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for dedication,
         on the map of said tract/plat;

         Purpose:                     Landscape and/or retention basin
         Affects:                     As shown on said map




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                                                        EXCEPTIONS
                                                         (Continued)

21.      Matters contained in that certain document

         Entitled:                    Water Quality Management Plan and Urban Runoff BMP Transfer, Access and
                                      Maintenance Agreement
         Recording Date:              December 06, 2017
         Recording No:                Instrument No. 2017-0512010, of Official Records

         Reference is hereby made to said document for full particulars.

22.      Matters contained in that certain document

         Entitled:                    Glenroy Resort Development Agreement
         Recording Date:              March 8, 2018
         Recording No:                Instrument No. 2018-0089219, of Official Records

         Reference is hereby made to said document for full particulars.

23.      Terms and provisions contained in that certain unrecorded Parking License Agreement dated April 20, 2018 by
         and between Glenroy Coachella, LLC and Force-DMP LLC.

24.      Matters contained in that certain document

         Entitled:                    Memorandum of Tenancy in Common Agreement
         Recording Date:              April 24, 2018
         Recording No:                Instrument No. 2018-0156322, of Official Records

         Reference is hereby made to said document for full particulars.

25.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The City of Coachella
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              September 06, 2018
         Recording No:                Instrument No. 2018-0359087, of Official Records
         Affects:                     A portion of said land as described therein

26.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Southern California Gas Company, a California Corporation, its successors and assigns
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423528, of Official Records
         Affects:                     A portion of said land as described therein




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                                                         EXCEPTIONS
                                                          (Continued)

27.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $24,400,000.00
         Dated:                       April 26, 2018
         Trustor/Grantor              Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Trustee:                     Stewart Title of California, Inc., a California corporation
         Beneficiary:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Loan No.:                    None shown
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162476,of Official Records

         Affects:                     The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350103, of Official Records

         A notice of default under the terms of said trust deed

         Executed by:                 Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350104, of Official Records

         A notice of trustee’s sale under said deed of trust

         Executed by:                           Fidelity National Title Company
         Date, Time and Place of Sale:          February 9, 2021, at 09:00 AM, in front of the Corona Civic Center, 849 W.
                                                Sixth Street, Corona, CA 92882
         Recording Date:                        January 14, 2021
         Recording No:                          Instrument No. 2021-0025741, of Official Records

28.      An assignment of all the moneys due, or to become due as rental, as additional security for the obligations secured
         by deed of trust shown as item above

         Assigned to:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162477,of Official Records

29.      A financing statement as follows:

         Debtor:                      Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Secured Party:               U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162478,of Official Records




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                                                        (Continued)



30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hi-Grade Materials Co
         Amount:                      $32,847.96
         Recording Date:              July 5, 2018
         Recording No:                Instrument No. 2018-0273102, of Official Records

31.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Glendale Plumbing and Fire Supply
         Amount:                      $23,792.54
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423202, of Official Records

32.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Constructure, Inc.
         Amount:                      $301,119.50
         Recording Date:              January 22, 2019
         Recording No:                Instrument No. 2019-0022660, of Official Records

33.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC.
         Amount:                      $119,569.73
         Recording Date:              May 22, 2019
         Recording No:                Instrument No. 2019-0179443, of Official Records

34.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Ready Mix Concrete L.P.
         Amount:                      $20,571.27
         Recording Date:              May 29, 2019
         Recording No:                Instrument No. 2019-0190540, of Official Records

35.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    The Sherwin-Williams Company
         Amount:                      $33,333.11
         Recording Date:              June 3, 2019
         Recording No:                Instrument No. 2019-0198410, of Official Records

         Said mechanic’s lien has been partially released by instrument

         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0252361, of Official Records

         Claimant reduces its Mechanics’ Lien by $6,538.32, to reflect the current amount subject to the Claimant’s
         Mechanics’ Lien in the sum of $26,794.79.




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36.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $259,695.63
         Recording Date:              June 6, 2019
         Recording No:                Instrument No. 2019-0204095, of Official Records

37.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Blair Air, Inc. Dba Blair Heating & Air
         Amount:                      $297,443.80
         Recording Date:              June 7, 2019
         Recording No:                Instrument No. 2019-0206598, of Official Records

38.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hajoca Corporation
         Amount:                      $39,636.17
         Recording Date:              June 11, 2019
         Recording No:                Instrument No. 2019-0210159, of Official Records

39.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    American Builders and Contractors Supply Co., Inc. – ABC Supply Co., Inc.
         Amount:                      $24,813.58
         Recording Date:              June 13, 2019
         Recording No:                Instrument No. 2019-0213172, of Official Records

40.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Electric Supply
         Amount:                      $61,574.60
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0218809, of Official Records




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41.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Apple J Plumbing, Inc.
         Amount:                      $175,845.06
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0219453, of Official Records

42.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Jacobsson Engineering Construction, Inc.
         Amount:                      $1,042,299.00
         Recording Date:              June 21, 2019
         Recording No:                Instrument No. 2019-0225760, of Official Records

43.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    West Coast Sand and Gravel, Inc.
         Amount:                      $21,666.29
         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0253543, of Official Records

44.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Pool Products, LLC
         Amount:                      $14,386.05
         Recording Date:              July 11, 2019
         Recording No:                Instrument No. 2019-0254740 Official Records

45.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Resource Building Materials
         Amount:                      $1,905.04
         Recording Date:              July 15, 2019
         Recording No:                Instrument No. 2019-0258520, of Official Records

46.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $10,861.98
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293318, of Official Records

47.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $8,643.42
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293319, of Official Records




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48.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Palms Electric, Inc.
         Amount:                      $389,839.09
         Recording Date:              August 6, 2019
         Recording No:                Instrument No. 2019-0295567, of Official Records

49.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $21,153.36
         Recording Date:              August 21, 2019
         Recording No:                Instrument No. 2019-0321135, of Official Records

50.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC
         Amount:                      $119,569.73
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328148, of Official Records

51.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    TemalPakh, Inc., dba The Works Floor & Wall
         Amount:                      $33,628.46
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328428, of Official Records

52.      A judgment for the amount shown below, and any other amounts due, entered in the United States District Court:

         Amount:                      $89,110.62 (Damages)
         Amount:                      $5,164.42 (Attorney’s Fees)
         Debtor:                      Glenroy Coachella, LLC, and Does 1-10
         Creditor:                    Silhouette Outdoor Furniture, Inc.
         Date entered:                July 02, 2019
         District:                    Central, State of California
         Case No:                     EDCV 19-00373-CJC (KKx)
         Recording Date:              August 29, 2019
         Recording No:                Instrument No. 2019-0336225, of Official Records

53.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    BMC West, LLC
         Amount:                      $50,290.00
         Recording Date:              September 11, 2019
         Recording No:                Instrument No. 2019-0354394, of Official Records




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54.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Doug Wall Construction, Inc.
         Amount:                      $3,876,856.10
         Recording Date:              September 12, 2019
         Recording No:                Instrument No. 2019-0356369, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $4,359,813.13
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0401936, of Official Records

55.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Blair Air, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glen Roy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906241
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0370664, of Official Records

56.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Al Miller & Sons Roofing Co., Inc.
         Amount:                      $111,631.71
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0372302, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $153,901.00
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402031, of Official Records

57.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Mascorro Concrete Construction, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906560
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376608, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668680, of Official Records



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58.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Apple J. Plumbing, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906579
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376609, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668682, of Official Records

59.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Desert Palms Electric, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906554
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376610, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668681, of Official Records

60.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Ferguson Enterprises, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906136
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376684, of Official Records

61.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Southwest Plumbing inc.
         Amount:                      $111,141.13
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0377201, of Official Records




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62.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $40,000.00
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379585, of Official Records

63.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $396,871.43
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379586, of Official Records

64.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Tandem West Glass, Inc.
         Amount:                      $387,752.38
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379822, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $795,971.26
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402041, of Official Records

         As affected by a Second Amended Mechanics Lien

         Amount:                      $449,849.39
         Recording Date:              October 11, 2019
         Recording No:                Instrument No. 2019-0410373, of Official Records

65.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $250,695.63
         Recording Date:              September 27, 2019
         Recording No:                Instrument No. 2019-385786, of Official Records

66.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    La Hacienda Nursery & Landscape, Inc.
         Amount:                      $146,717.74
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415743, of Official Records




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67.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Doug Wall Construction, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907309
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415790, of Official Records

68.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tmalpakh, Inc., a California corporation dba The Works Floor & Wall
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907262
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 23, 2019
         Recording No:                Instrument No. 2019-0428103, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668684, of Official Records

69.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Orco Block & Hardscape, a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907155
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 25, 2019
         Recording No:                Instrument No. 2019-0432553, of Official Records

70.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   BMC West LLC, a Delaware limited liability company
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1908245
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              November 22, 2019
         Recording No:                Instrument No. 2019-0483250, of Official Records




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71.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   La Hacienda Nursery & Landscape, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909423
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 2, 2020
         Recording No:                Instrument No. 2020-0000938, of Official Records

72.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   All Phase Drywall & Development, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909367
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 9, 2020
         Recording No:                Instrument No. 2020-0009905, of Official Records

73.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tandem West Glass, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000015
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013976, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668679, of Official Records

74.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Al Miller & Sons Roofing, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000009
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013979, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

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75.      Matters contained in that certain document

         Entitled:                    Stipulation and Order RE Appointment of Receiver and Preliminary Junction
         Recording Date:              January 29, 2020
         Recording No:                Instrument No. 2020-0044153, of Official Records

         Reference is hereby made to said document for full particulars.

76.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   U.S. Real Estate Credit Holdings III-A, LP
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    RIC1905743
         Recording Date:              February 13, 2020
         Recording No.:               Instrument No. 2020-0068228, of Official Records

77.      Certificate of Indebtedness of the Receiver – Receiver Certificate No. 1

         Recording Date:              June 12, 2020
         Recording No.:               Instrument No. 2020-0252044 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252045 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252046 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252047 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252048 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252049 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252050 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252051 Official Records

78.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $28,829.75
         Recording Date:              June 25, 2018
         Recording No:                Instrument No. 2018-0255143, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

79.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed by the
         public records.

         The Company will require, for review, a full and complete copy of any unrecorded agreement, contract, license
         and/or lease, together with all supplements, assignments and amendments thereto, before issuing any policy of title
         insurance without excepting this item from coverage.

         The Company reserves the right to except additional items and/or make additional requirements after reviewing said
         documents.

80.      Any facts, rights, interests or claims that may exist or arise by reason of the following matters disclosed by a
         pending final ALTA/NSPS Survey prepared by Saxon Engineering Services, Inc., dated April 10, 2018, designated
         as Job No. Glenroy Coachella:

         a. Electrical vaults located on the northerly property line of Parcel 4.
         b. A cable television box located along the westerly boundary of Parcel 2.
         c. An electrical transformer located along the westerly boundary of Parcel 2.
         d. A street light pole encroaching in the southwest corner of Parcel 2.

81.      Any easements not disclosed by the public records as to matters affecting title to real property, whether or not said
         easements are visible and apparent.

82.      Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other matters which a correct
         survey would disclose and which are not shown by the public records.

83.      Matters which may be disclosed by an inspection and/or by a correct ALTA/ACSM Land Title Survey of said Land
         that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.



      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.


                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION

1.       In order to complete this report, the Company requires a Statement of Information to be completed by the following
         party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the requested
         Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under this order.
               Any title search includes matters that are indexed by name only, and having a completed Statement of
               Information assists the Company in the elimination of certain matters which appear to involve the parties
               but in fact affect another party with the same or similar name. Be assured that the Statement of Information
               is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance predicated
         upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:             Glenroy Coachella, LLC, a Delaware limited liability company,
                                                Force Rubin, LLC, a Delaware limited liability company,
                                                Force Rubin 2, LLC, a Delaware limited liability company
                                                Coachella Resort, LLC, a California limited liability company

         a)          A copy of its operating agreement, if any, and all amendments, supplements and/or modifications thereto,
                     certified by the appropriate manager or member.

         b)          If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments thereto
                     with the appropriate filing stamps.

         c)          If the Limited Liability Company is member-managed, a full and complete current list of members certified
                     by the appropriate manager or member.

         d)          A current dated certificate of good standing from the proper governmental authority of the state in which
                     the entity is currently domiciled.

         e)          If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
                     evidence of the authority of those signing.

         f)          If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                     Member will be required.

         g)          Each member and manager of the LLC without an Operating Agreement must execute in the presence of a
                     notary public the Certificate of California LLC (Without an Operating Agreement) Status and Authority
                     form.

3.       This transaction requires high liability approval prior to close of escrow together with an inspection of the subject
         property.

         Please advise title department with an estimated date that your transaction will close so we can schedule the
         necessary approvals and inspections.

4.       The transaction contemplated in connection with this Report is subject to the review and approval of the Company’s
         Corporate Underwriting Department. The Company reserves the right to add additional items or make further
         requirements after such review.




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                                                      REQUIREMENTS
                                                          (Continued)

5.       Please call the Title Department five (5) days prior to the contemplated closing to determine if additional documents
         or information is required.

         Phone Number:                (949) 788-2800




                                                     END OF REQUIREMENTS




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                                       INFORMATIONAL NOTES SECTION

1.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

2.       Note: Please contact your Title Officer to obtain the current recording fees. Fidelity National Title Company will
         pay Fidelity National Title Insurance Company 12% of the title premium, as disclosed on lines 1107 and 1108 of the
         HUD-1.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may demand
         arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim between the Company
         and the insured arising out of or relating to this policy, any service of the Company in connection with its issuance
         or the breach of a policy provision or other obligation. Please ask your escrow or title officer for a sample copy of
         the policy to be issued if you wish to review the arbitration provisions and any other provisions pertaining to your
         Title Insurance coverage.

4.       Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
         distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
         Land that is associated with these activities.

5.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a Documentary Transfer
         Tax (DTT) Affidavit may be required to be completed and submitted with each document when DTT is being paid
         or when an exemption is being claimed from paying the tax. If a governmental agency is a party to the document,
         the form will not be required. DTT Affidavits may be available at a Tax Assessor-County Clerk-Recorder.

6.       The Company and its policy issuing agents are required by Federal law to collect additional information about
         certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
         required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
         agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the
         transaction contemplated herein.

         To protect the private information contained in the attached form and photo ID, please return via a secured
         method.




                                             END OF INFORMATIONAL NOTES

Blake.Uradomo/sp1




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

     •     NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
     •     ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
     •     USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
     •     USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
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          Fidelity National Title Company
          1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
          Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                               Last Saved: April 2, 2021 by SP1
MISC0164 (DSI Rev. 03/12/20)                                                             Escrow No.: 00346566-997-OC1-245

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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective January 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
• contact information (e.g., name, address, phone number, email address);
• demographic information (e.g., date of birth, gender, marital status);
• identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
• financial account information (e.g. loan or bank account information); and
• other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
• information we receive from you or your agent;
• information about your transactions with FNF, our affiliates, or others; and
• information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
• Internet Protocol (IP) address and operating system;
• browser version, language, and type;
• domain name system requests; and
• browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
• To provide products and services to you or in connection with a transaction involving you.
• To improve our products and services.
• To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
• to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
• to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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• to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
• to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
• in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.

For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.



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Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                          601 Riverside Avenue
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
    •     For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: CHAPTER 11 TRUSTEE’S MOTION FOR ORDER
AUTHORIZING: 1) SALE OF REAL PROPERTY LOCATED AT 84151 AVENUE 48, COACHELLA, CA AND RELATED
ASSETS: (A) OUTSIDE THE ORDINARY COURSE OF BUSINESS; (B) FREE AND CLEAR OF LIENS, CLAIMS, AND
ENCUMBRANCES; (C) SUBJECT TO OVERBID; (D) FOR DETERMINATION OF GOOD FAITH PURCHASER UNDER
11 U.S.C. §363(m); AND 2) ASSUMPTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES UNDER 11
U.S.C. §365 MEMORANDUM OF POINTS OF AUTHORITIES; DECLARATION OF RICHARD A. MARSHACK IN
SUPPORT will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
September 15, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On September 15, 2021, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on September 15, 2021, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

VIA OVERNIGHT MAIL:
PRESIDING JUDGE’S COPY
HONORABLE SHERI BLUEBOND
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
EDWARD R. ROYBAL FEDERAL BUILDING AND COURTHOUSE
255 E. TEMPLE STREET, SUITE 1534 / COURTROOM 1539
LOS ANGELES, CA 90012

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 15, 2021                       Layla Buchanan                                         /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR INTERESTED PARTY EFO FINANCIAL GROUP LLC: Steven M Berman sberman@slk-
       law.com, awit@shumaker.com; bgasaway@shumaker.com
     ATTORNEY FOR CREDITOR SAXON ENGINEERING SERVICES INC AND COMMITTEE OF UNSECURED
       CREDITORS: Daren Brinkman office@brinkmanlaw.com, 7764052420@filings.docketbird.com
     ATTORNEY FOR CREDITOR DOUG WALL CONSTRUCTION: Caroline Djang caroline.djang@bbklaw.com,
       laurie.verstegen@bbklaw.com; wilma.escalante@bbklaw.com
     INTERESTED PARTY COURTESY NEF: Jenny L Doling JD@jdl.law, dolingjr92080@notify.bestcase.com
     ATTORNEY FOR CREDITORS LASERSCOPIC MEDICAL CLINIC, LLC; LASERSCOPIC SPINAL CENTERS
       OF AMERICA, INC.; AND JOE SAMUEL BAILEY: Jonathan R Doolittle jonathan.doolittle@pillsburylaw.com
     ATTORNEY FOR U.S. TRUSTEE (LA): Eryk R Escobar eryk.r.escobar@usdoj.gov
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Chad V Haes chaes@marshackhays.com,
       chaes@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com; cmendoza@marshackhays.com;
       kfrederick@ecf.courtdrive.com
     ATTORNEY FOR CREDITOR BLAIR AIR, INC.: Brian S Harnik bharnik@rhlawfirm.com, bharnik@rhlawfirm.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): D Edward Hays ehays@marshackhays.com,
       ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
       cmendoza@ecf.courtdrive.com
     ATTORNEY FOR CREDITOR ORCO BLOCK & HARDSCAPE: William C Hoggard wch@wchlawgroup.com,
       admin@wchlawgroup.com
     INTERESTED PARTY COURTESY NEF: Mark S Horoupian mhoroupian@sulmeyerlaw.com,
       mhoroupian@ecf.inforuptcy.com; ccaldwell@sulmeyerlaw.com
     ATTORNEY FOR CREDITOR U.S. REAL ESTATE CREDITOR HOLDINGS III-A, LP: Marsha A Houston
       mhouston@reedsmith.com
     INTERESTED PARTY COURTESY NEF: Michael S Kogan mkogan@koganlawfirm.com
     ATTORNEY FOR INTERESTED PARTY GARY STIFFELMAN: Timothy R Laquer trl@ddclaw.com,
       trl@ddclaw.com
     ATTORNEY FOR DEBTOR GLENROY COACHELLA, LLC: Crystle Jane Lindsey crystle@wsrlaw.net,
       crystle@cjllaw.com; gabby@wsrlaw.net; dairi@wsrlaw.net
     INTERESTED PARTY COURTESY NEF: Tinho Mang tmang@marshackhays.com, tmang@ecf.courtdrive.com;
       kfrederick@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com
     TRUSTEE RICHARD A MARSHACK (TR): Richard A Marshack (TR) pkraus@marshackhays.com,
       rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
     ATTORNEY FOR CREDITOR PORSCHE FINANCIAL SERVICES, INC. dba BENTLEY FINANCIAL SERVICES
       and CREDITOR PORSCHE LEASING LTD: Stacey A Miller smiller@tharpe-howell.com
     ATTORNEY FOR INTERESTED PARTY STUART RUBIN: Sean A OKeefe sokeefe@okeefelc.com,
       seanaokeefe@msn.com
     INTERESTED PARTY COURTESY NEF: R Gibson Pagter, Jr.: gibson@ppilawyers.com, ecf@ppilawyers.com;
       pagterrr51779@notify.bestcase.com
     INTERESTED PARTY COURTESY NEF: Matthew D Pham mpham@hahnlawyers.com,
       marias@hahnlawyers.com; mpham@ecf.courtdrive.com
     ATTORNEY FOR CREDITOR LAW OFFICES OF JEFFREY D SEGAL, A PROFESSIONAL CORPORATION:
       Sheila M Pistone sheila@pistonelawoffice.com, sheilapistone@yahoo.com
     ATTORNEY FOR CREDITOR GF INVESTMENT GROUP, INC. DBA THE INVESTMENT CENTER, A
       CALIFORNIA CORPORATION: Maria Plumtree agrow@plumtreelaw.com, mplumtree@plumtreelaw.com
     ATTORNEY FOR CREDITORS AL MILLER & SONS ROOFING CO INC; APPLE J PLUMBING; DESERT
       PALM ELECTRIC INC; JACOBSSON ENGINEERING CONSTRUCTION INC; MASCORRO CONCRETE
       CONSTRUCTION INC; TANDEM WEST GLASS INC; TEMALPAKH INC DBA THE WORKS FLOOR & WALL:
       Thomas J Polis tom@polis-law.com, paralegal@polis-law.com; r59042@notify.bestcase.com
     CREDITOR ALLY BANK LEASE TRUST – ASSIGNOR TO VEHICLE ASSET UNIVERSAL LEASING TRUST
       (AKA “VAULT TRUST”, OR “V.A.U.L. TRUST”, OR “VAULT”, OR “V.A.U.L.T.”), C/O AIS PORTFOLIO: Arvind
       Nath Rawal arawal@aisinfo.com
     INTERESTED PARTY COURTESY NEF: Ronald N Richards ron@ronaldrichards.com,
       morani@ronaldrichards.com
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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       ATTORNEY FOR CREDITOR CALIFORNIA STATEWIDE COMMUNITIES DEVELOPMENT AUTHORITY:
        Debra Riley driley@allenmatkins.com
       ATTORNEY FOR CREDITOR U.S. REAL ESTATE CREDITOR HOLDINGS III-A, LP: Christopher O Rivas
        crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       ATTORNEY FOR DEBTOR GLENROY COACHELLA, LLC: James R Selth jim@wsrlaw.net, jselth@yahoo.com;
        dairi@wsrlaw.net; gabby@wsrlaw.net; vinnet@ecf.inforuptcy.com
       ATTORNEY FOR INTERESTED PARTY LATHAM MANAGEMENT & CONSULTING SERVICES, INC.: Leonard
        M Shulman lshulman@shulmanbastian.com
       ATTORNEY FOR CREDITOR A. STUART RUBIN AND INTERESTED PARTIES ELLIOT LANDER AND
        STUART RUBIN: Evan L Smith els@elsmithlaw.com
       ATTORNEY FOR INTERESTED PARTY EDWIN W. LESLIE, RECEIVER: Alan G Tippie
        atippie@sulmeyerlaw.com, atippie@ecf.courtdrive.com; pdillamar@sulmeyerlaw.com
       U.S. TRUSTEE (LA): United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       ATTORNEY FOR DEBTOR GLENROY COACHELLA, LLC: Daniel J Weintraub dan@wsrlaw.net,
        vinnet@ecf.inforuptcy.com; gabby@wsrlaw.net; dairi@wsrlaw.net

2. SERVED BY UNITED STATES MAIL: CONTINUED:
 CREDITOR                      SECURED CREDITOR                                                             SECURED CREDITOR
 ABC SUPPLY CO INC             AL MILLER & SONS ROOFING CO.,                                                AL MILLER & SONS ROOFING CO.,
 ATTN: OFFICER, A MANAGING OR INC.                                                                          INC.
 GENERAL AGENT, OR TO ANY      MATTHEW AARON MILLER, CHIEF                                                  RUSSELL EUGENE MILLER,
 OTHER AGENT AUTHORIZED BY     EXECUTIVE OFFICER                                                            SECRETARY AND CHIEF FINANCIAL
 APPOINTMENT OR LAW TO         68260 HERMOSILLO                                                             OFFICER
 RECEIVE SERVICE               CATHEDRAL CITY, CA 92234                                                     50148 TWENTY-NINE PALMS
 1 ABC PARKWAY                                                                                              HIGHWAY
 BELOIT, WI 53511-4466                                                                                      MORONGO VALLEY, CA 92256

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 AL MILLER & SONS ROOFING,                         AL MILLER & SONS ROOFING, INC.                           AL MILLER & SONS ROOFING, INC.
 INC.                                              RUSSELL EUGENE MILLER, AGENT                             STEPHEN J. ARMSTRONG
 ATTN: OFFICER, A MANAGING OR                      FOR SERVICE OF PROCESS                                   44200 MONTEREY AVE., SUITE B
 GENERAL AGENT, OR TO ANY                          68760 SUMMIT DR.                                         PALM DESERT, CA 92260-2708
 OTHER AGENT AUTHORIZED BY                         CATHEDRAL CITY, CA 92234-7344
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE
 68760 SUMMIT DR.
 CATHEDRAL CITY, CA 92234-7344

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 AL MILLER & SONS ROOFING,                         ALL PHASE DRYWALL &                                      ALL PHASE DRYWALL &
 INC.                                              DEVELOPMENT INC                                          DEVELOPMENT INC
 THOMAS J. POLIS                                   ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 POLIS & ASSOCIATES, APLC                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 19800 MACARTHUR BLVD, SUITE                       AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 1000                                              APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 IRVINE, CA 92612                                  SERVICE                                                  RECEIVE SERVICE
                                                   1928 LINCOLN DR., SUITE N.                               1187 13TH ST.
                                                   ANNAPOLIS, MD 21401-4124                                 IMPERIAL BEACH, CA 91932-3661




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 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 ALL PHASE DRYWALL &                               ALL PHASE DRYWALL &                                      ALL PHASE DRYWALL &
 DEVELOPMENT INC                                   DEVELOPMENT INC                                          DEVELOPMENT INC
 ATTN: OFFICER, A MANAGING OR                      C/O MATT H. MORRIS                                       GEORGE E BRAUDAWAY, AGENT
 GENERAL AGENT, OR TO ANY                          47040 WASHINGTON STREET, SUITE                           FOR SERVICE OF PROCESS
 OTHER AGENT AUTHORIZED BY                         3201                                                     CEO, SECRETARY, CFO, DIRECTOR
 APPOINTMENT OR LAW TO                             LA QUINTA, CA 92253-2635                                 144 PALM AVE
 RECEIVE SERVICE                                                                                            IMPERIAL BEACH, CA 91932
 PO BOX 338
 IMPERIAL BEACH, CA 91933

 SECURED CREDITOR                                  CREDITOR                                                 CREDITOR / POC ADDRESS
 ALL PHASE DRYWALL &                               ALL-WALL EQUIPMENT CO INC                                ALLY BANK LEASE TRUST
 DEVELOPMENT INC                                   ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 KOZBERG & BODELL, LLP                             GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 1801 CENTURY PARK EAST, 16TH                      AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 FL                                                APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 LOS ANGELES, CA 90067                             SERVICE                                                  RECEIVE SERVICE
                                                   6561 W POST RD                                           PO BOX 130424
                                                   LAS VEGAS, NV 89118-3414                                 ROSEVILLE, MN 55113-0004

 CREDITOR                                          SECURED CREDITOR                                         SECURED CREDITOR
 ALLY FINANCIAL                                    AMERICAN BUILDERS &                                      AMERICAN BUILDERS &
 ATTN: OFFICER, A MANAGING OR                      CONTRACTORS SUPPLY CO., INC.                             CONTRACTORS SUPPLY CO., INC.
 GENERAL AGENT, OR TO ANY                          ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 OTHER AGENT AUTHORIZED BY                         GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 APPOINTMENT OR LAW TO                             AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 RECEIVE SERVICE                                   APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 P.O. BOX 78234                                    SERVICE                                                  RECEIVE SERVICE
 PHOENIX, AZ 85062-8234                            ONE ABC PKWY.                                            PO BOX 838
                                                   BELOIT, WI 53511-4466                                    BELOIT, WI 53512

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 AMERICAN BUILDERS &                               AMERICAN BUILDERS &                                      AMERICAN BUILDERS &
 CONTRACTORS SUPPLY CO., INC.                      CONTRACTORS SUPPLY CO., INC.                             CONTRACTORS SUPPLY CO., INC.
 CSC - LAWYERS                                     KARL LEO, SECRETARY                                      KEITH F ROZOLIS, CHIEF
 INCORPORATING SERVICE                             ONE ABC PKWY.                                            EXECUTIVE OFFICER
 2710 GATEWAY OAKS DRIVE,                          BELOIT, WI 53511                                         ONE ABC PKWY.
 SUITE 150N                                                                                                 BELOIT, WI 53511
 SACRAMENTO, CA 95833

 SECURED CREDITOR                                  CREDITOR / POC ADDRESS
 AMERICAN BUILDERS &                               AMERICAN CONTRACTORS
 CONTRACTORS SUPPLY CO., INC.                      INDEMNITY COMPANY
 TODD BUEHL, CHIEF FINANCIAL                       ATTN: OFFICER, A MANAGING OR
 OFFICER                                           GENERAL AGENT, OR TO ANY OTHER
 ONE ABC PKWY.                                     AGENT AUTHORIZED BY
 BELOIT, WI 53511                                  APPOINTMENT OR LAW TO RECEIVE
                                                   SERVICE
                                                   801 S FIGUEROA STREET, SUITE 700
                                                   LOS ANGELES, CA 90017



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 APPLE J PLUMBING, INC.                            APPLE J PLUMBING, INC.                                   APPLE J PLUMBING, INC.
 SALINA MORALES, COLLECTION                        STEPHEN J. ARMSTRONG                                     THOMAS J. POLIS
 MANAGER                                           44200 MONTEREY AVE., SUITE B                             POLIS & ASSOCIATES, APLC
 EASY LAW CONSTRUCTION                             PALM DESERT, CA 92260-2708                               19800 MACARTHUR BLVD, SUITE
 NOTICES                                                                                                    1000
 1777 EAST LOS ANGELES                                                                                      IRVINE, CA 92612
 AVENUE, SUITE 203
 SIMI VALLEY, CA 93065

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 APPLE J PLUMBING, INC.                            APPLE J PLUMBING, INC.                                   APPLE J PLUMBING, INC.
 ATTN: OFFICER, A MANAGING OR                      JAMES HOUGHLAN, DIRECTOR                                 JEFFREY APPLE AS AGENT FOR
 GENERAL AGENT, OR TO ANY                          83086 ADARE CT                                           SERVICE OF PROCESS
 OTHER AGENT AUTHORIZED BY                         INDIO, CA 92203                                          CEO, SECRETARY, CFO
 APPOINTMENT OR LAW TO                                                                                      43755 GALAXY DR
 RECEIVE SERVICE                                                                                            LA QUINTA, CA 92253
 45625 CITRUS AVENUE
 INDIO, CA 92201

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 ART OF THE MUSE, LLC                              ART OF THE MUSE, LLC                                     ART OF THE MUSE, LLC
 ATTN: OFFICER, A MANAGING OR                      BUSINESS FILINGS INCORPORATED                            JENNY AMBROSE, CONTROLLER
 GENERAL AGENT, OR TO ANY                          330 N BRAND BLVD                                         2222 5TH ST
 OTHER AGENT AUTHORIZED BY                         GLENDALE, CA 91203                                       BERKELEY, CA 94710
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE
 2222 5TH ST
 BERKELEY, CA 94710

 SECURED CREDITOR                                  SECURED CREDITOR                                         NEW ADDR PER DK 243 06/01/21
 ART OF THE MUSE, LLC                              ART OF THE MUSE, LLC                                     SECURED CREDITOR
 KATHLEEN M MCINTYRE,                              TREVOR D LARGE                                           ART OF THE MUSE, LLC
 MANAGER/MEMBER                                    FAUVER LARGE ARCHBALD & SPRAY                            ATTN: OFFICER, A MANAGING OR
 110 SANTA ROSA AVE                                LLP                                                      GENERAL AGENT, OR TO ANY
 SAUSALITO, CA 94710                               820 STATE STREET, 4TH FLOOR                              OTHER AGENT AUTHORIZED BY
                                                   SANTA BARBARA, CA 93101                                  APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE
                                                                                                            2200 CENTRAL ST. UNIT D
                                                                                                            RICHMOND, CA 94801

 CREDITOR                                          CREDITOR                                                 CREDITOR
 ASR DEVELOPMENT CO                                ATTORNEY GENERAL                                         BANK HAPOALIM B.M.
 C/O STUART RUBIN                                  UNITED STATES DEPARTMENT OF                              ATTN: OFFICER, A MANAGING OR
 1801 S LA CIENEGA BLVD #301                       JUSTICE                                                  GENERAL AGENT, OR TO ANY
 LOS ANGELES, CA 90035-4658                        BEN FRANKLIN STATION                                     OTHER AGENT AUTHORIZED BY
                                                   P.O. BOX 683                                             APPOINTMENT OR LAW TO
                                                   WASHINGTON, DC 20044                                     RECEIVE SERVICE
                                                                                                            1120 AVENUE OF THE AMERICAS
                                                                                                            NEW YORK, NY 10036




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 CREDITOR                                          20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 BANK HAPOALIM B.M.                                BARAJAS PLASTERING CO.                                   BENTLEY FINANCIAL SERVICES
 C/O C T CORPORATION SYSTEM,                       ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 AGENT FOR SERVICE OF                              GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 PROCESS                                           AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 330 N BRAND BLVD                                  APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 GLENDALE, CA 91203                                SERVICE                                                  RECEIVE SERVICE
                                                   81-328 AVENIDA ROMERO                                    ONE PORSCHE DRIVE
                                                   INDIO, CA 92201-2865                                     ATLANTA, GA 30354

 CREDITOR                                          SECURED CREDITOR                                         SECURED CREDITOR
 BERMAN LITIGATION GROUP                           BLAIR AIR, INC.                                          BLAIR AIR, INC.
 ATTN: OFFICER, A MANAGING OR                      DENISE A BLAIR, SECRETARY AND                            DENNIS W WEBB, AGENT FOR
 GENERAL AGENT, OR TO ANY                          CHIEF FINANCIAL OFFICER                                  SERVICE OF PROCESS
 OTHER AGENT AUTHORIZED BY                         72438 JULIA WAY                                          46740 JUNI HILLS DR
 APPOINTMENT OR LAW TO                             THOUSAND PALMS, CA 92276                                 AGUANGA, CA 92536
 RECEIVE SERVICE
 815 MORAGA DR.
 LOS ANGELES, CA 90049-1633

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 BLAIR AIR, INC.                                   BLAIR AIR, INC.                                          BLAIR AIR, INC.
 SHAWN S BLAIR, CHIEF                              ATTN: OFFICER, A MANAGING OR                             C/O BRIAN S HARNIK, ESQ OF
 EXECUTIVE OFFICER                                 GENERAL AGENT, OR TO ANY OTHER                           ROEMER & HARNICK LLP
 72438 JULIA WAY                                   AGENT AUTHORIZED BY                                      45-025 MANITOU DR.
 THOUSAND PALMS, CA 92276                          APPOINTMENT OR LAW TO RECEIVE                            INDIAN WELLS, CA 92210-9068
                                                   SERVICE
                                                   653 S. OLEANDER RD.
                                                   PALM SPRINGS, CA 92264-1502

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 BLAIR AIR, INC. DBA BLAIR                         BMC WEST LLC                                             BMC WEST, LLC
 HEATING & AIR                                     C/O MILENE APANIAN                                       ATTN: OFFICER, A MANAGING OR
 C/O MAIL CENTER                                   ABDULAZIZ, GROSSBART & RUDMAN                            GENERAL AGENT, OR TO ANY
 REFERENCE ID 2420473                              6454 COLDWATER CANYON AVENUE                             OTHER AGENT AUTHORIZED BY
 9450 SW GEMINI DR #7790                           N HOLLYWOOD, CA 91606                                    APPOINTMENT OR LAW TO
 BEAVERTON, OR 97008-7105                                                                                   RECEIVE SERVICE
                                                                                                            45-311 GOLF CENTER PARKWAY #B
                                                                                                            INDIO, CA 92201

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 BMC WEST, LLC                                     BMC WEST, LLC                                            BMC WEST, LLC
 CSC - LAWYERS                                     DAVID E FLITMAN, CEO                                     JAMES G MAJOR JR., MANAGER
 INCORPORATING SERVICE                             4800 FALLS OF NEUSE RD., SUITE 400                       4800 FALLS OF NEUSE RD., SUITE
 2710 GATEWAY OAKS DRIVE,                          RALEIGH, NC 27609                                        400
 SUITE 150N                                                                                                 RALEIGH, NC 27609
 SACRAMENTO, CA 95833




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 BMC WEST, LLC                                     BMC WEST, LLC                                            BMC WEST, LLC
 TIMOTHY D JOHNSON, MANAGER                        TROY STICKNEY, MANAGER                                   ATTN: OFFICER, A MANAGING OR
 4800 FALLS OF NEUSE RD., SUITE                    25735 SPRINGBROOK AVE                                    GENERAL AGENT, OR TO ANY
 400                                               SANTA CLARITA, CA 91350                                  OTHER AGENT AUTHORIZED BY
 RALEIGH, NC 27609                                                                                          APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE
                                                                                                            4800 FALLS OF NEUSE RD., SUITE
                                                                                                            400
                                                                                                            RALEIGH, NC 27609-8142

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR
 BRET H. REED JR., A LAW                           BROWN WHITE & OSBORN LLP                                 BUILDERS TERMITE, INC.
 CORPORATION                                       ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 APPOINTMENT OR LAW TO                             SERVICE                                                  RECEIVE SERVICE
 RECEIVE SERVICE                                   333 S. HOPE ST., 40TH FL.                                13610 IMPERIAL HIGHWAY, SUITE 4
 428 AVOCADO AVE.                                  LOS ANGELES, CA 90071-3002                               SANTA FE SPRINGS, CA 90670-4873
 CORONA DEL MAR, CA 92625-
 1915

 CREDITOR                                          CREDITOR                                                 CREDITOR
 CA DEPT. OF TAX AND FEE                           CALIFORNIA STATEWIDE                                     CALIFORNIA STATEWIDE
 ADMIN.                                            COMMUNITIES DEV. AUTHORITY                               COMMUNITIES DEV. AUTHORITY
 ACCOUNT INFORMATION GROUP,                        (PACE)                                                   (PACE)
 MIC:29                                            ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 P.O. BOX 942879                                   GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 SACRAMENTO, CA 94279-0029                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE                                                  RECEIVE SERVICE
                                                   600 WEST BROADWAY, 27TH FLOOR                            1700 NORTH BROADWAY, SUITE
                                                   SAN DIEGO, CA 92101                                      405
                                                                                                            WALNUT CREEK, CA 94596

 SECURED CREDITOR                                  20 LARGEST CREDITOR                                      20 LARGEST CREDITOR / POC
 CALMWATER CAPITAL                                 CARRIER JOHNSON                                          ADDRESS
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             CARRIER JOHNSON, INC.
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           C/O K TODD CURRY, ESQ
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      185 WEST F STREET, STE 100
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            SAN DIEGO, CA 92101
 RECEIVE SERVICE                                   SERVICE
 11755 WILSHIRE BLVD., SUITE                       185 W. F ST., SUITE 500
 1425                                              SAN DIEGO, CA 92101-4012
 LOS ANGELES, CA 90025-1506

 CREDITOR                                          CREDITOR                                                 SECURED CREDITOR
 CHRISTOPHER FROST                                 CHRISTOPHER J. KOORSTAD                                  CHRISTOPHER W. BAYUK
 EISNER, LLP                                       1235 N. HARBOR BLVD., SUITE 200                          5170 GOLDEN FOOTHILLS
 9601 WILSHIRE BLVD., 7TH FL.                      FULLERTON, CA 92832-1349                                 PARKWAY
 LOS ANGELES, CA 90210-5211                                                                                 EL DORADO HILLS, CA 95762-9608


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 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 CITY OF COACHELLA                                 CITY OF COACHELLA                                        CITY OF COACHELLA
 ARTURO AVILES, CITY                               CASTULO R. ESTRADA, UTILITIES                            NATHAN STATHAM, FINANCE
 TREASURER                                         MANAGER                                                  DIRECTOR
 1515 SIXTH ST.                                    53462 ENTERPRISE WAY                                     53990 ENTERPRISE WAY
 COACHELLA, CA 92236                               COACHELLA, CA 92236                                      COACHELLA, CA 92236

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 CITY OF COACHELLA                                 CITY OF COACHELLA                                        CITY OF COACHELLA
 YESENIA BECERRIL, COMMUNITY                       ANGELA M. ZEPEDA, CITY CLERK                             BEST BEST & KREIGER LLP, ATTN:
 DEVELOPMENT TECHNICIAN                            53-990 ENTERPRISE WAY                                    CAROLINE R. DJANG
 53990 ENTERPRISE WAY                              COACHELLA, CA 92236-2724                                 18101 VON KARMAN AVE. SUITE
 COACHELLA, CA 92236                                                                                        1000
                                                                                                            IRVINE, CA 926212

 SECURED CREDITOR                                  20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 CITY OF COACHELLA                                 CITY OF COACHELLA                                        CITY OF COACHELLA
 CARLOS CAMPOS, CITY                               ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 ATTORNEY DIRECTOR                                 GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 1515 SIXTH ST.                                    AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 COACHELLA, CA 92236-1757                          APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE                                                  RECEIVE SERVICE
                                                   1515 SIXTH ST.                                           53-990 ENTERPRISE WAY
                                                   COACHELLA, CA 92236-1757                                 COACHELLA, CA 92236-2724

 CREDITOR                                          CREDITOR                                                 CREDITOR
 CITY OF INDIO                                     CITY OF INDIO                                            CIVIL PROCESS CLERK
 ATTN: OFFICER, A MANAGING OR                      RICHARDS WATSON & GERSHON                                UNITED STATES ATTORNEY'S
 GENERAL AGENT, OR TO ANY                          41000 MAIN STREET, SUITE 309                             OFFICE
 OTHER AGENT AUTHORIZED BY                         TEMECULA, CA 92590-2764                                  FEDERAL BUILDING, ROOM 7516
 APPOINTMENT OR LAW TO                                                                                      300 NORTH LOS ANGELES STREET
 RECEIVE SERVICE                                                                                            LOS ANGELES, CA 90012
 100 CIVIC CENTER MALL
 INDIO, CA 92201-4448

 CREDITOR                                          INTERESTED PARTY                                         INTERESTED PARTY
 COACHELLA LIGHTHOUSE LLC                          COACHELLA RESORT, LLC                                    COACHELLA RESORT, LLC
 ATTN: OFFICER, A MANAGING OR                      BRIAN LEWIS, AGENT FOR SERVICE                           ELLIOT LANDER, CEO, MANAGER
 GENERAL AGENT, OR TO ANY                          OF PROCESS                                               72780 COUNTRY CLUB DRIVE,
 OTHER AGENT AUTHORIZED BY                         44700 VILLAGE COURT, SUITE 100                           SUITE 301
 APPOINTMENT OR LAW TO                             PALM DESERT, CA 92270                                    RANCHO MIRAGE, CA 92270
 RECEIVE SERVICE
 1801 LA CIENEGA BLVD., SUITE
 301
 LOS ANGELES, CA 90035-4658




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 INTERESTED PARTY                                  INTERESTED PARTY                                         CREDITOR / POC ADDRESS
 COACHELLA RESORT, LLC                             COACHELLA RESORT, LLC                                    COACHELLA RESORT, LLC
 EVAN L. SMITH                                     ATTN: OFFICER, A MANAGING OR                             ATTN ELLIOT LANDER
 MESSINA & HANKIN, LLP                             GENERAL AGENT, OR TO ANY OTHER                           72780 COUNTRY CLUB DR., SUITE
 24910 LAS BRISAS ROAD, SUITE                      AGENT AUTHORIZED BY                                      301
 102                                               APPOINTMENT OR LAW TO RECEIVE                            RANCHO MIRAGE, CA 92270-4150
 MURRIETA, CA 92562                                SERVICE
                                                   1801 S. LA CIENEGA BLVD., SUITE 301
                                                   LOS ANGELES, CA 90035-4658

 CREDITOR / POC ADDRESS                            INTERESTED PARTY                                         INTERESTED PARTY
 COACHELLA VALLEY                                  COACHELLA VALLEY COUNTY WATER                            COACHELLA VALLEY COUNTY
 COLLECTION SERVICE                                DISTRICT                                                 WATER DISTRICT
 ATTN: OFFICER, A MANAGING OR                      CLERK OF THE BOARD                                       CLERK OF THE BOARD
 GENERAL AGENT, OR TO ANY                          PO BOX 1058                                              51501 TYLER ST
 OTHER AGENT AUTHORIZED BY                         COACHELLA, CA 92236                                      COACHELLA, CA 92236
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE
 P.O. BOX 13621
 PALM DESERT, CA 92255-3621

 INTERESTED PARTY                                  INTERESTED PARTY                                         CREDITOR
 COACHELLA VALLEY                                  COACHELLA VALLEY RECREATION &                            COLLIERS INTERNATIONAL
 RECREATION & PARKS DISTRICT                       PARKS DISTRICT                                           GROUP, LLC
 ATTN: OFFICER, A MANAGING OR                      DESERT RECREATION DISTRICT,                              ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          DISTRICT OFFICE                                          GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         ATTN: OFFICER, A MANAGING OR                             OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             GENERAL AGENT, OR TO ANY OTHER                           APPOINTMENT OR LAW TO
 RECEIVE SERVICE                                   AGENT AUTHORIZED BY                                      RECEIVE SERVICE
 74945 SHERYL AVE                                  APPOINTMENT OR LAW TO RECEIVE                            11601 WILSHIRE BLVD., SUITE 1950
 PALM DESERT, CA 92260                             SERVICE                                                  LOS ANGELES, CA 90025-0388
                                                   45-305 OASIS STREET
                                                   INDIO, CA 92201

 20 LARGEST CREDITOR / POC                         SECURED CREDITOR                                         SECURED CREDITOR
 ADDRESS                                           CONSTRUCTURE, INC.                                       CONSTRUCTURE, INC.
 COLLIERS PROJECT LEADERS                          BENJAMIN JOHN BOHANNAN, AGENT                            ATTN: OFFICER, A MANAGING OR
 ATTN: OFFICER, A MANAGING OR                      FOR SERVICE OF PROCESS                                   GENERAL AGENT, OR TO ANY
 GENERAL AGENT, OR TO ANY                          CEO, CFO, SECRETARY, DIRECTOR                            OTHER AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                         3940 LAUREL CANYON BLVD 908                              APPOINTMENT OR LAW TO
 APPOINTMENT OR LAW TO                             STUDIO CITY, CA 91604                                    RECEIVE SERVICE
 RECEIVE SERVICE                                                                                            3940 LAUREL CANYON BLVD., #908
 135 NEW ROAD                                                                                               STUDIO CITY, CA 91604-3709
 MADISON, CT 06443-2508




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 INTERESTED PARTY                                  CREDITOR                                                 CREDITOR
 COUNTY OF RIVERSIDE                               CSC                                                      CSCDA
 GREGORY P. PRIAMOS, COUNTY                        ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 COUNSEL                                           GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 3960 ORANGE STREET, SUITE 500                     AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 RIVERSIDE, CA 92501                               APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE                                                  RECEIVE SERVICE
                                                   251 LITTLE FALLS DR.                                     1700 N. BROADWAY, SUITE 405
                                                   WILMINGTON, DE 19808-1674                                WALNUT CREEK, CA 94596-4184

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 CUMMINS & WHITE, LLP                              DAL TILE DISTRIBUTION                                    DAL TILE DISTRIBUTION, INC.
 ATTN: EDWARD J FARRELL                            ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 2424 S.E. BRISTOL ST., SUITE 300                  GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 NEWPORT BEACH, CA 92660-0764                      AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE                                                  RECEIVE SERVICE
                                                   P.O. BOX 12069                                           7834 C.F. HAWN FREEWAY
                                                   CALHOUN, GA 30703-7002                                   DALLAS, TX 75217-6529

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 DAL-TILE DISTRIBUTION, INC.                       DAL-TILE DISTRIBUTION, INC.                              DAL-TILE DISTRIBUTION, INC.
 ATTN: OFFICER, A MANAGING OR                      CSC - LAWYERS INCORPORATING                              MATTHEW KAHNY, CHIEF
 GENERAL AGENT, OR TO ANY                          SERVICE                                                  EXECUTIVE OFFICER
 OTHER AGENT AUTHORIZED BY                         2710 GATEWAY OAKS DRIVE, SUITE                           7834 C.F. HAWN FREEWAY
 APPOINTMENT OR LAW TO                             150N                                                     DALLAS, TX 75217-6529
 RECEIVE SERVICE                                   SACRAMENTO, CA 95833
 8583 IRVINE CENTER DRIVE #500
 IRVINE, CA 92618

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 DAL-TILE DISTRIBUTION, INC.                       DAL-TILE DISTRIBUTION, INC.                              DAL-TILE DISTRIBUTION, INC.
 RODNEY DAVID PATTON,                              RODOLFO GABA JR.                                         SHAILESH BETTADAPUR, CHIEF
 SECRETARY                                         GABA GUERRINI LAW CORPORATION                            FINANCIAL OFFICER
 7834 C.F. HAWN FREEWAY                            8583 IRVINE CENTER DRIVE #500                            7834 C.F. HAWN FREEWAY
 DALLAS, TX 75217-6529                             IRVINE, CA 92618                                         DALLAS, TX 75217-6529

 CREDITOR                                          COUNSEL FOR CREDITORS                                    CREDITOR
 DAMIAN D. CAPOZZOLA                               COMMITTEE                                                DAVID A. SUDECK
 633 W. 5TH ST., 26TH FL.                          DAREN BRINKMAN                                           JEFFER MANGELS BUTLER &
 LOS ANGELES, CA 90071-2053                        4333 PK TERR DR STE 205                                  MITCHELL
                                                   WESTLAKE VILLAGE, CA 91361                               1900 AVENUE OF THE STARS, 7TH
                                                                                                            FL.
                                                                                                            LOS ANGELES, CA 90067-4308




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 CREDITOR                                          SECURED CREDITOR                                         CREDITOR / POC ADDRESS
 DAVID R. BAAKE                                    DESERT ELECTRIC SUPPLY                                   DESERT MOVING COMPANY, LLC
 350 EL MOLINO BLVD.                               ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 LAS CRUCES, NM 88005-2915                         GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
                                                   AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE                                                  RECEIVE SERVICE
                                                   74875 VELIE WAY                                          82585 SHOWCASE PARKWAY,
                                                   PALM DESERT, CA 92260-1965                               SUITE A 101
                                                                                                            INDIO, CA 92203

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 DESERT PALMS ELECTRIC, INC.                       DESERT PALMS ELECTRIC, INC.                              DESERT PALMS ELECTRIC, INC.
 ATTN: OFFICER, A MANAGING OR                      HY ROBIN FAULKNER, AGENT FOR                             JACQUELINA SHERRY FAULKNER
 GENERAL AGENT, OR TO ANY                          SERVICE OF PROCESS                                       SECRETARY AND CHIEF FINANCIAL
 OTHER AGENT AUTHORIZED BY                         CHIEF EXECUTIVE OFFICER,                                 OFFICER
 APPOINTMENT OR LAW TO                             DIRECTOR, PRESIDENT                                      73622 SUN LANE
 RECEIVE SERVICE                                   73622 SUN LANE                                           PALM DESERT, CA 92260
 PO BOX 432                                        PALM DESERT, CA 92260
 PALM DESERT, CA 92260

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 DESERT PALMS ELECTRIC, INC.                       DESERT PALMS ELECTRIC, INC.                              DESERT PALMS ELECTRIC, INC.
 SALINA MORALES, COLLECTION                        STEPHEN J. ARMSTRONG                                     THOMAS J. POLIS
 MANAGER                                           44200 MONTEREY AVE., SUITE B                             POLIS & ASSOCIATES, APLC
 EASY LAW CONSTRUCTION                             PALM DESERT, CA 92260-2708                               19800 MACARTHUR BLVD, SUITE
 NOTICES                                                                                                    1000
 1777 EAST LOS ANGELES                                                                                      IRVINE, CA 92612
 AVENUE, SUITE 203
 SIMI VALLEY, CA 93065

 SECURED CREDITOR                                  20 LARGEST CREDITOR / POC                                SECURED CREDITOR
 DESERT PALMS ELECTRIC, INC.                       ADDRESS                                                  DOUG WALL CONSTRUCTION
 ATTN: OFFICER, A MANAGING OR                      DESIGN DEVELOPMENT CO.                                   MARC S. HOMME, APLC
 GENERAL AGENT, OR TO ANY                          ATTN: OFFICER, A MANAGING OR                             PO BOX 4250
 OTHER AGENT AUTHORIZED BY                         GENERAL AGENT, OR TO ANY OTHER                           PALM DESERT, CA 92261-4250
 APPOINTMENT OR LAW TO                             AGENT AUTHORIZED BY
 RECEIVE SERVICE                                   APPOINTMENT OR LAW TO RECEIVE
 40101 MONTEREY AVE.                               SERVICE
 RANCHO MIRAGE, CA 92270-3261                      28035 DOROTHY DR., SUITE 100
                                                   AGOURA HILLS, CA 91301-2635

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 DOUG WALL CONSTRUCTION                            DOUG WALL CONSTRUCTION, INC.                             DOUG WALL CONSTRUCTION, INC.
 ATTN: OFFICER, A MANAGING OR                      BEST BEST & KREIGER LLP, ATTN:                           DOUG WALL, AGENT FOR SERVICE
 GENERAL AGENT, OR TO ANY                          CAROLINE R. DJANG                                        OF PROCESS
 OTHER AGENT AUTHORIZED BY                         18101 VON KARMAN AVE. SUITE 1000                         CHIEF EXECUTIVE OFFICER, CHIEF
 APPOINTMENT OR LAW TO                             IRVINE, CA 92612                                         FINANCIAL OFFICER, DIRECTOR,
 RECEIVE SERVICE                                                                                            PRESIDENT
 78450 AVENUE 41                                                                                            78450 AVENUE 41
 BERMUDA DUNES, CA 92203-1001                                                                               BERMUDA DUNES, CA 92203



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 SECURED CREDITOR                                  CREDITOR                                                 SECURED CREDITOR
 DOUG WALL CONSTRUCTION,                           DUNN DESANTIS WALT & KENDRICK,                           EDWIN W LESLIE
 INC.                                              LLP                                                      LK ASSET ADVISORS
 YVONNA WALL                                       ATTN: OFFICER, A MANAGING OR                             209 10TH AVE SOUTH SUITE 416
 SECRETARY AND DIRECTOR                            GENERAL AGENT, OR TO ANY OTHER                           NASHVILLE, TN 37203-0772
 78450 AVENUE 41                                   AGENT AUTHORIZED BY
 BERMUDA DUNES, CA 92203                           APPOINTMENT OR LAW TO RECEIVE
                                                   SERVICE
                                                   750 B ST., SUITE 2620
                                                   SAN DIEGO, CA 92101-8172

 SECURED CREDITOR / POC                            CREDITOR                                                 CREDITOR
 ADDRESS                                           EFO FINANCIAL GROUP LLC                                  EFO FINANCIAL GROUP, LLC
 EDWIN W. LESLIE, RECEIVER                         SHUMAKER LOOP & KENDRICK LLP                             ATTN: OFFICER, A MANAGING OR
 ALAN G TIPPIE, MARK S                             C/O STEVEN M. BERMAN, ESQ.                               GENERAL AGENT, OR TO ANY
 HOROUPIAN, SULMEYERKUPETZ,                        101 E KENNEDY BLVD. STE 2800                             OTHER AGENT AUTHORIZED BY
 APC                                               TAMPA, FL 33602-5150                                     APPOINTMENT OR LAW TO
 333 SOUTH GRAND AVENUE, STE                                                                                RECEIVE SERVICE
 3400                                                                                                       9115 GALLERIA COURT, SUITE 105
 C/O ALAN G. TIPPIE                                                                                         NAPLES, FL 34109-4376
 LOS ANGELES, CA 90071-1538

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR'S COUNSEL
 ELLIOT B. LANDER                                  ERIC J. MONZO                                            EVAN L. SMITH
 72780 COUNTRY CLUB DR., SUITE                     500 DELAWARE AVE., SUITE 1500                            MESSINA & HANKIN LLP
 301                                               WILMINGTON, DE 19801-1494                                24910 LAS BRISAS ROAD, SUITE
 RANCHO MIRAGE, CA 92270-4150                                                                               102
                                                                                                            MURRIETA, CA 92562

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 FERGUSON ENTERPRISES, LLC                         FERGUSON ENTERPRISES, LLC                                FERGUSON ENTERPRISES, LLC
 ALEX B. HUTCHERSON,                               ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 MANAGER/MEMBER                                    GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 12500 JEFFERSON AVE                               AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 NEWPORT NEWS, VA 23602                            APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE                                                  RECEIVE SERVICE
                                                   P.O. BOX 2778                                            12500 JEFFERSON AVE
                                                   NEWPORT NEWS, VA 23609-0778                              NEWPORT NEWS, VA 23602

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 FERGUSON ENTERPRISES, LLC                         FERGUSON ENTERPRISES, LLC                                FERGUSON ENTERPRISES, LLC
 CORPORATE CREATIONS                               GEORGE H. SYKULSKI                                       GEORGE H. SYKULSKI
 NETWORK INC.                                      P.O. BOX 10426                                           3156 ABINGTON DR.
 4640 ADMIRALTY WAY, 5TH                           BURBANK, CA 91510                                        BEVERLY HILLS, CA 90210-1101
 FLOOR
 MARINA DEL REY, CA 90292




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 FERGUSON ENTERPRISES, LLC                         FERGUSON ENTERPRISES, LLC                                FERGUSON ENTERPRISES, LLC
 IAN T. GARAHM,                                    KEVIN M. MURPHY, MANAGER AND                             WILLIAM S. BRUNDAGE,
 MANAGER/MEMBER                                    CEO                                                      MANAGER/MEMBER
 12500 JEFFERSON AVE                               12500 JEFFERSON AVE                                      12500 JEFFERSON AVE
 NEWPORT NEWS, VA 23602                            NEWPORT NEWS, VA 23602                                   NEWPORT NEWS, VA 23602

 SECURED CREDITOR                                  CREDITOR                                                 INTERESTED PARTY
 FIDELITY NATIONAL TITLE                           FIRE CODE INC.                                           FORCE RUBIN 2, LLC
 COMPANY                                           ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 APPOINTMENT OR LAW TO                             SERVICE                                                  RECEIVE SERVICE
 RECEIVE SERVICE                                   63 VIA PICO PLAZA, SUITE 102                             1801 S. LA CIENEGA BLVD., SUITE
 1101 INVESTMENT BLVD., SUITE                      SAN CLEMENTE, CA 92672-3998                              301
 170                                                                                                        LOS ANGELES, CA 90035-4658
 EL DORADO HILLS, CA 95762-5746

 INTERESTED PARTY                                  INTERESTED PARTY                                         INTERESTED PARTY
 FORCE RUBIN 2, LLC                                FORCE RUBIN 2, LLC                                       FORCE RUBIN 2, LLC
 ATTN: OFFICER, A MANAGING OR                      JAMES R FELTON, AGENT FOR                                STUART RUBIN,
 GENERAL AGENT, OR TO ANY                          SERVICE OF PROCESS                                       MANAGER/MEMBER
 OTHER AGENT AUTHORIZED BY                         16000 VENTURA BLVD, STE 1000                             1801 S LA CIENEGA BLVD, STE 301
 APPOINTMENT OR LAW TO                             ENCINO, CA 91436                                         LOS ANGELES, CA 90035
 RECEIVE SERVICE
 21650 W OXNARD STREET, #1700
 WOODLAND HILLS, CA 91367

 INTERESTED PARTY                                  INTERESTED PARTY                                         INTERESTED PARTY
 FORCE RUBIN LLC                                   FORCE RUBIN LLC                                          FORCE RUBIN LLC
 ATTN: OFFICER, A MANAGING OR                      JAMES R FELTON, AGENT FOR                                STUART RUBIN,
 GENERAL AGENT, OR TO ANY                          SERVICE OF PROCESS                                       MANAGER/MEMBER
 OTHER AGENT AUTHORIZED BY                         16000 VENTURA BLVD, STE 1000                             1801 S LA CIENEGA BLVD, STE 301
 APPOINTMENT OR LAW TO                             ENCINO, CA 91436                                         LOS ANGELES, CA 90035
 RECEIVE SERVICE
 1801 S LA CIENEGA BLVD, STE
 301
 LOS ANGELES, CA 90035

 CREDITOR                                          CREDITOR                                                 CREDITOR
 FORCE-DMP LLC                                     FORCE-DMP LLC                                            FORCE-DMP LLC
 ATTN: OFFICER, A MANAGING OR                      BRIAN M LEWIS, AGENT FOR SERVICE                         C/O MCGARRIGLE KENNEY &
 GENERAL AGENT, OR TO ANY                          OF PROCESS                                               ZAMPIELLO
 OTHER AGENT AUTHORIZED BY                         44700 VILLAGE COURT, SUITE 100                           9600 TOPANGA CANYON BLVD.,
 APPOINTMENT OR LAW TO                             PALM DESERT, CA 92260                                    SUITE 20
 RECEIVE SERVICE                                                                                            CHATSWORTH, CA 91311-4009
 72780 COUNTRY CLUB DR., SUITE
 301
 RANCHO MIRAGE, CA 92270




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 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR
 FRANCHISE TAX BOARD                               GARY STIFFELMAN                                          GARY STIFFELMAN
 BANKRUPTCY SECTION MS A340                        C/O DAMIAN D CAPOZZOLA ESQ                               383 S. BEVERLY GLEN BLVD.
 PO BOX 2952                                       633 W FIFTH STREET, 26TH FLOOR                           LOS ANGELES, CA 90024-2617
 SACRAMENTO CA 95812-2952                          LOS ANGELES, CA 90071

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 GAUSTON CORP.                                     GAUSTON CORP.                                            GAUSTON CORP.
 ATTN: OFFICER, A MANAGING OR                      ERIC VAUGHN, SECRETARY                                   JUSTIN TIDWELL, AGENT FOR
 GENERAL AGENT, OR TO ANY                          45311 GOLF CENTER PKWY., UNIT C                          SERVICE OF PROCESS
 OTHER AGENT AUTHORIZED BY                         INDIO, CA 92201                                          CHIEF EXECUTIVE OFFICER, CHIEF
 APPOINTMENT OR LAW TO                                                                                      FINANCIAL OFFICER, DIRECTOR
 RECEIVE SERVICE                                                                                            45311 GOLF CENTER PKWY., UNIT
 45311 GOLF CENTER PKWY., UNIT                                                                              C
 C                                                                                                          INDIO, CA 92201
 INDIO, CA 92201-7319

 CREDITOR                                          SECURED CREDITOR                                         SECURED CREDITOR
 GEORGE FRAGOSO                                    GEORGE H. SYKULKSI                                       GEORGE H. SYKULKSI
 C/O PLUMTREE & ASSOCIATES                         3156 ABINGTON DR.                                        P.O. BOX 10426
 11132 WINNERS CIRCLE, SUITE                       BEVERLY HILLS, CA 90210-1101                             BURBANK, CA 91510-0426
 G-207
 LOS ALAMITOS, CA 90720

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 GF INVESTMENT GROUP, INC.                         GF INVESTMENT GROUP, INC.                                GF INVESTMENT GROUP, INC.
 A. MARIA PLUMTREE                                 ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 PLUMTREE & ASSOCIATES                             GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 11132 WINNERS CIRCLE, SUITE                       AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 G-207                                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 LOS ALAMITOS, CA 90720                            SERVICE                                                  RECEIVE SERVICE
                                                   42600 GLASS DR.                                          PO BOX 5592
                                                   BERMUDA DUNES, CA 92203-1468                             LA QUINTA, CA 92248

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 GF INVESTMENT GROUP, INC.                         GF INVESTMENT GROUP, INC.                                GF INVESTMENT GROUP, INC. DBA
 GEORGE FRAGOSO, AGENT FOR                         MARIA FRAGOSO                                            THE INVESTMENT
 SERVICE OF PROCESS                                42600 GLASS DR.                                          ATTN: OFFICER, A MANAGING OR
 CHIEF EXECUTIVE OFFICER,                          BERMUDA DUNES, CA 92203                                  GENERAL AGENT, OR TO ANY
 CHIEF FINANCIAL OFFICER                                                                                    OTHER AGENT AUTHORIZED BY
 42600 GLASS DR.                                                                                            APPOINTMENT OR LAW TO
 BERMUDA DUNES, CA 92203                                                                                    RECEIVE SERVICE
                                                                                                            42600 GLASS DR.
                                                                                                            BERMUDA DUNES, CA 92203-1468




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 SECURED CREDITOR                                  SECURED CREDITOR                                         DEBTOR
 GLENDALE PLUMBING & FIRE                          GLENDALE PLUMBING & FIRE                                 GLENROY COACHELLA, LLC
 SUPPLY, INC.                                      SUPPLY, INC.                                             ATTN: OFFICER, A MANAGING OR
 ARMOND SARKISYAN, AGENT                           ATTN: OFFICER, A MANAGING OR                             GENERAL AGENT, OR TO ANY
 FOR SERVICE OF PROCESS                            GENERAL AGENT, OR TO ANY OTHER                           OTHER AGENT AUTHORIZED BY
 CHIEF EXECUTIVE OFFICER,                          AGENT AUTHORIZED BY                                      APPOINTMENT OR LAW TO
 SECRETARY, CHIEF FINANCIAL                        APPOINTMENT OR LAW TO RECEIVE                            RECEIVE SERVICE
 OFFICER, DIRECTOR                                 SERVICE                                                  1801 S. LA CIENEGA BLVD., SUITE
 723 SONORA AVE                                    4900 W. WASHINGTON BLVD.                                 301
 GLENDALE, CA 91201                                LOS ANGELES, CA 90016-1416                               LOS ANGELES, CA 90035-4658

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   OTHER PROFESSIONAL
 GLOSTER LA                                        GREENBERG & BASS AKA G&B LAW,                            GROBSTEIN TEEPLE LLP
 ATTN: OFFICER, A MANAGING OR                      LLP                                                      6300 CANOGA AVENUE SUITE
 GENERAL AGENT, OR TO ANY                          ATTN: OFFICER, A MANAGING OR                             1500W
 OTHER AGENT AUTHORIZED BY                         GENERAL AGENT, OR TO ANY OTHER                           WOODLAND HILLS, CA 91367
 APPOINTMENT OR LAW TO                             AGENT AUTHORIZED BY
 RECEIVE SERVICE                                   APPOINTMENT OR LAW TO RECEIVE
 471 N. ROBERTSON BLVD.                            SERVICE
 WEST HOLLYWOOD, CA 90048-                         16000 VENTURA BLVD., SUITE 1000
 1733                                              ENCINO, CA 91436-2762

 CREDITOR                                          SECURED CREDITOR                                         SECURED CREDITOR
 GRT RE INVESTMENT LLC                             GURALNICK & GILLILAND, LLP                               HAJOCA CORPORATION
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE                                   SERVICE                                                  RECEIVE SERVICE
 2664 PEPPERDALE DR.                               40004 COOK ST., SUITE 3                                  2001 JOSHUA RD.
 ROWLAND HEIGHTS, CA 91748-                        PALM DESERT, CA 92211-5802                               LAFAYETTE HILL, PA 19444-2431
 4928

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 HAJOCA CORPORATION                                HAJOCA CORPORATION                                       HAJOCA CORPORATION
 CHRISTOPHER W BAYUK                               CSC - LAWYERS INCORPORATING                              ERIC LOPOTEN, SECRETARY
 5170 GOLDEN FOOTHILLS                             SERVICE                                                  2001 JOSHUA RD.
 PARKWAY                                           2710 GATEWAY OAKS DRIVE, SUITE                           LAFAYETTE HILL, PA 19444
 EL DORADO HILLS, CA 95762-9608                    150N
                                                   SACRAMENTO, CA 95833

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 HAJOCA CORPORATION                                HAJOCA CORPORATION                                       HAJOCA CORPORATION
 KATHY RUSKO, CHIEF FINANCIAL                      RICK FANTHAM, CHIEF EXECUTIVE                            STEPHEN J. ARMSTRONG
 OFFICER                                           OFFICER                                                  44200 MONTEREY AVE., SUITE B
 2001 JOSHUA RD.                                   1108 DUNDAS ST E                                         PALM DESERT, CA 92260-2708
 LAFAYETTE HILL, PA 19444                          LONDON, ON NSW 3A7
                                                   CANADA




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 CREDITOR / POC ADDRESS                            CREDITOR                                                 SECURED CREDITOR
 HIGHGATE HOTELS, L.P.                             HIGHGATE HOTELS, LP                                      HI-GRADE MATERIALS CO.
 C/O KELLY BAGNALL, HOLLAND &                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 KNIGHT LLP                                        GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 200 CRESCENT COURT, SUITE                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 1600                                              APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 DALLAS, TX 75201                                  SERVICE                                                  RECEIVE SERVICE
                                                   870 SEVENTH AVE., 2ND FL.                                17671 BEAR VALLEY RD.
                                                   NEW YORK, NY 10019-4369                                  HESPERIA, CA 92345-4965

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 HI-GRADE MATERIALS CO.                            HI-GRADE MATERIALS CO.                                   HI-GRADE MATERIALS CO.
 HARRISON J. HOVE, DIRECTOR                        JONATHAN D. HOVE, AGENT FOR                              LORI A. CLIFTON, SECRETARY
 17671 BEAR VALLEY RD.                             SERVICE OF PROCESS                                       17671 BEAR VALLEY RD.
 HESPERIA, CA 92345-4965                           CHIEF EXECUTIVE OFFICER, CHIEF                           HESPERIA, CA 92345-4965
                                                   FINANCIAL OFFICER
                                                   17671 BEAR VALLEY RD.
                                                   HESPERIA, CA 92345-4965

 CREDITOR                                          CREDITOR                                                 CREDITOR
 HOWARD GOODMAN                                    HUDSON INSURANCE COMPANY                                 HUDSON INSURANCE COMPANY
 18321 VENTURA BLVD., SUITE 755                    ATTN: OFFICER, A MANAGING OR                             C/O THE LAW OFFICE OF STEPHEN
 TARZANA, CA 91356-4250                            GENERAL AGENT, OR TO ANY OTHER                           J ARMSTRONG
                                                   AGENT AUTHORIZED BY                                      44200 MONTEREY AVE, SUITE B
                                                   APPOINTMENT OR LAW TO RECEIVE                            PALM DESERT, CA 92260-2708
                                                   SERVICE
                                                   100 WILLIAM STREET, 5TH FLOOR
                                                   NEW YORK, NY 10038

 CREDITOR                                          20 LARGEST CREDITOR / POC                                CREDITOR
 HUDSON INSURANCE COMPANY                          ADDRESS                                                  HY ROBIN FAULKNER
 VIVIAN IMPERIAL, AGENT FOR                        HUGH T. SMITH CO.                                        C/O THE LAW OFFICE OF STEPHEN
 SERVICE OF PROCESS                                ATTN: OFFICER, A MANAGING OR                             J ARMSTRONG
 818 WEST 7TH STREET                               GENERAL AGENT, OR TO ANY OTHER                           44200 MONTEREY AVE, SUITE B
 LOS ANGELES, CA 90017                             AGENT AUTHORIZED BY                                      PALM DESERT, CA 92260-2708
                                                   APPOINTMENT OR LAW TO RECEIVE
                                                   SERVICE
                                                   5383 ROBERTS RD.
                                                   YUCCA VALLEY, CA 92284-2163

 INTERESTED PARTY                                  CREDITOR                                                 CREDITOR
 IMPERIAL IRRIGATION DISTRICT                      INLAND VALLEY SLADDEN, INC.                              INTEGRITY JOINT CONTROL, INC.
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE                                   SERVICE                                                  RECEIVE SERVICE
 P.O. BOX 937                                      45 EGAN AVE.                                             431 W. LAMBERT RD., SUITE 305
 IMPERIAL, CA 92251                                BEAUMONT, CA 92223                                       BREA, CA 92821-3918




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 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR
 INTERCONTINENTAL HOTELS                           INTERNAL REVENUE SERVICE                                 J & B MATERIALS
 GROUP                                             P.O. BOX 7346                                            ATTN: OFFICER, A MANAGING OR
 ATTN: OFFICER, A MANAGING OR                      PHILADELPHIA, PA 19101-7346                              GENERAL AGENT, OR TO ANY
 GENERAL AGENT, OR TO ANY                                                                                   OTHER AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                                                                                  APPOINTMENT OR LAW TO
 APPOINTMENT OR LAW TO                                                                                      RECEIVE SERVICE
 RECEIVE SERVICE                                                                                            1165 N JOHNSON AVE
 3 RAVINIA DR., SUITE 100                                                                                   EL CAJON, CA 92020-1906
 ATLANTA, GA 30346-2121

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 JACOBSSON ENGINEERING                             JACOBSSON ENGINEERING CONST.,                            JACOBSSON ENGINEERING
 CONST., INC.                                      INC.                                                     CONST., INC.
 ATTN: OFFICER, A MANAGING OR                      GURALNICK & GILLILAND LLP                                STEPHEN J. ARMSTRONG
 GENERAL AGENT, OR TO ANY                          40004 COOK ST., SUITE 3                                  44200 MONTEREY AVE., SUITE B
 OTHER AGENT AUTHORIZED BY                         PALM DESERT, CA 92211                                    PALM DESERT, CA 92260-2708
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE
 P.O. BOX 14430
 PALM DESERT, CA 92255-4430

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 JACOBSSON ENGINEERING                             JACOBSSON ENGINEERING                                    JACOBSSON ENGINEERING
 CONST., INC.                                      CONSTRUCTION, INC.                                       CONSTRUCTION, INC.
 THOMAS J. POLIS                                   DAN GUNNAR JACOBSSON, AGENT                              NATALIE JACOBSSON, SECRETARY
 POLIS & ASSOCIATES, APLC                          FOR SERVICE OF PROCESS                                   49875 DANAVON WAY
 19800 MACARTHUR BLVD, SUITE                       CHIEF EXECUTIVE OFFICER, CHIEF                           PALM DESERT, CA 92260
 1000                                              FINANCIAL OFFICER, DIRECTOR
 IRVINE, CA 92612                                  49875 DANAVON WAY
                                                   PALM DESERT, CA 92260

 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 JAMS                                              JEFFER MANGELS BUTLER &                                  JEFFREY D. SEGAL
 ATTN: OFFICER, A MANAGING OR                      MITCHELL LLP                                             1840 CENTURY PARK EAST, 17TH
 GENERAL AGENT, OR TO ANY                          ATTN THOMAS M GEHER                                      FL.
 OTHER AGENT AUTHORIZED BY                         1900 AVENUE OF THE STARS, 7TH FL.                        LOS ANGELES, CA 90067-2101
 APPOINTMENT OR LAW TO                             LOS ANGELES, CA 90067
 RECEIVE SERVICE
 18881 VON KARMAN AVE., SUJITE
 350
 IRVINE, CA 92612-1500

 CREDITOR / POC ADDRESS                            CREDITOR
 JEFFREY D. SEGAL, APC                             JOHN D. GALLEGOS
 C/O SHEILA M PISTONE; LAW                         35900 BOB HOPE DR., SUITE 170
 OFFICE OF SHEILA PISTONE                          RANCHO MIRAGE, CA 92270-1765
 1 PARK PLAZA, STE 600, PMB 150
 IRVINE, CA 92614




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 CREDITORS COMMITTEE / 20                          SECURED CREDITOR                                         CREDITOR
 LARGEST CREDITOR                                  KOZBERG & BODELL, LLP                                    KURT SAXON
 KMA CONSULTING                                    ATTN: OFFICER, A MANAGING OR                             C/O SAXON ENGINEERING
 C/O KEITH MATOI                                   GENERAL AGENT, OR TO ANY OTHER                           SERVICES, INC.
 151 KALMUS DR., SUITE C230                        AGENT AUTHORIZED BY                                      2605 TEMPLE HEIGHTS DR., SUITE
 COSTA MESA, CA 92626-7965                         APPOINTMENT OR LAW TO RECEIVE                            A
                                                   SERVICE                                                  OCEANSIDE, CA 92056-3584
                                                   1801 CENTURY PARK EAST, 16TH FL.
                                                   LOS ANGELES, CA 90067-2318

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 L & W SUPPLY CORPORATION                          L & W SUPPLY CORPORATION                                 L & W SUPPLY CORPORATION
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE                                   SERVICE                                                  RECEIVE SERVICE
 P.O. BOX 838                                      616 IOWA ST                                              300 RIVERSIDE PLAZA STE 200
 BELOIT, WI 53512-0838                             REDLANDS, CA 92373                                       CHICAGO, IL 60606

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 L & W SUPPLY CORPORATION                          L & W SUPPLY CORPORATION                                 L & W SUPPLY CORPORATION
 CSC - LAWYERS                                     KARL LEO, SECRETARY                                      KEITH ROZOLIS, CHIEF EXECUTIVE
 INCORPORATING SERVICE                             ONE ABC PKWY.                                            OFFICER
 2710 GATEWAY OAKS DRIVE,                          BELOIT, WI 53511                                         ONE ABC PKWY.
 SUITE 150N                                                                                                 BELOIT, WI 53511
 SACRAMENTO, CA 95833

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 L & W SUPPLY CORPORATION                          L & W SUPPLY CORPORATION                                 LA HACIENDA NURSERY &
 LAUREN B. STEC                                    TODD BUEHL, CHIEF FINANCIAL                              LANDSCAPE INC
 LANAK & HANNA, P.C.                               OFFICER                                                  ATTN: OFFICER, A MANAGING OR
 625 THE CITY DRIVE SOUTH,                         ONE ABC PKWY.                                            GENERAL AGENT, OR TO ANY
 SUITE 190                                         BELOIT, WI 53511                                         OTHER AGENT AUTHORIZED BY
 ORANGE, CA 92868                                                                                           APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE
                                                                                                            80-900 MILES AVE.
                                                                                                            INDIO, CA 92201-2822

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 LA HACIENDA NURSERY &                             LA HACIENDA NURSERY &                                    LA HACIENDA NURSERY &
 LANDSCAPE INC                                     LANDSCAPE INC                                            LANDSCAPE INC
 DONA LANE, DIRECTOR                               EDWARD J. FARRELL                                        J JOHN ANDERHOLT, AGENT FOR
 82-820 AVENUE 54                                  CUMMINS & WHITE LLP                                      SERVICE OF PROCESS
 THERMAL, CA 92274                                 2424 SE BRISTOL ST, SUITE 300                            74-770 HWY 11, SUITE 201
                                                   NEWPORT BEACH, CA 92660-0764                             INDIAN WELLS, CA 92210




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 SECURED CREDITOR                                  SECURED CREDITOR                                         CREDITOR
 LA HACIENDA NURSERY &                             LA HACIENDA NURSERY &                                    LA JOLLA DREAMS LLC
 LANDSCAPE INC                                     LANDSCAPE INC                                            ATTN: OFFICER, A MANAGING OR
 JAMES SCOTT HARRISON, CHIEF                       LINDA HARRISON, SECRETARY AND                            GENERAL AGENT, OR TO ANY
 EXECUTIVE OFFICER AND                             CHIEF FINANCIAL OFFICER                                  OTHER AGENT AUTHORIZED BY
 DIRECTOR                                          80-900 MILES AVE.                                        APPOINTMENT OR LAW TO
 80-900 MILES AVE.                                 INDIO, CA 92201                                          RECEIVE SERVICE
 INDIO, CA 92201                                                                                            16830 VENTURA BLVD, SUITE 360
                                                                                                            ENCINO, CA 91436

 CREDITOR                                          CREDITOR                                                 SECURED CREDITOR
 LA JOLLA DREAMS LLC                               LA JOLLA DREAMS LLC                                      LANAK & HANNA, P.C.
 C/O THE LAW OFFICE OF ERIC                        CALIFORNIA CORPORATE AGENTS,                             ATTN: OFFICER, A MANAGING OR
 EVERETT HAWES                                     INC., AGENT FOR SERVICE OF                               GENERAL AGENT, OR TO ANY
 23945 CALABASAS RD, STE 113                       PROCESS                                                  OTHER AGENT AUTHORIZED BY
 CALABASAS, CA 91302-1505                          16830 VENTURA BLVD, SUITE 360                            APPOINTMENT OR LAW TO
                                                   ENCINO, CA 91436                                         RECEIVE SERVICE
                                                                                                            625 THE CITY DRIVE SOUTH, SUITE
                                                                                                            190
                                                                                                            ORANGE, CA 92868-4983

 CREDITOR                                          CREDITORS COMMITTEE / 20                                 20 LARGEST CREDITOR
 LATHAM MANAGEMENT &                               LARGEST CREDITOR                                         LEGACY FOODSERVICE DESIGN
 CONSULTING SERVICES, INC                          LEGACY FOODSERVICE DESIGN LLC                            LLC
 C/O SHULMAN BASTIAN                               C/O MIKE COOPER                                          C/O MIKE COOPER
 FRIEDMAN & BUI LLP                                505 WEST WINDMILL LANE, SUITE 1C                         2380 THAYER AVE
 100 SPECTRUM CENTER DRIVE                         #316                                                     HENDERSON, NV 89074-5415
 SUITE 600                                         LAS VEGAS, NV 89123
 IRVINE, CA 92618-4969

 CREDITOR                                          SECURED CREDITOR                                         CREDITOR
 MAIDEN-LANE COMMERCIAL                            MARC S. HOMME, APLC                                      MARVIN H. WEISS
 MORTGAGE-BACKED                                   ATTN: OFFICER, A MANAGING OR                             74075 EL PASEO , SUITE A15
 SIDLEY AUSTIN LLP                                 GENERAL AGENT, OR TO ANY OTHER                           PALM DESERT, CA 92260-4145
 787 SEVENTH AVENUE                                AGENT AUTHORIZED BY
 NEW YORK, NY 10019                                APPOINTMENT OR LAW TO RECEIVE
                                                   SERVICE
                                                   P.O. BOX 4250
                                                   PALM DESERT, CA 92261-4250

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 MASCORRO CONCRETE                                 MASCORRO CONCRETE                                        MASCORRO CONCRETE
 CONSTRUCTION INC                                  CONSTRUCTION INC                                         CONSTRUCTION INC
 ATTN: OFFICER, A MANAGING OR                      CONCEPCION MASCORRO,                                     GINA MASCORRO-HERNANDEZ,
 GENERAL AGENT, OR TO ANY                          DIRECTOR                                                 SECRETARY AND CHIEF FINANCIAL
 OTHER AGENT AUTHORIZED BY                         120 CLEARWATER WAY                                       OFFICER
 APPOINTMENT OR LAW TO                             RANCHO MIRAGE, CA 92270                                  34615 YALE DRIVE
 RECEIVE SERVICE                                                                                            YUCAIPA, CA 92399
 P.O. BOX 910
 THOUSAND PALMS, CA 92276-
 0910



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 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 MASCORRO CONCRETE                                 MASCORRO CONCRETE                                        MASCORRO CONCRETE
 CONSTRUCTION INC                                  CONSTRUCTION INC                                         CONSTRUCTION INC
 SANTIAGO MASCORRO, CHIEF                          STEPHEN J. ARMSTRONG, AGENT                              THOMAS J. POLIS
 EXECUTIVE OFFICER                                 FOR SERVICE OF PROCESS                                   POLIS & ASSOCIATES, APLC
 120 CLEARWATER WAY                                44200 MONTEREY AVE., SUITE B                             19800 MACARTHUR BLVD, SUITE
 RANCHO MIRAGE, CA 92270                           PALM DESERT, CA 92260-2708                               1000
                                                                                                            IRVINE, CA 92612

 CREDITOR                                          INTERESTED PARTY                                         INTERESTED PARTY
 MCGARRIGLE, KENNEY &                              MELLO-ROOS COMMUNITY                                     MELLO-ROOS COMMUNITY
 ZAMPIELLO, APC                                    FACILITIES DISTRICT (CFD)                                FACILITIES DISTRICT (CFD)
 ATTN: OFFICER, A MANAGING OR                      CITY OF INDIO                                            CITY OF INDIO
 GENERAL AGENT, OR TO ANY                          MARK SCOTT, CITY MANAGER                                 ROZANNE M. DIAZ, CITY
 OTHER AGENT AUTHORIZED BY                         100 CIVIC CENTER MALL                                    ATTORNEY
 APPOINTMENT OR LAW TO                             INDIO, CA 92201                                          100 CIVIC CENTER MALL
 RECEIVE SERVICE                                                                                            INDIO, CA 92201
 9600 TOPANGA CANYON BLVD.,
 SUITE 20
 CHATSWORTH, CA 91311-4009

 INTERESTED PARTY                                  CREDITOR                                                 CREDITOR
 MELLO-ROOS COMMUNITY                              MGR CONCRETE, INC.                                       MICHAEL T. CHULAK
 FACILITIES DISTRICT (CFD)                         ATTN: OFFICER, A MANAGING OR                             30343 CANWOOD ST., SUITE 203
 RIVERSIDE COUNTY ASSESSOR                         GENERAL AGENT, OR TO ANY OTHER                           AGOURA HILLS, CA 91301-4329
 ATTN: OFFICER, A MANAGING OR                      AGENT AUTHORIZED BY
 GENERAL AGENT, OR TO ANY                          APPOINTMENT OR LAW TO RECEIVE
 OTHER AGENT AUTHORIZED BY                         SERVICE
 APPOINTMENT OR LAW TO                             P.O. BOX 886
 RECEIVE SERVICE                                   DESERT HOT SPRINGS, CA 92240-
 4080 LEMON STREET                                 0886
 RIVERSIDE, CA 92501

 CREDITOR                                          CREDITOR                                                 CREDITOR / POC ADDRESS
 MICHELLE A. DREYER                                MIKE COOPER                                              MOBILE MINI INC
 251 LITTLE FALLS DR.                              C/O LEGACY FOODSERVICE DESIGN                            ATTN TODD HUTCHINGS
 WILMINGTON, DE 19808-1674                         LLC                                                      4646 E VAN BUREN ST, STE 400
                                                   505 EAST WINDMILL LANE, SUITE IC                         PHOENIX, AZ 85008
                                                   #3
                                                   LAS VEGAS, NV 89123-1870

 SECURED CREDITOR                                  20 LARGEST CREDITOR                                      SECURED CREDITOR
 NATHAN M. CARLE                                   NEIL ROSENFIELD BAKER TILLY                              ORCO BLOCK & HARDSCAPE
 RAINES FELDMAN LLP                                ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 8401 VON KARMAN AVE., SUITE                       GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 360                                               AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 IRVINE, CA 92612-8541                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE                                                  RECEIVE SERVICE
                                                   15760 VENTURA BLVD., SUITE 1100                          11100 BEACH BLVD
                                                   ENCINO, CA 91436-3044                                    STANTON, CA 90680-3219




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 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 ORCO BLOCK & HARDSCAPE                            ORCO BLOCK & HARDSCAPE                                   ORCO BLOCK & HARDSCAPE
 JIM WODACH, CHIEF FINANCIAL                       RICHARD J MUTH, AGENT FOR                                STEPHANIE MUTH, SECRETARY
 OFFICER                                           SERVICE OF PROCESS                                       AND DIRECTOR
 11100 BEACH BLVD                                  CHIEF EXECUTIVE OFFICER,                                 11100 BEACH BLVD
 STANTON, CA 90680                                 DIRECTOR                                                 STANTON, CA 90680
                                                   11100 BEACH BLVD
                                                   STANTON, CA 90680

 SECURED CREDITOR                                  SECURED CREDITOR                                         CREDITOR
 ORCO BLOCK & HARDSCAPE                            ORCO BLOCK & HARDSCAPE                                   ORRICK
 VERONICA MUTH, DIRECTOR                           WILLIAM C HOGGARD                                        ATTN: OFFICER, A MANAGING OR
 11100 BEACH BLVD                                  WCH LAW GROUP, P.C.                                      GENERAL AGENT, OR TO ANY
 STANTON, CA 90680                                 625 THE CITY DRIVE SOUTH, SUITE                          OTHER AGENT AUTHORIZED BY
                                                   200                                                      APPOINTMENT OR LAW TO
                                                   ORANGE, CA 92868                                         RECEIVE SERVICE
                                                                                                            777 S. FIGUEROA ST.
                                                                                                            LOS ANGELES, CA 90017-5855

 CREDITOR                                          CREDITOR                                                 CREDITOR
 PACE EQUITY LLC                                   PALM SPRINGS WELDING INC.                                PALMS TO PINES AUTOMOTIVE
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE                                   SERVICE                                                  RECEIVE SERVICE
 731 N. JACKSON ST., SUITE 420                     1189 N. VALDIVIA WAY                                     74-725 JONI DR.
 MILWAUKEE, WI 53202-4612                          PALM SPRINGS, CA 92262-5426                              PALM DESERT, CA 92260-2080

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR / POC ADDRESS
 PORCHE LEASING LTD. AND                           PORSCHE FINANCIAL SERVICES, INC.                         PORSCHE LEASING LTD.
 PORSCHE FINANCIAL SERVICES                        ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 INC DBA BENTLEY FINANCIAL                         GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 SERVICES                                          AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 STACEY A. MILLER, ESQ; THARPE                     APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 & HOWELL LLP                                      SERVICE                                                  RECEIVE SERVICE
 15250 VENTURA BLVD, 9TH                           1 PORSCHE DR.                                            1 PORSCHE DR.
 FLOOR                                             ATLANTA, GA 30354-1654                                   ATLANTA, GA 30354-1654
 SHERMAN OAKS, CA 91403

 CREDITOR                                          CREDITOR                                                 SECURED CREDITOR
 QUONSET PARTNERS LLC                              QUONSET PARTNERS LLC                                     RESOURCE BUILDING MATERIALS
 ATTN: OFFICER, A MANAGING OR                      JOSEPH RUBIN, AGENT FOR SERVICE                          ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          OF PROCESS                                               GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         1801 S LA CIENEGA BLVD #302                              OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             LOS ANGELES, CA 90035                                    APPOINTMENT OR LAW TO
 RECEIVE SERVICE                                                                                            RECEIVE SERVICE
 1801 S LA CIENEGA BLVD #302                                                                                1050 W. AVE. M
 LOS ANGELES, CA 90035                                                                                      LANCASTER, CA 93534-8145




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 SECURED CREDITOR                                  SECURED CREDITOR                                         INTERESTED PARTY
 RESOURCE BUILDING                                 RESOURCE BUILDING MATERIALS                              RIVERSIDE COUNTY TAX
 MATERIALS                                         DAN REYNEVELD, CEO                                       COLLECTOR
 ATTN: OFFICER, A MANAGING OR                      10961 DALE AVE.                                          ADELINA ABRIL
 GENERAL AGENT, OR TO ANY                          STANTON, CA 90680-2723                                   4080 LEMON ST, 4TH FLOOR
 OTHER AGENT AUTHORIZED BY                                                                                  RIVERSIDE CA 92501-3609
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE
 10961 DALE AVE.
 STANTON, CA 90680-2723

 INTERESTED PARTY                                  SECURED CREDITOR                                         SECURED CREDITOR
 RIVERSIDE COUNTY TREASURER                        ROBERTSON'S                                              ROBERTSON'S READY MIX
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE                                   SERVICE                                                  RECEIVE SERVICE
 P.O. BOX 12005                                    200 S. MAIN ST., SUITE 200                               PO BOX 1659
 RIVERSIDE, CA 92502-2205                          CORONA, CA 92882-2212                                    CORONA, CA 92878-1659

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 ROBERTSON'S READY MIX                             ROBERTSON'S READY MIX, LTD.                              ROBERTSON'S READY MIX, LTD.
 JOSEPH P OCCHIUTO, AGENT                          RRM DEVELOPMENT CORPORATION                              WILLIAM H STODDARD, AGENT
 FOR SERVICE OF PROCESS                            ATTN: OFFICER, A MANAGING OR                             FOR SERVICE OF PROCESS
 200 S. MAIN ST., SUITE 200                        GENERAL AGENT, OR TO ANY OTHER                           ALBRIGHT STODDARD WARNICK
 CORONA, CA 92882-2212                             AGENT AUTHORIZED BY                                      ALBRIGHT
                                                   APPOINTMENT OR LAW TO RECEIVE                            801 S RANCHO DR STE D-4
                                                   SERVICE                                                  LAS VEGAS, NV 89106
                                                   151 CASSIA WAY
                                                   HENDERSON, NV 89014

 CREDITOR                                          CREDITOR                                                 CREDITOR
 ROSENFELD MEYER AND                               ROSENFELD WOLFF & KLEIN                                  ROYAL & MILES LLP
 SUSMAN LLP                                        ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 APPOINTMENT OR LAW TO                             SERVICE                                                  RECEIVE SERVICE
 RECEIVE SERVICE                                   1901 AVENUE OF THE STARS, SUITE                          1522 W. WARM SPRINGS RD.
 232 N. CANON DR.                                  500                                                      HENDERSON, NV 89014-4330
 BEVERLY HILLS, CA 90210-5302                      LOS ANGELES, CA 90067-6027




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 20 LARGEST CREDITOR                               CREDITORS COMMITTEE / 20                                 RTD 08/17/21 UTF
 RTM ENGINEERING                                   LARGEST CREDITOR                                         CREDITOR
 CONSULTANTS, LLC                                  SAXON ENGINEERING SERVICES, INC.                         SEAN A. O'KEEFE
 ATTN: OFFICER, A MANAGING OR                      C/O KURT SAXON                                           26 EXECUTIVE PARK, SUITE 25
 GENERAL AGENT, OR TO ANY                          2605 TEMPLE HEIGHTS DR., SUITE A                         IRVINE, CA 92614-6739
 OTHER AGENT AUTHORIZED BY                         OCEANSIDE, CA 92056
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE
 650 E. ALGONQUIN RD., SUITE
 250
 SCHAUMBURG, IL 60173-3824

 CREDITOR                                          CREDITOR                                                 SECURED CREDITOR
 SETH MEREWITZ                                     SGE REALTY LLC                                           SILHOUETTE OUTDOOR
 BEST BEST & KRIEGER                               ATTN: OFFICER, A MANAGING OR                             FURNITURE, INC.
 300 S. GRAND AVE., 25TH FL,                       GENERAL AGENT, OR TO ANY OTHER                           ATTN: OFFICER, A MANAGING OR
 LOS ANGELES, CA 90071-3131                        AGENT AUTHORIZED BY                                      GENERAL AGENT, OR TO ANY
                                                   APPOINTMENT OR LAW TO RECEIVE                            OTHER AGENT AUTHORIZED BY
                                                   SERVICE                                                  APPOINTMENT OR LAW TO
                                                   5716 CORSA AVE SUITE 110                                 RECEIVE SERVICE
                                                   THOUSAND OAKS, CA 91362-7354                             3923 N. KOSTNER AVE.
                                                                                                            CHICAGO, IL 60641-2839

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 SILHOUETTE OUTDOOR                                SILHOUETTE OUTDOOR FURNITURE,                            SILHOUETTE OUTDOOR
 FURNITURE, INC.                                   INC.                                                     FURNITURE, INC.
 C/O RYAN M LAPINE, FRANKFURT                      CHRISTINE LEFEBURE, PRESIDENT                            MELVIN R. GOTTLIEB, AGENT FOR
 KURNIT KLEIN AND SELZ PC                          AND SECRETARY                                            SERVICE OF PROCESS
 2029 CENTURY PARK EAST SUITE                      3923 KOSTNER                                             95 REVERE DR STE A
 2500N                                             CHICAGO, IL 60641-2839                                   NORTHBROOK, IL 60062
 LOS ANGELES, CA 90067

 CREDITOR                                          20 LARGEST CREDITOR
 SLOVAK BARON EMPEY MURPHY                         SMS ARCHITECTS
 & PINKNEY                                         ATTN: OFFICER, A MANAGING OR
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE
 APPOINTMENT OR LAW TO                             SERVICE
 RECEIVE SERVICE                                   18004 SKY PARK CIR., SUITE 200
 74785 HIGHWAY 111, SUITE 105                      IRVINE, CA 92614-6484
 INDIAN WELLS, CA 92210




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 NEW ADDR PER CA SOS                               INTERESTED PARTY                                         INTERESTED PARTY
 SECURED CREDITOR                                  SOUTHERN CALIFORNIA GAS                                  SOUTHERN CALIFORNIA GAS
 SOLID ROCK PAINTING                               COMPANY                                                  COMPANY
 CORPORATION                                       ATTN: OFFICER, A MANAGING OR                             UNITED AGENT GROUP INC.
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER                           4640 ADMIRALTY WAY, 5TH FLOOR
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY                                      MARINA DEL REY, CA 90292
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE
 APPOINTMENT OR LAW TO                             SERVICE
 RECEIVE SERVICE                                   555 WEST 5TH STREET
 48291 STILLWATER DRIVE                            LOS ANGELES, CA 90013
 LA QUINTA, CA 92253

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 SOUTHWEST PLUMBING, INC.                          SOUTHWEST PLUMBING, INC.                                 SOUTHWEST PLUMBING, INC.
 ATTN: OFFICER, A MANAGING OR                      GREGORY JAY HELMER                                       JEFFREY PAUL MAY, AGENT FOR
 GENERAL AGENT, OR TO ANY                          CHIEF FINANCIAL OFFICER AND                              SERVICE OF PROCESS
 OTHER AGENT AUTHORIZED BY                         DIRECTOR                                                 CHIEF EXECUTIVE OFFICER,
 APPOINTMENT OR LAW TO                             31410 RESERVE DR., SUITE 5                               SECRETARY, DIRECTOR
 RECEIVE SERVICE                                   THOUSAND PALMS, CA 92276                                 31410 RESERVE DR., SUITE 5
 31410 RESERVE DR., SUITE 5                                                                                 THOUSAND PALMS, CA 92276
 THOUSAND PALMS, CA 92276-
 6646

 CREDITOR / POC ADDRESS                            CREDITOR                                                 SECURED CREDITOR
 STATE WATER RESOURCES                             STATE WATER RESOURCES                                    STEPHEN J. ARMSTRONG
 CONTROL BOARD                                     CONTROL BOARD                                            44200 MONTEREY AVE., SUITE B
 RYAN MALLORY-JONES                                ATTN: OFFICER, A MANAGING OR                             PALM DESERT, CA 92260-2708
 1001 I STREET                                     GENERAL AGENT, OR TO ANY OTHER
 SACRAMENTO, CA 95814                              AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE
                                                   SERVICE
                                                   PO BOX 1888
                                                   SACRAMENTO, CA 95812-1888

 CREDITOR                                          CREDITOR                                                 CREDITOR
 STIFEL                                            STIFFELMAN FAMILY TRUST                                  STUART RUBIN
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             715 N. ALPINE DRIVE
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           BEVERLY HILLS, CA 90210-3305
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE
 RECEIVE SERVICE                                   SERVICE
 515 S. FIGUEROA ST., SUITE 1800                   1840 CENTURY PARK EAST, SUITE
 LOS ANGELES, CA 90071-3310                        1900
                                                   LOS ANGELES, CA 90067-2121




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 CREDITOR / POC ADDRESS                            SECURED CREDITOR                                         SECURED CREDITOR
 STUART RUBIN; A. STUART RUBIN                     SUPERIOR POOL PRODUCTS, LLC                              SUPERIOR POOL PRODUCTS, LLC
 MESSINA & HANKIN LLP; ATTN                        A. DAVID COOK, MANAGER/MEMBER                            ATTN: OFFICER, A MANAGING OR
 EVAN L SMITH                                      109 NORTHPARK BLVD                                       GENERAL AGENT, OR TO ANY
 24910 LAS BRISAS ROAD, SUITE                      COVINGTON, LA 70433                                      OTHER AGENT AUTHORIZED BY
 102                                                                                                        APPOINTMENT OR LAW TO
 MURRIETA, CA 92562                                                                                         RECEIVE SERVICE
                                                                                                            109 NORTHPARK BLVD.
                                                                                                            COVINGTON, LA 70433-5005

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 SUPERIOR POOL PRODUCTS, LLC                       SUPERIOR POOL PRODUCTS, LLC                              SUPERIOR POOL PRODUCTS, LLC
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             C/O MAIL CENTER
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           REFERENCE ID 2479180
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      9450 SW GEMINI DR #7790
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            BEAVERTON, OR 97008-7105
 RECEIVE SERVICE                                   SERVICE
 4900 E. LANDON DR.                                18201 N 25TH AVE, SUITE C-1
 ANAHEIM, CA 92807-1980                            PHOENIX, AZ 85023

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 SUPERIOR POOL PRODUCTS, LLC                       SUPERIOR POOL PRODUCTS, LLC                              SUPERIOR POOL PRODUCTS, LLC
 CONNIE DICKINSON, SENIOR                          CSC - LAWYERS INCORPORATING                              DONNA WILLIAMS,
 CORPORATE CREDIT ASSISTANT                        SERVICE                                                  MANAGER/MEMBER
 109 NORTHPARK BLVD, 4TH                           2710 GATEWAY OAKS DRIVE, SUITE                           109 NORTHPARK BLVD
 FLOOR                                             150N                                                     COVINGTON, LA 70433
 COVINGTON, LA 70433-5005                          SACRAMENTO, CA 95833

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 SUPERIOR POOL PRODUCTS, LLC                       SUPERIOR POOL PRODUCTS, LLC                              SUPERIOR POOL PRODUCTS, LLC
 JENNIFER NEIL,                                    KENNETH ST. ROMAIN,                                      MARK JOSLIN, MANAGER/MEMBER
 MANAGER/MEMBER                                    MANAGER/MEMBER                                           109 NORTHPARK BLVD
 109 NORTHPARK BLVD                                109 NORTHPARK BLVD                                       COVINGTON, LA 70433
 COVINGTON, LA 70433                               COVINGTON, LA 70433

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 SUPERIOR POOL PRODUCTS, LLC                       SUPERIOR POOL PRODUCTS, LLC                              SUPERIOR POOL PRODUCTS, LLC
 MELANIE HOUSEY HART,                              PETER D. ARVAN, CEO/MANAGER                              ROBERT R. RANKIN,
 MANAGER/MEMBER                                    109 NORTHPARK BLVD                                       MANAGER/MEMBER
 109 NORTHPARK BLVD                                COVINGTON, LA 70433                                      4900 E LANDON DRIVE
 COVINGTON, LA 70433                                                                                        ANAHEIM, CA 92807

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 SUPERIOR POOL PRODUCTS, LLC                       SUPERIOR READY MIX CONCRETE,                             SUPERIOR READY MIX CONCRETE,
 TODD MARSHALL,                                    L.P.                                                     L.P.
 MANAGER/MEMBER                                    ARNOLD VELDKAMP, AGENT FOR                               ATTN: OFFICER, A MANAGING OR
 109 NORTHPARK BLVD                                SERVICE OF PROCESS                                       GENERAL AGENT, OR TO ANY
 COVINGTON, LA 70433                               1508 W MISSION ROAD                                      OTHER AGENT AUTHORIZED BY
                                                   ESCONDIDO, CA 92029                                      APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE
                                                                                                            86160 AVENUE 54
                                                                                                            COACHELLA, CA 92236-3813


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 20 LARGEST CREDITOR                               SECURED CREDITOR                                         SECURED CREDITOR
 SYSTEMS WATERPROOFING, INC.                       TANDEM WEST GLASS INC.                                   TANDEM WEST GLASS INC.
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE                                   SERVICE                                                  RECEIVE SERVICE
 223 WEST BLUERIDGE AVE.                           1177 W. LINCOLN ST., SUITE 100                           PO BOX 2105
 ORANGE, CA 92865-4226                             BANNING, CA 92220-4524                                   PALM SPRINGS, CA 92263

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 TANDEM WEST GLASS INC.                            TANDEM WEST GLASS INC.                                   TANDEM WEST GLASS INC.
 DEBBIE RUTH NOGALES, AGENT                        PHILIP EDWARD NELISSEN                                   STEPHEN J. ARMSTRONG
 FOR SERVICE OF PROCESS                            CHIEF EXECUTIVE OFFICER,                                 44200 MONTEREY AVE., SUITE B
 SECRETARY AND CHIEF                               DIRECTOR, PRESIDENT                                      PALM DESERT, CA 92260-2708
 FINANCIAL OFFICER                                 121 S PALM CANYON DRIVE #227
 121 S PALM CANYON DRIVE #227                      PALM SPRINGS, CA 92262
 PALM SPRINGS, CA 92262

 SECURED CREDITOR                                  CREDITOR                                                 SECURED CREDITOR
 TANDEM WEST GLASS INC.                            TECHNICAL WORKS CALIFORNIA, LLC                          TEMALPAKH, INC.
 THOMAS J. POLIS                                   ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 POLIS & ASSOCIATES, APLC                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 19800 MACARTHUR BLVD, SUITE                       AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 1000                                              APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 IRVINE, CA 92612                                  SERVICE                                                  RECEIVE SERVICE
                                                   13200 CROSSROADS PKWY N., SUITE                          73750 SPYDER CIR.
                                                   250                                                      PALM DESERT, CA 92211-6023
                                                   CITY OF INDUSTRY, CA 91746-3480

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 TEMALPAKH, INC.                                   TEMALPAKH, INC.                                          TEMALPAKH, INC.
 GERALD A. FLOWERS, CHIEF                          MICHAEL COLLINS, SECRETARY AND                           STEPHEN J. ARMSTRONG, AGENT
 EXECUTIVE OFFICER AND                             CHIEF FINANCIAL OFFICER                                  FOR SERVICE OF PROCESS
 DIRECTOR                                          38920 BEL AIR DRIVE                                      44200 MONTEREY AVE., SUITE B
 53763 AVENIDA OBREGON                             CATHEDRAL CITY, CA 92234                                 PALM DESERT, CA 92260
 LA QUINTA, CA 92253

 SECURED CREDITOR                                  CREDITOR                                                 CREDITOR
 TEMALPAKH, INC.                                   THARPE & HOWELL                                          THE GREEN LAW GROUP, LLP
 THOMAS J. POLIS                                   ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 POLIS & ASSOCIATES, APLC                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 19800 MACARTHUR BLVD, SUITE                       AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 1000                                              APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 IRVINE, CA 92612                                  SERVICE                                                  RECEIVE SERVICE
                                                   15250 VENTURA BLVD., 9TH FL.                             1777 E. LOS ANGELES AVE.
                                                   SHERMAN OAKS, CA 91403-3221                              SIMI VALLEY, CA 93065-2068




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 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 THE SHERWIN WILLIAMS                              THE SHERWIN-WILLIAMS COMPANY                             THE SHERWIN-WILLIAMS
 COMPANY                                           ALLEN J MISTYSYN, CHIEF FINANCIAL                        COMPANY
 ATTN ATTN BANKRUPTCY LEGAL                        OFFICER                                                  ATTN: OFFICER, A MANAGING OR
 DEPARTMENT                                        101 PROSPECT AVENUE                                      GENERAL AGENT, OR TO ANY
 1100 MIDLAND                                      CLEVELAND, OH 44115                                      OTHER AGENT AUTHORIZED BY
 101 WEST PROSPECT AVENUE                                                                                   APPOINTMENT OR LAW TO
 CLEVELAND OH 44115-1093                                                                                    RECEIVE SERVICE
                                                                                                            101 W PROSPECT AVE, SUITE 1020
                                                                                                            CLEVELAND, OH 44115-1027

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 THE SHERWIN-WILLIAMS                              THE SHERWIN-WILLIAMS COMPANY                             THE SHERWIN-WILLIAMS
 COMPANY                                           JOHN G MORIKIS, CHIEF EXECUTIVE                          COMPANY
 CSC - LAWYERS                                     OFFICER                                                  LAUREN B. STEC
 INCORPORATING SERVICE                             101 PROSPECT AVENUE                                      LANAK & HANNA, P.C.
 2710 GATEWAY OAKS DRIVE,                          CLEVELAND, OH 44115                                      625 THE CITY DRIVE SOUTH, SUITE
 SUITE 150N                                                                                                 190
 SACRAMENTO, CA 95833                                                                                       ORANGE, CA 92868

 SECURED CREDITOR                                  SECURED CREDITOR                                         CREDITOR
 THE SHERWIN-WILLIAMS                              THE SHERWIN-WILLIAMS COMPANY                             THE WESTERN SURETY COMPANY
 COMPANY                                           SOLID ROCK PAINTING                                      CT CORPORATION SYSTEM,
 LAWRENCE J BORON,                                 CORPORATION                                              AGENT FOR SERVICE OF PROCESS
 SECRETARY                                         ATTN: OFFICER, A MANAGING OR                             330 N BRAND BLVD
 101 PROSPECT AVENUE                               GENERAL AGENT, OR TO ANY OTHER                           GLENDALE, CA 91203
 CLEVELAND, OH 44115                               AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE
                                                   SERVICE
                                                   82545 SHOWCASE PARKWAY, SUITE
                                                   109
                                                   INDIO, CA 92203

 CREDITOR'S COUNSEL                                CREDITOR                                                 20 LARGEST CREDITOR
 THOMAS J. POLIS, ESQ.                             THYNE TAYLOR FOX HOWARD LLP                              TLR ENTERPRISES, INC.
 POLIS & ASSOCIATES, APLC                          ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 19800 MACARTHUR BLVD, STE                         GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 1000                                              AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 IRVINE, CA 92612-2433                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE                                                  RECEIVE SERVICE
                                                   2000 STATE ST.                                           74875 VELIE WAY
                                                   SANTA BARBARA, CA 93105-3554                             PALM DESERT, CA 92260-1965




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 CREDITOR                                          SECURED CREDITOR                                         SECURED CREDITOR
 TREVOR D. LARGE                                   U.S. REAL ESTATE CREDIT HOLDINGS                         U.S. REAL ESTATE CREDIT
 FAUVER, LARGE, ARCHBALD &                         ALAN G TIPPIE                                            HOLDINGS
 SPRAY, LLP                                        SULMEYER KUPETZ                                          ATTN: OFFICER, A MANAGING OR
 820 STATE STREET, 4TH FLOOR                       333 S GRAND AVE, SUITE 3400                              GENERAL AGENT, OR TO ANY
 SANTA BARBARA, CA 93101-3272                      LOS ANGELES, CA 90071                                    OTHER AGENT AUTHORIZED BY
                                                                                                            APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE
                                                                                                            11755 WILSHIRE BLVD., SUITE 1425
                                                                                                            LOS ANGELES, CA 90025-1506

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 U.S. REAL ESTATE CREDIT                           U.S. REAL ESTATE CREDIT HOLDINGS                         U.S. REAL ESTATE CREDIT
 HOLDINGS                                          CHRISTOPHER RIVAS                                        HOLDINGS
 CALMWATER CAPITAL                                 REED SMITH LLP                                           EDWIN W LESLIE
 LARRY GRANTHAM                                    355 S GRAND AVE, SUITE 2900                              LK ASSET ADVISORS
 11755 WILSHIRE BLVD, SUITE                        LOS ANGELES, CA 90071                                    209 10TH AVE SOUTH, SUITE 416
 1425                                                                                                       NASHVILLE, TN 37203
 LOS ANGELES, CA 90025

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 U.S. REAL ESTATE CREDIT                           U.S. REAL ESTATE CREDIT HOLDINGS                         U.S. REAL ESTATE CREDIT
 HOLDINGS                                          NATHAN M. CARLE                                          HOLDINGS III-A LP
 FIDELITY NATIONAL TITLE                           RAINES FELDMAN LLP                                       CSC - LAWYERS INCORPORATING
 COMPANY                                           8401 VON KARMAN AVE, SUITE 360                           SERVICE
 ATTN: OFFICER, A MANAGING OR                      IRVINE, CA 92612-8541                                    2710 GATEWAY OAKS DRIVE,
 GENERAL AGENT, OR TO ANY                                                                                   SUITE 150N
 OTHER AGENT AUTHORIZED BY                                                                                  SACRAMENTO, CA 95833
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE
 1101 INVESTMENT BLVD, SUITE
 170
 EL DORADO HILLS, CA 95762

 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR
 U.S. REAL ESTATE CREDIT                           U.S. REAL ESTATE CREDIT HOLDINGS                         U.S. REAL ESTATE CREDIT
 HOLDINGS III-A LP                                 III-A, LP                                                HOLDINGS III-A, LP
 U.S. REAL ESTATE CREDIT                           MARSHA A HOUSTON, CHRISTOPHER                            SIMOND LAVIAN, MANAGING
 HOLDINGS III-A GP LIMITED                         O RIVAS                                                  DIRECTOR OF ASSET
 70 SIR JOHN ROGERSON'S QUAY                       REED SMITH                                               MANAGEMENT
 DUBLIN 2, IRELAND                                 355 S GRAND AVE, SUITE 2900                              CALMWATER ASSET
 D02 R296                                          LOS ANGELES, CA 90071                                    MANAGEMENT, LLC
                                                                                                            11755 WILSHIRE BLVD, SUITE 1425
                                                                                                            LOS ANGELES, CA 90025




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 INTERESTED PARTY                                  U.S. TRUSTEE                                             CREDITOR
 UNITED STATES OF AMERICA                          UNITED STATES TRUSTEE (LA)                               US BANK NATIONAL ASSOCIATION
 (RE: INSTRUMENT NO. 2018-                         915 WILSHIRE BLVD, SUITE 1850                            ATTN: OFFICER, A MANAGING OR
 0307549)                                          LOS ANGELES, CA 90017-3560                               GENERAL AGENT, OR TO ANY
 BUREAU OF RECLAMATION,                                                                                     OTHER AGENT AUTHORIZED BY
 YUMA AREA OFFICE                                                                                           APPOINTMENT OR LAW TO
 7301 CALLE AGUA SALADA                                                                                     RECEIVE SERVICE
 YUMA, AZ 85364                                                                                             425 WALNUT STREET
                                                                                                            CINCINNATI, OH 45202

 CREDITOR                                          SECURED CREDITOR                                         SECURED CREDITOR
 VACATION POOLS, INC.                              WEST COAST SAND AND GRAVEL,                              WEST COAST SAND AND GRAVEL,
 ATTN: OFFICER, A MANAGING OR                      INC.                                                     INC.
 GENERAL AGENT, OR TO ANY                          ATTN: OFFICER, A MANAGING OR                             DANIEL C REYNEVELD, CHIEF
 OTHER AGENT AUTHORIZED BY                         GENERAL AGENT, OR TO ANY OTHER                           EXECUTIVE OFFICER
 APPOINTMENT OR LAW TO                             AGENT AUTHORIZED BY                                      7282 ORANGETHORPE AVENUE
 RECEIVE SERVICE                                   APPOINTMENT OR LAW TO RECEIVE                            BUENA PARK, CA 90621
 44907 GOLF CENTER PKWY., #9                       SERVICE
 INDIO, CA 92201-7303                              P.O. BOX 5067
                                                   BUENA PARK, CA 90622-5067

 SECURED CREDITOR                                  SECURED CREDITOR                                         CREDITOR
 WEST COAST SAND AND                               WEST COAST SAND AND GRAVEL,                              WESTERN SURETY COMPANY
 GRAVEL, INC.                                      INC.                                                     ATTN: OFFICER, A MANAGING OR
 KLINT E KORVER, CHIEF                             MARVIN J STRUIKSMA, AGENT FOR                            GENERAL AGENT, OR TO ANY
 FINANCIAL OFFICER                                 SERVICE OF PROCESS                                       OTHER AGENT AUTHORIZED BY
 7282 ORANGETHORPE AVENUE                          SECRETARY AND DIRECTOR                                   APPOINTMENT OR LAW TO
 BUENA PARK, CA 90621                              7282 ORANGETHORPE AVENUE                                 RECEIVE SERVICE
                                                   BUENA PARK, CA 90621                                     151 N FRANKLIN ST
                                                                                                            CHICAGO, IL 60606

 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR
 WESTERN SURETY COMPANY                            WM SECURITY SOLUTIONS                                    ZIMMERMAN GROUP
 C/O MARC S HOMME, APLC                            ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 P.O. BOX 4250                                     GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 PALM DESERT, CA 92261-4250                        AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE                                                  RECEIVE SERVICE
                                                   18341 SHERMAN WAY # 206A                                 28202 CABOT RD., SUITE 620
                                                   RESEDA, CA 91335-4440                                    LAGUNA NIGUEL, CA 92677-1271

 BUYER                                             BUYER’S COUNSEL                                          BUYER’S COUNSEL
 SOUCIALIZE, INC.                                  GLASER WEILL LLP                                         LEVENE NEALE BENDER YOO &
 ATTN: MONIQUE RICE,                               ATTN: SAUL BRESKAL                                       BRILL LLP
 PRESIDENT                                         10250 CONSTELLATION BLVD, 19TH FL                        ATTN: DAVID NEALE
 8 THE GREEN STE A                                 LOS ANGELES, CA 90067                                    10250 CONSTELLATION BLVD, STE
 DOVER, DE 19901                                                                                            1700
                                                                                                            LOS ANGELES, CA 90067




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 INTERESTED PARTY                                  COUNSEL FOR THE OFFICIAL                                 SECURED CREDITOR
 CITY OF COACHELLA                                 COMMITTEE OF UNSECURED                                   DESERT ELECTRIC SUPPLY
 ATTN: WILLIAM B PATTISON JR,                      CREDITORS                                                ATTN: OFFICER, A MANAGING OR
 CITY MANAGER                                      DAREN R BRINKMAN                                         GENERAL AGENT, OR TO ANY
 53-990 ENTERPRISE WAY                             BRINKMAN LAW GROUP PC                                    OTHER AGENT AUTHORIZED BY
 COACHELLA, CA 92236                               543 COUNTRY CLUB DRIVE, SUITE B                          APPOINTMENT OR LAW TO
                                                   WOOD RANCH, CA 93065                                     RECEIVE SERVICE
                                                                                                            PO BOX 13190
                                                                                                            PALM DESERT, CA 92255-3190

 SECURED CREDITOR
 SOLID ROCK PAINTING
 CORPORATION
 ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE
 PO BOX 7157
 LA QUINTA, CA 92248-7157




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